Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 1 of 318 Page ID
                                 #:1354



   1 John T. Jasnoch (CA 281605)
     jjasnoch@scott-scott.com
   2
     SCOTT+SCOTT ATTORNEYS AT LAW LLP
   3 600 W. Broadway, Suite 3300
     San Diego, CA 92101
   4
     Tel.: 619-233-4565
   5 Fax: 619-233-0508
   6 Lead Counsel for Plaintiffs and the Proposed Class
   7
   8
   9                     UNITED STATES DISTRICT COURT
  10                    CENTRAL DISTRICT OF CALIFORNIA
  11                             WESTERN DIVISION
  12 JOHNNY JOHNSON, EZRA                       Case No. 2:22-cv-08909-FMO-PLA
     BOEKWEG, MARIO PALOMBINI, and
  13 ADAM TITCHER, JONATHAN SMITH,              SECOND AMENDED CLASS
     NEAL PATEL, HIREN PATEL, and               ACTION COMPLAINT
  14 DAVID GRAND, Individually and on
     Behalf of All Others Similarly Situated,
  15
                              Plaintiffs,       DEMAND FOR JURY TRIAL
  16       v.
  17 YUGA LABS, INC., WYLIE ARONOW,
     GREG SOLANO, KEREM ATALAY,
  18 ZESHAN ALI, NICOLE MUNIZ,
     JASMIN SHOEMAKER, PATRICK
  19 EHRLUND, CHRISTOPHER LYONS,
     ALEXIS OHANIAN, AMY WU,
  20 MAARIA BAJWA, SOTHEBY’S
     HOLDINGS INC., GUY OSEARY, MIKE
  21 WINKELMANN, MADONNA LOUISE
     CICCONE, PARIS HILTON, JAMES
  22 FALLON, ELECTRIC HOT DOG, INC.,
     UNIVERSAL TELEVISION, LLC,
  23 JUSTIN BIEBER, AUSTIN RICHARD
     POST, CALVIN BROADUS JR.,
  24 WARDELL STEPHEN CURRY II,
     ADIDAS AMERICA INC., ADIDAS
  25 VENTURE B.V., IVAN SOTO-WRIGHT,
     and MOONPAY USA LLC,
  26
                        Defendants.
  27
  28
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 2 of 318 Page ID
                                 #:1355



   1 I.     NATURE OF THE CASE .................................................................................. 1
     II.    PARTIES ............................................................................................................ 5
   2
          A. PLAINTIFFS ...................................................................................................... 5
   3      B. DEFENDANTS ................................................................................................... 8
       III. JURISDICTION AND VENUE ....................................................................... 14
   4   IV. FACTUAL ALLEGATIONS ........................................................................... 15
   5      A. YUGA LABS BACKGROUND............................................................................ 17
            1. The Founders ............................................................................................ 17
   6        2. The Fifth Ape - Oseary ............................................................................. 25
            3. The Facilitator – MoonPay ....................................................................... 30
   7      B. THE MISLEADING PROMOTION AND SALE OF YUGA SECURITIES ................... 41
            1. The First Scheme – The Deceptive Sotheby’s Auction ........................... 41
   8        2. The Second Scheme – Deceptive Marketing Campaign .......................... 54
              a. Promoter Defendants ............................................................................ 54
   9          b. Yuga Defendants .................................................................................. 89
              c. MoonPay Defendants ......................................................................... 136
  10          d. ApeCoin DAO Defendants ................................................................. 158
            3. The ApeCoin Token Sale ....................................................................... 159
  11        4. Other Manipulations of the Price and Market for Yuga Financial
                Products .................................................................................................. 179
  12          a. Suspected Wash Trading by Binance and Dinghau Xiao .................. 182
              b. Suspected Wash Trading by Defendants MoonPay and
  13              Soto-Wright ........................................................................................ 184
          C. ADDITIONAL EVIDENCE OF MANIPULATIVE ACTS ....................................... 192
  14      D. THE DUMP – THE PRICE OF YUGA SECURITIES PLUMMETS .......................... 194
       V. THE YUGA FINANCIAL PRODUCTS ARE SECURITIES UNDER
  15        HOWEY........................................................................................................... 203
  16      A. YUGA FINANCIAL PRODUCTS INVESTORS INVESTED MONEY SECURITIES ... 204
          B. YUGA FINANCIAL PRODUCTS INVESTORS WERE INTERTWINED IN A COMMON
  17          ENTERPRISE WITH DEFENDANTS .................................................................. 204
          C. INVESTORS PURCHASED THE YUGA FINANCIAL PRODUCTS WITH A
  18          REASONABLE EXPECTATION OF PROFIT FROM OWNING THEM .................... 206
          D. INVESTORS EXPECTED PROFITS FROM THE YUGA FINANCIAL PRODUCTS TO BE
  19          DERIVED FROM THE MANAGERIAL EFFORTS OF THE EXECUTIVE
              DEFENDANTS ............................................................................................... 208
  20      E. INVESTORS WOULD NOT REASONABLY HAVE UNDERSTOOD THAT THE
              FINANCIAL PRODUCTS SOLD BY YUGA WERE SECURITIES ...................... 217
  21      F. APPLICATION OF THE SEC’S 2019 FRAMEWORK INDICATES THAT THE
              YUGA FINANCIAL PRODUCTS ARE SECURITIES ........................................ 219
  22      G. GOVERNMENT ENFORCEMENT ACTIONS DEMONSTRATE THAT THE YUGA
              FINANCIAL ASSETS ARE SECURITIES ........................................................... 223
  23   VI. MECHANICS OF PLAINTIFFS’ PURCHASES.......................................... 224
       VII. ADDITIONAL RELIANCE ALLEGATIONS.............................................. 227
  24   VIII.CLASS ACTION ALLEGATIONS ............................................................... 236
       IX. PRESUMPTION OF RELIANCE ................................................................. 238
  25
          A. COMMON IMPACT OF ARTIFICIAL INFLATION OF PRICES OF YUGA
  26          SECURITIES .................................................................................................. 240
       X. CAUSES OF ACTION ................................................................................... 241
  27
          FIRST CAUSE OF ACTION.............................................................................. 241
  28      SECOND CAUSE OF ACTION ........................................................................ 249

       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 3 of 318 Page ID
                                 #:1356



   1     THIRD CAUSE OF ACTION ............................................................................ 258
         FOURTH CAUSE OF ACTION ........................................................................ 266
   2     FIFTH CAUSE OF ACTION ............................................................................. 268
         SIXTH CAUSE OF ACTION ............................................................................. 269
   3     SEVENTH CAUSE OF ACTION ...................................................................... 273
         A. MISREPRESENTATIONS AND OMISSIONS....................................................... 275
   4     B. MATERIALITY .............................................................................................. 279
         C. SCIENTER ..................................................................................................... 279
   5     D. RELIANCE, ECONOMIC LOSS, AND LOSS CAUSATION ................................... 280
         EIGHTH CAUSE OF ACTION.......................................................................... 286
   6     NINTH CAUSE OF ACTION ............................................................................ 288
         TENTH CAUSE OF ACTION ........................................................................... 290
   7     ELEVENTH CAUSE OF ACTION.................................................................... 293
         TWELFTH CAUSE OF ACTION ...................................................................... 298
   8     THIRTEENTH CAUSE OF ACTION................................................................ 300
         FOURTEENTH CAUSE OF ACTION .............................................................. 301
   9     FIFTEENTH CAUSE OF ACTION ................................................................... 307
       XI. PRAYER FOR RELIEF ................................................................................. 313
  10   XII. JURY DEMAND ............................................................................................ 313
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 4 of 318 Page ID
                                 #:1357



   1        Lead Plaintiffs Johnny Johnson, Ezra Boekweg, Mario Palombini, and
   2 additional named plaintiffs Adam Titcher, Jonathan Smith, Neal Patel, Hiren Patel,
   3 and David Grand (collectively “Plaintiffs”), individually and on behalf of all others
   4 similarly situated, bring this action against Yuga Labs, Inc. (“Yuga” or the
   5 “Company”), Wylie Aronow, Greg Solano, Kerem Atalay, Zeshan Ali, Nicole
   6 Muniz, Jasmin Shoemaker, Patrick Ehrlund, Christopher Lyons (the “Executive
   7 Defendants”), Alexis Ohanian, Amy Wu, Maaria Bajwa (the “ApeDAO Board
   8 Defendants”), Sotheby’s Holdings Inc., Guy Oseary, Mike Winkelmann, Madonna
   9 Louise Ciccone, Paris Hilton, James Fallon, Electric Hot Dog, Inc., Universal
  10 Television, LLC, Justin Bieber, Austin Richard Post, Calvin Broadus, Jr., Wardell
  11 Stephen Curry II, adidas America Inc., and adidas Ventures B.V. (the “Promoter
  12 Defendants”), Ivan Soto-Wright, and MoonPay USA LLC (“MoonPay,” and
  13 together with Ivan Soto-Wright, the “MoonPay Defendants”) (collectively, with the
  14 Company, the Executive Defendants, ApeDAO Board Defendants, and the
  15 Promoter Defendants, the “Defendants”). The following allegations are based upon
  16 personal knowledge as to Plaintiffs’ own facts, upon investigation by Plaintiffs’
  17 counsel, and upon information and belief where facts are solely in possession of
  18 Defendants.
  19 I.     NATURE OF THE CASE
  20                 “Celebrities and NFTs Are a Match Made in Hell . . .
                     Somehow, star endorsements have found a new low.”
  21
                                 -Amanda Mull, The Atlantic
  22
  23        1.     Plaintiffs bring this action on behalf of all investors who purchased
  24 Yuga’s non-fungible tokens (“NFTs”) or ApeCoin tokens (“ApeCoin”)1 between
  25
  26
       1
          Yuga’s various collections of so-called “Bored Ape” NFTs (including the
  27 Bored Ape Yacht Club (“BAYC”), Mutant Ape Yacht Club (“MAYC”), Bored Ape
     Kennel Club (“BAKC” NFT collections), Meebits NFTs, ApeCoins, and virtual
  28
                                           1
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 5 of 318 Page ID
                                 #:1358



   1 April 23, 2021 and October 6, 2023 (the “Class Period”), and were damaged
   2 thereby.
   3         2.    Celebrity promotions of cryptocurrencies are fraught with problems.
   4 As the U.S. Securities and Exchange Commission (“SEC”) previously stated:
   5 “Celebrities and others are using social media networks to encourage the public to
   6 purchase stocks and other investments. These endorsements may be unlawful if
   7 they do not disclose the nature, source, and amount of any compensation paid,
   8 directly or indirectly, by the company in exchange for the endorsement.”2
   9 According to The Atlantic: “Celebrity endorsements ‒ of a product, a brand, an
  10 idea, a haircut ‒ have been around for ages, but they’ve become especially thick on
  11 the ground in recent years, as stars have developed their own direct-advertising
  12 channels on social media. For people with something to sell, a celebrity’s fan base
  13 provides an easy, responsive audience.”3
  14         3.    This case epitomizes these concerns as it involves a vast scheme
  15 between a blockchain start-up company, Yuga, a highly connected Hollywood
  16 talent agent (Defendant Guy Oseary), and a front operation (MoonPay), who all
  17 united for the purpose of promoting and selling a suite of unregistered digital
  18 financial assets. Executive Defendants Aronow, Solano, Atalay, Ali and Muniz and
  19 Promotor Defendant Oseary together devised a plan to leverage their vast network
  20 of A-list musicians, athletes, and celebrity clients and associates to misleadingly
  21 promote and sell the unregistered Yuga Financial Products.
  22
  23
       land in the Otherside (aka “Otherdeed” NFTs) are collectively referred to as the
  24   “Yuga Financial Products” or the “Yuga securities.”
       2
              Statement, SEC Statement Urging Caution Around Celebrity Backed ICOS,
  25   U.S. SEC. & EXCH. COMM’N (Nov. 1, 2017), https://www.sec.gov/news/public-
       statement/statement-potentially-unlawful-promotion-icos.
  26   3
              Amanda Mull, Celebrities and NFTs Are a Match Made in Hell, THE
  27   ATLANTIC (Feb. 4, 2022), https://www.theatlantic.com/technology/archive/2022/
       02/nft-jimmy-fallon-paris-hilton-millionaire/621486/.
  28
                                                2
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 6 of 318 Page ID
                                 #:1359



   1        4.    Investment in Yuga’s flagship NFT collection, the Bored Ape Yacht
   2 Club, purportedly gave investors membership into the “Bored Ape ecosystem” (i.e.,
   3 the overall brand and its synergistic relationship between the Yuga Financial
   4 Products and related applications). The underlying marketing message was simple:
   5 “joining the club” (i.e., buying a Yuga NFT) brings investors status and provides
   6 them access to events, benefits, and other lucrative investment opportunities
   7 exclusive to Yuga Financial Product holders. The perceived exclusivity of Bored
   8 Ape Yacht Club’s membership was driven by endorsements of highly influential
   9 celebrities. But this purported interest in, and endorsement of the BAYC NFTs was
  10 a sham manufactured by Oseary and MoonPay at the behest of the Company and
  11 the Executive Defendants. While the Promoter Defendants publicly touted their
  12 high-dollar “purchases” of BAYC NFTs, the truth is that they were given the NFTs
  13 for free (often along with additional compensation) in exchange for promoting the
  14 BAYC NFTs to an unsuspecting public.
  15        5.    In order to make the promotion of, and subsequent interest in, the
  16 BAYC NFTs appear to be organic (as opposed to being solely the result of a paid
  17 promotion), the Company needed a way to discreetly pay their celebrity cohorts.
  18 To do this, Oseary tapped into a different part of his network: the MoonPay
  19 Defendants. Oseary’s venture capital firm, Sound Ventures, was one of the early
  20 investors in MoonPay, along with, inter alia, Defendants Justin Bieber, Paris
  21 Hilton, Jimmy Fallon, Austin Post, Calvin Broadus, Jr., and Wardell Stephen Curry
  22 II. MoonPay purports to be a white-glove service designed to help the super-rich
  23 and celebrities buy NFTs “‘without all the hassle of setting up a wallet, buying
  24 crypto, using that crypto to purchase an NFT and then taking custody of it.’”4 In
  25
  26
       4
  27         Ryan Weeks, MoonPay has quietly set up a concierge service to help
       celebrities buy NFTS, THE BLOCK (Nov. 25, 2021), https://www.theblock.co/
  28
                                             3
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 7 of 318 Page ID
                                 #:1360



   1 truth, the Executive Defendants and Oseary used their connections to MoonPay and
   2 its service as a covert way to compensate the Promoter Defendants for their
   3 promotions of the BAYC NFTs without disclosing it to unsuspecting investors.
   4 Moreover, certain of the Promoter Defendants failed to disclose that they
   5 themselves had equity interests in MoonPay.
   6         6.    Defendants’ promotional campaign was wildly successful, generating
   7 millions of dollars in sales and re-sales. The manufactured celebrity endorsements
   8 and misleading promotions regarding the launch of an entire BAYC ecosystem
   9 were able to artificially increase the interest in and price of the Yuga Financial
  10 Products during the Class Period, causing investors to purchase these losing
  11 investments at drastically inflated prices. Manipulative trading practices were also
  12 implemented by insiders in conjunction with the celebrity endorsements, in order to
  13 further generate artificial trading volume and price inflation.
  14         7.    The staggering profits of the BAYC NFTs were not enough for the
  15 Company and Executive Defendants. Next, they cut out the artifice of the NFT
  16 altogether and went a more direct route to making money: they created their own
  17 out of thin air. At the height of the BAYC NFT endorsement scheme, the Executive
  18 Defendants minted unregistered digital financial assets called ApeCoins and
  19 promoted that BAYC NFT owners would receive an airdrop of ApeCoins for
  20 membership in the club. In doing so, the Executive Defendants, Oseary, and the
  21 ApeDAO Board Defendants sought to obscure their own sales of their massive
  22 ApeCoin allocations directly to retail purchasers. At no point did any of the
  23 Defendants register these securities with the SEC.
  24         8.    In addition, Executive Defendants Aronow, Solano, Atalay, and Ali
  25 disguised their control of Yuga to avoid scrutiny and facilitate this scheme. This
  26
  27 post/125483/moonpay-concierge-celebrities-nft?utm_source=rss&utm_medium=
     vrss.
  28
                                           4
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 8 of 318 Page ID
                                 #:1361



   1 conspiracy among the Executive Defendants and Oseary, then carried out with
   2 assistance of the ApeDAO Board Defendants, the Promoter Defendants, and the
   3 MoonPay Defendants, raked in millions of dollars for them all.            Meanwhile,
   4 investors were left with staggering losses.
   5         9.    Plaintiffs bring this class action on behalf of themselves and an
   6 objectively identifiable Class consisting of all investors who purchased the
   7 unregistered Yuga Financial Products between April 23, 2021 and October 6, 2023.
   8 II.     PARTIES
   9         A.    Plaintiffs
  10         10.   Lead Plaintiff Johnny Johnson (“Johnson”) is a citizen of Texas and
  11 resides in Georgetown, Texas. As set forth in the previously filed certification
  12 (ECF No. 74-2), Plaintiff Johnson invested in Yuga NFTs during the Class Period.
  13 Plaintiff Johnson also purchased ApeCoin tokens on U.S. based cryptocurrency
  14 exchanges. Johnson purchased the Yuga securities in reliance on the misleading
  15 promotions from the Company and the Promoter Defendants (described in detail
  16 below), and he suffered investment losses as a result of Defendants’ conduct. For
  17 his NFT purchases, Plaintiff Johnson paid the 2.5% royalty fee directly to Yuga
  18 Labs, placing him in direct privity with Yuga Labs for a portion of the sale.
  19         11.   Lead Plaintiff Ezra Boekweg is a citizen of Texas and resides in Waco,
  20 Texas. As set forth in the previously filed certification (ECF No. 74-2), Plaintiff
  21 Boekweg invested in Yuga NFTs during the Class Period. Plaintiff Boekweg also
  22 purchased ApeCoin tokens on U.S. based cryptocurrency exchanges.                He also
  23 purchased Otherdeed NFTs associated with the Otherside metaverse Yuga was
  24 purportedly developing. Boekweg also purchased a Meebits NFT following Yuga’s
  25 acquisition of the collection from Larva Labs.        Boekweg purchased the Yuga
  26 securities in reliance on the misleading promotions from the Company and the
  27 Promoter Defendants (described in detail below), and he suffered investment losses
  28
                                                5
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 9 of 318 Page ID
                                 #:1362



   1 as a result of Defendants’ conduct. For his NFT purchases, Plaintiff Boekweg paid
   2 the 2.5% royalty fee directly to Yuga Labs, placing him in direct privity with Yuga
   3 Labs for a portion of the sale.
   4         12.   Lead Plaintiff Mario Palombini (“Palombini”) is a resident and citizen
   5 of Portugal. As set forth in the previously filed certification (ECF No. 74-2),
   6 Plaintiff Palombini purchased the Mutant Ape Yacht Club, and Otherdeed NFTs on
   7 a US-based exchange. Palombini purchased the Yuga Financial Products on a US-
   8 based exchange in reliance on the misleading promotions from the Company and
   9 the Promoter Defendants (described in detail below), and he suffered investment
  10 losses as a result of Defendants’ conduct.          For his NFT purchases, Plaintiff
  11 Palombini paid the 2.5% royalty fee directly to Yuga Labs, placing him in direct
  12 privity with Yuga Labs for a portion of the sale.
  13         13.   Plaintiff Adam Titcher (“Titcher”) is a resident and citizen of
  14 California. As set forth in the previously filed certification (ECF No. 1-2), Plaintiff
  15 Titcher purchased a Mutant Ape Yacht Club (“MAYC”) NFT via the U.S.-based
  16 NFT exchange OpenSea. Titcher also purchased an Otherdeed NFT associated with
  17 the Yuga metaverse, Otherside, via the U.S.-based NFT exchange on OpenSea.
  18 Titcher purchased the Yuga Financial Products in reliance on the misleading
  19 promotions from the Company and the Promoter Defendants (described in detail
  20 below), and he suffered investment losses as a result of Defendants’ conduct. For
  21 his NFT purchases, Plaintiff Titcher paid the 2.5% royalty fee directly to Yuga
  22 Labs, placing him in direct privity with Yuga Labs for a portion of the sale.
  23         14.   Plaintiff Jonathan Smith (“Smith”) is a resident and citizen of
  24 California. As set forth in the certification being filed herewith, Plaintiff Smith
  25 purchased ApeCoin via U.S.-based cryptocurrency exchange Coinbase.              Smith
  26 made his purchases in reliance on the misleading promotions from the Company
  27
  28
                                                6
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 10 of 318 Page ID
                                  #:1363



   1 and the Promoter Defendants (described in detail below), and he suffered
   2 investment losses as a result of Defendants’ conduct.
   3         15.   Plaintiff Neal Patel (“Patel”) is a resident and citizen of Florida. As set
   4 forth in the certification being filed herewith, Plaintiff Patel purchased Yuga NFTs
   5 on U.S.-based NFT exchanges, including OpenSea. Plaintiff Patel also purchased
   6 ApeCoin tokens on U.S. based cryptocurrency exchanges.                 Patel made his
   7 purchases in reliance on the misleading promotions from the Company and the
   8 Promoter Defendants (described in detail below), and he suffered investment losses
   9 as a result of Defendants’ conduct. For his NFT purchases, Plaintiff Patel paid the
  10 2.5% royalty fee directly to Yuga Labs, placing him in direct privity with Yuga
  11 Labs for a portion of the sale.
  12         16.   Plaintiff Hiren Patel (“H. Patel”) is a resident and citizen of Florida.
  13 As set forth in the certification being filed herewith, Plaintiff H. Patel purchased
  14 Yuga NFTs on U.S.-based NFT exchanges, including OpenSea. Plaintiff H. Patel
  15 also purchased ApeCoin tokens on U.S. based cryptocurrency exchanges, including
  16 Coinbase. H. Patel made his purchases in reliance on the misleading promotions
  17 from the Company and the Promoter Defendants (described in detail below), and he
  18 suffered investment losses as a result of Defendants’ conduct.            For his NFT
  19 purchases, Plaintiff H. Patel paid the 2.5% royalty fee directly to Yuga Labs,
  20 placing him in direct privity with Yuga Labs for a portion of the sale.
  21         17.   Plaintiff David Grand (“Grand”) is a resident and citizen of Florida.
  22 As set forth in the certification being filed herewith, Plaintiff Grand purchased
  23 ApeCoin on U.S.-based cryptocurrency exchanges, including on Coinbase. Plaintiff
  24 Grand made his purchases in reliance on the misleading promotions from the
  25 Company and the Promoter Defendants (described in detail below), and he suffered
  26 investment losses as a result of Defendants’ conduct.
  27
  28
                                                 7
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 11 of 318 Page ID
                                  #:1364



   1         B.    Defendants
   2         18.   Defendant Yuga is a Delaware corporation, registered on February 8,
   3 2021, with its headquarters located at 1850 Towers Crescent Plaza, Suite 200,
   4 Tysons, Virginia 22182. On June 16, 2022, Yuga registered with the California
   5 Secretary of State to transact business within California.
   6         19.   Defendant Wylie Aronow (“Aronow”) is a resident and citizen of
   7 South Carolina, living in Mount Pleasant, South Carolina. Aronow is the co-
   8 founder/creator of the Company, served as a consultant and spokesperson for the
   9 Company, exercised control over the Company and directed and/or authorized,
  10 directly or indirectly, the sale and/or solicitations of Yuga Financial Products to the
  11 public. Defendant Aronow was listed as Vice President in the official paperwork
  12 filed with the California Secretary of State.
  13         20.   Defendant Greg Solano (“Solano”) is a resident and citizen of Florida,
  14 living in Fort Lauderdale, Florida.        Solano is the co-founder/creator of the
  15 Company, served as a consultant and spokesperson for the Company, exercised
  16 control over the Company and directed and/or authorized, directly or indirectly, the
  17 sale and/or solicitations of Yuga Financial Products to the public.         Defendant
  18 Solano was listed as Yuga’s Chief Executive Officer on official paperwork filed
  19 with the California State of State.
  20         21.   Kerem Atalay (“Atalay”) is a resident and citizen of Missouri, living in
  21 St. Louis, Missouri. Atalay is the co-founder/creator of the Company, served as a
  22 developer, consultant and spokesperson for the Company, exercised control over
  23 the Company and directed and/or authorized, directly or indirectly, the sale and/or
  24 solicitations of Yuga Financial Products to the public.
  25         22.   Zeshan Ali (“Ali”) is a resident and citizen of California, living in Los
  26 Angeles, California. Ali is the co-founder/creator of the Company, served as a
  27 developer, consultant and spokesperson for the Company, exercised control over
  28
                                                8
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 12 of 318 Page ID
                                  #:1365



   1 the Company and directed and/or authorized, directly or indirectly, the sale and/or
   2 solicitations of Yuga Financial Products to the public.
   3         23.   Defendant Nicole Muniz (“Muniz”) is a resident and citizen of New
   4 York, living in Brooklyn, New York.            Muniz is the Chief Executive Officer
   5 (“CEO”) of the Company, served as a consultant and spokesperson for the
   6 Company, exercised control over the Company and directed and/or authorized,
   7 directly or indirectly, the sale and/or solicitations of Yuga Financial Products to the
   8 public. Defendant Muniz filed the paperwork with the California Secretary of State
   9 for Yuga to do business in the state of California and was listed as Chief Financial
  10 Officer (“CFO”) and Secretary.
  11         24.   Defendant Jasmin Shoemaker (“Shoemaker”) is a resident and citizen
  12 of New York, living in Brooklyn, New York. Shoemaker is the Chief Operating
  13 Officer (“COO”) of the Company, served as a consultant and spokesperson for the
  14 Company, exercised control over the Company and directed and/or authorized,
  15 directly or indirectly, the sale and/or solicitations of Yuga Financial Products to the
  16 public.
  17         25.   Defendant Patrick Ehrlund (“Ehrlund”) is a resident and citizen of New
  18 York, living in Brooklyn, New York.            Ehrlund is the Chief Creative Officer
  19 (“CCO”) and minority partner of the Company, served as a consultant and
  20 spokesperson for the Company, exercised control over the Company and directed
  21 and/or authorized, directly or indirectly, the sale and/or solicitations of Yuga
  22 Financial Products to the public.
  23         26.   Defendant Christopher Lyons (“Lyons”) is a resident and citizen of
  24 Florida, living in Plantation, Florida. Lyons served as a board member, consultant
  25 and spokesperson for the Company, exercised control over the Company and
  26 directed and/or authorized, directly or indirectly, the sale and/or solicitations of
  27 Yuga Financial Products to the public.
  28
                                                9
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 13 of 318 Page ID
                                  #:1366



   1         27.   Defendant Alexis Ohanian (“Ohanian”) is a resident and citizen of
   2 Florida, living in Jupiter, Florida. Ohanian served as a board member of the
   3 ApeDAO, served as a consultant and spokesperson for the Company, exercised
   4 control over the ApeDAO, Ape Foundation, and the Company and directed and/or
   5 authorized, directly or indirectly, the sale and/or solicitations of Yuga Financial
   6 Products to the public. Ohanian’s SevenSevenSix was one of several investors in
   7 Yuga during the $450 million funding round.
   8         28.   Defendant Amy Wu (“Wu”) is a resident and citizen of California,
   9 living in San Francisco, California. Wu served as a board member of the ApeDAO,
  10 served as a consultant and spokesperson for the Company, exercised control over
  11 the ApeDAO, Ape Foundation, and the Company and directed and/or authorized,
  12 directly or indirectly, the sale and/or solicitations of Yuga Financial Products to the
  13 public.
  14         29.   Defendant Maaria Bajwa (“Bajwa”) is a resident and citizen of
  15 California, living in Glendale, California. Bajwa served as a board member of the
  16 ApeDAO, served as a consultant and spokesperson for the Company, exercised
  17 control over the ApeDAO, Ape Foundation, and the Company and directed and/or
  18 authorized, directly or indirectly, the sale and/or solicitations of Yuga Financial
  19 Products to the public.
  20         30.   Defendant Guy Oseary (“Oseary”) is a resident and citizen of
  21 California, living in Santa Monica, California. Oseary acted as a minority partner,
  22 consultant and spokesperson for the Company, exercised control over the Company
  23 and directed and/or authorized, directly or indirectly, the sale and/or solicitations of
  24 Yuga Financial Products to the public. Oseary’s Sound Ventures was one of
  25 several investors in Yuga during the Seed funding rounds.
  26         31.   Defendant Mike “Beeple” Winkelmann (“Winkelmann”) is a resident
  27 and citizen of South Carolina, living in North Charleston, South Carolina.
  28
                                                10
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 14 of 318 Page ID
                                  #:1367



   1 Winkelmann acted as a promoter for the Company and solicited sales of Yuga
   2 securities to the public.
   3         32.    Defendant Paris Hilton (“Hilton”) is a resident and citizen of
   4 California, living in Malibu, California.        Hilton acted as a promoter for the
   5 Company and solicited sales of Yuga securities to the public.
   6         33.    Defendant Madonna Louise Ciccone (“Ciccone”) is a resident and
   7 citizen of California, living in Hidden Hills, California.          Ciccone acted as a
   8 promoter for the Company and solicited sales of Yuga securities to the public.
   9         34.    Defendant Justin Bieber (“Bieber”) is a resident and citizen of
  10 California, living in Hidden Hills, California. Bieber acted as a promoter for the
  11 Company and solicited sales of Yuga securities to the public.
  12         35.    Defendant James “Jimmy” Fallon (“Fallon”) is a resident and citizen of
  13 New York, living in New York, New York. Fallon acted as a promoter for the
  14 Company, and solicited sales of Yuga securities to the public.
  15         36.    Defendant Electric Hot Dog, Inc. (“EHD” f/k/a Holiday Road) is a
  16 New York corporation, with its headquarters located at 200 Park Avenue South, 8th
  17 Floor, New York, New York 10003. EHD operates as the production company for
  18 The Tonight Show (“Tonight Show”), of which Defendant Fallon is the host. EHD
  19 is also the production company for several other projects, including the show
  20 “Password,” filmed in Los Angeles County, California.                 EHD acted as a
  21 spokesperson for the Company, exercised control over Defendant Fallon and the
  22 content and disclosures of the Tonight Show, and directed and/or authorized,
  23 directly or indirectly, the sale and/or solicitations of Yuga securities to the public.
  24         37.    Defendant Universal Television, LLC (“Universal”) is a New York
  25 corporation, with its headquarters located at 100 Universal City Plaza, Universal
  26 City, California 91608. On May 17, 2011, Universal registered with the California
  27 Secretary of State to transact business within California.             Universal is the
  28
                                                 11
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 15 of 318 Page ID
                                  #:1368



   1 production company for the Tonight Show, of which Defendant Fallon is the host.
   2 Universal acted as an indirect spokesperson for the Company by virtue of its
   3 exercise of control over both Defendant Fallon and the content and disclosures of
   4 the Tonight Show, and directed and/or authorized, directly or indirectly, the sale
   5 and/or solicitations of Yuga securities to the public.
   6         38.   Defendant Austin Richard “Post Malone” Post (“Post”) is a resident
   7 and citizen of Utah, living in Cottonwood Heights, Utah. Post acted as a promoter
   8 for the Company, and solicited sales of Yuga securities to the public.
   9         39.   Defendant Calvin “Snoop Dogg” Broadus, Jr. (“Broadus”) is a resident
  10 and citizen of California, living in Diamond Bar, California. Broadus acted as a
  11 promoter for the Company, and solicited sales of Yuga securities to the public.
  12         40.   Defendant Wardell Stephen Curry II (“Curry”) is a resident and citizen
  13 of California, living in Atherton, California. Curry acted as a promoter for the
  14 Company, and solicited sales of Yuga securities to the public.
  15         41.   Defendant adidas America Inc. (“Adidas”) is an Oregon corporation,
  16 with its headquarters located at 5055 N Greeley Avenue, Portland, Oregon 97217.
  17 On March 29, 2010, Adidas registered with the California Secretary of State to
  18 transact business within California. Adidas is the parent of adidas Ventures B.V.,
  19 the venture capital fund acquired by Adidas to make investments in start-up
  20 companies. Throughout the Class Period, Adidas acted as an agent and direct or
  21 indirect spokesperson for the Company by virtue of its capital investment in the
  22 Company, and directed and/or authorized, directly or indirectly, the solicitations of
  23 the Yuga Financial Products, as well as its own NFT collaboration with Yuga.
  24 Upon information and belief, Adidas controls and/or oversees the operations and
  25 management of the “adidas Originals” brand line, under which the “adidas
  26 Originals: Into The Metaverse” NFT collaboration with Yuga was launched.
  27
  28
                                                12
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 16 of 318 Page ID
                                  #:1369



   1         42.   Defendant adidas Ventures B.V. is a corporate venture capital firm
   2 with its headquarters located at Hoogoorddreef 9 A, 1101BA, Amsterdam,
   3 Netherlands. Founded in 2011, adidas Ventures B.V. started as a separate venture
   4 capital fund called Hydra Ventures until it was fully incorporated into the Adidas
   5 corporate structure in or around 2017. At the time of its acquisition by Adidas,
   6 Hydra Ventures was focused on “pursuing opportunities in nascent, fast-growing
   7 and American markets.”5          adidas Ventures B.V. currently operates as the
   8 investment arm of Adidas. adidas Ventures B.V. is a backer of Yuga, having
   9 participated in the Yuga seed funding round on March 22, 2022. adidas Ventures
  10 B.V. acted as an agent for the Company by virtue of its capital investment in the
  11 Company, and directed and/or authorized, directly or indirectly, the solicitations of
  12 Yuga securities to the public.
  13         43.   Defendant Ivan Soto-Wright (“Soto-Wright”) is a resident and citizen
  14 of Florida, living in Miami, Florida. Soto-Wright served as the CEO of MoonPay
  15 during the Class Period, and acted as a promoter for the Company, and solicited
  16 sales of Yuga securities to the public.
  17         44.   Defendant MoonPay USA LLC (“MoonPay”) is a Delaware
  18 corporation, with its headquarters located at 1111 Brickell Avenue, 10th Floor,
  19 Miami, Florida 33131. MoonPay acted as an agent and indirect spokesperson for
  20 the Company by virtue of it being controlled, in part, by Defendant Oseary, directed
  21 and/or authorized, directly or indirectly, the solicitations of Yuga securities to the
  22 public. On April 30, 2021, MoonPay registered with the California Secretary of
  23 State to transact business within California.
  24
  25
  26   5
            Did you hear? Adidas backs new venture investment and development firm
     called    Hydra    Ventures,    OUTSIDE     BUS.    J.   (Aug.     29,   2011),
  27 https://www.outsidebusinessjournal.com/brands/did-you-hear-adidas-backs-new-
     venture-investment-and-development-firm-called-hydra-ventures/.
  28
                                           13
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 17 of 318 Page ID
                                  #:1370



   1         45.   Defendant Sotheby’s Holdings Inc. (“Sotheby’s”) is a Delaware
   2 corporation, with its headquarters located at 1334 York Avenue, New York, New
   3 York 10021. Sotheby’s acted as a promoter for the Company, and solicited sales of
   4 Yuga securities to the public.
   5 III.    JURISDICTION AND VENUE
   6         46.   This Court has subject-matter jurisdiction over this action pursuant to
   7 28 U.S.C. §1332. Plaintiffs bring this civil action seeking to represent a Class of
   8 more than 100 plaintiffs pursuant to Federal Rule of Civil Procedure 23. Plaintiffs
   9 are citizens of California, Florida, and Texas. Ten of the 29 named Defendants are
  10 citizens of California; all of the other Defendants reside outside of California.
  11 Plaintiffs seek an award exceeding $5,000,000, exclusive of interest and costs, on
  12 behalf of themselves and the putative Class.
  13         47.   The Court has general jurisdiction over Defendants Ali, Wu, Bajwa,
  14 Oseary, Ciccone, Bieber, Hilton, Broadus, and Curry as they are all residents of the
  15 State of California and are thus “at home” in the forum.
  16         48.   The Court has general jurisdiction over Defendant Universal because
  17 its principal places of business are in California, and thus it is “at home” in the
  18 forum.
  19         49.   This Court may exercise jurisdiction over Defendants because they
  20 have continuous and systematic contacts with this District, do substantial business
  21 in this State and within this District, and engage in unlawful practices in this
  22 District as described in this Complaint, so as to subject themselves to personal
  23 jurisdiction in this District, thus rendering the exercise of jurisdiction by this Court
  24 proper and necessary.
  25         50.   Venue is proper in this judicial District pursuant to 28 U.S.C. §1391(b)
  26 because Defendants live and/or conduct business in this District, and a substantial
  27
  28
                                                14
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 18 of 318 Page ID
                                  #:1371



   1 part of the events or omissions giving rise to the claims alleged herein occurred in
   2 this District.
   3 IV.    FACTUAL ALLEGATIONS
   4        51.        Cryptocurrency, or crypto, is a form of digital asset that exists virtually
   5 and uses cryptography to secure transactions. Cryptocurrencies use a decentralized
   6 system to record transactions and issue new units. The first cryptocurrency was
   7 Bitcoin, which was launched in 2009. As of March 2023, there were over 20,000
   8 cryptocurrencies in existence.6
   9        52.        Anyone can create a new cryptocurrency. An internet search will
  10 provide you step-by-step instructions with video for creating a new cryptocurrency
  11 in less than an hour. Once created, the new cryptocurrency can be traded on
  12 cryptocurrency exchanges.           Exchanges can be centralized such as Coinbase,
  13 Crypto.com, Gemini, BitMart and others, or decentralized (Dex) such as Uniswap,
  14 Pancake Swap, and others.
  15        53.        Cryptocurrency is stored in crypto “wallets,” which are physical
  16 devices or online software used to store the private keys to the owner’s
  17 cryptocurrencies securely. Wallets have unique identifiers called “Wallet IDs.”
  18 There is no limit on the number of wallets a person can control.
  19        54.        Transactions of cryptocurrencies are recorded in a “blockchain,” which
  20 serves as a distributed public ledger. The amount of cryptocurrency transacted, the
  21 sender’s wallet address, the recipient’s wallet address and the date and time of the
  22 transfer for every transfer of cryptocurrency between digital wallets can be publicly
  23 viewed       on     the   blockchain    by    using   any    number     of   websites    like
  24 www.blockchain.com/explorer or www.etherscan.io.
  25
  26
       6
           Josh Howarth, How Many Cryptocurrencies are There In 2023?, EXPLODING
  27 TOPICS     (Mar.   14,   2023),   https://explodingtopics.com/blog/number-of-
     cryptocurrencies.
  28
                                         15
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 19 of 318 Page ID
                                  #:1372



   1         55.   The identity of an owner of a particular wallet is not publicly available
   2 from the blockchain. However, an owner can choose to reveal themselves. Or,
   3 since users usually have to reveal their identity in order to receive services or goods,
   4 many times the owner of a wallet can be deduced from a wallet’s transactions or by
   5 matching wallet data with other identifiable data points such as a user’s IP address
   6 or Know Your Customer (“KYC”) information provided to an exchange or other
   7 intermediary or market maker.
   8         56.   Like physical money, cryptocurrencies are fungible, meaning that they
   9 can be traded or exchanged, one for another. For example, one bitcoin is always
  10 equal in value to another bitcoin. Conversely, NFTs are cryptographic assets with
  11 unique identification codes and metadata that distinguish them from each other and
  12 cannot be replicated. Unlike fungible cryptocurrencies, NFTs cannot be traded or
  13 exchanged at equivalency. However, the price of NFTs within a given collection is
  14 highly correlated and the relative value of the collection can often be assessed by its
  15 floor price ‒ the lowest price an NFT in the collection can be purchased for. For
  16 example, if the floor price for an NFT collection is five ether or ETH (the native
  17 cryptocurrency for the Ethereum blockchain), it means that the lowest price
  18 someone can pay for an NFT that is not currently in an auction is five of the
  19 cryptocurrency token ether. Floor price is one of the key metrics investors consider
  20 when evaluating the intrinsic value for an NFT.
  21         57.   Besides being traded and exchanged, some cryptocurrencies can also
  22 be used for governance over the particular project or for some artificially created
  23 purpose or use. For example, cryptocurrencies can be used as a form of in-game
  24 virtual currency in an online video game. Cryptocurrencies can also be used as an
  25 incentive for players who earn special tokens as part of the game that can be
  26 swapped for other tokens or sold for cash.
  27
  28
                                                16
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 20 of 318 Page ID
                                  #:1373



   1        58.    Similarly, a cryptocurrency can be used as virtual currency for
   2 purchases made within the metaverse. The “metaverse” refers to a virtual-reality
   3 space in which users can interact with a computer-generated virtual environment
   4 and other users. Analysts predict that the metaverse has the potential to generate up
   5 to $5 trillion in value by 2030.7
   6        A.     Yuga Labs Background
   7               1.    The Founders
   8        59.    Yuga is a cryptocurrency-related NFT company founded in February
   9 2021 by a group of friends: Defendants Aronow, Solano, Atalay, and Ali. The four
  10 founders were joined by Defendant Muniz.
  11        60.    Ali first met Atalay when they were at the University of Virginia, and
  12 then both met Solano while studying computer science at the University of
  13 Maryland. Solano was also friends with Aronow, sharing a mutual interest in
  14 literature and online gaming.
  15        61.    In February 2021, Solano contacted Aronow about starting an NFT
  16 project. During the early conception of the BAYC brand, Aronow brought in
  17 Muniz to discuss both the creative and business side of the project. According to an
  18 interview of both Solano and Aronow, they described the early formation of Yuga
  19 as follows:
  20               Despite his interest in digital collectibles, Solano did not buy
            his first NFT until early 2021. Shortly thereafter, in February, Solano
  21
            texted Aronow to start an NFT project of their own. Aronow said:
  22        “We immediately started to conceive. One of the ideas was a public
            digital canvas, which Aronow shared with his longtime friend Nicole
  23
            Muniz, who is now the CEO of Yuga. She keenly predicted that
  24        someone would paint on it. a little brother.”
  25
  26
       7
            See, e.g., Value Creation in the Metaverse, MCKINSEY & COMPANY,
  27 https://www.mckinsey.com/capabilities/growth-marketing-and-sales/our-insights/
     value-creation-in-the-metaverse (last visited Oct. 16, 2023).
  28
                                               17
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 21 of 318 Page ID
                                  #:1374



   1                These people did just that. Aronow said: “I was like, where
             would you draw a phallus? The answer was: on the bathroom wall of
   2
             a dive bar. So what kind of people would go there?” The kind of
   3         people he knew on Crypto Twitter who made their fortunes in
             cryptocurrencies but still only wanted to play MMORPGs online and
   4
             not live the luxury life of the expected multi-millionaire.
   5
                   Aronow sent Solano a “whole article” to plan the idea, where
   6
             the name “Bored Ape Yacht Club” came up. “As the great editor,
   7         Solano said ‒ ‘That’s it. That’s it’” recalls Aronow. The concept
   8         evolved–in cryptocurrencies, [M]illionaires are real apes, and the term
             “ape” means that someone living in 2021 will compulsively invest in
   9         a new project without doing much research. Aronow said he and
  10         Solano started a limited liability company the next day.8
             62.   Atalay and Ali served as the developers of the BAYC NFT collection,
  11
       working on the technical side of the ERC-721 token’s creation while Solano and
  12
       Aronow served as Yuga’s creative department.
  13
             63.   Initially, Solano, Aronow, Atalay, and Ali hid their respective
  14
       identities from the public, instead operating under the following pseudonyms/alter
  15
       egos to avoid scrutiny from the public and investors during the early launch of the
  16
       Company:
  17
                     a.    Wylie Aronow went by “Gordon Goner”;
  18
                     b.    Greg Solano went by “Gargamel”;
  19
                     c.    Kerem Atalay went by “EmperorTomatoKetchup”; and
  20
                     d.    Zeshan Ali went by “Sass.”
  21
             64.   Yuga develops and sells to investors a variety of digital assets, which
  22
       fall into two basic categories: (1) various NFT collections; (2) an ApeCoin native
  23
       token, and titles to metaverse virtual land NFTs called Otherdeeds.
  24
  25
       8
  26        Interview with the founder of BAYC Boring [sic] Ape: the biggest success
     story     in    the     NFT      world,    COINYUPPIE      (Aug.    8,     2022),
  27 https://coinyuppie.com/interview-with-the-founder-of-bayc-boring-ape-the-biggest-
     success-story-in-the-nft-world/.
  28
                                             18
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 22 of 318 Page ID
                                  #:1375



   1         65.   Initially, the lion’s share of Yuga’s business comes from the sale of its
   2 various NFT collections. Yuga also programmed its NFTs so that the Company
   3 receives a 2.5% royalty every time one of its NFTs is resold on the secondary
   4 market. Yuga reportedly earned $127 million in profits from its NFT business in
   5 2021.9    According to a Yuga pitch deck that was leaked online, the “BAYC
   6 collections alone account for approximately 10% of the volume on OpenSea,” the
   7 largest NFT marketplace in the world.10
   8         66.   On April 20, 2021, the Company and Executive Defendants Aronow,
   9 Solano, Atalay, and Ali created the BAYC collection of NFTs, minting 10,000
  10 BAYC NFTs.        The Company boasted that ownership of these BAYC NFTs
  11 “double[d] as [a] membership to a digital club” that would give its owners access to
  12 “member’s-only benefits.”11
  13         67.   To encourage followers to BAYC’s Twitter account, the Company
  14 offered to give away a Bored Ape NFT to anyone who followed @boredapeyc in
  15 Twitter and liked, commented on, and retweeted BAYC’s promotional giveaway.12
  16         68.   As the name suggests, the BAYC NFTs feature pictures of an animated
  17 ape with a bored facial expression. The NFTs within the collection vary somewhat,
  18 having certain unique traits and characteristics. In fact, these BAYC NFTs are
  19
  20   9
              Ryan Weeks, Bored Ape startup plans virtual land sales, APECoin token to
       kickstart metaverse gaming project, THE BLOCK (Mar. 25, 2022),
  21   https://www.theblock.co/post/137829/bored-ape-yacht-club-yuga-labs-virtual-land-
       sales-metaverse.
  22   10
              Yuga Labs Pitch Deck: BAYC founders raised $450M from Andreesen
  23   Horowitz,       at   *28,       YUGA     LABS,     INC.   (Mar.    19,    2022),
       https://www.slideshare.net/PitchDecks/yuga-labs-pitch-deck-bayc-founders-project-
  24   455m-nft-revenue-2022 (“Yuga Labs Pitch Deck”).
       11
              Bored Ape Yacht Club (@BoredApeYC), TWITTER (Apr. 17, 2021, 12:31
  25   AM, https://twitter.com/BoredApeYC/status/1383276899749691394; Bored Ape
       Yacht Club (@BoredApeYC), TWITTER (Apr. 17, 2021, 1:04 PM),
  26   https://twitter.com/BoredApeYC/status/1383466417329106949.
       12
  27          Bored Ape Yacht Club (@BoredApeYC), TWITTER (April 17, 2021, 1:03
       PM), https://twitter.com/BoredApeYC/status/1383466067419299840.
  28
                                               19
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 23 of 318 Page ID
                                  #:1376



   1 distinguished and valued by the accessories that adorn the digital ape. For example,
   2 a BAYC NFT wearing sunglasses is generally considered to be rarer (and thus more
   3 valuable) than one that does not have a similar fashion accessory.
   4         69.   On April 24, 2021, Yuga launched the BAYC NFT collection, selling
   5 all 10,000 BAYC NFTs over the course of a week through the official public launch
   6 date of April 30, 2021. On April 27, 2021, prior to the public launch, Solano falsely
   7 represented that “Each Bored Ape owner has full commercial rights to their apes,
   8 btw.”13 And again falsely represented on June 5, 2021 that “Our ape holders quite
   9 literally own the rights to their apes, so just make sure you get permission to use
  10 them from the holders first.”14
  11
  12
  13
  14         70.   In fact, Yuga Labs LLC owns the commercial rights to the BAYC NFT
  15 collection ‒ not the ape holders ‒ and grants a limited and restrictive license to the
  16 NFT holders that dictates what the BAYC holders’ personal and commercial uses of
  17 the NFTs.15
  18         71.   Insiders and influencers were given inside information concerning the
  19 mint. For example, an influencer known as “Dingaling” is considered one of the
  20 most successful NFT investors and one of the biggest, if not the biggest holder of
  21 Yuga assets.16 On August 23, 2021, Dingaling tweeted that he had “100 apes from
  22
  23   13
              Communication made via Bored Ape Yacht Club Discord chat.
       14
  24          Id.
       15
          Bored Ape Yacht Club, Terms & Conditions, https://boredapeyachtclub.com/
  25   #/terms.
       16
  26          This Bored Ape Yacht Club Whale Became The Club’s Largest Holder This
       Weekend,       THE     BORED       APE      GAZETTE      (Dec.     5,    2021),
  27   https://www.theboredapegazette.com/post/this-bored-ape-yacht-club-whale-
       became-the-club-s-largest-holder-this-weekend.
  28
                                               20
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 24 of 318 Page ID
                                  #:1377



   1 mint still untouched.”17 Dingaling’s identity was recently unmasked as Dinghau
   2 Xiao, a high ranking Binance executive.18 Xiao was listed as a director in legal
   3 documents filed in Bermuda for an entity named Binance (Bermuda ) Ltd. Xiao
   4 was also part of a joint venture between FTX’s Sam Bankman-Fried and Binance,
   5 personally owning 5% of West Realm Shires Inc.19 West Realm Shires Inc. owned
   6 100% of West Realm Shires Services, Inc.,20 which was the entity that operated as
   7 FTX US, the domestic arm of the FTX exchange.21
   8         72.   Xiao, with inside information based on his executive role at Binance
   9 and/or FTX, minted dozens of Bored Ape NFTs in the opening mint. After the
  10 BAYC mint went live on the evening of April 30, 2021, Xiao minted 40 BAYC
  11 NFTs at 2:45am on May 1, 2021 in two transactions. Thereafter, Xiao minted 20
  12 BAYC NFTs at 2:54am, another 20 BAYC NFTs at 3:03am, and another 20 at
  13 3:15a.m.
  14         73.   Yuga’s portfolio of NFT collections is collectively worth billions. The
  15 BAYC collection alone was valued in the billions of dollars, with the floor price at
  16 around $114,000 as of August 2022, according to CoinGecko. Capitalizing on the
  17 success of its BAYC collection, Yuga also created a spinoff brand NFT collection,
  18
  19   17
              Dingaling (@dingalingts), TWITTER (Aug. 23, 2021, 7:37 A.M.),
  20   https://twitter.com/dingalingts/status/1429814982959525897.
       18
              Nicholas Kitonyi, Doxed NFT Whale’s Portfolio Shows Deep Ties to a Major
  21   Crypto Exchange, NFT GATORS (Nov. 8, 2022), https://www.nftgators.com/doxed-
       nft-whales-portfolio-shows-deep-ties-to-a-major-crypto-exchange/.
  22   19
              Id.
  23   20
              Order Revoking Money-Transmitter License, Dept. of Fin. Institutions v.
       West Realm Shire Servs. Inc. d/b/a FTX US, Admin. Action No. 2022-AH-0024
  24   (Ky. Dep’t of Fin. Institution Dec. 2, 2022), https://kfi.ky.gov/Documents/
       NONDEP;%202022-AH-0024%20West%20Realm%20Shires%20Services%20
  25   Inc.pdf.
       21
  26          Press Release, Order to Cease and Desist Issued to West Realm Shires
       Services Inc. d/b/a FTS US Becomes Final, GEORGIA DEP’T OF BANKING & FIN.
  27   (Dec. 8, 2022), https://dbf.georgia.gov/press-releases/2022-12-08/order-cease-and-
       desist-issued.
  28
                                              21
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 25 of 318 Page ID
                                  #:1378



   1 the Mutant Ape Yacht Club collection, worth approximately $427 million.22 In
   2 addition, Yuga’s NFT collection portfolio contains acquisitions by the Company,
   3 including owning the rights to the CryptoPunks (a series of avatars in an eight-bit
   4 art style worth approximately $970 million in total) and Meebits collections. These
   5 acquisitions were funded thanks, in part, to the seed investments from a16z future
   6 Yuga board member, Defendant Lyons.
   7         74.    On June 18, 2021, the Company and Executive Defendants Aronow,
   8 Solano, Atalay, and Ali launched a spinoff collection for Bored Ape holders called
   9 Bored Ape Kennel Club (BAKC). These Defendants then launched the Mutant Ape
  10 Yacht Club (MAYC) on August 28, 2021.
  11         75.    One of the main platforms that the Yuga founders (i.e. Executive
  12 Defendants Solano and Aronow) used to solicit sales of the Yuga NFT collections
  13 was on Discord. As Defendant Solano confirmed during a promotional interview
  14 published on the YouTube page of Yuga backer a16z, Discord was “so important”
  15 to Yuga’s efforts to solicit investments in Yuga Financial Products and he had spent
  16 “14 hours a day . . . 16 hours a day” in the beginning.23 On August 29, 2021,
  17 Defendant Solano bragged to investors on Discord that the BAYC NFTs had “sold
  18 out over the course of one wild night” and that they had become one of “the most
  19 distributed NFT collections of our kind,” promoting the price increase of the BAYC
  20 NFTs and growth prospects of the collection by touting that there were “million-
  21 dollar apes” following the initial mint, and that they “had so many celebrities and
  22 athletes ape-in to the club that it’s beginning to feel like we could field entire sports
  23 teams.” The following is a screenshot of Solano’s Discord statements:
  24
  25
       22
            Mutant Ape Yacht Club (MAYC) NFTs are created by combining two digital
  26 assets created by Yuga: a BAYC NFT and a SERUM NFT. The idea being that the
     “serum” would turn the buyer’s “bored ape” into a “mutant ape.”
  27 23
            https://www.youtube.com/watch?app=desktop&v=azQJYFWQ9TY.
  28
                                            22
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 26 of 318 Page ID
                                  #:1379



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13         76.   In September 2021, Defendant Muniz began serving as Yuga’s CEO
  14 and Defendant Ehrlund began as CCO.
  15      77. On February 4, 2022 an article on BuzzFeed.com (“BuzzFeed”)
  16 revealed the identities of Defendants Solano and Aronow. Shortly thereafter,
  17 Aronow posted a picture of himself on his Gordon Goner Twitter account, offering
  18 that he was revealing his face because he was “doxxed24 against my will.”25
  19 Similarly, Solano posted his own picture on his Crypto Gargamel (Garga.eth)
  20 Twitter account, stating “[g]ot doxed [sic] so why not.”26
  21
  22
  23   24
              “Dox” means to publicly identify or publish private information about
  24   someone without their consent.
       25
              GordonGoner.eth (Wylie Aronow) (@GordonGoner), TWITTER (Feb. 4,
  25   2022,     4:55     PM),   https://twitter.com/GordonGoner/status/14897645410849
       30048?s=20&t=g1mRpxWbWmWNzjxw385m2A.
  26   26
              Garga.eth (Greg Solano) (@CryptoGarga), TWITTER (Feb. 4, 2022, 5:10 PM),
  27   https://twitter.com/CryptoGarga/status/1489768443771596800?s=20&t=g1mRpxW
       bWmWNzjxw385m2A.
  28
                                               23
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 27 of 318 Page ID
                                  #:1380



   1        78.    No later than February 7, 2022, Defendant Shoemaker began officially
   2 serving as the Company’s chief operating officer.
   3        79.    After Executive Defendants Solano, Aronow, Atalay, Ali, Muniz,
   4 Ehrlund, and Shoemaker were able to massively increase interest in the BAYC
   5 NFTs and the idea of cross-utilization of those NFTs through the misleading
   6 promotional campaign executed by the Promoter Defendants, these Executive
   7 Defendants and Oseary turned towards expanding the Bored Ape brand beyond
   8 NFTs. First, Muniz suggested new financial spin-off products like the MAYC and
   9 Bored Ape Kennel Club NFT collections. The Executive Defendants would then
  10 cross-promote the collections on BAYC’s Twitter account by encouraging people to
  11 “adopt” Bored Ape Kennel Club dog NFTs through their BAYC NFT purchases27
  12 and boasting that the NFT combination raised “50 ETH . . . for charity.”28
  13        80.    Next, came Yuga’s version of printing its own money: ApeCoin tokens
  14 (discussed further below).
  15        81.    Finally, in an effort to artificially generate some actual use for these
  16 various unregistered Yuga securities (beyond making corporate insiders filthy rich),
  17 the Executive Defendants claimed to be creating its own collective virtual shared
  18 space or “metaverse” platform, Otherside. The Otherside metaverse was billed to
  19 be Yuga’s persistent, immersive virtual world that users could interact with using
  20 digital avatars from the BAYC, MAYC, or other Yuga NFT collections. Executive
  21 Defendants, Oseary, and the ApeDAO Board Defendants touted ApeCoin tokens as
  22 the Otherside’s native currency. Yuga and its executives promoted the Otherdeed
  23 NFTs (which served as plots of “land” in the Otherside metaverse) as an extension
  24
  25
       27
          Bored Ape Yacht Club (@BoredApeYC), TWITTER (June 21, 2021, 10:49
  26 AM), https://twitter.com/BoredApeYC/status/1407032879377534980.
     28
  27      Bored Ape Yacht Club (@BoredApeYC), TWITTER (June 26, 2021, 7:10
     AM), https://twitter.com/BoredApeYC/status/1408789893749350402.
  28
                                          24
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 28 of 318 Page ID
                                  #:1381



   1 of the BAYC ecosystem and the place where the BAYC NFTs could grow, prosper,
   2 and interact with others “in the club.”
   3               2.    The Fifth Ape - Oseary
   4        82.    On October 12, 2021, the Company announced in a Variety magazine
   5 exclusive article that it had signed a representation deal with Defendant Oseary to
   6 expand the BAYC NFTs into movies, TV, music, and gaming, and promoted the
   7 Variety article through BAYC’s Twitter account.29 In truth, Oseary was officially
   8 brought in to actively recruit the Promoter Defendants to solicit sales of the BAYC
   9 NFTs and other Yuga Financial Products, which they did.
  10        83.    While each of the Executive Defendants played their part in the
  11 organizing of the misleading promotion scheme (discussed further below), none
  12 was more instrumental than the so-called “Fifth Ape” Defendant Oseary, who spent
  13 years in Hollywood building relationships with the Promoter Defendants. For
  14 example, when Defendant Fallon assumed the Tonight Show hosting role on
  15 February 17, 2014, one of his first two guests was the world-famous rock band U2.
  16 As the band’s manager at the time, Oseary facilitated this appearance and helped
  17 Fallon’s career take off. Fallon also regularly attends an annual MTV Video Music
  18 Awards after-party hosted by Oseary.
  19        84.    Oseary has experience in soliciting unregistered crypto securities via
  20 Hollywood promotions. In May 2018, Oseary introduced Ripple’s XRP token to
  21 retail investors by organizing a highly publicized $4 million donation from Oseary
  22
  23
  24
       29
  25        Shirley Halperin, Bored Ape Yacht Club Creators Yuga Labs Sign
     Representation Deal With Madonna, U2 Manager Guy Oseary (Exclusive),
  26 VARIETY (Oct. 12, 2021), https://variety.com/2021/digital/news/bored-ape-yacht-
     club-yuga-labs-sign-with-madonna-u2-manager-guy-oseary-1235086011/; Bored
  27 Ape Yacht Club (@BoredApeYC), TWITTER (Oct. 12, 2021, 6:50 AM),
     https://twitter.com/BoredApeYC/status/1447922609266601990.
  28
                                            25
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 29 of 318 Page ID
                                  #:1382



   1 and business partner Ashton Kutcher given to Ellen DeGeneres’s charity during the
   2 show.30 The donation was purportedly made in the form of XRP tokens.
   3        85.   Oseary also conducts business with Defendant Bieber’s manager
   4 Scooter Braun via their start-up investment funds A-Grade Investments and SB
   5 Projects, respectively.   More directly, Oseary has been Defendant Ciccone’s
   6 personal manager and business partner for decades. And Oseary’s social media
   7 company Pearpop received its initial financial backing from Defendant Hilton
   8 (along with ApeDAO Board Defendant Ohanian individually). Finally, Oseary’s
   9 network extends to other talent management agencies like the Creative Arts Agency
  10 (“CAA”), which also represents Defendants Ciccone and Fallon. Oseary’s Sound
  11 Ventures partner, Ashton Kutcher, is also represented by CAA.
  12        86.   Oseary is further linked to several of the Promoter Defendants via their
  13 mutual early investments in a cryptocurrency company, MoonPay. Significantly,
  14 many of MoonPay’s early investors were made up of Oseary’s immediate and
  15 extended network.    For example, Oseary and Sound Ventures were also early
  16 investors in MoonPay. Other early MoonPay backers include Defendants Paris
  17 Hilton, Justin Bieber (and his manager Scooter Braun), Austin Post, and Calvin
  18 Broadus, Jr. CAA is also an initial backer of MoonPay.
  19        87.   Oseary saw an opportunity to profit from using his celebrity contacts to
  20 promote the sale of Yuga securities, and he took it. Oseary used NFT artist and
  21 business partner Defendant Mike “Beeple” Winkelmann to facilitate a meeting with
  22 Yuga and the Executive Defendants, so that Oseary could pitch his plan to promote
  23 Yuga and the BAYC NFT collection. Defendant Aronow admitted that “‘[w]e
  24 didn’t really know why he [i.e. Oseary] was so interested in us – it was a little
  25
       30
  26        Tom Huddleston Jr., Ashton Kutcher gave Ellen DeGeneres $4 million in
     cryptocurrency for her charity ‒ here’s what you need to know about Ripple’s XRP,
  27 CNBC (May 24, 2018), https://www.cnbc.com/2018/05/24/ashton-kutcher-gave-
     ellen-degeneres-ripples-xrp-for-charity.html.
  28
                                              26
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 30 of 318 Page ID
                                  #:1383



   1 perplexing.’”    According to Aronow, Oseary eventually managed to “‘become
   2 integral to the process of basically everything that we do.’”31
   3         88.   Oseary had an overlapping financial interest in promoting MoonPay’s
   4 services, which was synergistic with the related interest that he and the Yuga
   5 executives had in promoting the BAYC NFT collection. His plan would effectively
   6 allow him, the Executive Defendants, and MoonPay (as well as the Promoter
   7 Defendants Bieber, Hilton, Post, and Broadus, who each separately had a financial
   8 interest in MoonPay) to all financially benefit from the cross-pollination and
   9 promotional efforts for the Yuga Financial Products. As ApeCoin DAO member
  10 Dean Steinbeck admitted in an August 2022 ApeCoin Town Hall meeting, “[w]e as
  11 a [Ape] community put a lot of faith, for example, in Guy Oseary. We said, you
  12 know, here’s x amount of tokens and you know, please help us promote
  13 ApeCoin.”32
  14         89.   The Executive Defendants, in conjunction with Oseary, tapped into
  15 their collective networks to recruit high-profile celebrities to promote the sale of
  16 Yuga’s collections of NFTs, particularly the BAYC NFTs. Together, Oseary, the
  17 MoonPay Defendants, and the Promoter Defendants each shared the strong motive
  18 to use their influence to artificially create demand for the Yuga securities, which in
  19 turn would increase use of MoonPay’s crypto payment service to handle this new
  20 demand. At the same time, Oseary could also use MoonPay to obscure how he paid
  21 off his celebrity cohorts for their direct or off-label promotions of the Yuga
  22 Financial Products.
  23         90.   Upon information and belief, Oseary also worked as a fixer for Yuga
  24 and the Executive Defendants.         On June 24, 2022, Yuga filed a trademark
  25
  26   31
         Id.
     32
  27     TWITTER (Aug.           18,   2022,   54:13-55:03),   https://twitter.com/i/spaces/
     1YqKDqZeQwOGV.
  28
                                               27
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 31 of 318 Page ID
                                  #:1384



   1 infringement claim against artist Ryder Ripps (“Ripps”) related to the sale of Ripps’
   2 satirical NFT collection that Ripps has indicated is meant to shed light on the use of
   3 racist imagery and tropes within the BAYC NFT collection and its branding.
   4         91.   In a declaration submitted by Ripps in support of his anti-SLAPP
   5 motion, he describes an interaction he had with Defendant Oseary regarding Ripps’
   6 claims that the BAYC NFTs contained hidden racist imagery:
   7                 In December 2021, Guy Oseary, Yuga’s talent manager, called
             me to discuss the public statements I had made about Yuga’s neo-Nazi
   8
             symbolism. On the call, Oseary made a series of vague threats, saying
   9         “I can be a nice guy or I can be a not nice guy” and that I would be
             better off being friends with Yuga. Oseary suggested that he
  10
             understood Yuga used racist dog whistles by stating “who am I to
  11         judge someone’s art.” Oseary stated that he would help me if I kept
             silent and that he could make my life difficult if I did not cooperate.
  12
             Oseary also offered to introduce me to Kanye West, not realizing that
  13         I already worked with him, and later added me to a text message
  14         thread with West’s manager. When I had not posted anything new
             criticizing Yuga for about one week and unpinned a tweet criticizing
  15         Yuga, Oseary left me a voice memo thanking me for my silence.33
  16
             92.   The same day that the BuzzFeed article exposed the identities of
  17
       Solano and Aronow, which were previously hidden from the public and investors,
  18
       Oseary posted the following message34 on his Twitter account:
  19
  20
  21
  22
  23
  24
  25   33
            Declaration of Ryder Ripps, Yuga Labs, Inc. v. Ryder Ripps et. al., No. 2:22-
     cv-04355-JFW-JEM (C.D. Cal. Oct. 3, 2022) (ECF No. 48-1), ¶7.
  26 34
            Guy Oseary (@guyoseary), TWITTER (Feb. 4, 2022, 5:13 PM),
  27 https://twitter.com/guyoseary/status/1489769181532753924?s=20&t=S3hmrMbihK
     gkSvhVgBWJPw.
  28
                                              28
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 32 of 318 Page ID
                                  #:1385



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13         93.   Notably, Oseary cropped this photo in an effort to continue to hide the
  14 identities of Executive Defendants Ali and Atalay since they were not revealed in
  15 the BuzzFeed exposé.
  16         94.   However, four days later, on February 8, 2022, Executive Defendants
  17 Atalay and Ali also posted pictures that revealed their true identities in the wake of
  18 the outing of Solano and Aronow.35 Oseary, ever the promoter, immediately posted
  19 the uncropped picture he previously posted with the following statement:36
  20
  21
  22
  23
       35
            Sass (Zeshan Ali), (@SassBAYC), TWITTER (Feb. 8, 2022, 12:46 PM),
  24 https://twitter.com/SassBAYC/status/1491151597682180096?s=20&t=g1mRpxWb
     WmWNzjxw385m2A;               EmperorTomatoKetchup        (Kerem     Atalay)
  25 (@TomatoBAYC),           TWITTER       (Feb.    8,    2022,    12:46   PM),
     https://twitter.com/TomatoBAYC/status/1491151593055879168?s=20&t=g1mRpx
  26 WbWmWNzjxw385m2A.
     36
  27        Guy Oseary (@guyoseary), TWITTER (Feb. 8, 2022, 1:04 PM),
     https://twitter.com/guyoseary/status/1491155912718897154?lang=en.
  28
                                              29
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 33 of 318 Page ID
                                  #:1386



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16              3.    The Facilitator – MoonPay

  17        95.   MoonPay is a company founded by Defendant Ivan Soto-Wright,
  18 which purports to provide a service that allows investors (particularly high-net-
  19 worth investors) to buy and trade NFTs “without hassle.” The mechanics of how
  20 such transactions are executed or who is ultimately paying to buy the NFTs is
  21 unclear. According to Soto-Wright, his business started operations in the United
  22 Kingdom (“UK”) before moving into other countries in Europe.
  23      96. In an interview with the crypto news outlet Protos, Defendant Soto-
  24 Wright disclosed that he “started this in Europe, in the UK, [a]nd open banking
                   37
  25 wasn’t ready.” Soto-Wright went on to reveal that regulators in the UK and/or
  26
       37
  27          Bootstrapping an ambitious idea in crypto, MIXERGY.COM (Aug. 25, 2021),
       https://mixergy.com/interviews/moonpay-with-ivan-soto-wright/.
  28
                                             30
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 34 of 318 Page ID
                                  #:1387



   1 potential users were “sketched out” by services offered by Soto-Wright’s proto-
   2 version of MoonPay, Saveable, a start-up company offering crypto payment
   3 services that was ultimately acquired by a UK competitor Plum: “Like, wait, I’m
   4 going to give this random service that I’ve never heard of access to my bank
   5 account so it can read my transaction history and then move money around. Uh, no
   6 thanks. So yeah, I think I learned that the hard way.”38
   7         97.    Soto-Wright further promoted himself and his crypto payment
   8 businesses as having a fiduciary obligation to inform investors about the nature of
   9 the financial products those investors purchased because of his services:
  10                Like, you know, moving people into a savings product is kind
             of like flossing your teeth. It’s like, you need to do that. Right. . . .
  11
             And I think that’s so good because people are now getting financial
  12         education in some way. Like, they’re gonna make some mistakes.
  13
                    They’re gonna invest in stupid stuff. They’re going to invest in
  14         meme coins and shit points. And, you know, the reality is part of that,
             you know, we need to do our job, uh, in terms of a fiduciary to make
  15
             sure that the people are doing their own research and, uh,
  16         diligencing what they’re buying.39
  17
       [Emphasis added.]
  18
             98.    Later in the interview, when Soto-Wright was asked about the
  19
       particulars of why the crypto payment business in the UK “didn’t work,” Soto-
  20
       Wright vaguely claimed that his “waving the white flag” and selling his business to
  21
       Plum was because he was “focus[ed] too much on the regulatory side of getting our
  22
       regulatory approval.” Soto-Wright stated that he sold his “regulatory licenses” so
  23
       that his competitor could “skip the. . . pain . . . that I went through 13 months at the
  24
       financial conduct authority. So I could hold client money and move money into
  25
  26
       38
             Id.
  27   39
             Id.
  28
                                                 31
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 35 of 318 Page ID
                                  #:1388



   1 [a] security. So, uh, that’s what happened. So it wasn’t like, it wasn’t a win for
   2 me.” When discussing the “know your customer” responsibilities a business like
   3 MoonPay is obligated to abide by, Soto-Wright acknowledged: “[W]e’re selling a
   4 financial instrument to some extent, right?”40 [Emphasis added.]
   5        99.    Soto-Wright went on to state that:
   6        [T]he reality is we had to turn it on first in Europe because in the
            United States, it was just extremely hard, like even getting bank
   7        accounts, uh, for crypto. I mean, now it’s getting a little bit better,
            but even getting, you know, getting bank accounts related to
   8        cryptocurrency, I mean, you would get shut down.
   9                And a lot of cases, banks just didn’t want to take on the risk.
            They didn’t understand it. It was too complex. Uh, but my, that was
  10        kind of the reason why I saw this as such a huge opportunity, because
            I felt that in the longterm banks would change their tune. And that’s
  11        exactly what you’re seeing now. Uh, something that was, can kind of
            consider it.
  12
                   Uh, sketchy or, you know, I’d say like red or Amber on kind of
  13        like the traffic light, uh, is now turning green.41
  14 [Emphasis added.]
  15        100. Soto-Wright further promoted that MoonPay’s diligence regarding its
  16 regulatory and fiduciary obligations was part of an effort to “combat money
  17 laundering” and the “risk of fraud.”42
  18        101. On May 26, 2021, the Malta Financial Services Authority (“MFSA”)
  19 issued the following directive against MoonPay: “The MFSA considers that the
  20 Company is not in a position to adhere in full to the requirements of Chapter 3 of
  21 the Virtual Financial Assets Rulebook (“the Rules”) and therefore on 26 May 2021,
  22 the MFSA directed the Company to cease the on-boarding of new clients with
  23 immediate effect.”43 Among other things, per Chapter 3 of the Rules, a license
  24
       40
           Id.
  25 41
           Id.
  26 42
           Id.
     43
  27       Notice, MoonPay Limited (“the Company”) MALTA FIN. SERVS. AUTH. (May
     26, 2021), https://www.mfsa.mt/publication/moonpay-limited-the-company/.
  28
                                            32
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 36 of 318 Page ID
                                  #:1389



   1 holder in Malta must maintain effective risk management and compliance policies
   2 and procedures.
   3        102. On April 13, 2022, MoonPay announced that “Music, sports, and
   4 entertainment VIPs invest $87 million in MoonPay,” stating that “60 influential
   5 figures and organizations from the worlds of music, sports, media and entertainment
   6 have collectively invested $87M in the company.”         Included on this list are
   7 Anthony Kiedis of Red Hot Chili Peppers (managed by Oseary), Sound Ventures
   8 (Oseary), Defendant Hilton, Defendant Bieber (and his manager Scooter Braun),
   9 Defendant Post, Defendant Broadus, as well as Kevin Hart, Gwyneth Paltrow (via
  10 Kinship Ventures), Thomas Pentz (Diplo), Alexander Pall and Andrew Taggart of
  11 the Chainsmokers (via Mantis VC), Nayvadius Wilburn Cash (Future) (“Wilburn
  12 Cash”) (via DreamCrew Entertainment), and Abel Tesfaye (The Weeknd)
  13 (“Tesfaye”).44 CAA is also an initial backer of MoonPay via Connect Ventures.
  14 Additionally, Yuga securities promoter and wife of ApeDAO Board Defendant
  15 Ohanian, Serena Williams, has ties to MoonPay via her board membership on
  16 Sorare, a collection of fantasy soccer NFTs.
  17        103. Behind the scenes, MoonPay’s entire business was a sham.
  18        104. MoonPay’s alleged fraudulent and deceptive conduct (described in
  19 detail below) is supported by the account of a former MoonPay employee
  20 (“Confidential Witness 1” or “CW1”) who worked for the company for the majority
  21 of 2022. CW1 was one of approximately five Compliance personnel at MoonPay.
  22 According to CW1, Compliance personnel performed Enhanced Due Diligence
  23 (“EDD”), Know Your Customer (“KYC”) and Anti-money Laundering (“AML”)
  24 checks on MoonPay customers, which are required by law for certain types of
  25
  26   44
          Geoffrey Lyons, Music, sports, and entertainment VIPs invest $87 million in
  27 MoonPay, MOONPAY (Apr. 13, 2022), https://www.moonpay.com/blog/investor-
     announcement.
  28
                                           33
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 37 of 318 Page ID
                                  #:1390



   1 financial transactions. Given CW1’s role in the Compliance group, CW1 had
   2 unique heightened access to files and data associated with MoonPay customer
   3 financial transactions: a level of access restricted to a small handful of personnel at
   4 the Company.
   5        105. The Compliance group was charged with ensuring that each customer
   6 was properly screened, including customers who transacted through MoonPay’s
   7 partners. Low-risk customers – those that, for example, sought to transact at lower
   8 dollar value and/or in fewer instances – were automatically screened through
   9 automatic software. High-risk customers, including those who sought to transact at
  10 high volumes, were manually screened by a Compliance employee.
  11        106. All Compliance employees, including Confidential Witness 1, utilized
  12 the MoonPay Dashboard – the company’s primary proprietary mainframe database
  13 and platform. The MoonPay Dashboard housed all customer information, including
  14 all customer profile and transactional data. The MoonPay Dashboard also included
  15 data associated with compliance checks for all NFT purchases, including those that
  16 occurred through one of MoonPay’s most prominent NFT partners, OpenSea. Such
  17 checks were also performed for all transactions that were executed by or on behalf
  18 of MoonPay executives.        According to CW1, every customer that transacted
  19 through MoonPay would have gone through either automated screening, or for
  20 high-risk customers, manual screenings completed by the Compliance group.
  21        107. As Confidential Witness 1 confirmed, all intra-crypto transactions are
  22 captured on the Ethereum blockchain, but the missing element in that blockchain
  23 transactional trail is the initial transaction, where fiat (e.g., U.S. Dollar) is
  24 exchanged for digital assets. Importantly, the MoonPay Dashboard captures the
  25 transactional data – including the person in question and, as required, data such as
  26 their address, proof of income and bank account statements, driver’s license,
  27 passport, or other form of identification, and a picture of themselves (or “selfie”)
  28
                                               34
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 38 of 318 Page ID
                                  #:1391



   1 that utilizes technology to detect liveness – when fiat currency is utilized to
   2 purchase ETH or by extension, an NFT.
   3        108. To perform their functions, the Compliance team was granted access to
   4 a restricted area in the MoonPay Dashboard. This enabled each of them (including
   5 CW1) to access, view, and make changes to sensitive customer information. All
   6 MoonPay customers were subject to standard, automated KYC and AML screening.
   7 However, any transactions that were above a certain monetary threshold – at or
   8 around $25,000, cumulatively, over a certain timeframe – required the Compliance
   9 team to manually perform EDD as well. EDD checks were also triggered when
  10 customers were based in certain known high-risk countries. EDD checks also
  11 involved so-called “wallet-screening.”        This screening is performed by the
  12 Compliance team using a third-party financial forensics platform called TRM Labs
  13 (“TRM”). TRM assisted the Compliance team in identifying wallets that were
  14 flagged for potential or actual sanctions violations, terrorist financing, darknet
  15 transactions, and other nefarious or suspicious activity. Any such hits on the TRM
  16 platform required the Compliance team to conduct additional reviews to either
  17 confirm such activities or approve the wallet, thereby enabling the customer
  18 associated with that wallet to perform transactions via MoonPay.
  19        109. While at MoonPay, Confidential Witness 1 sought to become more
  20 familiarized with the Company’s offerings and began questioning MoonPay’s
  21 business practices, specifically surrounding its Concierge service. Moreover, CW1
  22 became aware of public reports that celebrities were being investigated and sued for
  23 unlawfully promoting the sale of crypto assets, which only increased CW1’s
  24 suspicions of MoonPay’s Concierge service.
  25        110. MoonPay’s Concierge service was portrayed as an exclusive, by-
  26 invitation-only service that catered to celebrities and other high-net worth
  27 individuals by selling NFTs to these high-end clients, and providing additional
  28
                                              35
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 39 of 318 Page ID
                                  #:1392



   1 ancillary services associated with the purchase of NFTs.         According to CW1,
   2 MoonPay’s Concierge associates attended various industry functions and pitched
   3 the benefits of the Concierge service to this demographic. CW 1 was also present at
   4 some of these functions, including one at Soho House during NFT.NYC,45 and
   5 another during New York Fashion Week 2022.
   6         111. As time went on, CW1’s concerns about MoonPay’s Concierge service
   7 increased, prompting further investigation by CW1. First, CW1 began checking the
   8 MoonPay Dashboard to try to identify any compliance checks that might have been
   9 conducted on Concierge clients. In particular, CW1 ran targeted searches within
  10 the MoonPay Dashboard for all the highly publicized Concierge celebrity clientele,
  11 including, but not limited to, Defendants Bieber, Hilton, and Ciccone.
  12 Significantly, for CW1’s entire tenure at MoonPay, CW1 did not identify a single
  13 (1) celebrity client profile, (2) related compliance check results for such clients, or
  14 (3) transactional information for such clients, in the MoonPay Dashboard.
  15         112. Standing alone, the fact that no Concierge clients had any presence on
  16 the MoonPay Dashboard was troubling enough due to the representations MoonPay
  17 and the Promoter Defendants had been making publicly in connection with the
  18 ostensible purchase of NFTs. But this also raised a red flag for CW1 because not
  19 including these celebrities in the Dashboard system ran contrary to the supposed
  20 value-add MoonPay touted to its clients. According to CW1, after a client is
  21 screened, approved, and in the MoonPay Dashboard system, they would be able to
  22
  23   45
               Soho House is a global private members club with a reputation for hosting
  24   high-profile “celebrity” and high-net worth individuals from the entertainment, art,
       and fashion industries. Soho House boasts an intensive application process with a
  25   waitlist of over 30,000 people globally. The exclusive and star-studded nature of
       Soho House is such a known fact that it served as the basis for the plot for a Season
  26   6 episode of Sex and the City, in which one of the characters unsuccessfully tries to
       infiltrate the same Soho House location in Manhattan’s Meatpacking District that
  27   the MoonPay Concierge team visited during NFT.NYC. Concierge Associate
       Justin Johnson also serves on the committee for Soho House’s Austin location.
  28
                                                36
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 40 of 318 Page ID
                                  #:1393



   1 engage in unlimited crypto transactions going forward – across all MoonPay’s
   2 partners’ platforms and services through the MoonPay Passport service46 – without
   3 ever having to go through the compliance vetting and wallet-creation process again.
   4 As such, notwithstanding whether the publicly reported/celebrity promoted
   5 transactions actually occurred, the fact that no information was identified for these
   6 celebrities anywhere within the MoonPay Dashboard suggested to CW1 that these
   7 celebrities were not, and would not be in the future, availing themselves of the very
   8 service MoonPay had claimed to provide them.
   9        113. In early 2022, CW1 expressed interest to their supervisors – Elise
  10 Messerli (“Messerli”) (Compliance Associate promoted to Head of Product Risk in
  11 August 2022)47 and Pieter Schoeman (“Schoeman”) (Compliance Associate
  12 promoted to Head of Regulatory Compliance in August 2022) – in learning more
  13 about the Concierge service. Schoeman and Messerli reported to MoonPay co-
  14 founder, Chief Operating Officer, and Chief Financial Officer, Max Crown
  15 (“Crown”) until late December 2021. After late December 2021, Schoeman and
  16 Messerli reported to Compliance Director EMEA, Simon Knight. In turn, Knight
  17 reported to Max Crown. Crown was deeply involved in all aspects of the MoonPay
  18 business, and he was principally in charge of the Concierge service. In addition to
  19
  20
       46
            SanKrit K, Your passport to the Web3 economy, MOONPAY (Nov. 22, 2022),
  21 https://www.moonpay.com/learn/web3/your-passport-to-the-web3-economy; Web3
     Passport Home Page, MoonPay (last visited Oct. 16, 2023),
  22 https://www.moonpay.com/web3-passport.
     47
  23        Messerli and Defendant Soto-Wright were both previously involved with a
     venture capital firm, HODL Venture Capital. See Hodl VC Team and Co-Investors,
  24 PITCHBOOK (last visited Oct. 16, 2023), https://pitchbook.com/profiles/
     investor/491088-88#team. According to a lawsuit filed in the Delaware Chancery
  25 Court, HODL Venture Capital duped small investors into selling their stakes for
     pittances as part of a scheme to “clear out” small partners before the $555 million
  26 series A financing round. See Mike Lenoard, MoonPay Backers Duped Early
     Investor Before Financing, Suit Says, BLOOMBERG (Mar. 23, 2022),
  27 https://news.bloomberglaw.com/esg/moonpay-backers-duped-early-investor-before-
     financing-suit-says.
  28
                                              37
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 41 of 318 Page ID
                                  #:1394



   1 serving as CFO and COO and leading the Concierge program, Crown also oversaw
   2 the Compliance department.48
   3         114. Based on CW1’s ongoing interactions with Messerli and Schoeman,
   4 CW1 got the impression that neither was knowledgeable (at least to any significant
   5 degree) about the Concierge service beyond that of a typical employee. This
   6 surprised CW1 as they expected a reasonable compliance department to have
   7 greater insight into the workings of the Concierge program than what CW1
   8 observed in Messerli and Schoeman.49
   9         115. Confidential Witness 1 later scheduled a meeting with London-based
  10 Head of MoonPay Concierge, Charlotte Laborde.             Laborde reported to COO
  11 Crown. She was initially hired as “Strategy Lead to the COO” and was promoted to
  12 Head of Concierge as of May 2022. During this meeting, CW1 sought to learn
  13
  14   48
              According to his LinkedIn profile, Crown is “Responsible for Compliance,
       Legal, and Finance” for HODL.vc: the venture capital firm and incubator that
  15   founded MoonPay. See Max (Maximilian) Crown, LinkedIn (last visited Oct. 16,
       2023), https://www.linkedin.com/in/maxcrown/?originalSubdomain=uk.                 At
  16   HODL, Crown serves alongside Soto-Wright, the entity’s co-Founder. There does
       not appear to be any record of Crown having attended law school or being licensed
  17   to practice law. It is further noted that, consistent with the seemingly cavalier and
       high-risk approach to legal compliance at MoonPay, Soto-Wright and Crown
  18   derived the name “HODL” from an acronym that stands for “Hold On for Dear
       Life.” See How MoonPay Plans to Onboard the World Into Web3, NFT NOW (Jan.
  19   25, 2023), https://nftnow.com/podcasts/how-moonpay-plans-to-onboard-the-world-
       into-web3/, at 5:20.            Soto-Wright’s Instagram handle is Ivanhodl:
  20   https://www.instagram.com/ivanhodl/.
       49
  21          In August 2022, MoonPay reorganized the reporting structure for the
       Compliance team. From that point until October 2022, CW1 reported to the newly
  22   hired Director of Governance and Regulatory Affairs, Eduardo Gutierrez
       Fernandez, who, in turn, reported to the also newly hired Chief Compliance Officer,
  23   Brent Crider. The only reporting line that remained the same was that Crown stood
       at the top, receiving direct reports from Crider and his subordinates. It should also
  24   be noted that around the same time, MoonPay brought on a number of new
       executives including Asiff Hirji (“Hirji”) who notably is the ex-president of
  25   Coinbase, and an ex-operating adviser at the leading Yuga Labs backer, venture
       capital firm Andreessen Horowitz. Hirji is now acting president of MoonPay. See
  26   Ben Strack, Latest in Crypto Hiring: MoonPay Adds Range of Senior Execs,
       BLOCKWORKS (July 15, 2022), https://blockworks.co/news/latest-in-crypto-hiring-
  27   moonpay-adds-range-of-senior-execs; Asiff Hirji, LINKEDIN (last visited Oct. 16,
       2023), https://www.linkedin.com/in/asiff-hirji/.
  28
                                                38
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 42 of 318 Page ID
                                  #:1395



   1 more about the Company and the Concierge service specifically. Based on the
   2 conversation with Laborde, CW1 concluded that insofar as the practices of the
   3 Concierge service, MoonPay did not appear to pay any heed to financial regulations
   4 within the U.S.
   5         116. Given the absence of Concierge client data in the MoonPay
   6 Dashboard, as well as the meeting with Laborde and the news reports about other
   7 unlawful celebrity endorsements of digital assets, CW1 drafted a memorandum
   8 expressing concerns with MoonPay’s seemingly unlawful business practices. CW1
   9 submitted the memo to Messerli and Schoeman in or around May 2022, but neither
  10 responded to the substance of the memo. Instead, both Messerli and Schoeman
  11 advised CW1 on more than one occasion over the course of at least five months that
  12 they were pressed for time and could not comment on CW1’s submission. To the
  13 knowledge of CW1, Messerli and Schoeman never addressed the contents of the
  14 memo.
  15         117. The primary concern that CW1 outlined in the memo was that
  16 MoonPay was potentially running afoul of securities laws and other laws associated
  17 with the financial services industry. CW1 expressed concerns that celebrities were
  18 promoting the sale of these products without disclosing their own financial interests
  19 in those very same products. CW1 also expressed concerns in the memo as to
  20 whether MoonPay may have been in violation of certain licensing requirements
  21 (e.g., Broker-Dealer, FINRA, etc.) given the nature of its business. CW1 noted that
  22 the Concierge service was developed and operated solely by sales personnel and
  23 was seemingly detached from any internal legal oversight, including what CW1
  24 deemed to be the required regulatory checks that the Compliance department should
  25 have performed. As CW1 observed, MoonPay’s Concierge service was being run
  26 more like a used car dealership as opposed to a business selling sophisticated
  27 financial instruments that were subject to securities laws.
  28                                     *      *     *
                                               39
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 43 of 318 Page ID
                                  #:1396



   1
             118. Defendants sold and/or solicited the sales of Yuga securities by relying
   2
       on a tried-and-true marketing strategy: celebrity endorsements. With the approval
   3
       of the Executive Defendants and ApeDAO Board Defendants and assistance of the
   4
       MoonPay Defendants and Promoter Defendants, Oseary applied this classic strategy
   5
       to the modern world of blockchain-related financial products and securities.
   6
             119. Oseary, the MoonPay Defendants, and Promoter Defendants Hilton,
   7
       Bieber, Post, and Broadus, each had a financial interest in MoonPay. Likewise,
   8
       celebrity influencers Kevin Hart, Thomas Pentz (Diplo), Alexander Pall and
   9
       Andrew Taggart (The Chainsmokers), Wilburn Cash (Future), and Tesfaye (The
  10
       Weeknd) also had financial interests in MoonPay and were used by Defendant
  11
       Soto-Wright and/or MoonPay to misleadingly promote, and solicit sales of, the
  12
       Yuga Financial Products. Upon information and belief as investors in MoonPay,
  13
       Oseary, and the Promoter Defendants Hilton, Bieber, Post, and Broadus had direct
  14
       or indirect control over MoonPay and its marketing, particularly with respect to
  15
       those promotional efforts each of these individual Defendants personally engaged
  16
       in, respectively.
  17
             120. Ultimately, “[t]he [BAYC NFT] series serves as a kind of fan club on
  18
       steroids that encourages owners of the NFTs to move through an ever-growing and
  19
       exclusive list of events and opportunities.”50 And the Company presents the Bored
  20
       Ape ecosystem as a brand that is organically beloved by some of the most famous
  21
       celebrities in the world. But the truth is that the Company’s entire business model
  22
       relies on using insidious marketing and promotional activities from A-list
  23
       celebrities that are highly compensated (without disclosing such), to increase
  24
  25
       50
  26        Shirley Halperin, From Maverick to Mogul, Madonna’s Manager Guy
     Oseary Transcends the Music World to Take on NFTs, VARIETY,
  27 https://variety.com/2022/music/news/guy-oseary-nft-madonna-u2-manager-
     1235325286/ (last visited Oct. 16, 2023).
  28
                                              40
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 44 of 318 Page ID
                                  #:1397



   1 demand of the Yuga securities by convincing potential retail investors that the price
   2 of these digital assets would appreciate and that, as members of “the club,” these
   3 investors would be given exclusive access to additional financial products and
   4 benefits.
   5        B.     The Misleading Promotion and Sale of Yuga Securities
   6        121. After the launch of the BAYC NFT collection in March 2021, the
   7 Company began a multi-pronged scheme to promote additional sales of the BAYC
   8 NFTs (and other Yuga-owned NFT collections), of which Yuga would take a 2.5%
   9 fee on every resale.
  10               1.    The First Scheme – The Deceptive Sotheby’s Auction
  11        122. The first order of business for the Company and its founders was to
  12 create an air of legitimacy around the BAYC NFT collection to generate investors’
  13 interest and hype around the Bored Ape brand. To do this, Yuga colluded with fine
  14 arts broker, Defendant Sotheby’s, to run a deceptive auction of a lot of 101 BAYC
  15 NFTs. This special sale was called “Ape In!”
  16        123. In the lead up to the BAYC auction, Sotheby’s representatives
  17 misleadingly promoted both the auction and the BAYC NFT collection on the
  18 Sotheby’s social media accounts and with statements to various news outlets.
  19 These promotions were amplified and further disseminated by the Company
  20 through its various social media accounts.
  21        124. For example, on August 27, 2021, Sotheby’s Head of Contemporary
  22 Art Auctions, Max Moore, posted an advertisement for the BAYC auction from his
  23 Twitter account, which included an animation of gold Bored Ape walking his
  24 golden Kennel Club dog, along with the Sotheby’s and BAYC logos and the dates
  25 of the BAYC auction.51
  26
       51
  27          Max Moore (@MaxMoore_Art) TWITTER (Aug. 27, 2021 9:58 AM),
       https://twitter.com/MaxMoore_Art/status/1431300201738735618?s=20.
  28
                                              41
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 45 of 318 Page ID
                                  #:1398



   1        125. On August 28, 2021, Sotheby’s promoted the BAYC auction as a
   2 landmark event for the storied arts dealer: “It’s official. For the first time in our
   3 277-year history, apes and kennels are storming Sotheby’s. The @BoredApeYC
   4 sale starts September 2. Ape In.”52 The promotion included the same animated
   5 video of the gold Bored Ape walking his golden Kennel Club dog from Moore’s
   6 earlier post. Sotheby’s official Twitter account also changed its profile picture to a
   7 golden Bored Ape in front of a golden Bored Ape Kennel Club dog to publicize the
   8 BAYC auction.
   9        126. On August 30, 2021, the Sotheby’s Twitter account again promoted the
  10 sale of BAYC NFTs, stating that “Bored Ape Yacht Club and Bored Ape Kennel
  11 Club have paved the way for what NFT art communities can be. Whether it’s your
  12 online identify, a shared culture, or you just want to ape in . . . the @BoredApeYC
  13 sale starts September 2.”53 The post then provided a link that leads investors to a
  14 Sotheby’s website that solicits the sale of Yuga securities.       In particular, the
  15 Sotheby’s website on that day advised that there were “3 Days Until Bidding
  16 Opens” on ”2 September 2021 - 10:00 EDT - New York.”54 On September 1, 2021,
  17 the website had counted down to “1 Day Until Bidding Opens.”
  18        127. The August 30, 2021 ad from Sotheby’s also contained an animated
  19 video of various Bored Apes partying at “Club Sotheby’s” and promoting Yuga
  20 Labs and its NFT collections. The video further directs investors to “Ape In” (i.e.,
  21 to make a purchase of Yuga securities), inviting them to “learn more at
  22
  23
       52
  24        Sotheby’s (@Sothebys) TWITTER (Aug. 28, 2021 7:00 AM),
     https://twitter.com/Sothebys/status/1431617671842381831?s=20.
  25 53     Sotheby’s (@Sothebys) TWITTER           (Aug. 30, 2021 9:00 AM),
     https://twitter.com/Sothebys/status/1432372722114433024?s=20.
  26 54
            Ape In! Auction Page – Archived, SOTHEBY’S (Sept. 2, 2021),
  27 https://web.archive.org/web/20210830162645/https://www.sothebys.com/en/buy/au
     ction/2021/ape-in?cmp=social_twitter_bored_ape_nft_aug-2021.
  28
                                             42
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 46 of 318 Page ID
                                  #:1399



   1 sothebys.com/boredape,” and it ends with images of the BAYC and Sotheby’s
   2 logos.55
   3         128. Sotheby’s Co-Head of Digital Art Sales, Michael Bouhanna, reposted
   4 Sotheby’s August 30 ad, advising investors: “This is your chance to own 1% of
   5 @BoredApeYC and become the 3rd biggest owner of one of the most important
   6 and in-demand NFT projects.”56
   7         129. On September 2, 2021 Moore reposted an announcement from Farokh
   8 Sarmad that he would be hosting “the official Sotheby’s x Bored Ape Yacht sale on
   9 Spaces at 11 AM ET!”57 Notably Sarmad is the founder and host of Rug Radio, a
  10 purportedly decentralized media platform that serves as a launchpad, incubator,
  11 brand builder, and accelerator for blockchain-related projects. According to the
  12 Rug Radio website, Yuga Labs is a “partner” with Rug Radio.
  13         130. Moore publicly touted the BAYC auction during the @farokh x
  14 @Sotheby’s Twitter Spaces live events.58 For example, on September 3, 2021,
  15 during the first Sotheby’s x BAYC Twitter Space hosted by Rug Radio, Moore
  16 claimed that the BAYC NFT collection had “made it to the gold level of art” by
  17 being offered for sale by an art dealer of Sotheby’s status,59 stating:
  18
  19
  20
  21
  22   55
              Sotheby’s Aug. 30, 2021 Tweet, supra n.52.
  23   56
              Michael Bouhanna (@michaelbouhanna) TWITTER (Aug. 30, 2021 9:02 AM),
       https://twitter.com/michaelbouhanna/status/1432373042521546752?s=20.
  24   57
              Farokh      (@farokh),     TWITTER     (Sept.    2,  2021 4:50  PM),
  25   https://twitter.com/farokh/status/1433532835722416132?s=20.
       58
              See Partner with Rug Radio, RUG RADIO (last visited Oct. 16, 2023),
  26   https://www.rug.fm/lfg.
       59
  27          See Wave Ninja, The Traditional Collector, SUBSTACK (May 2, 2023),
       https://waveninja.substack.com/p/the-traditional-collector.
  28
                                                43
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 47 of 318 Page ID
                                  #:1400



   1
   2
   3
   4
   5
   6
   7
   8
   9        131. Notably, Moore, during the promotion of another NFT auction
  10 conducted by Sotheby’s, previously acknowledged that the stamp of approval from
  11 a Sotheby’s endorsement can induce investors to make purchases of NFTs: “I do
  12 expect some collectors who maybe have never purchased an NFT to make their
                                                                         60
  13 first NFT purchase in this sale, given that it is a Sotheby’s sale.” Moore went
  14 on to acknowledge that Sotheby’s stood to gain from the sale of NFTs beyond
  15 simply the sales themselves.    Sotheby’s hoped that NFT sales (facilitated by
  16 Sotheby’s) would enable it to tap into a younger demographic of investors.
  17 According to Moore, the “sales [of NFTs] should help Sotheby’s attract new
  18 collectors who may not have interacted with the house before.” Moore further
  19 added: “It’s a much younger audience, which I think is quite interesting for
                        61
  20 Sotheby’s as well.” [Emphasis added.]
  21        132. Upon information and belief, Sotheby’s was aware of the vast amounts
  22 of money it stood to gain by soliciting sales of NFTs from investors through its
  23 promoted auctions.    One month after the BAYC auction, in October 2021,
  24
  25
       60
            Auction Houses Sotheby’s, Phillips Latest to Join NFT Craze, NDTV (Apr.
  26 13, 2021), https://www.ndtv.com/world-news/auction-houses-sothebys-phillips-
     latest-to-join-nft-craze-2412260.
  27 61
            Id.
  28
                                             44
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 48 of 318 Page ID
                                  #:1401



   1 Sotheby’s opened a NFT trading platform called the “Sotheby’s Metaverse,”62
   2 which, upon information and belief, operated (or attempted to operate) as an
   3 unregistered broker of securities.     During an interview for the launch of the
   4 Sotheby’s Metaverse, it stated that it planned on “extend[ing] NFT activities into
   5 areas such as contemporary art, museums and masterworks, luxury and fashion,
   6 sports, music and Entertainment, and science and technology.”63
   7         133. Sebastian Fahey, Executive Lead for the Sotheby’s Metaverse and
   8 Managing Director of the company’s business in Europe, the Middle East and Asia
   9 noted that “‘[w]hen Sotheby’s first entered the world of NFTs earlier this year, it
  10 was immediately clear that we had so far only scratched the surface of the potential
  11 of this new medium, and NFTs.’”64 During the same interview with Fahey, Moore
  12 added: “‘Since then, we have spent months exploring every aspect of the digital art
  13 landscape, aligning with some of the most influential minds of the NFT movement
  14 to architect a custom marketplace that prioritises curation and customisation.’”65
  15         134. This falls in line with Moore’s statement April 2021 regarding
  16 Sotheby’s designs capitalizing on the booming NFT market and its investors: “My
  17 primary focus right now is establishing these roots [with NFT investors like
  18 Plaintiffs and the Class], these connections, establishing these relationships,
  19 understanding what drives their collecting habit . . . . Then we’ll be able to kind of
  20 target them in a way that we would never have done before.”66 [Emphasis added.]
  21   62
            Sotheby’s Metaverse (@Sothebysverse) TWITTER (Oct. 14, 2021, 9:01 AM),
  22 https://twitter.com/Sothebysverse/status/1448680330194530312?s=20.
     63
            Raffaele Redi, Sotheby’s launches NFT Metaverse featuring Paris Hilton and
  23 Aoki, CURRENCY.COM (Oct. 15, 2021), https://currency.com/sotheby-s-launches-nft-
     metaverse-featuring-paris-hilton-and-aoki.
  24 64
            Id.
  25 65     Id.
     66
  26        Auction houses want to be part of the latest trend in art world, ECONOMIC
     TIMES (Apr. 14, 2021), https://economictimes.indiatimes.com/magazines/panache/
  27 auction-houses-want-to-be-part-of-the-latest-trend-in-art-world-sothebys-phillips-
     join-nft-craze/articleshow/82060210.cms?from=mdr.
  28
                                              45
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 49 of 318 Page ID
                                  #:1402



   1         135. On September 9, 2021 the Sotheby’s Auction House held the promoted
   2 auction on behalf of Yuga. As the auction was underway, Moore continued to
   3 promote the sale of BAYC NFTs by pointing to the then-current bid of $20 million
   4 for the lot of BAYC NFTs.67 In the end, Sotheby’s claimed to have sold the lot of
   5 BAYC NFTs to a purportedly anonymous buyer for $24.4 million. This bid far
   6 exceeded the upper estimate of $18 million, $240,000 per BAYC NFT, that
   7 Sotheby’s had publicly predicted.68 This price was more than $100,000 more than
   8 the floor price for BAYCs at the time.
   9         136. Bouhanna stated in a Twitter post on September 9, 2021: “Our Ape In!
  10 auction @Sothebys just achieved an outstanding $26.2M – a great indicator of the
  11 level of confidence in this amazing NFT project.         This is just the beginning.
  12 Congrats to BAYC.”69
  13         137. More importantly, following the final bid on the lot of BAYC NFTs, a
  14 Sotheby’s representative affirmed during the September 9, 2021 @farokh x
  15 @Sotheby’s Twitter Space that the winning bidder was a “traditional” collector.70
  16 Upon information and belief, this Sotheby’s representative was Max Moore.
  17 Notably, Moore has, during the promotion of another Sotheby’s NFT auction, both
  18 used the term and confirmed its distinction from new crypto investors naïve to
  19 Sotheby’s as a trading platform: “‘These new crypto investors have a very different
  20 aesthetic and a very different taste profile than a traditional collector would and so
  21
       67
            Max Moore (@MaxMoore_Art), TWITTER (Sept. 9, 2021 12:31 AM),
  22 https://twitter.com/MaxMoore_Art/status/1435868430679175170?s=20.
     68
  23        101 Bored Ape Yacht Club – Lot 1, SOTHEBY’S (last visited Oct. 16, 2023),
     https://www.sothebys.com/en/buy/auction/2021/ape-in/101-bored-ape-yacht-club;
  24 Darius McQuaid, NFT of Bored Apes sells for over $24m at Sotheby’s auction,
     CURRENCY.COM (Sept. 10, 2021), https://currency.com/nft-of-bored-apes-sells-for-
  25 over-24m-at-sothebys-auction.
     69
            Michael Bouhanna (@michaelbouhanna), TWITTER (Sept. 9, 2021),
  26 https://twitter.com/michaelbouhanna/status/1435971090061332488?s=20.
     70
  27        See Wave Ninja, supra n.58 (claiming to have personally heard this
     representation).
  28
                                             46
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 50 of 318 Page ID
                                  #:1403



   1 it’s important to provide a mix and a range of collectible at Sotheby’s to attract a
   2 wide variety of audience.’”71
   3        138. Indeed, concurrent reports confirmed Sarmad’s recap of the September
   4 9th Twitter Space conversation. While recordings of the @farokh x @Sotheby’s
   5 Twitter spaces are not publicly available, contemporaneous accounts by those
   6 listening live during these spaces personally recalled hearing the “traditional”
   7 remark from a Sotheby’s representative.72 For example, Sarmad stated: “Winner of
   8 the $24.4M lot of 101 Bored Apes is a traditional buyer and had to KYC through
   9 Sotheby’s.”73 As another post from the day relayed the following:
  10
  11
  12
  13
  14
  15        139. Likewise, a longstanding member of the BAYC community,
  16 TheGovernoreth, also confirmed that Moore had “said that the buyer of the 101 ape
  17 lot was a traditional art collector,” adding that such a feat hadn’t “happened in an
                         74
  18 NFT auction before.”
  19
  20
  21
  22
  23
  24   71
           Crypto-artist Pak’s single grey pixel NFT sold for $1.36 million, ARTREVIEW
     (Apr. 15, 2021), https://artreview.com/crypto-artist-pak-single-grey-pixel-nft-sold-
  25 for-1-36-million-dollars/.
     72
  26       Wave Ninja, supra n.58.
     73
           Id.
  27 74
           Id.
  28
                                              47
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 51 of 318 Page ID
                                  #:1404



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12        140. The Company’s official Twitter account also promoted the successful
  13 sale of the BAYC NFT lot during the Sotheby’s auction and congratulated the
  14 undisclosed “buyer,” stating in particular: “What an historic moment for the club:
  15 the @Sotheby’s auction of 101 Bored Apes has closed at over $24m.
  16 Congratulations and THANK YOU to the whole ape community. To the buyer, I
  17 think we speak for everybody when we say: WELCOME TO THE CLUB.
  18 ☠🦍⛵”75
  19        141. Concurrently, in an ARTnews article published on the same day as the
  20 BAYC auction (i.e., September 9, 2021) Sotheby’s Bouhanna discussed the BAYC
  21 auction and confirmed that “legacy art collectors were also heavily involved in the
  22 bidding.”76
  23
  24
  25   75
            Bored Ape Yacht Club (@BoredApeYC), TWITTER (Sept. 9, 2021),
     https://twitter.com/BoredApeYC/status/1435976278797164551?s=20.
  26 76
            Shanti Escalante-De Mattei, Sotheby’s Brings in $26 Million with Bored Ape
  27 NFT      Bundle, ARTNEWS (Sept. 9, 2021), https://www.artnews.com/art-
     news/market/sothebys-bored-ape-nft-sale-1234603344/.
  28
                                             48
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 52 of 318 Page ID
                                  #:1405



   1         142. Bouhanna further directly promoted the BAYC NFT collection (and
   2 implicitly confirmed the authenticity of Sotheby’s BAYC auction) in written
   3 statements to traditional news outlets. For example, again on September 9, 2021,
   4 Bouhanna downplayed the possibility of any danger to investors of there being an
   5 NFT market bubble, particularly for the BAYC NFT collection. In particular,
   6 Bouhanna stated that “although there is financial speculation on NFTs, [Bouhanna]
   7 sees the Bored Apes as works of art.” Bouhanna then unambiguously declared “the
   8 NFT market is not a bubble,” explaining:
   9                People were talking about a bubble in March, in June etc, and
             then we see that the market is even stronger today so I think they’ve
  10         been proven wrong . . . I think it’s a very organic market with great
             collectors who have great appreciation of art.”77
  11
  12         143. Sotheby’s Senior Administrator of Contemporary Art, Hallie Freer,
  13 also issued a statement justifying the high price of the BAYC NFT collection versus
  14 a similar lot of Yuga’s Kennel Club NFT collection being auctioned by Sotheby’s.
  15 In particular, on September 9, 2021, Freer explained that the disparity between the
  16 two lots was chalked up to the relatively older vintage of the BAYC NFTs: “‘[T]he
  17 apes have been on the market much longer – since late April – while the dogs were
  18 released in early August.’”78
  19         144. Bouhanna also made the rounds with the cryptocurrency-focused press
  20 outlets following the auction and promoted the BAYC NFTs: “‘The Bored Ape
  21
  22
  23
  24   77
            Elizabeth Howcroft, Set of “Bored Ape” NFTs sells for $24.4 mln in
     Sotheby’s       online      auction,       REUTERS        (Sept.       9,      2021),
  25 https://www.reuters.com/lifestyle/set-bored-ape-nfts-sell-244-mln-sothebys-online-
     auction-2021-09-09/.
  26 78
            Kevin Donovan, Bored Ape NFT lots sell at auction for $24.4m, $1.8m,
  27 C  APITAL.COM (Sept. 9, 2021), https://capital.com/bored-ape-nft-lots-sell-at-auction-
     for-24-4m-1-8m.
  28
                                              49
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 53 of 318 Page ID
                                  #:1406



   1 Yacht Club project is one of the most exciting and creative NFT collectibles since
   2 the launch of CryptoPunks, and has become a major force in pop culture.’”79
   3        145. The promotions of the Sotheby’s auction of the BAYC NFT collection
   4 were effective in cloaking the Yuga securities in the air of legitimacy. As one news
   5 outlet observed: “The fact that this [BAYC NFT] auction is being handled by the
   6 Contemporary Art department at Sotheby’s speaks volumes.”80 [Emphasis added.]
   7        146. Shortly after the Sotheby’s auction and its related promotions, BAYC
   8 NFTs hit a then new all-time high floor price around 43 ETH per NFT. The
   9 following chart indicates how much impact the Sotheby’s auction and its promotion
  10 had on the price of BAYC NFTs:
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25   79
            Tracy Wang, Sotheby’s Auction of 101 Bored Ape NFTs Fetches $24M,
     Smashing         Estimates,       COINDESK        (Sept.       9,       2021),
  26 https://www.coindesk.com/markets/2021/09/09/sothebys-auction-of-101-bored-ape-
     nfts-fetches-24m-smashing-estimates/.
  27 80
            Donovan, supra n.77.
  28
                                           50
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 54 of 318 Page ID
                                  #:1407



   1         147. This initial boost, however, was rooted in deception.          Sotheby’s
   2 representations that the undisclosed buyer was a “traditional” collector had
   3 misleadingly created the impression that the market for BAYC NFTs had crossed
   4 over to a mainstream audience. The Company and its founders likewise touted the
   5 Sotheby’s stamp of approval that the auction was above board. But the reality of
   6 the winning “bid” of the Sotheby’s auction exposes the falsity of those statements.
   7 In truth, it was not a “traditional” buyer that made the winning bid in the BAYC
   8 NFT auction, but rather the now-defunct cryptocurrency exchange FTX.81
   9         148. FTX has several deep ties to Yuga such that it would be mutually
  10 beneficial for both Yuga and FTX (as well as Sotheby’s) if the BAYC NFT
  11 collection were to rise in price and trading volume activity. Upon information and
  12 belief, given the extensive financial interests shared by Yuga, Sotheby’s and FTX,
  13 each knew that FTX was the real buyer of the lot of BAYC NFTs at the Sotheby’s
  14 auction at the time that Sotheby’s representatives were publicly representing that a
  15 “traditional” buyer had made the purchase.
  16         149. According to the transaction data available on the Ethereum
  17 blockchain, following the auction, on September 22, 2021, Sotheby’s transferred
  18 the    lot   of   BAYC      NFTs     to   wallet   address   0xf8e0C93Fd48B4C34A
  19 4194d3AF436b13032E641F3,82           which,   upon    information    and    belief,   is
  20 owned/controlled by FTX.           This wallet previously sent 13 ETH to a
  21 “Blockfolio”/FTX US exchange in April of 2020 ‒ prior to the launch of FTX US in
  22
  23
       81
            As of the filing of this complaint, top executives of FTX and its sister trading
  24 arm Alameda Research (“Alameda”) have either pled guilty to or are defending
     against significant criminal charges related to fraud, money laundering, and other
  25 securities law violations.
     82
  26        Transaction Hash: 0x43802846b97e4a5785a069ed6f845b8c96ad8a59ba
     e6cbfebf2990dd1eb59f39 ETHERSCAN (Sept. 22, 2021, 4:57 PM),
  27 https://etherscan.io/tx/0x43802846b97e4a5785a069ed6f845b8c96ad8a59bae6cbfeb
     f2990dd1eb59f39.
  28
                                                51
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 55 of 318 Page ID
                                  #:1408



   1 May 2020 and FTX’s NFT sales platform in December 2021.83 This form of
   2 interaction often indicates a relationship between this wallet and the exchange.
   3         150. Moreover, for the launch of its NFT platform, on December 1, 2021,
   4 FTX put out a promotional video that featured more BAYC NFTs from the
   5 Sotheby’s auction.84 Promoter Defendant Stephen Curry, who as discussed further
   6 below misleadingly promoted the FTX platform and the BAYC NFT collection,
   7 tacitly endorsed this joint FTX/BAYC ad, replying: “Cool announcement video, but
   8 my editing skills are missed 😂.”85 Importantly, the promotional video showcased
   9 certain BAYC NFTs which were plainly identifiable from the lot of BAYC NFTs
  10 from the Sotheby’s auction. For example, BAYC NFT #5812 and #3432 can be
  11 seen in the video, and as of the filing of this complaint, remain in wallets owned
  12 and/or controlled by FTX.86
  13         151. FTX even promoted the listing of precisely “101” BAYC NFTs on
  14 FTX US.87 Moreover, when the BAYC NFTs were sold on the FTX US NFT
  15 exchange, the securities initially needed to be transferred to a deposit wallet that
  16 had frequent and large transactions with other known FTX and/or Alameda wallets.
  17 In fact, as discussed further below, these wallets received millions of dollars’ worth
  18 of ApeCoin under highly dubious circumstances.
  19
  20   83
              Transaction      Hash:    0xdb8eee2a48976c47666ccf80c99d9dbe90f40e6ee
  21   54835779145e1d3a0f9c499, ETHERSCAN (Apr. 14, 2020, 1:27 AM),
       https://etherscan.io/tx/0xdb8eee2a48976c47666ccf80c99d9dbe90f40e6ee54835779
  22   145e1d3a0f9c499.
       84
              FTX (@FTX_Official), TWITTER (Dec. 1, 2021 7:56 AM),
  23   https://twitter.com/FTX_Official/status/1466073606618820610?s=20.
       85
  24          Stephen Curry (@StephenCurry30), TWITTER (Dec. 3, 2021 10:52 AM),
       https://twitter.com/StephenCurry30/status/1466842814738690049?s=20.
  25   86
              Token: BoredApeYachtClub, ETHERSCAN (last visited Oct. 16, 2023),
       https://etherscan.io/token/0xbc4ca0eda7647a8ab7c2061c2e118a18a936f13d?a=0xf
  26   02e86d9e0efd57ad034faf52201b79917fe0713.
       87
  27          See Conor (Conor Grogan) (@gconorgrogan), TWITTER (Dec. 21, 2022 7:30
       AM), https://twitter.com/jconorgrogan/status/1605586391332552706?s=20.
  28
                                               52
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 56 of 318 Page ID
                                  #:1409



   1        152. Indeed, screenshots of FTX’s NFT marketplace indicate that the only
   2 BAYC NFTs available for purchase were exclusively from the lot of BAYC NFTs
   3 at the Sotheby’s auction. For example, one image posted on November 23, 2021
   4 showed BAYC NFTs #4465, 5211, 7468, 7824, 7826, 7976, 7978, and 8181,88
   5 which all were transferred to the same wallet that held BAYC NFTs #5812 and
   6 #3432 discussed above. The floor price for BAYC NFTs fell 9.7% from 49 ETH on
   7 November 19, 2021 (the same day Defendant Broadus promoted the BAYC NFT
   8 collection as being in “excellent hands with . . . tech & entertainment maven
   9 @guyoseary managing the overall BAYC IP”89) down to 44.21 ETH on November
  10 23, 2021 when news that FTX was the Sotheby’s auction’s real winning bidder was
  11 revealed to the market.90
  12        153. Notably, FTX priced these BAYC NFTs so aggressively high that it
  13 created arbitrage opportunities. As one BAYC NFT investor noted on December 5,
  14 2021: “The real BAYC floor right now is on FTX. Apes offered at 49 [eth] vs.
  15 Opensea at 52 [eth]. Almost an arb.”91
  16        154. On     January   2,   2022,    a   high-profile   BAYC   NFT   trader,
  17 @franklinisbored, confirmed that “101 apes are viewable on the @ftx_us
  18 @Ftx_Nfts exchange . . . and some were listed and bought for under ape floor by
  19 myself [and others] to arb.”92     As the transaction recorded on the Ethereum
  20 blockchain reveals, @franklinisbored purchased BAYC NFT #5211 (which was
  21
       88
  22          alto – dollar.eth (@etheraltog), TWITTER (Nov. 23, 2022 7:08 AM),
       https://twitter.com/etheraltog/status/1595434120703778819?s=20.
  23   89
              Cozomo de’ Medici (Snoop Dogg) (@CozomoMedici), TWITTER (Nov. 18,
       2021), https://twitter.com/CozomoMedici/status/1461483915189764103?s=20.
  24   90
              Bored Ape Yacht Club (BAYC), COINGECKO (last visited Oct. 16, 2023),
  25   https://www.coingecko.com/en/nft/bored-ape-yacht-club.
       91
              NFTstats.eth (@punk9059), TWITTER (Dec. 5, 2021 7:36 AM),
  26   https://twitter.com/punk9059/status/1467518139617341442?s=20.
       92
  27          Franklin (@franklinisbored), TWITTER (Jan. 1, 2022 9:05 PM),
       https://twitter.com/franklinisbored/status/1477506421923135494?s=20.
  28
                                               53
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 57 of 318 Page ID
                                  #:1410



   1 included in the Sotheby’s auction) from the FTX.US NFT marketplace on January
   2 2, 2022.93
   3        155. Ultimately, the Sotheby’s auction was a huge promotion for Yuga and
   4 the BAYC NFT collection’s legitimacy as an investment. Behind this scheme,
   5 Defendants Yuga and Sotheby’s were conspiring with FTX (and, upon information
   6 and belief given her connection to both the Ape Coin DAO and FTX, Defendant
   7 Amy Wu) to manipulate the price of the BAYC NFT collection. The misleading
   8 promotions of the auction by the Company and Sotheby’s successfully induced
   9 additional purchases of the BAYC NFT collection. Moreover, this first deceptive
  10 scheme set the stage for Yuga to misleadingly offer and sell additional financial
  11 products by raising the profile of the Bored Ape brand with the public.
  12               2.    The Second Scheme – Deceptive Marketing Campaign
  13                               a. Promoter Defendants
  14 Defendants Fallon, EHD, Universal, and Winklemann
  15        156. One instance of Oseary and MoonPay’s solicitation scheme being
  16 executed took place during an episode of the Tonight Show that aired on November
  17 11, 2021.     In a broadcast to millions of viewers, Defendant Fallon promoted
  18 MoonPay and the BAYC NFT collection during an interview with Defendant
  19 Winkelmann. Fallon announced that he “got his first NFT” through MoonPay,
  20 claiming that he “did his homework” on how to purchase an NFT and found
  21 MoonPay, which Fallon asserted was “like the PayPal of crypto.” After shilling
  22 MoonPay’s services, credibility, and future growth prospects, Fallon announced
  23 that he “bought an ape” (i.e., BAYC NFT #599), to which guest Winkelmann
  24 expressed approval. Winkelman posted the Tonight Show promotion of the BAYC
  25
       93
  26        Transaction Hash: 0x92e077608e8d2bc95f564531034ca128b635efb62a
     522969af325c21760fa25b, ETHERSCAN (Jan. 02, 2022, 3:01 PM),
  27 https://etherscan.io/tx/0x92e077608e8d2bc95f564531034ca128b635efb62a522969a
     f325c21760fa25b.
  28
                                            54
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 58 of 318 Page ID
                                  #:1411



   1 NFTs and MoonPay to his personal Instagram account, wherein it received over
   2 676,000 views.94 Upon information and belief, MoonPay and/or Oseary, along with
   3 the Executive Defendants, recruited and paid Fallon and Winkelmann to promote
   4 both MoonPay and the BAYC collection of NFTs during this segment on the
   5 Tonight Show. Notably, Winkelmann is direct business partners with Oseary in
   6 another NFT platform company, WENEW.
   7         157. Fallon did not disclose that he had a financial interest in MoonPay or
   8 that he was likewise financially interested, directly or indirectly, in the increased
   9 sale and popularity of Yuga securities. Fallon also did not disclose that MoonPay
  10 had actually transferred BAYC NFT #599 as part of an elaborate scheme for Fallon
  11 to promote unregistered securities Yuga Financial Products to his millions of
  12 viewers.95
  13         158. Nor did EHD or broadcast partner Universal disclose that this
  14 purportedly organic segment on the Tonight Show was in reality a paid
  15 advertisement for the BAYC collection of NFTs and MoonPay by two celebrities
  16 (Fallon and Winkelmann) who are business partners with an investor (Oseary) in
  17 both Yuga and MoonPay.96
  18         159. That same day, the MoonPay Twitter account posted a clip from the
  19 segment with Fallon promoting MoonPay and the BAYC NFTs with a caption
  20
  21   94
              Instagram, beetle_crap (Nov. 11, 2021), https://www.instagram.com/p/CWJI-
  22   cJp5Fu/?hl=en.
       95
              Transaction Hash: 0x25d594eab6dd5ea7c2189d2cf30b702f64ff3c75590d7c
  23   41638c9d9a55cf0f76. ERC-721: 599, ETHERSCAN (Nov. 8, 2021, 12:37 AM
       UTC), https://etherscan.io/tx/0x25d594eab6dd5ea7c2189d2cf30b702f64ff3c75590
  24   d7c41638c9d9a55cf0f76.
       96
  25          Adding to the web of interconnectivity amongst the Defendants, in May
       2022, Defendants Winkelmann and Ciccone, with the help of MoonPay, together
  26   launched another NFT project: The Mother of Creation. MoonPay promoted this
       relationship on its Twitter account on May 11, 2022. MoonPay (@moonpay),
  27   TWITTER (May 11, 2022, 12:50 PM), https://twitter.com/moonpay/status/
       1524477023393128451?s=20&t=r7ZcS2DtK_Vt4UPk03r1AQ.
  28
                                              55
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 59 of 318 Page ID
                                  #:1412



   1 stating: “So this just happened.       @jimmyfallon reveals to @beeple on the
   2 #TheTonightShow that he just bought his first Bored Ape by @BoredApeYC with
   3 MoonPay!      🚀👀.”97          MoonPay’s statement that “[s]o this just happened”
   4 misleadingly suggested to investors that the promotion of MoonPay and the BAYC
   5 NFT collection on the Tonight Show was something that occurred spontaneously.
   6 Likewise, MoonPay’s statement that Fallon had “just bought his first Bored Ape by
   7 @BoredApeYC with MoonPay!” failed to disclose that in truth, Fallon’s segment
   8 with Winkelmann was just a promotion of the BAYC NFTs and MoonPay that was
   9 orchestrated behind the scenes by Oseary, Soto-Wright, and the Executive
  10 Defendants.
  11        160. MoonPay also posted a video of the Fallon segment to its TikTok
  12 account with a message thanking Fallon, Winkelmann, and BAYC for the
  13 promotion.98 The video received more than 814,000 views.
  14        161. Notably, MoonPay’s transfer to Fallon of BAYC NFT #599 was one of
  15 the first times that MoonPay ever transacted in a BAYC NFT.
  16        162. On November 12, 2021, Fallon promoted the BAYC NFT he
  17 supposedly “bought,” asking the Yuga official Twitter account if he had
  18 “[p]ermission to come a bored?”99          That same day, Defendant Soto-Wright
  19 responded     to   Fallon’s    promotion   stating:   “Congrats   @jimmyfallon   &
  20 @BoredApeYC! We ❤ you from @MoonPayHQ!”100 On November 17, 2021,
  21
       97
            MoonPay (@moonpay), TWITTER (Nov. 11, 2021, 3:38 AM),
  22 https://twitter.com/moonpay/status/1458761049075769351?s=20&t=ntA_vzg_M2p
     oZo2ADKag7g.
  23 98
             Moonpayhq        (@moonpayhq),       TIKTOK     (Nov.    11,  2021),
  24 https://www.tiktok.com/@moonpayhq/video/7029269499605945606.
     99
            Jimmy Fallon (@jimmyfallon), TWITTER (Nov. 12, 2021, 6:20 AM),
  25 https://twitter.com/jimmyfallon/status/1459164143626424321?s=20&t=pnZMGBip
     1cJ52yjSd_e3-g.
  26 100
            Ivan Soto-Wright (@isotowright), TWITTER (Nov. 12, 2021, 7:27 AM),
  27 https://twitter.com/isotowright/status/1459181031186173980?s=20&t=pnZMGBip1
     cJ52yjSd_e3-g.
  28
                                               56
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 60 of 318 Page ID
                                  #:1413



   1 Fallon again promoted the BAYC NFTs, asking his 53.1 million Twitter followers
   2 to “[n]ame my ape! Drop your suggestions below” and tagging “@BoredApeYC
   3 #BAYC #BoredApeYachtClub #NFTs.”101 These promotions from Soto-Wright
   4 and Fallon failed to disclose that Fallon’s promotion of the BAYC NFTs and
   5 MoonPay was not because of Fallon’s genuine interest in BAYC NFTs but rather
   6 solely due to the financial interest Fallon shared with Soto-Wright, Oseary, and the
   7 Executive Defendants.
   8         163. Following his Tonight Show promotion, Fallon continued to promote
   9 the collection of BAYC NFTs and to solicit sales thereof on social media. For
  10 example, Fallon created a Twitter account for his BAYC NFT #599 with the user
  11 name “Bored and Breezy.” On November 23, 2021, Fallon posted the following
  12 solicitations for the BAYC NFTs on his official and Bored and Breezy Twitter
  13 accounts:102
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
       101
            Jimmy Fallon (@jimmyfallon), TWITTER (Nov. 17, 2021, 11:42 AM),
  24 https://twitter.com/jimmyfallon/status/1461011913479962630?s=20&t=b7UnEi0yc
     K49kgQy3FiFPg.
  25 102
            Jimmy Fallon (@jimmyfallon), TWITTER (Nov. 23, 2021, 10:24 AM),
  26 https://twitter.com/jimmyfallon/status/1463166515289669650?s=20&t=b7UnEi0yc
     K49kgQy3FiFPg; Bored and Breezy (@BoredAndBreezy), TWITTER (Nov. 23,
  27 2021, 9:46 AM); https://twitter.com/BoredAndBreezy/status/1463156965308354
     584?s=20&t=gq3WJjWI7a_A4C49ucZPgg.
  28
                                              57
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 61 of 318 Page ID
                                  #:1414



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15        164. These promotions gave investors the false impression that Fallon was
  16 going to be a leader or “captain” in the future BAYC community, suggesting that
  17 his continued involvement and leadership with BAYC would grow the BAYC
  18 ecosystem and calmly increase the value of their investments therein. Plaintiffs saw
  19 Fallon’s promotion of the Company’s collection of BAYC NFTs and were induced
  20 to purchase and/or continue to hold Yuga securities as a result of these misleading
  21 promotions.
  22        165. Plaintiffs saw the promotions by Defendants Fallon and Winkelmann
  23 (which were authorized by Defendants Universal and EHD) on the Tonight Show
  24 regarding the Company’s collection of BAYC NFTs, as well as Fallon’s promotions
  25 on his social media accounts. Plaintiffs were induced to purchase and/or continue
  26 to hold Yuga securities as a result of these misleading promotions.
  27
  28
                                              58
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 62 of 318 Page ID
                                  #:1415



   1        166. Upon information and belief, Defendants Fallon and Winkelmann
   2 received Yuga Financial Products and/or other forms of consideration as part or all
   3 of their compensation for promoting the Yuga securities specifically or the Yuga
   4 brand generally. Moreover, Defendants Fallon and Winkelmann directly financially
   5 benefited from the increased valuation that MoonPay would experience with such
   6 overwhelming celebrity exposure.
   7 Defendants Fallon, EHD, Universal, and Hilton
   8        167. Concurrently, Fallon also continued promoting BAYC NFTs on the
   9 Tonight Show, and EHD and Universal continued to approve that such promotions
  10 could be aired on the network without disclaimer. In an even more contrived
  11 segment that aired during an episode of the Tonight Show on January 24, 2022,
  12 Fallon interviewed Defendant Paris Hilton, and they both misleadingly promoted
  13 the BAYC collection of NFTs. Fallon first tried to bolster Hilton’s credentials in
  14 the NFT sector by telling the audience and investors that Forbes magazine had
  15 named Hilton as one of the “top 50 most influential people in the NFT space.”
  16 Fallon then immediately began promoting the BAYC NFT collection with Hilton.
  17 Hilton claimed that she “saw” Fallon’s previous BAYC segment with Winkelmann,
  18 and “copied” Fallon’s use of MoonPay to “buy an ape.” Hilton feigned interest in
  19 the BAYC NFT collection and claimed BAYC NFT #1294 was “[her] ape” and she
  20 selected it because it “reminded” Hilton of herself. When the audience snickered at
  21 Hilton’s half-hearted explanation for “purchasing” that particular BAYC NFT
  22 (which bore no apparent resemblance to Hilton’s appearance), Fallon jumped in to
  23 show off his own BAYC NFT #599, which sported a boat captain’s hat and other
  24 funny accessories. Fallon also insisted that he “bought” BAYC NFT #599 because
  25 it reminded him of himself, to which the audience agreed and laughed off the
  26 exchange. This original segment has been uploaded on the Tonight Show’s official
  27 YouTube channel, which has received approximately 547,000 views as of the date
  28
                                              59
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 63 of 318 Page ID
                                  #:1416



   1 of this filing.103 Upon information and belief, the Tonight Show’s channel on
   2 YouTube is owned and/or controlled by Defendant Universal.
   3         168. Hilton and MoonPay also promoted Hilton’s appearance on the
   4 Tonight Show on their own extensive social media accounts. On January 24, 2022,
   5 MoonPay posted that BAYC NFT #1294’s owner “is known to enjoy ‘The Simple
   6 Life’ even though they are appearing on prime time TV ‘tonight.’ Who could it be?
   7 👀”104     Defendant Hilton responded to this message with a “wink” emoji.105
   8 MoonPay also posted a video of the Tonight Show segment on its TikTok page,
   9 which received almost 14,000 views.106
  10         169. But neither Hilton nor MoonPay disclosed that MoonPay transferred
  11 BAYC NFT #1294 to Hilton on January 25, 2022,107 meaning Hilton did not
  12 actually own BAYC NFT #1294 like she falsely claimed to millions of Tonight
  13 Show viewers when the segment aired on January 25, 2022. And neither MoonPay
  14 nor Hilton disclosed that Hilton did not “buy” BAYC NFT #1294 as she
  15 represented ‒ rather BAYC NFT #1294 was transferred to her as part of an
  16 elaborate scheme to promote Yuga Financial Products. Fallon also falsely claimed
  17
  18
       103
  19          The Tonight Show, Paris Hilton Surprises Tonight Show Audience Members
       By Giving Them Their Own NFTs, YOUTUBE (Jan. 24, 2022),
  20   https://www.youtube.com/watch?v=5zi12wrh5So.
       104
              MoonPay (@moonpay), TWITTER (Jan. 24, 2022, 6:40 AM),
  21   https://twitter.com/moonpay/status/1485623661897961476?s=20&t=F58_qyidVksn
       SGdXuAyy-A. Notably, Defendant Hilton appeared in a reality TV show called
  22   The Simple Life.
       105
  23          Paris Hilton (@ParisHilton), TWITTER (Jan. 24, 2022, 10:01 PM),
       https://twitter.com/ParisHilton/status/1485855428563116034?s=20&t=F58_qyidVk
  24   snSGdXuAyy-A.
       106
                Moonpayhq        (@moonpayhq),       TIKTOK     (Jan.   25,    2022),
  25   https://www.tiktok.com/@moonpayhq/video/7057163074641366278.
       107
  26          Transaction Hash: 0x34e77AD857217D8D93dcC0bAE752E2290A2EFb66,
       ERC-721: 1294, ETHERSCAN (Jan. 25, 2022, 8:57 PM UTC),
  27   https://etherscan.io/tx/0x179498648c3904b2a8988c35915dd6d959ae2ce035336a55
       837dbc8104474625.
  28
                                              60
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 64 of 318 Page ID
                                  #:1417



   1 that he “bought an ape,” even though MoonPay actually transferred BAYC NFT
   2 #599 to him a couple months prior as part of the same promotional scheme.108
   3         170. The next day, on January 25, 2022, in response to a Twitter post that
   4 proclaimed: “Wait @ParisHilton bought my ape?!          HOLY @#$%!!!,” Hilton
   5 stated:109
   6
   7
   8
   9
  10
  11
  12
  13
  14         171. The Tonight Show’s official Twitter account posted a 1:44 minute clip
  15 on January 25, 2022 of the entire segment promoting the BAYC NFT collection
  16 through MoonPay.110 Defendant Fallon was also on Twitter that day reposting his
  17 Tonight Show promotion of the BAYC NFT collection along with Defendant
  18 Hilton. In addition to a link to the Tonight Show’s Twitter post, Defendant Fallon
  19 included the caption “#WAGMI.”111 The hashtag “#WAGMI” refers to the phrase
  20
     108
            Transaction Hash: 0x25d594eab6dd5ea7c2189d2cf30b702f64ff3c75590d7c
  21 41638c9d9a55cf0f76. ERC-721: 599, ETHERSCAN (Nov. 8, 2021, 12:37 AM UTC),
     https://etherscan.io/tx/0x25d594eab6dd5ea7c2189d2cf30b702f64ff3c75590d7c416
  22 38c9d9a55cf0f76.
       109
  23          Paris Hilton (@ParisHilton), TWITTER (Jan. 25, 2022, 7:19 PM),
       https://twitter.com/ParisHilton/status/1486131710895050756?s=20&t=8lDQAVCG
  24   lWl9GRmFFIv1PQ.
       110
              The Tonight Show (@FallonTonight), TWITTER (Jan. 25, 2022, 12:15 AM),
  25   https://twitter.com/FallonTonight/status/1485843736345161737?s=20&t=b7UnEi0
       ycK49kgQy3FiFPg.
  26   111
              Jimmy Fallon (@jimmyfallon), TWITTER (Jan. 25, 2022, 11:15 AM),
  27   https://twitter.com/jimmyfallon/status/1486009927999135754?s=20&t=b7UnEi0yc
       K49kgQy3FiFPg.
  28
                                             61
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 65 of 318 Page ID
                                  #:1418



   1 “we are all gonna make it.” This acronym is widely used by crypto investors to
   2 build confidence and as a rallying cry that encourages the community to have hope
   3 for the project(s) being discussed. The inclusion of this hashtag with the BAYC
   4 NFT solicitation suggested to investors that Defendant Fallon was personally
   5 aligned with them instead of promoting the interests of himself and his cohorts
   6 Defendants Oseary and Hilton.
   7         172. On January 31, 2022, Hilton posted the following message on Twitter
   8 with an animated cartoon version of the Fallon interview of Hilton:112
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19         173. Hilton’s Twitter promotions on January 25 and January 31, 2022 gave
  20 investors the false impression that Hilton: (1) actually bought the BAYC NFT; and
  21 (2) was enthusiastically “hanging out in the metaverse” with Fallon and that they
  22 were “BoredApeBesties.” In truth, Hilton was only promoting the BAYC NFTs
  23 and MoonPay because she was financially motivated to make those statements. Nor
  24 did Hilton include an “ad” disclaimer in either of the January 25th or January 31st
  25
  26   112
            Paris Hilton (@ParisHilton), TWITTER (Jan. 31, 2022, 10:59 PM),
  27 https://twitter.com/ParisHilton/status/1488361241512800258?s=20&t=KDOjfCCoS
     8Ch1PbuhBS-xw.
  28
                                               62
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 66 of 318 Page ID
                                  #:1419



   1 posts that would disclose to investors that this was a paid advertisement for the
   2 BAYC collection of NFTs and MoonPay. Plaintiffs saw the promotions by Fallon
   3 and Hilton (which were authorized by Defendants Universal and EHD) on the
   4 Tonight Show regarding the Company’s collection of BAYC NFTs, as well as
   5 Hilton’s and Fallon’s promotions on their respective social media accounts.
   6         174. Importantly, Hilton and MoonPay purposefully did not disclose
   7 Hilton’s direct financial interest in MoonPay and, relatedly, the increased sale of
   8 Yuga securities through MoonPay. And again, there was no disclosure from any of
   9 the Tonight Show’s production companies, namely Defendants Universal or EHD,
  10 regarding Hilton’s and/or Fallon’s financial interests in MoonPay or compensation
  11 for promoting the BAYC NFTs. Notably, according to an internal workplace policy
  12 mandated by Universal, all employees, including Defendant Fallon, must “disclose
  13 and obtain approval for all outside work, financial interests and other personal
  14 activities/relationships that may create or appear to create a conflict.”113 The same
  15 policy says that employees should not “use company info, resources, time, etc. for
  16 personal benefit.”     Thus, upon information and belief, Universal knew about
  17 Fallon’s ties to Oseary and Yuga, along with Hilton’s ties to MoonPay, and
  18 approved the promotion of BAYC NFTs on the Tonight Show before it was publicly
  19 aired without disclaimers. These omissions gave the public the false impression
  20 that Hilton had been inspired to purchase a BAYC NFT after hearing that Fallon
  21 had organically purchased one of his own, when, in truth, the entire Tonight Show
  22 segment was just a paid promotion for the BAYC collection of NFTs and MoonPay.
  23 Reporting on this segment noted that a “glossy-eyed Jimmy Fallon conducted one
  24
  25   113
            Brian Contreras, Jimmy Fallon hyped his Bored Ape NFTs on ‘The Tonight
  26 Show.’     Conflict    of    Interest?,    L.A.      TIMES      (Jan.   26,     2022),
     https://www.latimes.com/business/technology/story/2022-01-26/jimmy-fallon-nft-
  27 ape-nbc (discussing Fallon’s potential conflict of interest and providing a link to the
     Universal policy).
  28
                                              63
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 67 of 318 Page ID
                                  #:1420



   1 of the most forced interviews” in the history of the Tonight Show during this
   2 segment with Defendant Hilton.114         The journalist Max Read described their
   3 exchange as “profoundly unsettling.”115
   4         175. Plaintiffs were induced to purchase and/or continue to hold Yuga
   5 securities as a result of these misleading promotions by Fallon and Hilton.
   6         176.   Upon information and belief, Fallon and Hilton received Yuga
   7 Financial Products and/or other forms of consideration as part or all of their
   8 compensation for promoting the Yuga securities specifically or the Yuga brand
   9 generally. Moreover, Fallon and Hilton directly financially benefited from the
  10 increased valuation that MoonPay would experience with such overwhelming
  11 celebrity exposure.
  12         177.   If the Sotheby’s auction and the Rolling Stone article put the Company
  13 and its founders on the map, Fallon and Hilton’s Tonight Show promotions brought
  14 the BAYC directly into the homes of mainstream America. But this was just the
  15 beginning for Oseary’s plans for Defendants.
  16 Defendant Bieber
  17         178. Other members of Oseary’s network follow a similar pattern of
  18 promoting the BAYC collection of NFTs in connection with MoonPay. Indeed,
  19 Oseary, in particular, was the architect of Defendants’ plan for marketing the
  20 BAYC NFTs. His primary business is managing various high-profile music acts
  21 and other entertainment celebrities, including Defendant Madonna Ciccone. Oseary
  22 previously ran a successful talent agency called Maverick Management
  23 (“Maverick”), which, by itself and in conjunction with talent management
  24
       114
           Lucas Kwan Peterson, Can NFTs save the restaurant industry or is the hype
  25 just virtual?, L.A. TIMES (Apr. 19, 2022), https://www.latimes.com/food/story/
     2022-04-19/bored-ape-nft-restaurant-la-long-beach.
  26 115
           Max Read, Mapping the celebrity NFT complex, READ MAX (SUBSTACK),
  27 (Feb.  2, 2022), https://maxread.substack.com/p/mapping-the-celebrity-nft-comple
     x?utm_source=substack&utm_medium=email&utm_content=share.
  28
                                             64
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 68 of 318 Page ID
                                  #:1421



   1 powerhouse Live Nation, represented dozens of the most famous athletes and
   2 entertainers in the United States. Several of these athletes and entertainers just so
   3 happen to also have “joined the BAYC” in the “metaverse” and eagerly promoted
   4 that fact to would-be investors.116
   5         179.   For example, on January 31, 2022, Defendant Bieber promoted his
   6 purported purchase of BAYC NFT #3001 to his 262 million followers on
   7 Instagram.117
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17         180.   Reports indicated that Bieber paid approximately $1.29M for his Bored
  18 Ape purchase, which was upwards of five times the floor price with similar
  19 characters. But this gross overpayment was meaningless to Bieber since, upon
  20 information and belief, he did not actually pay any money of his own for this
  21
  22   116
              For example, Oseary’s Maverick agency represented MoonPay investor
       Tesfaye, who also shilled the BAYC brand in the thinly-veiled promotional music
  23   video with Defendant Post. Similarly, Ape DAO Board Defendant Alexis Ohanian
       recruited his wife, tennis superstar Serena Williams, to promote BAYC NFTs.
  24   Likewise, upon information and belief, Ape DAO Board Defendant Amy Wu
       utilized her relationships at crypto exchange FTX to recruit world champion athlete
  25   Defendant Curry to solicit sales of the BAYC collection of NFTs. None of these
       celebrity endorsements of BAYC NFTs disclosed the underlying financial interests
  26   and relationships involved.
       117
  27          Justin Bieber (@justinbieber), INSTAGRAM (Jan. 31, 2022), https://www.insta
       gram.com/p/CZZhdyzFITO/?utm_source=ig_web_copy_link.
  28
                                               65
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 69 of 318 Page ID
                                  #:1422



   1 BAYC NFT, but rather received it through a series of transactions for the purpose
   2 of compensating him. Instead, Bieber received BAYC NFT #3001 as a form of
   3 compensation for promoting the BAYC NFTs and Yuga Financial Products to his
   4 hundreds of millions of social media followers.
   5        181.   On February 7, 2022, Bieber announced that he had “purchased” a
   6 second NFT from the Bored Ape collection (i.e., BAYC NFT #3850) for around
   7 $470,000. This BAYC NFT is considered to be particularly rare, ranking below 1%
   8 in rarity. Upon information and belief, BAYC NFT #3850 was given to Bieber as
   9 compensation for continuing to promote and solicit sales of the Yuga securities.
  10        182.   Plaintiffs saw Defendant Bieber’s promotion of the Company’s
  11 collection of BAYC NFTs and were induced to purchase and/or continue to hold
  12 Yuga securities as a result of these misleading promotions.
  13        183.   Upon information and belief, Defendant Bieber received Yuga
  14 Financial Products and/or other forms of consideration as part or all of their
  15 compensation for promoting the Yuga securities specifically or the Yuga brand
  16 generally.    Moreover, Defendant Bieber directly financially benefited from the
  17 increased valuation that MoonPay would experience with such overwhelming
  18 celebrity exposure.
  19 Defendant Post
  20        184.   A   combined    search   of     the   Ethereum   Blockchain   Explorer
  21 (“Etherscan”) and the NFT marketplace OpenSea shows that a wallet owned and
  22 controlled by Defendant Post received over $1.4M in ether cryptocurrency directly
  23 from MoonPay in addition to a BAYC NFT at the same time Post released an
  24 undisclosed promotion for MoonPay and Yuga disguised as a music video.
  25        185. In particular, on October 29, 2021, digital wallet address
  26 0xbea020c3bd417f30de4d6bd05b0ed310ac586cc0 labeled as “Post Malone” (the
  27 “Post Malone Wallet”) received 75.1 ether (valued at $331,746.76 at the time of the
  28
                                              66
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 70 of 318 Page ID
                                  #:1423



   1 transaction) from MoonPay Wallet.118 Two days later, on October 31, 2021, the
   2 Post Malone Wallet received 100 ether or $429,010 from the MoonPay Wallet.119
   3         186. On November 15, 2021, Defendant Post uploaded a music video onto
   4 his official YouTube channel entitled “One Right Now.”120 This video featured
   5 Defendant Post and MoonPay investor Tesfaye (The Weeknd). The beginning of
   6 the video features a segment where Post uses the MoonPay app on his phone to
   7 purchase a BAYC NFT.
   8         187. That same day, BAYC promoted the video from Post and Tesfaye on
   9 its Twitter account:121
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19         188. MoonPay also promoted the Post and Tesfaye video on its Twitter
  20 account, only minutes before BAYC:122
  21
       118
            Transaction Hash: 0xc50f01603b668b384d8ff595e9ddd1f69b7c97846f3c
  22 4fc27852bbca91c25530,        ETHERSCAN    (Oct.   29,   2021,   8:54    AM),
     https://etherscan.io/tx/0xc50f01603b668b384d8ff595e9ddd1f69b7c97846f3c4fc278
  23 52bbca91c25530.
     119
  24        Transaction Hash: 0x339efa1b3a6dff394b79a2703bc6a73e33eb4f8e99f3a02
     26e707e251da0ac8d, ETHERSCAN (Oct. 31, 2021, 10:34 AM), https://etherscan.io
  25 /tx/0x339efa1b3a6dff394b79a2703bc6a73e33eb4f8e99f3a0226e707e251da0ac8d.
     120
            Post Malone, One Right Now, YOUTUBE (Nov. 15, 2021),
  26 https://youtu.be/Tc0tLGWIqxA.
     121
  27        Bored Ape Yacht Club (@BoredApeYC), TWITTER (Nov. 15, 2021, 1:14
     PM), https://twitter.com/BoredApeYC/status/1460355554342227973.
  28
                                            67
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 71 of 318 Page ID
                                  #:1424



   1
   2
   3
   4
   5
   6
   7
   8
   9         189. MoonPay’s statement that “this just happened” misleadingly suggested
  10 to investors that the promotion of MoonPay and the BAYC NFT collection within
  11 the so-called music video from Defendant Post and MoonPay investor Tesfaye was
  12 something that occurred because of their genuine interest in the BAYC NFTs. This,
  13 and MoonPay’s statement that Post had “aped into @BoredApeYC by purchasing
  14 his first NFT with MoonPay,” failed to disclose that this music video was just a
  15 promotion of the BAYC NFTs and MoonPay that was orchestrated behind the
  16 scenes by Oseary, Soto-Wright, and the Executive Defendants.
  17         190. On November 19, 2021, the Post Malone Wallet received another 50
  18 ether (worth $214,963.50) from the MoonPay Wallet.123 The last payment that the
  19 Post Malone Wallet received from the MoonPay Wallet was on November 21, 2021
  20 for 100 ether, which was then worth $426,461.124 In total, the MoonPay Defendants
  21
       122
  22          MoonPay (@moonpay), TWITTER (Nov. 15, 2021, 1:03 PM), https://twitt
       er.com/moonpay/status/1460352762798084105?s=20&t=mHWXj4WYC5OUt2zg9
  23   LWA.
       123
              Transaction      Hash:   0x729899f138ab93d6c20707783b62e16e04093e481
  24   d11e45bc2e3648b6ab3773b, ETHERSCAN (Nov. 19, 2021, 2:55 AM),
       https://etherscan.io/tx/0x729899f138ab93d6c20707783b62e16e04093e481d11e45b
  25   c2e3648b6ab3773b.
       124
  26          Transaction Hash: 0xc21a66ee9a3d1ddf6f72c780e4165b7e915cf6cfb642092
       30c9af5993de284f9, ETHERSCAN (Nov. 21, 2021, 1:40 AM), https://ethers
  27   can.io/tx/0xc21a66ee9a3d1ddf6f72c780e4165b7e915cf6cfb64209230c9af5993de28
       4f9.
  28
                                             68
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 72 of 318 Page ID
                                  #:1425



   1 facilitated the payment of $1,402,181.26 to Defendant Post over the course of a
   2 month.
   3         191. Plaintiffs saw Defendant Post’s promotion of the Company’s collection
   4 of BAYC NFTs and were induced to purchase and/or continue to hold Yuga
   5 securities as a result.
   6         192. Upon information and belief, Defendant Post received Yuga Financial
   7 Products and/or other forms of consideration as part or all of his compensation for
   8 promoting the Yuga securities specifically or the Yuga brand generally. Moreover,
   9 as an equity investor in MoonPay, Defendant Post directly financially benefited
  10 from the increased valuation that MoonPay would experience with such
  11 overwhelming celebrity exposure.
  12 Defendant Broadus
  13         193. On December 15, 2021, MoonPay transferred BAYC NFT #6723 to
  14 Defendant Broadus’s son, Cordell Broadus, who later transferred BAYC NFT
  15 #6723 to Defendant Broadus at wallet address 0xa8E0681d9e870b457084Fb9223
  16 F13401B20B4aD0 (the “Broadus address”) on March 1, 2022.125
  17         194.   On December 21, 2021, Defendant Broadus posted a picture of BAYC
  18 NFT#6723, the primates corresponding M1 and M2 Mutant Apes along with Bored
  19 Ape Kennel Club Dog #894 to his 20+ million Twitter followers.126 Broadus
  20 further stated: “And a huge shout out 2 to @moonpay @isotowright
  21 @C_Broadus21 and @j1mmyeth for making it happen and bringing The Who
  22
  23   125
              Transaction Hash: 0xeb37ef145f21effe801a811e11239f4fce502bb39610
       71230f2d4673b6d93708, ERC-721: 9049, ETHERSCAN (Dec. 16, 2021, 12:07 AM
  24   UTC),       https://etherscan.io/tx/0xeb37ef145f21effe801a811e11239f4fce502bb396
       1071230f2d4673b6d93708; Transaction Hash: 0x3e2c12cca277d980697ad09d02
  25   ccea092e8f8ace82c70fac08a1662d47bc84d1, ERC-721: 9049, ETHERSCAN (March
       1,      2022,       06:28      AM       UTC),     https://etherscan.io/tx/0x3e2c12cca
  26   277d980697ad09d02ccea092e8f8ace82c70fac08a1662d47bc84d1.
       126
  27          Snoop Dogg (@SnoopDogg), TWITTER (Dec. 21, 2021 10:57 AM),
       https://twitter.com/SnoopDogg/status/1473367017172393987.
  28
                                                69
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 73 of 318 Page ID
                                  #:1426



   1 familia together.”127 Broadus boasted about BAYC a month later, calling BAYC “a
   2 cultural juggernaut” and requesting to join its advisory board so they could elevate
   3 the NFT “game to tha [sic] next level.”128 MoonPay posted a similar promotional
   4 video with Defendant Broadus and Soto-Wright on its TikTok page, falsely
   5 claiming that Defendant Broadus “just bought $370k in Bored Apes.129
   6         195.   Plaintiffs saw the promotions from Broadus regarding the Company’s
   7 collection of BAYC NFTs and were induced to purchase and/or continue to hold
   8 Yuga securities as a result of these misleading promotions. Indeed, Broadus’
   9 promotion was particularly influential on Plaintiffs’ decision to purchase given
  10 Broadus’ status as a savvy investor in NFTs. Broadus notably refers to himself as
  11 the “King of NFTs” on social media:130
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
       127
            Snoop Dogg       (@SnoopDogg), TWITTER (Dec. 21, 2021 1:57 PM),
  22 (https://twitter.com/SnoopDogg/status/1473367019542265858?s=20&t=lAVE0gdv
     m1Zm3hKnJ4w5bg.
  23 128
            Snoop Dogg (@SnoopDogg), TWITTER (Jan. 21, 2022 9:58 AM),
  24 hhttps://twitter.com/SnoopDogg/status/1484586102182727682.
     129
            Moonpayhq        (@moonpayhq),      TIKTOK       (Dec.     22,  2021),
  25 https://www.tiktok.com/@moonpayhq/v        https://www.tiktok.com/@moonpayhq/
     video/7057163074641366278?is_from_webapp=1&sender_device=pc&web_id=72
  26 70912384079316523ideo/7044509454267698437.
     130
  27        Snoop Dogg (@SnoopDogg), INSTAGRAM (Nov. 25, 2021),
     https://www.instagram.com/p/CWt0yclrFgw/?img_index=1.
  28
                                             70
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 74 of 318 Page ID
                                  #:1427



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11
             196.   In addition, as of March 1, 2022, Defendant Broadus promoted his
  12
       BAYC “Dr. Bombay” to his more than 80 million Instagram followers:131
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
       131
  27          Snoop    Dogg    (@SnoopDogg),    INSTAGRAM        (Mar.    1,   2022),
       https://www.instagram.com/p/Cakx-4HvpG6/?hl=en.
  28
                                             71
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 75 of 318 Page ID
                                  #:1428



   1         197.   Defendant Broadus also acquired intellectual property rights through
   2 the Company and used his BAYC “Dr. Bombay” to personally profit from it.
   3 Beginning on April 1, 2022, Broadus posted numerous photos to his Instagram
   4 account promoting Dr. Bombay-branded merchandise such as apparel, marijuana,
   5 an album cover, and even ice cream.132
   6         198.   Broadus continued promoting his BAYC “Dr. Bombay” throughout
   7 April, May, June, and July 2022,133 including an April 29, 2022 video posted right
   8 before Otherside NFT minting, as the price was about to increase, which garnered
   9 nearly half a million views on Instagram.134
  10         199.   Other Dr. Bombay augmented reality videos posted by Defendant
  11 Broadus to his Instagram account, as a means to promote the expansive ability to
  12 use the avatar across other platforms, also garnered millions of views. For example,
  13 a May 8, 2022 Dr. Bombay video acquired 1.4 million Instagram views;135 a May
  14 15, 2022 video acquired over one million views;136 a June 3, 2022 video acquired
  15
     132
            Snoop     Dogg    (@SnoopDogg),    INSTAGRAM    (Apr.  1, 2022),
  16 https://www.instagram.com/p/Cb0plnqOd-B/?img_index=1;     Snoop   Dogg
     (@SnoopDogg), INSTAGRAM (Apr. 5, 2022), https://www.instagram.com/
  17 p/Cb9kSU2OGlB/?hl=en; Snoop Dogg (@SnoopDogg), INSTAGRAM (Apr. 20,
     2022), https://www.instagram.com/p/CcjwCJQFLYQ/?hl=en; Snoop Dogg
  18 (@SnoopDogg), INSTAGRAM (June 21, 2022), https://www.instagram.com/
     p/CfE7Y2tOw92/?hl=en; Snoop Dogg (@SnoopDogg), INSTAGRAM (June 30,
  19 2022), https://www.instagram.com/p/Cfb_4RXJtyI/?hl=eN.
       133
  20          Snoop    Dogg    (@SnoopDogg),     INSTAGRAM  (May     26, 2022),
       https://www.instagram.com/p/CeA1HoHLaHH/?hl=en;         Snoop      Dogg
  21   (@SnoopDogg), INSTAGRAM (May 29, 2022), https://www.instagram.com/p/
       CeIb9mlucXd/?hl=en; Snoop Dogg (@SnoopDogg), INSTAGRAM (June 2, 2022),
  22   https://www.instagram.com/p/CeU3IFMJCxb/?hl=en;        Snoop       Dogg
       (@SnoopDogg), INSTAGRAM (June 17, 2022),https://www.instagram.com/p/
  23   Ce7gRsdrdcs/?hl=en; Snoop Dogg (@SnoopDogg), INSTAGRAM (July 7, 2022),
       https://www.instagram.com/p/CfuVBsql_tt/?hl=en.
  24   134
              Snoop Dogg (@SnoopDogg), INSTAGRAM (April 29, 2022),
       https://www.instagram.com/p/Cc8pLB_pp7k/?hl=en.
  25   135
              Snoop    Dogg     (@SnoopDogg),     INSTAGRAM  (May     8, 2022),
  26   https://www.instagram.com/p/CdTAbSplaRM/?hl=en.
       136
  27          Snoop    Dogg    (@SnoopDogg),     INSTAGRAM  (May     15, 2022),
       https://www.instagram.com/p/Cdkv_tKFYCV/?hl=en.
  28
                                              72
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 76 of 318 Page ID
                                  #:1429



   1 over 1.7 million views;137 and a June 5, 2022 video acquired over 1.9 million
   2 views.138
   3         200.   Defendant Broadus also posted numerous photos of himself to his
   4 Instagram followers wearing Dr. Bombay apparel at many high-profile events, such
   5 as his performance at Charger’s Draft Fest 2022 at SoFi Stadium;139 a May 7, 2022
   6 performance in Miami Beach, Florida;140 a May 14, 2022 performance in Las
   7 Vegas, Nevada;141 at the June 5, 2022 MTV Movie Awards in Los Angeles,
   8 California;142 and during a July 17, 2022 performance at Law-di-Gras in Carlsbad,
   9 California.143
  10         201.   In addition, Defendant Broadus’s Instagram account is flooded with
  11 photos of him wearing Dr. Bombay apparel and posing alongside fellow celebrity
  12 friends.144
  13
       137
  14          Snoop    Dogg     (@SnoopDogg),     INSTAGRAM     (June   3, 2022),
       https://www.instagram.com/p/CeVDPmUlGRH/?hl=en.
  15   138
              Snoop    Dogg     (@SnoopDogg),     INSTAGRAM     (June   5, 2022),
       https://www.instagram.com/p/Ceb-8obFc6y/?hl=en.
  16   139
              Snoop Dogg (@SnoopDogg), INSTAGRAM (April 29, 2022),
  17   https://www.instagram.com/p/Cc7vnzXroby/?hl=en.
       140
              Snoop    Dogg     (@SnoopDogg),     INSTAGRAM     (May    7, 2022),
  18   https://www.instagram.com/p/CdQhoLNO-MH/?hl=en.
       141
  19          Snoop    Dogg    (@SnoopDogg),     INSTAGRAM     (May    14, 2022),
       https://www.instagram.com/p/Cdj0kd7JyTz/?hl=en.
  20   142
              Snoop    Dogg     (@SnoopDogg),     INSTAGRAM     (June   5, 2022),
       https://www.instagram.com/p/CecRhnzvxya/?hl=en.
  21   143
              Snoop    Dogg    (@SnoopDogg),      INSTAGRAM    (July   17, 2022),
  22   https://www.instagram.com/p/CgILPhspwrC/?hl=en.
       144
              Snoop    Dogg    (@SnoopDogg),     INSTAGRAM     (May    14, 2022),
  23   https://www.instagram.com/p/Cdj_RGdrDvl/?hl=en; Snoop Dogg (@SnoopDogg),
       INSTAGRAM (May 14, 2022), https://www.instagram.com/p/CdkAT9Jr0MV/?hl=en;
  24   Snoop      Dogg     (@SnoopDogg),      INSTAGRAM     (May      15,  2022),
       https://www.instagram.com/p/Cdkfzfou9Gg/?hl=en; Snoop Dogg (@SnoopDogg),
  25   INSTAGRAM (May 15, 2022), https://www.instagram.com/p/CdmIR1bv5bP/?hl=en;
       Snoop      Dogg      (@SnoopDogg),      INSTAGRAM     (June     5,  2022),
  26   https://www.instagram.com/p/CecCzHuPyY-/?hl=en; Snoop Doog (@SnoopDogg),
       INSTAGRAM (June 6, 2022), https://www.instagram.com/p/CedEbJ4ui2p/?hl=en;
  27   Snoop      Dogg     (@SnoopDogg),      INSTAGRAM     (June     24,  2022),
       https://www.instagram.com/p/CfNbn7vsDMW/?hl=en;           Snoop      Dogg
  28
                                             73
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 77 of 318 Page ID
                                  #:1430



   1        202.   According to Court documents filed in the Ripps matter, Broadus was
   2 paid “around $1 million” to perform as a Bored Ape at the MTV Video Music
   3 awards in 2022.145
   4        203.   Upon information and belief, Defendant Broadus received Yuga
   5 Financial Products and/or other forms of consideration as part or all of his
   6 compensation for promoting the Yuga securities specifically or the Yuga brand
   7 generally. Moreover, Defendant Broadus directly financially benefited from the
   8 increased valuation that MoonPay would experience with such overwhelming
   9 celebrity exposure.
  10 Defendants Wu and Curry
  11        204.   While Oseary was employing Defendant Broadus and other Promoter
  12 Defendants to publicly promote the Bored Ape ecosystem and solicit sales of the
  13 Yuga Financial Products, other Company insiders were also furthering the
  14 manipulative scheme to sell the unregistered Yuga Financial Products.          For
  15 example, ApeDAO Board Defendant Wu leveraged her connections with FTX to
  16 recruit Promoter Defendant Curry to solicit sales of the Yuga Financial Products. A
  17 February 15, 2022 article titled “FTX’s Amy Wu: How Crypto and Gamers Can All
  18 Get Along”146 described Defendant Wu as a “prominent investor in gaming startups,
  19 [who] recently jumped from Lightspeed Ventures to FTX to lead the crypto giant’s
  20 new $2 billion Web3 venture fund – a position that will entail spreading bets from
  21 FTX’s war chest across new trends in gaming.” Wu explained that she believed
  22
  23
       (@SnoopDogg), INSTAGRAM (June 25, 2022), https://www.instagram.com/
  24   p/CfQKqrTL9ZI/?hl=en.
       145
             Elle Reeve, Snoop Dogg, his ape and a question of celebrity hype, CNN
  25   BUSINESS (Apr. 7, 2023), https://www.cnn.com/2023/04/07/business/snoop-dogg-
       bored-apes/index.html.
  26   146
             Jeff John Roberts, FTX’s Amy Wu: How Crypto and Gamers Can All Get
  27   Along, DECRYPT (Feb. 15, 2022), https://decrypt.co/92929/ftx-vc-amy-wu-how-
       crypto-nft-gamers-can-get-along.
  28
                                              74
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 78 of 318 Page ID
                                  #:1431



   1 “‘[t]he fun is actually around the game mechanics and tokenomics of the game,
   2 right? There’s [sic] ways to make like 100x or 500x return on the token . . . . And
   3 that’s sort of the focus of a lot of these games, and so it attracts a certain type of
   4 player, which tends to be traders that are looking at the game as kind of like
   5 almost like a financial instrument.”147 Wu’s “[c]ryptocurrency exchange FTX will
   6 funnel a chunk of its growing war chest into a new venture capital arm, FTX
   7 Ventures, the firm announced today. The $2 billion VC fund will be led by Amy
   8 Wu, previously General Partner at Lightspeed Venture Partners.”148 [Emphasis
   9 added.]
  10         205.   Wu previously led Lightspeed’s own investment into FTX, plus FTX
  11 and Lightspeed teamed up with Solana Ventures in November 2021 to launch a
  12 $100 million Web3 gaming co-investment fund. In working with disgraced FTX
  13 founder and CEO Sam Bankman-Fried, whom she described as an “extraordinary
  14 CEO,” Wu began to see the potential benefits of joining the rising FTX firm:
  15 “When I look at what company could potentially have the most impact in the
  16 industry, but then also in the world,” she told Decrypt, “I think FTX is one of the
  17 most impactful that I’ve had the pleasure of working with.”149
  18         206.   On February 18, 2022, FTX Ltd (“FTX”) posted a teaser commercial
  19 for its now-bankrupt cryptocurrency exchange, which featured Defendant Curry and
  20 an ice sculpture of a Bored Ape. Curry can be seen brushing off flakes of ice from
  21 the unmistakable features of the BAYC NFTs. FTX posted this teaser on its official
  22
  23
  24
       147
  25       Id.
       148
           Andrew Hayward, FTX Launches $2 Billion Web3 Venture Fund Led by
  26 Lightspeed’s Amy Wu, DECRYPT (Jan. 14, 2022), https://decrypt.co/90409/ftx-
     launches-2-billion-web3-venture-fund-led-lightspeed-amy-wu.
  27 149
           Id.
  28
                                            75
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 79 of 318 Page ID
                                  #:1432



   1 Twitter account with the following caption alluding to the BAYC NFTs: “When
   2 learning about crypto, you’ll be anything but bored.”150
   3         207.    BAYC retweeted FTX’s post as “cool as ice,” tagging both FTX and
   4 Defendant Curry.151
   5         208.    Plaintiffs saw the off-brand promotion from Defendant Curry (and
   6 enabled by Defendant Wu) regarding the Company’s collection of BAYC NFTs and
   7 were induced to purchase and/or continue to hold Yuga securities as a result of this
   8 misleading promotion.
   9         209.    Defendant Curry’s commercial with FTX was only one of several
  10 promotions with BAYC.
  11         210.    After Defendant Curry purchased BAYC NFT #7990 on August 28,
  12 2021      for    55   ETH    from    wallet   address      0x3bEcf83939f34311b6bEe
  13 143197872d877501B11 (the “SC30 Wallet”), he changed his Twitter picture to
  14 BAYC NFT #7990 and added “BAYC” to his profile in front of his 15.4 million
  15 Twitter followers:
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25   150
            FTX (@FTX_Official), TWITTER (Feb. 18, 2022, 10:18 AM),
     https://twitter.com/FTX_Official/status/1494738098034458630?s=20&t=L-3ieebP
  26 KlMIdev5LsTbcw.
     151
  27        Bored Ape Yacht Club (@BoredApeYC), TWITTER (Feb. 18, 2022, 2:07
     PM), https://twitter.com/BoredApeYC/status/1494795754568929282.
  28
                                              76
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 80 of 318 Page ID
                                  #:1433



   1         211.   On March 29, 2022 FTX uploaded the full commercial with Defendant
   2 Curry to its official YouTube channel.152 While the commercial itself was for FTX,
   3 there were multiple not-so-hidden references to the BAYC collection of NFTs.
   4 Notably, the thumbnail of the video prominently features Curry and the Bored Ape
   5 sculpture:
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16         212. The slogan for this campaign also contained the same BAYC reference
  17 (i.e., “bored”) that was in the teaser commercial. The commercial itself showed
  18 Curry in various “everyday” activities while a narrator harasses Curry for advice
  19 about cryptocurrency and what tokens to buy.        The most significant of these
  20 segments is when Curry can be seen working on an ice sculpture of a Bored Ape.
  21 While it is unclear whether other NFT projects are being referenced in this
  22 commercial, it is obvious that Curry is concurrently promoting BAYC NFTs given
  23 the unmistakable similarity to the art style of the BAYC NFT collection and the ice
  24 sculpture that Curry is working on. This promotion did not include any disclosure
  25 or disclaimer concerning the connection between FTX and Yuga (via Defendants
  26
       152
  27         FTX Official, Steph Curry Is Not a Crypto Expert, YOUTUBE (Mar. 29,
       2022), https://www.youtube.com/watch?v=gsy2N-XI04o.
  28
                                              77
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 81 of 318 Page ID
                                  #:1434



   1 Wu or Sotheby’s), who had significant overlapping financial interests. Instead, the
   2 commercial encouraged uninformed investors to invest into digital assets like the
   3 BAYC NFTs, while at the same time giving a “wink” disclaimer that this was not
   4 financial advice to attempt to provide Curry with plausible deniability regarding his
   5 promotion of the Yuga Financial Products.
   6         213. Defendant Curry also directly promoted BAYC NFT #7990 as his
   7 social media profile picture. The NFT itself was transferred to wallet address
   8 0x3becf83939f34311b6bee143197872d877501b11, which is labeled “SC30.”
   9 Upon information and belief, this wallet is owned or controlled by either Defendant
  10 Curry or Curry’s investment company “SC30” (or both). According to OpenSea,
  11 BAYC NFT #7990 was transferred to a wallet that has been publicly labeled as
  12 “SC30.”153
  13         214. Plaintiffs saw Curry’s thinly-veiled promotion of the collection of
  14 BAYC NFTs in the FTX commercial, as well as Curry’s promotion of Yuga
  15 securities on his social media account. Plaintiffs were induced to purchase and/or
  16 continue to hold Yuga securities as a result of this misleading promotion.
  17         215.   Defendant Curry also lent his celebrity status in the Company’s
  18 Discord, which, as noted, was a significant place for Yuga investors to congregate.
  19 For example, Curry posted the following selfie on the Company’s Discord chat:
  20
  21
  22
  23
  24
  25
  26   153
           Bored Ape Yacht Club #7990, OPENSEA, https://opensea.io/assets/eth
  27 ereum/0xbc4ca0eda7647a8ab7c2061c2e118a18a936f13d/7990 (last visited Oct. 16,
     2023).
  28
                                       78
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 82 of 318 Page ID
                                  #:1435



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17        216.   Curry’s appearance in the Company’s Discord had a significant impact
  18 on inducing investors to purchase Yuga Financial Products as they reasonably
  19 believed that Curry’s appearances were the result of organic interest in the BAYC
  20 NFT collection instead of being a part of his undisclosed agreement to promote
  21 FTX and its affiliates like Yuga in exchange for $28 million.
  22        217.   Defendant Curry also wore clothing emblazoned with the BAYC logo,
  23 including to media events where he spoke as a representative of the Golden State
  24 Warriors:
  25
  26
  27
  28
                                              79
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 83 of 318 Page ID
                                  #:1436



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12         218.   Upon information and belief, Defendant Curry received Yuga
  13 Financial Products and/or other forms of consideration (such as a portion of the $28
  14 million promotional payment from FTX allocated for the cross promotion of FTX
  15 affiliate, Yuga) as part or all of his compensation for promoting the Yuga securities
  16 specifically or the Yuga brand generally. Moreover, Defendant Curry directly
  17 financially benefited from the increased valuation that MoonPay would experience
  18 with such overwhelming celebrity exposure.
  19 Defendant Winkelmann
  20         219.   Following his appearance on the Tonight Show with Defendant Fallon,
  21 Winklemann continued to promote the Company and solicit sales of the Yuga
  22 Financial Products.     For, example, on May 12, 2022, Defendant Winkelmann
  23 posted an original piece of art created by him, promoting the image of a Bored Ape
  24 and citing to “Yuga Labs” in the caption.154        This was one of several such
  25 promotions of the Bored Ape ecosystem by Winkelmann. In fact, on one occasion
  26
       154
  27          Beeple (@beeple), TWITTER (Mar. 12, 2022), https://twitter.com/beeple/
       status/1502824275929088006.
  28
                                               80
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 84 of 318 Page ID
                                  #:1437



   1 on August 22, 2022, Winkelman went so far as to offer 1,000 ApeCoin tokens to
   2 200 of his followers on Twitter as part of a promotional contest.155
   3 Defendant Ciccone
   4         220.   A combined search of Etherscan and OpenSea shows that a wallet
   5 owned/controlled by Defendant Ciccone received BAYC NFT #4988 directly from
   6 MoonPay. This transaction did not involve a purchase by Ciccone but rather the
   7 NFT was simply transferred to her wallet address 0x8ea95Bdc5cDddC0b
   8 7EbAd841F0c1f2cA6168b6a9 (the “Ciccone Wallet”). According to Etherscan and
   9 OpenSea, on March 14, 2022, the MoonPay Wallet first paid 180 ether for BAYC
  10 NFT #4988, which at the time was the equivalent $466,461. On March 23, 2022,
  11 the     MoonPay     wallet   sent   BAYC       NFT    #4988     to     wallet   address
  12 0x6ef962ea7e64e771d3a81bce4f95328d76d7672b (which appears to have been
  13 used as a pass-through wallet).156 Finally, six weeks later, BAYC NFT #4988 was
  14 sent to Ciccone’s wallet on May 7, 2022.157 Ciccone received an NFT worth almost
  15 a half million dollars from MoonPay for nothing except her statements promoting
  16 Yuga securities.
  17         221.   Transactions within the Ciccone Wallet also reveal that Defendant
  18 Ciccone received Otherdeed #4988 directly from the Otherside deployer wallet
  19
  20
  21
  22   155
              Beeple         (@beeple),       TWITTER      (Aug.     22,     2022),
  23   https://twitter.com/beeple/status/1561703958854475777.
       156
              Transaction Hash: 0xdf3b1b59de370deb5f6105600df55650e3e24cd10127a
  24   33f93145b3ca038ac2d, ERC-721: 4988, ETHERSCAN (Mar. 23, 2022, 11:49 AM),
       https://etherscan.io/tx/0xdf3b1b59de370deb5f6105600df55650e3e24cd10127a33f9
  25   3145b3ca038ac2d.
       157
  26          Transaction Hash: 0x8935a6169a603b0cc3899c0b98fb40501f6c2a708dc
       c4e03cdd89d6944eb5b70, ERC-721: 4988, ETHERSCAN (May 7, 2022, 7:44 AM),
  27   https://etherscan.io/tx/0x8935a6169a603b0cc3899c0b98fb40501f6c2a708dcc4e03c
       dd89d6944eb5b70.
  28
                                               81
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 85 of 318 Page ID
                                  #:1438



   1 0x8ea95bdc5cdddc0b7ebad841f0c1f2ca6168b6a9 (the “Otherside Wallet”) on May
   2 16, 2022.158
   3         222.   The Ciccone Wallet also received 100 plots of virtual land in Otherside
   4 on August 5, 2022.159
   5         223.   But there are no free lunches and these were not simple gifts. Rather,
   6 upon information and belief, MoonPay was an indirect way for Oseary and
   7 Executive Defendants Aronow, Solano, Atalay, Ali, Muniz, Shoemaker, Ehrlund,
   8 and Lyons to pay Ciccone to promote and/or solicit sales and re-sales of the Yuga
   9 securities.
  10         224.   An examination of BAYC NFT transactions in the wallet by Ciccone
  11 in conjunction with her social media accounts shows that she received this
  12 particularly rare and valuable BAYC NFT #4988 before she promoted BAYC to
  13 would-be investors.      Shortly after MoonPay acquired BAYC NFT #4988 for
  14 Ciccone, on March 24, 2022, Ciccone posted the following promotion of the BAYC
  15 and its related metaverse to her Twitter account:160
  16
  17
  18
  19
  20
  21
  22   158
              Transaction        Hash:    0x62300078ce92be1784e81e65cd0421a552e7f7
  23   0f1b4931e63f87285086c3c6e6, ERC-721: 4988, ETHERSCAN (May 16, 2022, 5:43
       PM), https://etherscan.io/tx/0x62300078ce92be1784e81e65cd0421a552e7f70f1b4
  24   931e63f87285086c3c6e6.
       159
              Transaction       Hash:    0xcbfb3291091e6dc1e80577526e90dfdf2a438a96
  25   03a313989c4833d8d978bc5d, ETHERSCAN (Aug. 5, 2022, 10:54 AM),
       https://etherscan.io/tx/0xcbfb3291091e6dc1e80577526e90dfdf2a438a9603a313989
  26   c4833d8d978bc5d.
       160
  27          Madonna (@Madonna), TWITTER (Mar. 24, 2022, 7:30 PM),
       https://twitter.com/Madonna/status/1507183071551971330.
  28
                                               82
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 86 of 318 Page ID
                                  #:1439



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12         225.   Plaintiffs saw the promotion from Ciccone regarding the Company’s
  13 collection of BAYC NFTs and were induced to purchase and/or continue to hold
  14 Yuga securities as a result of this misleading promotion.
  15         226.   Neither MoonPay nor Ciccone disclosed that Ciccone’s manager and
  16 business partner Oseary had a financial interest in MoonPay and, relatedly, the
  17 increased sale of BAYC NFTs.           Further, Ciccone failed to include an “ad”
  18 disclaimer in this post to disclose to investors that this was a paid advertisement for
  19 the BAYC collection of NFTs and MoonPay (as opposed to a genuine expression of
  20 interest in the BAYC collection or gratitude to the MoonPay Defendants for
  21 assisting in her “enter[ing] the Metaverse”).
  22         227.   MoonPay responded to Ciccone’s tweet, stating that the company
  23 chose BAYC NFT #4988 for Ciccone because “we heard it call your name and it
  24 felt like home.”161
  25
  26
       161
  27          MoonPay (@moonpay), TWITTER (Mar. 25, 2022, 1:29                        AM),
       https://twitter.com/moonpay/status/1507273486737281024?lang=en.
  28
                                                83
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 87 of 318 Page ID
                                  #:1440



   1         228.   Ciccone’s promotion of the BAYC NFTs and its related metaverse
   2 implied to investors that she personally selected her BAYC NFT because she was
   3 genuinely interested in the BAYC ecosystem and wanted to be a part of its growing
   4 future. But given MoonPay’s statement, it appears that, in truth, Ciccone did not
   5 even bother to choose her BAYC NFT herself, but rather it was selected for her by
   6 MoonPay, thus demonstrating that her enthusiasm for the collection of BAYC
   7 NFTs was fake.
   8         229.   In the following weeks, Ciccone further promoted BAYC in several
   9 news outlets, including Variety magazine and the London newspaper The
  10 Independent. For example, in the July 27, 2022 issue of Variety magazine – which
  11 featured Defendant Oseary on the cover with the tagline that stated “Music Mogul
  12 of the Year – NFT King: Madonna and U2 Manager Guy Oseary is Leveraging His
  13 Success to Become the Next Great Tech Whisperer” – Ciccone insisted that she
  14 “‘was hellbent on getting an Ape and really specific about what I wanted: the Ape
  15 with a leather motorcycle cap on and multicolored teeth.’”162 Ciccone went on to
  16 state: “‘I was told that it was inspired by me, and modeled after me, and it was
  17 bought by a woman who’s a fan of mine. She was gonna sell it to me, but it was
  18 way too expensive.’”163
  19         230.   Then, on July 28, 2022, The Independent published an article titled: “‘I
  20 was hellbent on getting an Ape’: Madonna annoyed she didn’t get the NFT
  21 character she wanted.”164 In addition to echoing the statements from the Variety
  22
       162
  23          Shirley Halperin, From Maverick to Mogul, Madonna’s Manager Guy
       Oseary Transcends the Music World to Take on NFTs, VARIETY (July 27, 2022),
  24   https://variety.com/2022/music/news/guy-oseary-nft-madonna-u2-manager-123532
       5286/.
  25   163
              Id.
       164
  26          Peony Hirwani, ‘I was hellbent on getting an Ape’: Madonna annoyed she
       didn’t get the NFT character she wanted, THE INDEPENDENT (July 28, 2022),
  27   https://www.independent.co.uk/arts-entertainment/music/news/madonna-angry-
       bored-ape-nft-b2132950.html.
  28
                                                84
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 88 of 318 Page ID
                                  #:1441



   1 magazine interview, The Independent reported that the “63-year-old singer has
   2 revealed that she was quite ‘mad’ over being beaten to a bid for Bored Ape No
   3 3756.”165
   4         231.   Defendant Ciccone’s statements about her inability to obtain the
   5 BAYC NFT that was her first choice misleadingly suggested to investors that the
   6 Yuga securities were in such high demand and so exclusive that even a highly-
   7 connected celebrity like Defendant Ciccone could not get any specific NFT that she
   8 wanted. Likewise, Ciccone’s statement that she wanted to buy a particular BAYC
   9 NFT but did not because it was “too expensive” indicated to investors that the
  10 BAYC NFTs were highly valuable such that one of the most successful and iconic
  11 pop singers in the world could not afford to enter the exclusive club on her own
  12 terms. These statements were made to induce investors into believing that the Yuga
  13 securities were investments that held extraordinary value, growth potential, and
  14 would provide future financial opportunities. Indeed, Plaintiffs saw the various
  15 promotions from Defendants Ciccone, Oseary, and the MoonPay Defendants
  16 regarding the Company’s collection of BAYC NFTs and were induced to purchase
  17 and/or continue to hold Yuga securities as a result of this misleading promotion.
  18 Defendants Adidas
  19         232. On December 2, 2021, Adidas announced that it purchased a BAYC
  20 NFT as part of an upcoming collaboration with the Company into “the
  21 Metaverse,”166 boasting the collaboration was “just the beginning 🚀” of going to
  22
  23
  24
       165
            Id.
  25 166
            Andrew Hayward, Adidas enters Metaverse with Bored Ape Yacht Club
  26 Ethereum    NFT, DECRYPT (Dec. 2, 2021), https://decrypt.co/87467/adidas-
     metaverse-bored-ape-yacht-club-ethereum-nft; adidas Originals (@adidasoriginals),
  27 TWITTER (Dec. 2, 2021, 6:49 AM), https://twitter.com/adidasoriginals/
     status/1466419185593036814.
  28
                                           85
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 89 of 318 Page ID
                                  #:1442



   1 the moon.167 Adidas then changed its Twitter profile @adidasoriginals avatar to a
   2 Bored Ape NFT, stating #NewProfilePic.168
   3         233. On December 11, 2021, Defendant Adidas joined the Company to
   4 promote the “ADIDAS X BORED APE YACHT CLUB – INTO THE
   5 METAVERSE” promotional video, which was published on the official BAYC
   6 YouTube channel.169 The video teased an upcoming collaboration between the
   7 Company and Adidas by featuring an animated Bored Ape avatar with a yellow
   8 Adidas tracksuit skydiving into an Adidas logo. On December 17, 2021, Adidas
   9 launched the “adidas Originals: Into the Metaverse NFT (Phase 1)” collection of
  10 30,000 NFTs, which included BAYC-related avatars wearing Adidas clothing and
  11 merchandise. This collection almost immediately sold out after minting. 29,620
  12 NFTs priced at 0.2 ETH each sold at launch generating $43 million for Adidas and
  13 its collaborators withing 72 hours.170 “Adidas and partners” held onto 380 Adidas
  14 Metaverse NFTs for so-called “future events.”171 Adidas offered 20,000 of the
  15 Adidas Metaverse NFTs in early access to, inter alia, BAYC and MAYC NFT
  16 holders.172 Adidas sold $15.5 million worth of those 20,000 Adidas Metaverse
  17 NFTs during the early access mint, which had to pause and restart after several
  18
       167
            Adidas (@adidasoriginals), TWITTER (Dec. 2, 2021, 11:59 AM),
  19 https://twitter.com/adidasoriginals/status/1466451992516177933.
     168
  20        adidas Originals (@adidasoriginals), TWITTER (Dec. 2, 2021, 8:36 AM),
     https://twitter.com/adidasoriginals/status/1466446117642584068.
  21 169    Bored Ape Yacht Club, ADIDAS X BORED APE YACHT CLUB – INTO
     THE METAVERSE, YOUTUBE (Dec. 11, 2021), https://www.youtube.com/
  22 watch?v=-1vdk6IksQ0.
     170
  23        Ornella Hernandez, Adidas Originals reaches second spot on OpenSea
     rankings with debut NFT collection, COINTELEGRAPH (Dec. 20, 2021),
  24 https://cointelegraph.com/news/adidas-originals-reaches-second-spot-on-opensea-
     rankings-with-debut-nft-collection.
  25 171    Jay Peters, Adidas sold more than $22 million in NFTs, but it hit a few snags
     along      the    way,    THE      VERGE      (Dec.   17,   2021      5:38      PM),
  26 https://www.theverge.com/2021/12/17/22843104/adidas-nfts-metaverse-sold-bored-
     ape.
  27 172
            Id.
  28
                                               86
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 90 of 318 Page ID
                                  #:1443



   1 hours due to technical issues with MAYC investors being able to mint. The day of
   2 the launch, Adidas, via the @adidasoriginals Twitter account, solicited sales of the
   3 Adidas Metaverse NFTs, tagging the @BoredApeYC Twitter account and
   4 providing a link that led investors to the OpenSea NFT exchange and an image of
   5 the BAYC avatar wearing an Adidas tracksuit.173          On December 18, 2021,
   6 ApeDAO Board Defendant Bajwa also promoted the exclusivity of the Adidas and
   7 Yuga collaboration, remarking that investors could get around the limit of two
   8 Adidas Metaverse NFTs per wallet.174 The following day, December 19, 2021,
   9 Bajwa promoted the success of the Adidas Metaverse NFT collaboration with
  10 BAYC,175 that Sotheby’s earned $100M from NFT sales in 2021. 78% of bidders
  11 were new to Sotheby’s and half were under 40,”176 that Yuga was “co-developing a
  12 play-to-earn game with [Yuga backer and promoter] @animocabrands. To be
  13 launched in Q2 2022.”177
  14         234. On December 20, 2021, the @adidasoriginals Twitter account
  15 promoted the success of its collaboration with Yuga on the Adidas Metaverse NFT
  16 launch, touting it as “one of the most widely-distributed NFT drops in history.”178
  17 Adidas also addressed the issues with the minting process and promised investors
  18
  19
  20   173
              adidas Originals (@adidasoriginals), TWITTER (Dec. 17, 2021 10:26 AM),
       https://twitter.com/adidasoriginals/status/1471909577658675204?s=20;    adidas
  21   Originals (@adidasoriginals), TWITTER (Dec. 17, 2021 3:26 PM),
       https://twitter.com/adidasoriginals/status/1471985083280199680?s=20.
  22   174
              Maaria.eth (@maariabajwa), TWITTER (Dec. 18, 2021, 9:51 AM),
  23   https://twitter.com/maariabajwa/status/1472263218726772736?s=20.
       175
              Maaria.eth (@maariabajwa), TWITTER (Dec. 18, 2021 7:29 PM),
  24   https://twitter.com/maariabajwa/status/1472771183451860993?s=20.
       176
  25          Maaria.eth (@maariabajwa), TWITTER (Dec. 19, 2021 7:29 PM),
       https://twitter.com/maariabajwa/status/1472771185528086530?s=20.
  26   177
              Id.
       178
  27          adidas Originals (@adidasoriginals), TWITTER (Dec. 20, 2021 3:14 AM),
       https://twitter.com/adidasoriginals/status/1472888099994841090?s=20.
  28
                                              87
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 91 of 318 Page ID
                                  #:1444



   1 that “[t]his NFT drop is the beginning of Into the Metaverse, not the end.”179
   2 Adidas ended this Twitter thread promotion by thanking Yuga as a “pioneer[] in the
   3 space.”180
   4         235. These promotions by Adidas and its collaboration with BAYC
   5 throughout December 2021 caused the floor price of the BAYC NFT collection to
   6 spike, rising from approximately 47 ETH on December 1, 2021 before the
   7 promotion, to approximately 58.6 ETH by December 31, 2021.
   8         236. On April 27, 2022, Defendant Adidas promoted Phase 2 of the joint
   9 BAYC and Adidas collaboration of Adidas Metaverse NFTs.181 The NFT featured
  10 a moving image of a Bored Ape avatar wearing a yellow Adidas tracksuit. The
  11 back of the image prominently featured the Company’s BAYC logo. According to
  12 the Adidas “Frequently Asked Questions” for the “Metaverse” section of its
  13 website, investors in Adidas x BAYC Into the Metaverse NFTs were entitled to
  14 claim “physical products designed in collaboration with adidas Originals [and]
  15 Bored Ape Yacht Club” as a part of Phase 2.182 Adidas created a false sense of
  16 urgency with the purchase of the Adidas Metaverse NFTs by putting a time limit on
  17 claiming the Adidas x BACY physical products. Investors only had from April 28,
  18 2022 to May 18, 2022 to claim these BAYC-related products.183 According to the
  19
  20
  21
       179
  22          adidas Originals (@adidasoriginals), TWITTER (Dec. 20, 2021 3:14 AM),
       https://twitter.com/adidasoriginals/status/1472888109205438473?s=20.
  23   180
              adidas Originals (@adidasoriginals), TWITTER (Dec. 20, 2021 3:14 AM),
       https://twitter.com/adidasoriginals/status/1472888110375649282?s=20.
  24   181
              adidas Originals: into the Metaverse (Phase 2), OPENSEA,
  25   https://opensea.io/assets/ethereum/0x28472a58a490c5e09a238847f66a68a47cc76f0
       f/1.
  26   182
              FAQ: Physical Product Claims, ADIDAS.COM, https://www.adidas.com/
       metaverse/faq.
  27   183
              Id.
  28
                                             88
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 92 of 318 Page ID
                                  #:1445



   1 website, “If you have an Into the Metaverse NFT, then claiming the physical merch
   2 is completely free.”184
   3                               b. Yuga Defendants
   4 Defendant Yuga Labs
   5          237. As Defendant Soto-Wright admitted: the “hardest thing to solve” when
   6 building a new company was “getting those customers on your platform.”185
   7          238. After the Sotheby’s auction set the stage, the Company brought in
   8 Defendant Oseary and his troupe of celebrity influencers and venture capital
   9 connections to begin the second scheme to sell Yuga securities: deceptively
  10 promote the artificially inflated BAYC NFTs to investors like Plaintiffs and the
  11 Class.
  12          239. One of Oseary’s first moves was to pull some strings at CAA whereby
  13 “Jenkins the Valet,” one of the Bored Ape NFTs was purportedly signed in
  14 September 2021 to be represented by CAA, “across Books, Film, TV, Podcast, and
  15 more.”186 CAA also announced that it was signing NFT collector “0xb1” to help
  16 monetize their NFTs. 0xb1 confirmed the deal on Twitter, saying that they will
  17 “work hard to bring open license NFT brands & properties mainstream,” starting
  18 with their Bored Ape Yacht Club collection.187
  19
  20
  21
  22
       184
              Id.
  23   185
              MIXERGY.COM, supra n.32.
  24   186
              Jenkins The Valet (@jenkinsthevalet), TWITTER (Sept. 22, 2021 9:27 AM),
       https://twitter.com/jenkinsthevalet/status/1440714371848572928?s=20.
  25   187
              Yogita Khatri, Hollywood talent agency CAA signs NFT collector ‘0xb1’ to
  26   help them monetize their pieces, THE BLOCK (Oct. 9, 2021),
       https://www.theblock.co/linked/119987/hollywood-talent-agency-caa-signs-nft-
  27   collector-0xb1-to-help-them-monetize-their-pieces; Oxb1 (@0x_b1), TWITTER (Oct.
       8, 2021 1:35 PM), https://twitter.com/0x_b1/status/1446529804262678563?s=20.
  28
                                              89
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 93 of 318 Page ID
                                  #:1446



   1         240. Next, Oseary orchestrated the promotion of the BAYC NFT collection
   2 in a feature article in Rolling Stone magazine, which, upon information and belief,
   3 appears to be Oseary’s go-to choice for promoting his business endeavors.188
   4         241. On November 1, 2021, Rolling Stone published an article titled “How
   5 Four NFT Novices Created a Billion-Dollar Ecosystem of Cartoon Apes” (the
   6 “Rolling Stone article”), which likened Defendants Solano, Aronow, Atalay and Ali
   7 to “internet rock stars” and repeatedly touted the BAYC collection of NFTs and its
   8 related metaverse platform.189      The Rolling Stone article candidly notes that
   9 Defendants Solano, Aronow, Atalay and Ali “started out with unsharpened goals of
  10 capitalizing on a very clear trend.”190
  11         242. In conjunction with the publication of the Rolling Stone article (which
  12 was a promotional piece about Yuga and its founders Defendants Solano, Aronow,
  13 Atalay and Ali in everything but name), the Company collaborated with Rolling
  14 Stone magazine on the latter’s collector edition magazine featuring “never-before-
  15 seen BAYC artwork.” The issue offered investors the chance to see “early sketches
  16 of the swamp club, get to know the original apes, and find out how the creative
  17 minds behind one of the most valuable NFT collections in history bring their ideas
  18 to life.” Most importantly, the cover of this issue prominently featured a BAYC
  19
  20
  21
  22   188
              For example, a May 4, 2021 article in Rolling Stone magazine titled “You
  23   Can Learn How to Perform Directly From Madonna, Now” promoted a business
       venture owned by Defendant Oseary: Bright, which, according to Rolling Stone, is
  24   “a star-studded educational livestreaming platform that pledges classes and lessons
       from celebrities.” See https://www.rollingstone.com/pro/news/madonna-bright-
  25   celebrity-classes-guy-oseary-1164390/.
       189
              Samantha Hissong, How Four NFT Novices Created a Billion-Dollar
  26   Ecosystem of Cartoon Apes, ROLLING STONE (Nov. 1, 2021), https://www.rolling
       stone.com/culture/culture-news/bayc-bored-ape-yacht-club-nft-interview-1250461/.
  27   190
              Id.
  28
                                               90
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 94 of 318 Page ID
                                  #:1447



   1 NFT. According to Rolling Stone’s online store, all 2,500 copies of the Rolling
   2 Stone x Bored Ape Yacht Club Limited-Edition Zine were sold out.191
   3         243. The Company tweeted a video of the Rolling Stone cover showcasing
   4 the BAYC NFT and told its BAYC followers that auction details would be
   5 forthcoming.192 The Company then promoted and held an auction on the BAYC
   6 and MAYC NFT Rolling Stone covers on November 15, 2021,193 and a similar
   7 BAYC Rolling Stone cover auction in June 2022 for both a BAYC NFT and “a print
   8 of the art signed by Yuga Labs’ founders, the artist, and the CEO of Rolling
   9 Stone.”194
  10         244. The Company itself also solicited sales at various events like “ApeFest
  11 2021” which was held in New York on November 3, 2021 as an exclusive event for
  12 only BAYC or MAYC NFT owners.195 Significantly, Yuga’s ApeFest 2021 event
  13 was sponsored and promoted by MoonPay,196 which promoted an ApeFest ticket
  14
  15
  16
  17   191
              Rolling Stone x Bored Ape Yacht Club Limited-Edition Zine, ROLLING
       STONE SHOP, https://shop.rollingstone.com/products/rolling-stone-x-bored-ape-
  18   yacht-club-special-collectors-edition-zine (last visited Oct. 16, 2023).
       192
  19          Bored Ape Yacht Club (@BoredApeYC), TWITTER (Nov. 1, 2021, 8:26 AM),
       https://twitter.com/BoredApeYC/status/1455194570669576197.
  20   193
              Bored Ape Yacht Club (@BoredApeYC), TWITTER (Nov. 13, 2021, 9:11
       AM), https://twitter.com/BoredApeYC/status/1459569714796052488. The Rolling
  21   Stone covers ultimate sold for 100 ETH and 47 ETH. See Bored Ape Yacht Club
       (@BoredApeYC), TWITTER (Nov. 15, 2021, 5:27 PM), https://twitter.com/
  22   BoredApeYC/status/1460419265547407361.
       194
  23          Bored Ape Yacht Club (@BoredApeYC), TWITTER (June 22, 2022, 6:19
       AM), https://twitter.com/BoredApeYC/status/1539598893771628544.
  24   195
              Bored Ape Yacht Club (@BoredApeYC), TWITTER (Oct. 28, 2021 7:26 PM),
       https://twitter.com/BoredApeYC/status/1453911020137816068.
  25   196
              Bored Ape Yacht Club (@BoredApeYC), TWITTER (Nov. 3, 2021),
  26   https://twitter.com/BoredApeYC/status/1456143639634071556?s=20&t=g1mRpx
       WbWmWNzjxw385m2A; MoonPay (@moonpay), TWITTER (Nov. 1, 2021, 10:49
  27   AM), https://twitter.com/moonpay/status/1455230583702003724?s=20&t=vrAWh
       eqx4E0TSLTJj9xpIA.
  28
                                              91
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 95 of 318 Page ID
                                  #:1448



   1 giveaway to Twitter followers.197 NFT artist, Oseary associate, and Defendant
   2 Winkelmann also promoted the ApeFest 2021 event on his Twitter account.198
   3         245. On March 16, 2022, the Company and BAYC announced the
   4 formation of the ApeCoin DAO199 and the launch of the ApeCoin Token200 as the
   5 “official currency of the BAYC ecosystem.”201 BAYC stated that ApeCoin would
   6 be available “to all” and was “expected to begin trading on major crypto
   7 exchanges.”202 BAYC explained that the Yuga would be “gifting ApeCoin DAO as
   8 a 1/1 NFT featuring a blue version of the BAYC logo,” and “[t]his NFT transfers
   9 full IP rights of the derivative logo to the ApeCoin DAO, who will decide how the
  10 IP should be used.”203 Further, 15% of the total supply of ApeCoin would be made
  11 available to BAYC and MAYC NFT holders204 and 62% of the total ApeCoin
  12 supply would be “allocated to the ApeCoin Community.”205 BAYC then directed
  13 its followers to visit apecoin.com to learn more details.206
  14
       197
            MoonPay (@MoonPay), TWITTER (Nov. 1, 2021, 10:49 AM),
  15 https://twitter.com/moonpay/status/1455230583702003724.
     198
  16        Beeple      (@beeple),      TWITTER    (Nov.    3,     2021,     8:49    PM),
     https://twitter.com/beeple/status/1456106243391623168?s=20&t=g1mRpxWbWm
  17 WNzjxw385m2A.
     199
            A “DAO” refers to a decentralized autonomous organization, sometimes
  18 called a decentralized autonomous corporation. It is an entity that claims to have no
     central leadership, and is collectively owned and managed by their members.
  19 200
            Bored Ape Yacht Club (@BoredApeYC), TWITTER (Mar. 16, 2022, 2:06
  20 PM),  https://twitter.com/BoredApeYC/status/1504202508633362436.
     201
            Bored Ape Yacht Club (@BoredApeYC), TWITTER (Mar. 16, 2022, 2:06
  21 PM), https://twitter.com/BoredApeYC/status/1504202511837806598.
     202
  22        Bored Ape Yacht Club (@BoredApeYC), TWITTER (Mar. 16, 2022, 2:06
     PM), https://twitter.com/BoredApeYC/status/1504202515805573123.
  23 203    Bored Ape Yacht Club (@BoredApeYC), TWITTER (Mar. 16, 2022, 2:06
     PM), https://twitter.com/BoredApeYC/status/1504202512877948930.
  24 204
            Bored Ape Yacht Club (@BoredApeYC), TWITTER (Mar. 16, 2022, 2:06
  25 PM),  https://twitter.com/BoredApeYC/status/1504202514815721472.
     205
            Bored Ape Yacht Club (@BoredApeYC), TWITTER (Mar. 16, 2022, 2:06
  26 PM), https://twitter.com/BoredApeYC/status/1504202513834201088.
     206
  27        Bored Ape Yacht Club (@BoredApeYC), TWITTER (Mar. 16, 2022, 2:06
     PM), https://twitter.com/BoredApeYC/status/1504202516736663561.
  28
                                               92
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 96 of 318 Page ID
                                  #:1449



   1         246.   Executive Defendants, via the Company’s social media accounts,
   2 further promoted the sale of Yuga securities:
   3
   4
   5
   6
   7
   8
   9 Defendant Oseary
  10         247. In addition to promoting the large number of celebrities that
  11 purportedly “joined the club” (i.e., purchased a BAYC NFT), Oseary used his own
  12 personal Twitter account to promote BAYC NFTs.
  13         248. In fact, Oseary’s Twitter feed is littered with promotions for BAYC
  14 NFTs and other Yuga Financial Products. For example, on November 1, 2021,
  15 Oseary posted a picture of the cover of Rolling Stone magazine with the following
  16 caption: “First @RollingStone NFT cover . . . Congrats @BoredApeYC.”207
  17         249. On January 20, 2022, Oseary promoted a tweet from Serena Williams
  18 that posted her BAYC NFT (which she received from her husband, Defendant
  19 Ohanian, who also happens to be a member of the ApeDAO board of directors).208
  20 That same day, Oseary similarly promoted a tweet from professional soccer player
  21 Neymar da Silva Santos, Jr. that said: “I am an ape!           #community #art
  22
  23
  24
       207
          Guy Oseary (@guyoseary), TWITTER (Nov. 1, 2021, 9:32 AM),
  25 https://twitter.com/guyoseary/status/1455211104448094211?s=20&t=s22ecLQKFg
     igc5iiuUVeew.
  26 208
            Serena Williams (@serenawilliams), TWITTER (Jan. 20, 2022, 5:41 AM),
  27 https://twitter.com/serenawilliams/status/1484159217791647751?s=20&t=iNbPm5
     RANQEpugkz3Orziw.
  28
                                               93
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 97 of 318 Page ID
                                  #:1450



   1 #BoredApeYC.”209 Notably, not only did these promotions take place on the same
   2 day within a few hours, but both BAYC NFTs promoted by Oseary, Williams, and
   3 Neymar were the rare “pink” Bored Apes, which were more valuable and indicate a
   4 common source of origin.
   5         250. On March 11, 2022, Oseary advertised the availability of new NFTs to
   6 Yuga NFT holders:210
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17         251. Oseary also bragged about the early success of ApeCoin:211
  18
  19
  20
  21
  22
  23
       209
  24        Neymar Jr (@neymarjr), TWITTER (Jan. 20, 2022, 10:24 AM),
     https://twitter.com/neymarjr/status/1484230264293318663?s=20&t=iNbPm5RAN
  25 QEpugkz3Orziw.
     210
            Guy Oseary (@guyoseary), Twitter           (Mar. 11, 2022, 5:07PM),
  26 https://twitter.com/yugalabs/status/1502420714527334406.
     211
  27        Guy Oseary (@guyoseary), Twitter (Mar. 16, 2022, 9:06PM),
     https://twitter.com/apecoin/status/1504201556165644298.
  28
                                              94
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 98 of 318 Page ID
                                  #:1451



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16        252. On April 30, 2022, Oseary promoted the success of an Otherdeed mint:
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                            95
       SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
       PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 99 of 318 Page ID
                                  #:1452



   1         253. Oseary promoted the use of ApeCoin on OpenSea: 212
   2
   3
   4
   5
   6
   7
   8
   9
  10
  11         254. Plaintiffs saw the promotions from Defendant Oseary regarding the
  12 Company’s collection of BAYC NFTs and were induced to purchase and/or
  13 continue to hold Yuga Financial Products as a result of these misleading
  14 promotions.
  15 Defendant Solano
  16         255. In addition to the promotions Solano made via the Company’s social
  17 media accounts, Solano promoted the sale of Yuga Financial Products on his own
  18 personal social media accounts. For example, on April 21, 2021, Defendant Solano
  19 promoted the growth potential for the BAYC ecosystem (which could only be
  20 accessed through the purchase of a BAYC NFT), stating: “The Bored Ape Yacht
  21 Club is more than just an #NFT collection – the NFT grants access to a
  22 collaborative art experiment in the form of a canvas only token-holders can draw
  23 on.”213 This statement was misleading in that it suggested to investors that there
  24
  25   212
            Guy Oseary (@guyoseary), Twitter (Apr. 30, 2022, 4:01 PM),
     https://x.com/opensea/status/1520508693758062592?s=20.
  26 213
            Garga.eth (Greg Solano), TWITTER (Apr. 21, 2021, 8:34 PM),
  27 https://twitter.com/CryptoGarga/status/1385074598241243138?s=20&t=g1mRpxW
     bWmWNzjxw385m2A.
  28
                                             96
     SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
     PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 100 of 318 Page ID
                                  #:1453



    1 would be a broader ecosystem for BAYC NFT holders to interact in and that the
    2 BAYC brand was poised for significant growth, when, in truth, the BAYC NFTs
    3 were just a vehicle to make insiders rich at the expense of investors.
    4         256. The next day, April 22, 2021, Solano again touted BAYC NFTs,
    5 claiming that these NFTs “double as membership cards to an exclusive club with
    6 benefits” and soliciting investors to participate in the BAYC NFT pre-sale on April
    7 23, 2021.214
    8         257. On April 24, 2021, Solano tweeted that the BAYC NFT presale had
    9 started and that members could join the club on Discord:215
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22         258. On April 25, 2021, Solano promoted the Company’s promotional
   23 giveaway for the presale:216
   24
   25   214
             Garga.eth (Greg Solano), TWITTER (Apr. 22, 2021, 3:16 PM),
      https://twitter.com/CryptoGarga/status/1385356793862397953?s=20&t=g1mRpxW
   26 bWmWNzjxw385m2A.
      215
   27        Garga.eth (Greg Solano), TWITTER (Apr. 24, 2021, 12:00 AM),
      https://twitter.com/CryptoGarga/status/1385745347906048003.
   28
                                              97
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 101 of 318 Page ID
                                  #:1454



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
                259. On April 29, 2021, Solano promoted the sale of two “rare” BAYC
   14
        NFTs:
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
        216
   27          Garga.eth (Greg Solano), TWITTER (Apr. 25, 2021,         3:55     PM),
        https://twitter.com/CryptoGarga/status/1386393217168416772.
   28
                                             98
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 102 of 318 Page ID
                                  #:1455



    1         260. On August 29, 2021, following the launch of the BAYC NFT
    2 collection, Solano crowed on the Company’s Discord that the BAYC NFTs had
    3 “sold out over the course of one wild night,” they had become one of “the most
    4 distributed NFT collections of our kind,” there were “million-dollar apes,” and the
    5 “had so many celebrities and athletes ape-in to the club that it’s beginning to feel
    6 like we could field entire sports teams”:217
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16         261. On September 14, 2021, days after the highly-promoted Sotheby’s
   17 auction, Solano posted that he would be on a panel about a Christie’s auction of
   18 four apes, furthering the fraudulent messaging from Sotheby’s and the Company
   19 that traditional art collectors were interested in acquiring the BAYC NFT as
   20 legitimate, high art:218
   21
   22
   23
   24
   25
        217
   26        Garga.eth (Greg Solano), TWITTER (Aug. 29, 2021, 2:44 PM),
      https://twitter.com/BoredApeYC/status/1432066652749828099.
      218
   27        Garga.eth (Greg Solano), TWITTER (Sep. 14, 2021, 4:23 AM),
      https://twitter.com/CryptoGarga/status/1437633118169620483.
   28
                                              99
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 103 of 318 Page ID
                                  #:1456



    1
    2
    3
    4
    5
    6
    7
    8         262. On March 9, 2022, Solano boasted about the $1M in ETH donation to
    9 Ukraine matching donations from BAYC wallets, suggesting to investors that the
   10 Company was strong financially and poised for further growth in the future to
   11 continue its corporate donations:219
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21         263. On June 27, 2022, Solano highlighted the song debut of celebrities
   22 Snoop Dogg (Defendant Broadus) and Eminem wearing their Bored Apes at
   23 ApeFest:
   24
   25
   26
   27   219
               Garga.eth (Greg Solano), TWITTER (Mar. 9, 2022,          12:17   AM),
        https://twitter.com/CryptoGarga/status/1501351425695264768.
   28
                                             100
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 104 of 318 Page ID
                                  #:1457



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13         264. On July 16, 2022, Solano boasted about the thousands of users of
   14 Yuga’s new Otherside metaverse:220
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27   220
               Garga.eth (Greg Solano), TWITTER (Jul. 16, 2022,        10:53     PM),
        https://twitter.com/CryptoGarga/status/1548153773704429568.
   28
                                           101
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 105 of 318 Page ID
                                  #:1458



    1         265. On July 27, 2022, Solano congratulates promoter Oseary for appearing
    2 on the cover of Variety as “NFT King”:
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16         266. Despite being an avid commenter to the BAYC’s members only
   17 Discord chatroom between April 2021 and August 2021 under the username
   18 “Garga03,” there are notably no comments from Solano between August 30, 2021
   19 and December 4, 2021 and December 6, 2021 and March 31, 2022 during the
   20 meteoric rise of the Yuga Financial Products. Yet Defendant Muniz noted in a
   21 February 2022 interview that the “founders were living and breathing in Discord
   22 with them 24 hours a day.       Supporting [the BAYC members] and answering
   23 questions and being truly a part of the community themselves.”221 Solano’s notable
   24 absence of messages, combined with Muniz’s statement that Solono, a founding
   25
   26   221
          Full Interview: Yuga Labs CEO on Bored Ape Yacht Club and the future of
   27 Web3,          YOUTUBE        (Feb.     18,      2022),       17:10-17:30,
      https://www.youtube.com/watch?v=DonKhINiI08.
   28
                                          102
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 106 of 318 Page ID
                                  #:1459



    1 BAYC member, was on Discord “24 hours a day” to promote the Bored Ape
    2 ecosystem and solicit sales of the Yuga Financial Products, indicates his discussions
    3 may have been removed or deleted.
    4 Defendant Aronow
    5         267. Aronow made numerous Yuga Financial Product posts under his
    6
        @GordonGoner Twitter handle to his more than 150,000 followers.
    7
              268. On April 20, 2021, Aronow announced the launch of the BAYC:
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
              269. On April 26, 2021, Aronow promoted the promotional “Giveaway”
   18
        during presale of BAYCs in an effort to solicit further and increase sales of the
   19
        BAYC NFT collection.
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                               103
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 107 of 318 Page ID
                                  #:1460



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
              270. On April 27, 2021, Aronow hyped the pricing structure for the BAYC
   13
        NFT collection and the purported excitement within the BAYC community and
   14
        investors:
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                            104
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 108 of 318 Page ID
                                  #:1461



    1        271. On April 30, 2021, Aronow encouraged people to “ape in” to BAYC
    2 (i.e., purchase a Yuga Financial Product) so investors could “join in the fun” and
    3 enjoy the future perks associated with membership:
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16        272. On May 29, 2021, Aronow again touted the exclusivity of the BAYC
   17 and the incentives given to owners of Yuga Financial Products, advising that
   18 investors could only access “member exclusives” by moving at least one BAYC
   19 NFT to Metamask:
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                             105
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 109 of 318 Page ID
                                  #:1462



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13         273. On August 21, 2021, Defendant Aronow bragged “Not bad for a high
   14 school dropout” in response to a post that said, “Don’t look now but #BAYC
   15 Market Cap just crossed a BILLION.”222 This exchange gave investors the false
   16 impression that BAYC NFTs were a sound investment experiencing organic growth
   17 that were poised to continue growing, when in fact the price and volume was
   18 inflated due to manipulative trading strategies.
   19
   20
   21
   22
   23
   24
   25
   26   222
            GordonGoner.eth (Wylie Aronow) (@GordonGoner), TWITTER (Apr. 21,
   27 2021, 12:32 AM), https://twitter.com/gordongoner/status/1428938116535042049?
      lang=en.
   28
                                            106
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 110 of 318 Page ID
                                  #:1463



    1         274. On October 1, 2021, Aronow posted twice on the BAYC Discord
    2
        details of ApeFest 2021223 to generate excitement for BAYC and the exclusivity of
    3
        the club and the related ApeFest events. One post was as follows:
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
              275. Aronow reposted a picture of the November 2021 BAYC and Adidas
   18
        promotion on the Burj Khalifa, along with a reference to a since deleted Twitter
   19
        space conversation with Solano:
   20
   21
   22
   23
   24
   25
   26
        223
   27        ApeFests are exclusive festivals hosted by BAYC for Bored Ape and Mutant
        Ape NFT holders.
   28
                                               107
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 111 of 318 Page ID
                                  #:1464



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14        276. Aronow repeatedly announced ApeCoin’s launch on March 16, 2022:

   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                           108
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 112 of 318 Page ID
                                  #:1465



    1
    2
    3
    4
    5
    6
    7
    8         277. Aronow boasted that ApeCoin was being listed by now defunct FTX,
    9 without disclosing that the Company has multiple ties to FTX via Defendant Wu,
   10 including, but not limited to, the Sotheby’s auction and Defendant Curry’s
   11 promotion:
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
              278. Aronow advised that holders of an NFT within the BAYC ecosystem
   22
        would be able to claim ApeCoin tokens:
   23
   24
   25
   26
   27
   28
                                                 109
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 113 of 318 Page ID
                                  #:1466



    1
    2
    3
    4
    5
    6
    7
    8
    9        279. Aronow announced the Otherside launch on April 30, 2022:
   10
   11
   12
   13
   14
   15
   16        280. Aronow reposted a picture of Curry, a BAYC investor himself,
   17 wearing a BAYC sweatshirt promoting the product:
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                            110
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 114 of 318 Page ID
                                  #:1467



    1         281. Aronow bragged that BAYC hit the one million follower milestone and
    2 directed his followers to join a since deleted Twitter chat:
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12         282. Aronow reposted that Defendant Broadus and rapper Eminem were
   13 promoting the BAYC on MTV for the Video Music Awards:
   14
   15
   16
   17
   18
   19
   20
   21
   22         283. Aronow also reposted an announcement that Defendant Curry was
   23 promoting BAYC in his Twitter bio:
   24
   25
   26
   27
   28
                                                111
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 115 of 318 Page ID
                                  #:1468



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12        284. In addition, in an effort to suggest to investors that the BAYC
   13 ecosystem was expanding and preparing for future brand collaborations, Aronow
   14 announced Brand Bicycle was making BAYC NFT playing cards:
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
             285. Aronow promoted a BAYC and MAYC promotional event held during
   26
        Art Basel in Miami Beach:
   27
   28
                                           112
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 116 of 318 Page ID
                                  #:1469



    1
    2
    3
    4
    5
    6
    7
              286. Despite being an avid commenter to the BAYC’s members-only
    8
        Discord chatroom between April 2021 and October 2021 under the username
    9
        “GordonGoner#0607,” there are notably no comments from Aronow in the
   10
        chatroom after August 6, 2021 during the meteoric rise of the Yuga Financial
   11
        Products.   Yet Defendant Muniz noted in a February 2022 interview that the
   12
        “founders were living and breathing in Discord with them 24 hours a day.
   13
        Supporting [the BAYC members] and answering questions and being truly a part of
   14
        the community themselves.”224 Aronow’s notable absence of messages, combined
   15
        with Muniz’s statement that Aronow, a founding BAYC member, was on Discord
   16
        “24 hours a day,” indicates his discussions may have been removed or deleted.
   17
              287. The scheme to promote the BAYC NFTs is not the first time Aronow
   18
        has been accused of attempting to mislead investors.       In May 2021, a crypto
   19
        company called Bitmex took Aronow to arbitration over a disputed domain name in
   20
        the action HDR Global Trading Limited v. Aronow, Claim No. FA2104001943672.
   21
        According to the complaint, Aronow had bought the domain name bitmex.guru in
   22
        2018, which Bitmex argued was clearly designed to trick people looking for the real
   23
        Bitmex website. Aronow did not appear, and the arbitrator ordered that the domain
   24
        name be transferred after his default in the proceeding.
   25
   26   224
            Full Interview: Yuga Labs CEO on Bored Ape Yacht Club and the future of
   27 Web3,  YOUTUBE (Feb. 18, 2022), 17:10-17:30, https://www.youtube.com/
      watch?v=DonKhINiI08.
   28
                                          113
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 117 of 318 Page ID
                                  #:1470



    1 Defendant Atalay
    2         288. Atalay made several promotional posts about the Company and the
    3 Yuga Financial Products to his more than 33,000 Twitter followers. On November
    4 4, 2021, Atalay showed the huge BAYC crowd at an ApeFest social event:225
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20         289. On December 31, 2021, Atalay bragged to the followers of his Twitter
   21 account about the Company’s successes during 2021 and the prospects for 2022:226
   22
   23
   24
        225
            emperortomatoketchup.eth (Kerem Atalay) (@TomatoBAYC), TWITTER
   25 (Nov.     03,     2021,11:17PM),      https://twitter.com/TomatoBAYC/status/
      1456113347141775366/photo/1.
   26 226
            emperortomatoketchup.eth (Kerem Atalay) (@TomatoBAYC), TWITTER
   27 (Dec    31,     2021,    5:03PM),     https://twitter.com/TomatoBAYC/status/
      1477052702769266688.
   28
                                         114
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 118 of 318 Page ID
                                  #:1471



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
              290. On February 6, 2022, Atalay posted about social events for BAYC and
   12
        MAYC:227
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26   227
            emperortomatoketchup.eth (Kerem Atalay) (@TomatoBAYC), TWITTER
   27 (Feb.    6,     2022,     6:53PM),     https://twitter.com/BoredApeYC/status/
      1490126552272670720.
   28
                                         115
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 119 of 318 Page ID
                                  #:1472



    1         291. On March 11, 2022, Atalay promoted that holders of any newly
    2 acquired CryptoPunks and Meebits NFTs:228
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18         292. On June 22, 2022, Atalay promoted that he and Ali would be
   19 debugging code as featured act of ApeFest 2022.229
   20
   21
   22
   23
   24
        228
            emperortomatoketchup.eth (Kerem Atalay) (@TomatoBAYC), TWITTER
   25 (Mar.11,       2022,        5:06PM),        https://twitter.com/yugalabs/status/
      1502420714527334406.
   26 229
            emperortomatoketchup.eth (Kerem Atalay) (@TomatoBAYC), TWITTER
   27 (Jun.22,   2022,     9:54     AM),    https://twitter.com/TomatoBAYC/status/
      1539622900491239424.
   28
                                         116
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 120 of 318 Page ID
                                  #:1473



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13         293. Despite numerous members of the BAYC’s members-only Discord
   14 chatroom tagging Atalay in various chats as “@Tomato,” to signify his username
   15 “EmperorTomatoKetchup#0948,” there are notably no comments or discussions
   16 whatsoever from Atalay after August 26, 2021. Yet Defendant Muniz noted in a
   17 February 2022 interview that the “founders were living and breathing in Discord
   18 with them 24 hours a day.       Supporting [the BAYC members] and answering
   19 questions and being truly a part of the community themselves.”230 Atalay’s notable
   20 absence of messages, combined with Muniz’s statement that Atalay, a founding
   21 BAYC member, was on Discord “24 hours a day,” indicates his discussions may
   22 have been removed or deleted.
   23
   24
   25
   26   230
             Full Interview: Yuga Labs CEO on Bored Ape Yacht Club and the future of
   27 Web3,          YOUTUBE         (Feb.      18,       2022),       17:10-17:30,
      https://www.youtube.com/watch?v=DonKhINiI08.
   28
                                           117
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 121 of 318 Page ID
                                  #:1474



    1 Defendant Ali
    2         294. Ali repeatedly promoted BAYC after its launch, including with the
    3 following promotional posts, on August 2 and 6, 2021, and November 4, 14, and
    4 28, 2021, to his more than 25,000 Twitter followers:
    5                   a. August 2, 2021231
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15                   b. August 6, 2021232

   16
   17
   18
   19
   20
   21
   22
   23
   24
   25   231
           Zeshan Ali (@SassBAYC), Twitter (Aug. 2, 2021,              10:16   AM),
      https://x.com/BoredApeYC/status/1422214678596489218?s=20.
   26 232
           Zeshan Ali (@SassBAYC), Twitter (Nov. 4, 2021,              12:24   AM),
   27 https://x.com/lilbaby4PF/status/1456130223012032516?s=20
   28
                                               118
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 122 of 318 Page ID
                                  #:1475



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12                  c. November 4, 2021233
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
        233
   27          Zeshan Ali (@SassBAYC), Twitter (Aug. 6, 2021,          9:52      PM),
        https://x.com/SassBAYC/status/142384019955242307?s=20.
   28
                                           119
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 123 of 318 Page ID
                                  #:1476



    1               d.    November 14, 2021234
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
              295. After Aronow’s and Solano’s identities were revealed, Ali no longer
   14
   15 felt the need to remain hidden and instead decided to reveal himself alongside his
   16 BAYC NFT.235
   17
   18
   19
   20
   21
   22
   23
   24
   25
        234
             Zeshan Ali (@SassBAYC), Twitter (Nov. 14, 2021, 6:11 PM),
   26 https://x.com/SaintBayview/status/1460037657321422851?s=20.
      235
   27      Zeshan Ali (@SassBAYC), Twitter (Feb. 8, 2022, 2:46 PM),
      https://x.com/SassBAYC/status/1491151597682180096?s=20.)
   28
                                            120
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 124 of 318 Page ID
                                  #:1477



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11        296. Once revealed, Ali continued to promote the Yuga Financial Products,
   12 including ApeCoin’s launch, the Otherside’s launch, and ApeFest 2022. The
   13 following are examples thereof:
   14                  a. March 16, 2022
   15
   16
   17
   18
   19                  b. March 17, 2022:
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                             121
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 125 of 318 Page ID
                                  #:1478



    1                  c. March 18, 2022
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11                  d. May 16, 2022:

   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                           122
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 126 of 318 Page ID
                                  #:1479



    1         297. Ali also posted about the BAYC NFT piece he had commissioned
    2
        October 10, 2022, by artist LeMaow.236
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15         298. Yet despite numerous members of the BAYC’s members only Discord
   16 chatroom tagging Ali in various chats as “@Sass,” to signify his username
   17 “Sass#3437,” there are notably no comments or discussions whatsoever from Ali
   18 after August 28, 2021. Defendant Muniz noted in a February 2022 interview that
   19 the “founders were living and breathing in Discord with them 24 hours a day.
   20 Supporting [the BAYC members] and answering questions and being truly a part of
                                237
   21 the community themselves.”    Ali’s notable absence of messages, combined with
   22 Muniz’s statement that Ali, a founding BAYC member, was on Discord “24 hours a
   23 day,” indicates his discussions may have been removed or deleted.
   24
   25   236
             Zeshan Ali (@SassBAYC), Twitter (Oct. 10, 2022, 10:58 AM),
      https://twitter.com/SassBAYC/status/157950171189887387.
   26 237
             Full Interview: Yuga Labs CEO on Bored Ape Yacht Club and the future of
   27 Web3,   YOUTUBE (Feb. 18, 2022), 17:10-17:30, https://www.youtube.com/watch?v=
      DonKhINiI08.
   28
                                            123
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 127 of 318 Page ID
                                  #:1480



    1 Defendant Muniz
    2         299. On February 18, 2022, Defendant Muniz did an interview with D3
    3 Network that was widely circulated on social media where she promoted investment
    4 into Yuga Financial Products.         Muniz stated that investing in Yuga Financial
    5 Products “is a little bit like the next frontier, it’s the wild west, its opportunity! It’s
    6 hope, it’s excitement!”238
    7         300. On March 16, 2022, Defendant Muniz reposted a picture of a Bored
    8 Ape holding an ApeCoin to her 15,000 Twitter followers to celebrate the launch of
    9 the cryptocurrency.239
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19         301. On March 19, 2022, Defendant Muniz falsely stated that “Already, a
   20 new economy is possible with the IP of Apes, Punks, and Meebits, owned by the
   21 community.”240
   22         302. In a March 22, 2022 interview, Defendant Muniz falsely stated that
   23 Otherside will be inclusive to NFTs beyond just those managed by Yuga Labs, and
   24
        238
   25        https://www.youtube.com/watch?v=Ehw2iM0A5H4.
        239
             Nicole Muniz (@VStrangeYUGA), Twitter (Mar. 16, 2022, 6:14 PM),
   26 https://x.com/offshoot3D/status/1504234679372857350?s=20.
      240
   27        https://techstartups.com/2022/03/22/yuga-labs-creator-bored-ape-yacht-club-
      raises-450-million-build-nft-metaverse-now-valued-4-billion/.
   28
                                              124
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 128 of 318 Page ID
                                  #:1481



    1 that “a few different game studios” are helping develop the game. “We’re opening
    2 the door to effectively a walled garden and saying ‘Everybody’s welcome,’” Muniz
    3 told The Verge.241
    4         303. In connection with the announcement of the purported Coinbase
    5 movie, Defendant Muniz stated, “We’re seeing how NFTs are evolving to be
    6 automobiles of entry and participation in networks, video games, merchandise, and
    7 now interactive leisure.” Muniz furthered stated that “This can be a breakthrough
    8 challenge and we’re excited to see how this shapes the way forward for Web3 for
    9 all communities.”242
   10         304. In an interview with Tech Crunch on July 19, 2022, Defendant Muniz
   11 laid out a grand vision for the Yuga Financial Products in the metaverse, stating
   12 “There will be lots of metaverses . . . A lot of the other metaverses out there, I think
   13 the most interesting question will be: Are they open? Or are they closed?” Muniz
   14 continued, “Do you own yourself in this world? I think that’s the first question.
   15 Like, do you own you?”
   16         305. In this interview, Muniz further promoted that just because gaming
   17 startup Improbable’s technology would be used for Otherside, outside developers
   18 would build on the platform as well. Muniz stated that “As a developer, you have
   19 the flexibility to be able to build whatever makes sense in your world and whatever
   20 vision you can come up with,” adding that “It’s a free, open world, do whatever you
   21 want, say whatever you want ‒ unless you’re invading on other people’s rights
   22 effectively and their safe space.”243
   23
   24   241
            https://decrypt.co/95706/bored-ape-cryptopunk-nfts-yuga-labs-450m-4b-
   25 valuation.
      242
            https://cryptobizdaily.com/coinbase-is-creating-a-film-trilogy-featuring-bore-
   26 ape-yacht-club-nft-characters-bitcoin-news/.
      243
   27       https://techcrunch.com/2022/07/19/bored-apes-founders-on-their-plans-for-
      otherside-metaverse/?guccounter=1.
   28
                                              125
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 129 of 318 Page ID
                                  #:1482



    1         306. Doubling down on Yuga’s capabilities, Muniz stated that “We’re really
    2 seeing this as multiplatform. You know, it’s desktop and mobile . . . VR is going to
    3 be an important platform for us,” Muniz added that, “While there is likely going to
    4 be a local component to this where people are running a local version of the game
    5 and the world, you still want the link and you still want someone to be able to tweet
    6 something out and say ‘Hey, holy shit, I just slayed this dragon,’ and then anybody
    7 can join and all of a sudden be popped into exactly where you are at that exact
    8 moment and see it live.”244
    9         307. On August 3, 2022, Muniz promoted the Company’s upcoming launch
   10 of the Otherside along with an interview she had with Dean Takahashi at
   11 VentureBeat.com touting the product.245
   12
   13
   14
   15
   16
   17         308. In this interview, with Venture Beat, Defendant Muniz compared the
   18 robustness and capabilities of Yuga to that of international media conglomerate
   19 Disney. Defendant Muniz stated that
   20         Our real vision for Otherside is for it to be an open, interoperable
   21         world. If you think of this as – I’ll use a very strange analog that isn’t
              right, but it’s the easiest way to explain it. This is our digital Disney
   22         World. What’s cool about this digital Disney World and why it’s
   23         differentiated is it’s an open world. It’s not just a place for our IP.
              It’s not just a place for apes and mutants and punks and Otherside
   24         characters. It’s a place for anybody. It’s for your own character.
   25         That’s the identity part and the ownership part. If you’re a Cool Cat
   26   244
             Id.
      245
   27        Nicole Muniz (@VStrangeYUGA), Twitter (Aug. 3, 2022, 11:09 AM),
      https://x.com/VStrangeYUGA/status/1554861950030561282?s=20.
   28
                                          126
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 130 of 318 Page ID
                                  #:1483



    1         you’re welcome. If you’re something new that you’ve cooked up in
              your brain and you want to create a new character for yourself in this
    2
              world, you can use our SDK to do that. That’s the vision.
    3
              Not only is it a place where all characters and all identities are
    4
              welcome, but also it’s a place that’s not just for our rides and
    5         attractions, going back to the Disney World analogy. Anybody can
              build. We’re going to build things, rides and attractions for the world.
    6
              We’re going to have layers of gameplay and different experiences that
    7         people can do so it’s engaging and fun. But that SDK will enable all
    8         sorts of creators and developers, big and small.             Hobbyists,
              independents, game studios, they’ll also be able to build rich creative
    9         experiences for the world and for the audience. 246
   10
   11         309. These statements above were false and misleading because they

   12 significantly overstated Yuga’s gaming and software development capabilities. In
   13 reality, the rollout of Yuga’s gaming was rocky, as Yuga was not optimized to build
   14 and manage it in-house. Even attempting the grand vision set forth by Muniz would
   15 spread the team too thin and required execution beyond Yuga’s core competencies.
   16         310. On December 20, 2022, Muniz touted the growth prospects of the

   17 Company and the intellectual property rights granted to investors in Yuga’s NFT
   18 collections. In particular, Muniz acknowledged that she “like[d] to use the analog
   19 of Web3 Disney” when promoting Yuga to investors, declaring that “BAYC is
   20 Yuga Labs’ Mickey Mouse . . . while CryptoPunks and Meebits are the company’s
   21 equivalent of the Star Wars and Marvel acquisitions. Otherside, the metaverse
                                                           247
   22 platform Yuga is building, is like its Disney World.”    According to Muniz, a key

   23 difference between Yuga and Disney was that, unlike Disney, Yuga shared the
   24
   25   246
             https://venturebeat.com/games/how-yuga-labs-hopes-to-get-to-the-
      metaverse-first-with-otherside/#:~:text=Muniz%3A%20Our%20real%20vision%20
   26 for,is%20our%20digital%20Disney%20World.
      247
   27        https://www.cnet.com/culture/features/inside-bored-ape-yacht-clubs-plans-to-
      master-the-metaverse/.
   28
                                              127
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 131 of 318 Page ID
                                  #:1484



    1 ownership of intellectual property rights with holders of Yuga Financial Products:
    2 “We might own 30% to 40% of the market, but also our holders own 30% to 40%
    3 of the market, and I mean that in an IP sense. Our collections are some of the only
    4 collections that truly give away IP rights. . . . You have exclusive commercial IP
    5 rights, and that also means, by the way, Yuga does not.”248 [Emphasis added.]
    6         311. Further, despite the numerous indications of market manipulation of
    7 the Yuga Financial Products (discussed further below), Muniz brushed aside
    8 concerns there was a “contradiction in a Web3 company owning a set of collections
    9 that are responsible for 30% to 40% of the market volume.249 Instead, Muniz
   10 publicly insisted in an interview recorded the month prior to ApeCoin’s launch that
   11 Yuga Labs was “completely open” and “completely transparent” in their business
   12 operations.250
   13         312. Muniz also stated in this February 2022 interview that she (like
   14 Executive Defendants Solano and Aronow) was an avid user of Twitter, Discord,
   15 and Slack and used the username “@VStrange” on those platforms to discuss the
   16 Yuga Financial Products with investors.251 She repeated her devotion to the BAYC
   17 Discord channels in November 2022, when she spoke on the mainstage at Web
   18 Summit 2022252 encouraging attendees to “go into the Discord and see it for
   19 yourselves” and boasting about recent conversations she had BAYC Discord
   20
   21
   22   248
               See id.
   23   249
               See id.
        250
   24          Nicole Muniz, (@VStrangeYUGA), Twitter (Aug. 3, 2022),
        https://x.com/VStrangeYUGA/status/1554861950030561282?s=20 at 10:50-12:01.
   25   251
               Id. at 8:10-8:33
        252
   26          Web Summit advertised this event as “the largest tech conference in the
        world, gathering more than 900 speakers, 2,300 startups, 1,200 investors, 2,500
   27   global journalists and 70,000 attendees.”              Web Summit 2022,
        https://www.andorrabusiness.com/en/events/web-summit-2022/.
   28
                                              128
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 132 of 318 Page ID
                                  #:1485



    1 members discussing ApeFest.253 Yet after Plaintiffs filed their initial Complaint in
    2 this action on December 8, 2022, Muniz’s VStrange Discord account no longer
    3 exists, indicating her discussions about the Yuga Financial Products were deleted.
    4 Defendant Shoemaker
    5         313. Like other Defendants, Shoemaker displayed the following profile
    6 image of MAYC NFT #547 as her Twitter profile @SodaOps in an effort to
    7 promote sales of the BAYC NFT collection:
    8
    9
   10
   11
   12
   13         314. On April 23, 2023, Shoemaker posted the following to her Twitter
   14 account, praising the work of BAYC and reviving the Adidas promotions from
   15 2021:254
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
        253
             Interview with Nicole Muniz at Web Summit 2022, YOUTUBE (Nov 6, 2022),
   26 12:30-13:36, https://www.youtube.com/watch?v=DonKhINiI08.
      254
   27        Jasmin Shoemaker (@SodaOps), Twitter (Apr. 23, 2023, 1:15 PM),
      https://x.com/SodaOps/status/1650201780939259904?s=20.
   28
                                             129
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 133 of 318 Page ID
                                  #:1486



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12         315. On December 19, 2022, Shoemaker reposted a Tweet from the Yuga

   13 Labs Twitter account to her personal account, welcoming Daniel Alegre to the
                                                                           255
   14 Yuga Labs executive team. The Tweet reached over 718,000 impressions:
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24         316. Shoemaker also promoted the exclusivity of joining the BAYC and the

   25 incentives to investors for doing so. For example, Shoemaker solicited sales of
   26
        255
   27          Jasmin Shoemaker (@SodaOps), Twitter (Dec. 19, 2022, 7:07 AM),
        https://x.com/yugalabs/status/1604825671305662464?s=20.
   28
                                             130
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 134 of 318 Page ID
                                  #:1487



    1 ApeCoin to purchase exclusive BAYC merchandise on October 19, 2022 and June
    2 15, 2022:256
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20         317. On April 23, 2022, Shoemaker promoted the sale of Otherdeed NFTs
   21 and other Yuga Financial Products by reposting the following tweet from the
   22 OthersideMeta official Twitter account, which announced that the “The adventure
   23 begins, Otherside” on April 30, 2022 at 12pm ET:257
   24
        256
             Jasmin Shoemaker (@SodaOps), Twitter (Dec. 19, 2022, 11:01 AM),
   25 https://x.com/BoredApeYC/status/1582763964769136642?s=20;         Jasmin
      Shoemaker      (@SodaOps),      Twitter    (Jun. 15,   2022, 8:39   PM),
   26 https://x.com/BoredApeYC/status/1537248498063507456?s=20.
      257
   27        Jasmin Shoemaker (@SodaOps), Twitter (Apr. 23, 2022, 11:00 AM),
      https://x.com/OthersideMeta/status/1517896181384368129?s=20.
   28
                                             131
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 135 of 318 Page ID
                                  #:1488



    1
    2
    3
    4
    5
    6
    7
    8
    9         318. On June 23, 2022, Shoemaker further reposted promotions related to
   10 Defendant Broadus in order to solicit purchases of Yuga Financial Products by
   11 investors on Twitter:258
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
        258
   26        Jasmin Shoemaker (@SodaOps), Twitter (Jun. 23, 2022, 11:12 PM),
      https://x.com/Eminem/status/1540186179265363970?s=20; Jasmin Shoemaker
   27 (@SodaOps), Twitter (Jun. 23, 2022, 9:02 PM), https://x.com/BoredApeYC/status/
      1540153474851246080?s=20.
   28
                                            132
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 136 of 318 Page ID
                                  #:1489



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11         319. On March 17, 2022, Shoemaker promoted to incentives provided to
   12 holders of Yuga NFTs and directed her Twitter followers to an ApeCoin tweet that
   13 reminded investors that “the claim period will be open for 90 days,” and on March
   14 16, 2022, Shoemaker touted that ApeCoin was being adopted as the primary token
   15 for the BAYC ecosystem.
   16 Defendant Lyons
   17         320. Prior to officially serving as a member of the Yuga board, Defendant
   18 Lyons operated as an agent of the Company to promote and solicit sales of the Yuga
   19 Financial Products. For example, early on, in August 2021, Lyons posted a cross
   20 promotion for BAYC and Cryptopunks to his Instagram page and more than 32,000
   21 followers:259
   22
   23
   24
   25
   26
        259
   27          Christopher Lyons (chrislyons), Instagram (Aug. 24,               2021),
        https://www.instagram.com/p/CS9dVHugqQJ/?hl=en&img_index=2.
   28
                                             133
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 137 of 318 Page ID
                                  #:1490



    1
    2
    3
    4
    5
    6
    7
    8
    9         321. On March 22, 2022, Lyons again promoted his involvement in Yuga
   10 and BAYC financing:260
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21         322. On April 30, 2022, Lyons again promoted the sale of the Yuga
   22 Financial Products by posting a BAYC video, and tagging the ApeCoin Dao,
   23 BAYC, and the Company:261
   24
   25
        260
             Christopher Lyons (chrislyons), Instagram (Mar. 22, 2022),
   26 https://www.instagram.com/p/Cba4C2fvtkG/?hl=en&img_index=1.
      261
   27        Christopher Lyons (chrislyons), Instagram (Apr. 30, 2022),
      https://www.instagram.com/p/Cc_vKJGp379/?hl=en.
   28
                                          134
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 138 of 318 Page ID
                                  #:1491



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10         323. On May 12, 2022, Lyons posted another BAYC promotional video in
   11 his Instagram video:262
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23         324. Lyons’ promotion of the Bored Ape ecosystem continued via another
   24 video post concerning the BAYC and the Otherside in September 2022:263
   25
        262
   26        Christopher Lyons (chrislyons), Instagram (May. 12, 2022),
      https://www.instagram.com/p/Cdd0IGhuqq1/?hl=en.
   27 263    Christopher   Lyons   (chrislyons), Instagram (Sep.   2,  2022),
      https://www.instagram.com/p/Ch_jnCjA4KM/?hl=en.
   28
                                           135
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 139 of 318 Page ID
                                  #:1492



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11         325. The promotional efforts by Oseary, the Executive Defendants Aronow,
   12 Solano, Ataly, Ali, Muniz, Shoemaker, and Lyons, the MoonPay Defendants, and
   13 the Promoter Defendants (as well as the celebrity recruitment and solicitation
   14 efforts occurring behind the scenes with Oseary, the MoonPay Defendants, and
   15 Defendant Adidas) were effective at increasing the popularity of, and interest in, the
   16 Yuga Financial Products. Following these promotional activities, the floor price
   17 and trading volume for BAYC NFTs exploded. On April 30, 2022, the day of the
   18 BAYC metaverse launch, the floor price for BAYC NFTs reached the maximum
   19 price of 144.9 ether (at the time was worth approximately $395,000), which
   20 represents a 145% increase from its floor price of 49.5 ether at the start of the Class
   21 Period. Trading volume also spiked to 12,698 ether on April 30, 2022 – up almost
   22 280% from the 3345 ether trading volume at the start of the Class Period.
   23                               c. MoonPay Defendants
   24 Defendant MoonPay
   25         326. On-chain transactions confirm that MoonPay purchased, and then
   26 subsequently transferred, numerous Bored Ape NFTs from wallet address
   27 0xd75233704795206de38cc           58b77a1f660b5c60896,       publicly    labeled    as
   28
                                                136
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 140 of 318 Page ID
                                  #:1493



    1 “MoonPay” (the “MoonPay Wallet” or “MoonPay.eth Wallet”), to numerous
    2 celebrities and several of the Promoter Defendants so they could promote the Yuga
    3 Financial Products.    Though MoonPay attempted to conceal these transactions
    4 under the guise of its Concierge service, upon information and belief, these
    5 celebrities and Promoter Defendants received Yuga Financial Products and/or other
    6 forms of consideration as part or all of their compensation for promoting the Yuga
    7 Financial Products specifically or the Yuga brand generally. Moreover, Promoter
    8 Defendants directly financially benefited from the increased valuation that
    9 MoonPay would experience with such overwhelming celebrity exposure.             On
   10 October 27, 2021, MoonPay transferred BAYC NFT #129 to rapper Lil Baby at
   11 wallet address 0xc86B12d850FdBBF3260a7BAAE862F85857aAdBBa (the “Lil
   12 Baby Wallet”).264 MoonPay then posted several TikTok videos of Defendant Soto-
   13 Wright with Lil Baby and showing him how to mutate the BAYC NFT he just
   14 “purchased.”265 The mutation video had 2.8 million views alone. On November 25,
   15 2021, MoonPay posted another video of Lil Baby awkwardly attempting to explain
   16 how he acquired BAYC NFT #129 from MoonPay to promote MoonPay’s
   17 purported “concierge service.”266
   18         327. On November 4, 2021, future board member of the ApeDAO,
   19 Defendant Bajwa promoted a BAYC party taking place and teased that celebrity
   20
   21   264
               Transaction Hash: 0x8a9d0e04a06b7250d21fd23d9f7fb472552871226bef
   22   2303441df05eb9156450, ERC-721: 129, EtherScan (Oct. 28, 2021, 12:41 AM
        UTC), https://etherscan.io/tx/0x8a9d0e04a06b7250d21fd23d9f7fb472552871226
   23   bef2303441df05eb9156450.
        265
               Moonpayhq       (@moonpayhq),         TIKTOK      (Nov.      8,     2021),
   24   https://www.tiktok.com/@moonpayhq/video/7028240795333446917; Moonpayhq
        (@moonpayhq),       TIKTOK     (Nov.     8,     2021),    https://www.tiktok.com/
   25   @moonpayhq/video/7028242145672826117; Moonpayhq (@moonpayhq), TIKTOK
        (Nov.         8,       2021),        https://www.tiktok.com/@moonpayhq/video/
   26   7028242782686907654.
        266
   27          Moonpayhq       (@moonpayhq),         TIKTOK      (Nov.      8,     2021),
        https://www.tiktok.com/@moonpayhq/video/7034478397292121349.
   28
                                              137
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 141 of 318 Page ID
                                  #:1494



    1 musician “Da Baby” had “mutated his ape right before going on stage at
    2 @BoredApeYC party tonight 👀 . . . probably nothing.”267 Bajwa’s celebrity-
    3 related promotion was a precursor of what was to come.
    4         328. On November 30, 2021, MoonPay transferred BAYC NFT #9883 to
    5 Dutch          DJ        Martin        Garrix        at        wallet       address
    6 0x3a8db289E94465181e54353571fa7880857c0d87             (the   “Garrix   Wallet”).268
    7 Garrix promptly changed his Twitter profile picture to BAYC NFT #9883 to show
    8 his 15.5 million Twitter followers.
    9
   10
   11
   12
   13
   14
   15
   16
   17
              329. On December 1, 2021, the MoonPay Wallet transferred BAYC NFT
   18
        #5384 to wallet address 0xc213e5d1ba49e3069b7ed5ce1f53ed299b966c73, which
   19
        is labeled as “diplo.eth.”269 That same day, MoonPay investor Thomas Pentz (a
   20
        famous DJ named Diplo) promoted the BAYC NFT he received from MoonPay on
   21
   22   267
               Maaria.eth (@maariabajwa), TWITTER (Nov. 4, 2011, 1:23 AM),
   23   https://twitter.com/maariabajwa/status/1456130064270217217?s=20.
        268
               Transaction        Hash:         0x57f5356a0edd2144701337508778b98d05
   24   fae316cff548b9e3846bd9b9a88c62, ERC-721: 9883, ETHERSCAN (December 1,
        2021,      1:24     AM      UTC),      https://etherscan.io/tx/0x57f5356a0edd21447
   25   01337508778b98d05fae316cff548b9e3846bd9b9a88c62.
        269
   26          Transaction Hash: https://etherscan.io/tx/0x05981522f7f1299678b38f147
        58921e200512a0292ff777102d0dafca8a11bf3, ERC-721: 5384, ETHERSCAN (Dec.
   27   1, 2021, 5:07 AM UTC), https://etherscan.io/token/0xbc4ca0eda7647a8ab7c20
        61c2e118a18a936f13d?a=0xc213e5d1ba49e3069b7ed5ce1f53ed299b966c73.
   28
                                               138
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 142 of 318 Page ID
                                  #:1495



    1 his Twitter account with 2.4 million followers.270 MoonPay also posted a video on
    2 its TikTok account of Soto-Wright and Diplo promoting BAYC.271 Diplo’s video
    3 was part of larger promotion of MoonPay and BAYC during Miami Beach’s Art
    4 Basel week, as shown by another video MoonPay posted to its TikTok account
    5 featuring Diplo, Garrix, and Soto-Wright.272
    6         330. On December 3, 2021, MoonPay transferred BAYC NFT #2759 to
    7 rapper Gunna at wallet address 0xd99D96fD90cF9F52f8Ad96d252DeD0ec
    8 77F3D239 (the “Gunna Wallet”).273 Gunna then got BAYC NFT #2759 tattooed on
    9 his leg and stated in a since deleted Instagram post, “I Bought A
   10 @boredapeyachtclub NFT worth 300K No Cap!” Gunna wrote on IG. “His Name
   11 is BUTTA Thanks @moonpay!”274
   12         331. On December 31, 2021, MoonPay transferred BAYC NFT #6877 to
   13 rapper Meek Mill at wallet address 0x82a8DD0Bd212A47780132CC2d1AA
   14 56a70E7Fd9e9 (the “Meek Mill Wallet”).275 Defendant Soto-Wright, also known
   15 as “IvanHodl,” then promoted this MoonPay transfer by posting a Happy New Year
   16
   17
        270
   18          Diplo       (@diplo),      TWITTER      (Dec.   1,    2021    4:28     P.M.),
        https://twitter.com/diplo/status/1466157259252240395?s=20&t=B6GM_EYH2EoT
   19   zTfPNF5fmQ.
        271
                 Moonpayhq          (@moonpayhq),        TIKTOK      (Dec.    2,     2021),
   20   https://www.tiktok.com/@moonpayhq/video/7037194439835553029.
        272
   21            Moonpayhq          (@moonpayhq),        TIKTOK      (Dec.    1,     2021),
        https://www.tiktok.com/@moonpayhq/video/7036781152300010758.
   22   273
               Transaction Hash: 0x4bfdef4ea57897166f2459312333a1cdbf9be6bd54d03c
        10502e4b069dc7ec54, ERC-721: 2759, ETHERSCAN (December 3, 2021, 5:43 AM
   23   UTC),         https://etherscan.io/tx/0x4bfdef4ea57897166f2459312333a1cdbf9be6bd
        54d03c10502e4b069dc7ec54.
   24   274
               See Harvey, Gunna Spent $300K on an NFT and Got a Tattoo of It, STARBIZ
   25   (Dec. 24, 2021), https://starbiz.net/financial/gunna-spent-300k-on-an-nft-and-got-a-
        tattoo-of-it.
        275
   26          Transaction        Hash:       0x4caccf57c88f55feea0de4a039d4d07614f5e6d1c
        19254640d74b3f9d66a5c16, ERC-721: 6877 ETHERSCAN (Jan. 01, 2022, 3:24
   27   AM),           https://etherscan.io/tx/0x4caccf57c88f55feea0de4a039d4d07614f5e6d1
        c19254640d74b3f9d66a5c16.
   28
                                                139
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 143 of 318 Page ID
                                  #:1496



    1 message to his Instagram Stories with a picture of himself, Lil Baby, and Meek Mill
    2 with BAYC NFT #6877.276
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
                 332. On January 8, 2022, MoonPay transferred BAYC NFT #3980 to
   16
        Canadian DJ Vivie-Ann Bakos, known professionally as BLOND:ISH at wallet
   17
        address     0xAc0a7656b5D62e7D54b11F8b5294CE0ac1bb7118          (the   “Blondish
   18
        Wallet”).277
   19
                 333. On January 14, 2022, MoonPay transferred BAYC NFT #9977 to
   20
        rapper      Lil   Durk    at    wallet      address   0x1FFEad999b467249AFd
   21
        2EfBA336a0b6c820E17aC (the “Lil Durk Wallet”).278 Lil Durk then changed his
   22
   23   276
               Kyle, Meek Mill Rings In The New Year By Joining The Bored Ape Yacht
        Club (Feb. 8, 2022) https://www.theboredapegazette.com/post/meek-mill-rings-in-
   24   the-new-year-by-joining-the-bored-ape-yacht-club.
        277
   25          TransactionHash: 0x337ca9ab2b225724a87765d6a67909cb78f2b8ffd4b4b
        0855c4b4f5a58178435, ERC-721: 3980, ETHERSCAN (Jan. 08, 2022, 4:16 PM),
   26   https://etherscan.io/tx/0x337ca9ab2b225724a87765d6a67909cb78f2b8ffd4b4b0855
        c4b4f5a58178435.
   27   278
               TransactionHash: 00xc745a3a23dcd996fc58c5e899b18a3d184b00f1eae961
        fd9e11997f3d272df06, ERC-721: 9977, ETHERSCAN (Jan. 14, 2022, 12:12 AM),
   28
                                              140
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 144 of 318 Page ID
                                  #:1497



    1 Instagram profile picture to BAYC NFT #9977 and posted a photograph with
    2 Defendant Soto-Wright and his purported BAYC “purchase” to Instagram stories
    3 and his 15 million followers.279 A few months later, MoonPay posted a video of
    4 Soto-Wright giving Lil Durk an “Intro to NFTs” talk.280
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17        334. On January 26, 2022, MoonPay transferred BAYC NFT #6141 to

   18 Gwenyth   Paltrow    at    wallet  address     0x31185f782A7C11044566d70d
                                              281
   19 FCF1c8175486f451 (the “Paltrow Wallet”).    Paltrow then announced to investors

   20 and her 2.6 million Twitter followers that she had “joined” the BAYC, thanked
   21
      https://etherscan.io/tx/0xc745a3a23dcd996fc58c5e899b18a3d184b00f1eae961fd9e1
   22 1997f3d272df06.
      279
   23     Kyle, Moonpay Brought Rapper Lil Durk Into The Bored Ape Yacht Club (Jan.
      14, 2022) https://www.theboredapegazette.com/post/moonpay-brought-rapper-lil-
   24 durk-into-the-bored-ape-yacht-club.
      280
               Moonpayhq        (@moonpayhq),     TIKTOK     (May     23,     2022),
   25 https://www.tiktok.com/@moonpayhq/video/7100942954600123653.
      281
   26        TransactionHash:       0x2703ade403717235e6cccec95133ed31d714908516c
      723388f4ebe382088119, ERC-721: 6141, ETHERSCAN (Jan. 26, 2022, 11:18 PM),
   27 https://etherscan.io/tx/0x2703ade403717235e6cccec95133ed31d714908516c72338
      8f4ebe3820881198.
   28
                                             141
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 145 of 318 Page ID
                                  #:1498



    1 MoonPay’s fraudulent concierge service and posted a video of BAYC NFT #6141
    2 transforming into a Bored Ape that resembled her.282
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14         335. All of these promotions for Yuga and facilitated by MoonPay (and its
   15 founder Defendant Soto-Wright) failed to disclose that the various Promoter
   16 Defendants were MoonPay backers and had a financial interest in its success,
   17 which, in turn, caused them to have a vested interest in the increase in sales of Yuga
   18 securities and the use of MoonPay.
   19         336. On February 25, 2022, the MoonPay Wallet transferred BAYC NFT
   20 #7434       to    quarterback      Colin     Kaepernick      at          wallet   address
   21 0xAabD4b4837C5617D84fA06c976483F05bd9eDD7C                        (the        “Kaepernick
   22 Wallet”).283 Weeks later, Yuga listed Kaepernick and the BAYC NFT #7434 that
   23
   24   282
             Gwyneth Paltrow (@GwynethPaltrow), TWITTER (Jan. 26, 2022, 3:33 PM),
      https://twitter.com/GwynethPaltrow/status/1486482496883625984?s=20&t=8mace
   25 2uHFGDI0GYb5N0aWg.
      283
   26        TransactionHash:      0x57b0e567bd18a80b7d6e2fd685252d30bdd9a051325
      e9a8c29f49e5328daffbf, ERC-721: 7434, ETHERSCAN (Feb. 25, 2022, 7:24 PM),
   27 https://etherscan.io/tx/0x57b0e567bd18a80b7d6e2fd685252d30bdd9a051325e9a8c
      29f49e5328daffbf.
   28
                                             142
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 146 of 318 Page ID
                                  #:1499



    1 MoonPay gave him as one of the 36 people, brands, and venture capital firms that
    2 took part in its seed round.
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
              337. On March 17, 2022, MoonPay transferred BAYC NFT #6045 to Major
   21
        League Soccer at wallet address 0xee1EbDc6FB5bf301c59411CFf6d87FbA
   22
        5A62c547 (the “MLS Wallet”).284 Major League Soccer named BAYC NFT #6045
   23
        “Striker” and touted him as “the first digital athlete to sign with a professional
   24
   25
        284
   26        TransactionHash: 0x8b82c4cb7ce0c5b0bcaef78fa785e40118f1448ed385f2c
      2b1b34c410270c3d5, ERC-721: 6045, ETHERSCAN (Mar. 17, 2022, 5:57 PM),
   27 https://etherscan.io/tx/0x8b82c4cb7ce0c5b0bcaef78fa785e40118f1448ed385f2c2b1
      b34c410270c3d5.
   28
                                             143
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 147 of 318 Page ID
                                  #:1500



    1 sports organization.”285 Major League Soccer then promoted “Striker” in the club
    2 box at the 2022 MLS All Star game sitting with other BAYC NFTs MoonPay gave
    3 to celebrities, including Defendants Ciccone and Broadus.286
    4         338. On March 23, 2022, MoonPay transferred BAYC NFT #1506 to Wiz
    5 Khalifa at wallet address 0xAB3768f534723e060423CE9BE47080EcC4b8beD5
    6 (the “Khalifa Wallet”).287 Wiz Khalifa then promptly changed his Twitter profile
    7 picture to BAYC NFT #1506 to show his 36 million Twitter followers and released
    8 an eight track album exclusively for ApeCoin holders with Defendant Broadus.288
    9         339. On May 17, 2022 and June 30, 2022, the MoonPay Wallet transferred
   10 several BAYC NFTs, MAYC NFTs, and Otherdeed NFTs it purchased to the
   11 Bicycle        Playing       Card        Company         at      wallet      address
   12 0x34e77AD857217D8D93dcC0bAE752E2290A2EFb66 (the “Bicycle Wallet”),
   13 including BAYC NFT ## 2263, 9202, 9921, 8708, 8353, 1837, 805, 5866, 7092,
   14 6696, 4359, 667, 1700, 1227, MAYC NFT ## 1315, 11610, 14527,289 which the
   15 Bicycle Playing Card Company used to make and promote a BAYC themed playing
   16 card later that year.
   17
        285
   18          Brian Bell, Yes, Major League Soccer Really ‘Signed’ a Bored Ape NFT As a
        ‘Digital Athlete’ (Aug. 8, 2022), https://www.pastemagazine.com/tech/nfts/major-
   19   league-soccer-mls-signs-bored-ape-nft-nwsl.
        286
            Press Release, Suite Full of Celebrity Bored Apes Spotted at MLS All Star 2022,
   20   PR NEWSWIRE (Aug. 11, 2022), https://www.prnewswire.com/news-releases/suite-
        full-of-celebrity-bored-apes-spotted-at-mls-all-star-2022-301604563.html.
   21   287
               TransactionHash:       0x8dabc8be15657f8a2120d7cf99f4d9ae9befe64929f67
   22   fdb01cc5a9e81049142, ERC-721: 1506, ETHERSCAN (Mar. 23, 2022, 11:40 PM),
        https://etherscan.io/tx/0x8dabc8be15657f8a2120d7cf99f4d9ae9befe64929f67fdb01
   23   cc5a9e81049142.
        288
               Kyle, Wiz Khalifa Joined The Bored Ape Yacht Club and Dropped New
   24   Music          with        Snoop         Dogg         (March       24,        2022)
        https://www.theboredapegazette.com/post/wiz-khalifa-joined-the-bored-ape-yacht-
   25   club-and-dropped-new-music-with-snoop-dogg.
        289
   26          Transaction Hash: 0x34e77AD857217D8D93dcC0bAE752E2290A2EFb66,
        ERC-721:        1227,     ETHERSCAN        (Nov.     30,    2021,    4:20     AM),
   27   https://etherscan.io/address/0x34e77AD857217D8D93dcC0bAE752E2290A2EFb6
        6.
   28
                                               144
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 148 of 318 Page ID
                                  #:1501



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13         340. MoonPay also directly solicited sales of Yuga securities. For example,
   14 on January 18, 2022, MoonPay promoted the BAYC Miami Competition by giving
   15 away BAYC NFT #570 ‒ which MoonPay previously purchased ‒ as a competition
   16 prize:290
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27   290
              MoonPay (@MoonPay), TWITTER (Jan. 18, 2022,                  10:26   AM),
        https://twitter.com/moonpay/status/1483460816070397955.
   28
                                              145
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 149 of 318 Page ID
                                  #:1502



    1         341. MoonPay also posted the following picture of a joint MoonPay x
    2
        BAYC mural on its Twitter account:291
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
              342. In addition to the mural of a Bored Ape with the MoonPay and Yuga
   15
        corporate logos, the posted image contained a QR code that, if scanned, directed
   16
        investors to the MoonPay website. On the landing page it states: “Crypto just got
   17
        easy. A fast and simple way to buy and sell crypto” and there is a button stating,
   18
        “Buy crypto.”292
   19
              343. And as alleged above, MoonPay repeatedly posted videos of celebrities
   20
        with Soto-Wright, including Lil Baby, Defendant Post, Khaled, Defendant Fallon,
   21
        Defendant Hilton, Diplo, Garrix, and Wilburn Cash.
   22
              344. Upon information and belief, as the Company, Executive Defendants,
   23
        MoonPay    Defendants, and     Promoter Defendants      were engaged      in   the
   24
   25
        291
             MoonPay (@moonpay), TWITTER             (Jan 11, 2022, 6:29 AM),
   26 https://twitter.com/moonpay/status/1480909703387484165?s=20&t=4E_x-F8TZi8
      Sorr7QZls0g.
   27 292
             See https://www.moonpay.com/.
   28
                                             146
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 150 of 318 Page ID
                                  #:1503



    1 aforementioned fraudulent promotions, Defendant Adidas, along with assistance of
    2 the MoonPay Defendants and the Executive Defendants, was engaging with other
    3 celebrities, influencers, and tastemakers behind the scenes to recruit them into the
    4 conspiracy to solicit and sell the Yuga securities through MoonPay.
    5         345. On or about March 17, 2022, celebrity jeweler and social media
    6 influencer Ben “Baller” Yang made a stunning disclosure regarding the promotion
    7 of Yuga securities by the Company, the MoonPay Defendants, and Defendant
    8 Adidas, confirming their collective participation in the fraudulent scheme concocted
    9 by Oseary and the Executive Defendants. In a now-deleted Twitter Spaces live
   10 video, which was memorialized in a YouTube video discussing Ripps’ troubling
   11 claims regarding the Company and its founders Defendants Solano, Aronow,
   12 Atalay, and Ali and their use of subliminal BAYC NFT collection’s purportedly
   13 racist imagery,293 Yang describes his own personal experience with the conspiracy
   14 as follows:
   15         [Yang]: “Real talk, not once, not twice, three times I’ve been offered
              a Bored Ape through MoonPay. I’ve had Adidas hit me up in my
   16
              DMs on Instagram: “Hey Ben, do you want to co-host a space with
   17         us? Oh do you own a Bored Ape?” No I fucking don’t. . . . I don’t
              know what it was but the fact that some of these super top tier all-star
   18
              NBA players have them, and I was like this is all cap.294 I mean, there
   19         was an NDA they tried to send my agent . . . .
   20
              [Other Speaker]: There’s definitely NDAs in everything they do. . . .
   21
   22         [Yang]: But what I’m saying if I was to accept one of the Bored Apes
              ....
   23
   24         [Other Speaker 2]: They want you to not disclose that they had
              purchased the Ape for you.
   25
   26   293
             Philion, BORED APE NAZI CLUB, YOUTUBE (June 19, 2022),
      https://www.youtube.com/watch?v=XpH3O6mnZvw.
   27 294
             The term “cap” is slang for an exaggeration or outright lie.
   28
                                               147
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 151 of 318 Page ID
                                  #:1504



    1
              [Yang]: Exactly, yeah. You know what the craziest thing about that
    2
              is that a lot of celebrities who are going into this are probably just
    3         stoked to get the ape and they don’t even realize a lot of them
              probably a lot of them don’t consult their legal and shit like that
    4
              beforehand. But they are actually asking you to commit fraud on
    5         their behalf.295
    6
        [Emphasis added.]
    7
              346. Yang’s account of the MoonPay scheme is corroborated by another
    8
        social media influencer, Canadian DJ Vivie-Ann Bakos, known professionally as
    9
        BLONDISH. Beginning January 8, 2022, Bakos began posting her praise and
   10
        support of MoonPay and BAYC, and thanked MoonPay’s “concierge” service:296
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26   295
             Philion, supra n.323, at 50:40-51:53.
      296
   27        BLONDISH (@blond_ish), TWITTER (Jan. 8, 2022 10:27 AM),
      https://twitter.com/blond_ish/status/1479882505658507269?s=20.
   28
                                               148
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 152 of 318 Page ID
                                  #:1505



    1         347. Bakos continued to promote MoonPay and the BAYC NFT collection
    2 in January 2022. For example, on January 27, 2022, Bakos replied to a MoonPay
    3 promotional announcement for its NFT Checkout with “Tothemoonpay.”297 That
    4 same day, Bakos also promoted the BAYC NFT collection, tagging MoonPay
    5 investor and actress Gwyneth Paltrow and announcing that it was “      👾 time for
    6 an ape meditation collab.”
    7         348. More significantly, Bakos explained the MoonPay scheme in a
    8 message on Discord,298 admitting that “they gift some apes to artists.” Bakos noted
    9 that the purpose of the scheme was meant to promote “mass adoption” of the Bored
   10 Ape NFTs:
   11
   12
   13
   14
   15
   16
   17         349. Media reports have likewise confirmed the allegations of improper
   18 celebrity promotion on the part of MoonPay. On June 9, 2022, The Block reported
   19 that MoonPay presented top celebrities Bored Ape Yacht Club NFTs as gifts in the
   20 hope of boosting its profile. Two people with direct knowledge of the matter told
   21 The Block that MoonPay did give at least some of the celebrities the Bored Ape
   22 NFTs without expecting payment. While a MoonPay spokesperson said that it
   23 charged its celebrity clients “in full for the price of the NFTs,” another
   24
   25   297
             BLONDISH (@blond_ish), TWITTER (Jan. 27, 2022 6:08 AM),
      https://twitter.com/blond_ish/status/1486702564943007752.
   26 298
             See ZachXBT (@zachxbt), TWITTER (Jan. 18, 2022 3:49 PM),
   27 https://twitter.com/zachxbt/status/1483587376043769859?s=20 (posting a
      screenshot of Bakos’ Discord statement).
   28
                                              149
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 153 of 318 Page ID
                                  #:1506



    1 spokesperson declined to comment further when pressed on exactly when invoices
    2 were sent and whether all MoonPay’s clients paid their bills.299
    3         350. As Defendant Soto-Wright previously admitted, the “hardest thing to
    4 solve” when building a new company was “getting those customers on your
    5 platform.”300 Confidential Witness 1’s disclosures, combined with the revelations
    6 from Bakos and Baller, demonstrate that Soto-Wright (with the assistance of
    7 Adidas) resorted to fraud to solve this problem for MoonPay and Yuga. And much
    8 like Sotheby’s knowingly directly promoted and facilitated the first scheme to sell
    9 unregistered BAYC NFTs to investors, MoonPay knowingly promoted and
   10 facilitated the second scheme to misleadingly offer and solicit sales of BAYC NFTs
   11 via the MoonPay platform.
   12 Defendant Soto-Wright
   13         351. On December 7, 2021, MoonPay announced a partnership with the
   14 FaZe Clan, a gaming and entertainment company based in Los Angeles through a
   15 press release that was issued out of Los Angeles. Defendant Soto-Wright was
   16 quoted in this press release, stating that the partnership “holds the potential to create
   17 a crypto-gaming juggernaut the likes of which the world has never seen.”301 This
   18 partnership led to Yuga Financial Product promotions by FaZe Clan.
   19         352.   On March 3, 2022, Defendant Soto-Wright was quoted in a March 3,
   20 2022 press release that was issued out of Los Angeles announcing a NFT
   21 partnership between MoonPay and musician deadmau5 and artist Nick denBoer.
   22
        299
   23          Ryan Weeks, Crypto hype machine MoonPay gifted Hollywood celebs Bored
        Apes to promote itself: sources, THE BLOCK (June 9, 2023),
   24   https://www.theblock.co/post/233594/moonpay-gave-hollywood-celebs-bored-
        apes-to-promote-itself?utm_source=twitter&utm_medium=social.
   25   300
               MIXERGY.COM, supra n.36.
        301
   26          Press Release, FaZe Clan Announces MoonPay as Official Crypto and NFT
        Partner     in    Multi-Year     Deal,    PR NEWSWIRE         (Dec. 7, 2021),
   27   https://www.prnewswire.com/news-releases/faze-clan-announces-moonpay-as-
        official-crypto-and-nft-partner-in-multi-year-deal-301438827.html.
   28
                                                 150
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 154 of 318 Page ID
                                  #:1507



    1         353.   On March 29, 2022, Defendant Soto-Wright attended a FaZe Clan
    2 promotional event in Los Angeles. At this event, Soto-Wright met with FaZe Clan
    3 influencers that promoted the unregistered Yuga Financial Products.302
    4         354.   On March 30, 2022, Defendant Soto-Wright attended and presented at
    5 “NFT LA” an NFT conference in Los Angeles that promoted NFTs and metaverse
    6 investments.303
    7         355. On April 13, 2022, Defendant Soto-Wright touted his involvement in
    8 Hollywood, stating “Hollywood is using smart contracts and blockchain technology
    9 to assert their creative intellectual property rights.” Soto-Wright continued, stating
   10 that “Major global sports franchises have used digital tokens and NFT collectibles
   11 to transform fan engagement. And recording artists are beginning to explore how
   12 NFTs can give them more control over royalty rights. These are the underpinnings
   13 of a creator economy renaissance.”304
   14         356. On April 28, 2022, following the partnership with Defendant Soto-
   15 Wright and MoonPay, FaZe Clan co-founder Banks heavily promoted investment
   16 into Yuga Financial Products.        While in Los Angeles, and pursuant to the
   17 promotional agreement with MoonPay and Soto-Wright, Banks told his followers
   18 that, “I’m praying and hoping that on the 30th this karma boomerang smacks this
   19 d**k with this BAYC Otherside land sale. Again I have $1,000,000 set aside
   20 specifically to dump into this. Unsure if that’ll even be possible, but will be
   21
        302
   22          CyberKongz & FaZe Clan “Kongz Arcade” at FaZe Warehouse NFT, GETTY
        IMAGES (Mar. 29, 2022), https://www.gettyimages.co.uk/detail/news-photo/lee-
   23   trink-ivan-soto-wright-and-kai-henry-attend-cyberkongz-news-photo/1388599455?
        adppopup=true.
   24   303
               Key Speakers at NFT La Conference, GETTY IMAGES (Mar. 30, 2022),
        https://www.gettyimages.co.uk/detail/news-photo/ivan-soto-wright-chief-executive-
   25   officer-and-co-founder-of-news-photo/1239628453?adppopup=true.
        304
   26          Anthony Cuthbertson, Bitcoin: Justin Bieber, Snoop Dogg and other
        celebrities pour millions into crypto startup MoonPay, THE INDEPENDENT (Apr. 13,
   27   2022), https://www.independent.co.uk/tech/bitcoin-justin-bieber-moonpay-crypto-
        b2057025.html.
   28
                                               151
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 155 of 318 Page ID
                                  #:1508



    1 investing as much as I can . . . . This play is truly the most obvious bulletproof play
    2 there’s ever been in Web3.” Banks continued to promote the unregistered Yuga
    3 Financial Products, stating, “Historically if you’ve ever had the opportunity to not
    4 only mint BAYC product, but get in anywhere remotely close to mint you’re
    5 probably rich if you weren’t already. Also, it’s only ever been a poor decision to
    6 sell anything Yuga has dropped. Sellers have only ever been punished.” “People
    7 will undersell this, jump on this opportunity,” he added. “It is reasonable to expect
    8 a 10x gain on mint. Conservatively . . . . This could be a life-changing play for
    9 me.”305
   10         357. In the midst of the celebrity promotions like those described above,
   11 Defendant Soto-Wright conducted a written Q&A interview with media outlet, The
   12 Block. Soto-Wright falsely described the creation of the Concierge service as first
   13 spreading via word of mouth among artists, stating: “So I helped one artist figure it
   14 out. They told another who then asked for help. Word started to spread.” Soto-
   15 Wright later falsely described it as an accident, stating “A really happy accident I’d
   16 say. 100% organic.”306
   17         358. When asked to confirm whether celebrities were not paid to promote
   18 MoonPay, Soto-Wright demurred, vaguely stating: “Everyone that uses MoonPay
   19 Concierge has a commercial relationship with the company in the sense that this is a
   20 commercial service we offer our clients. We provide the support and then we
   21 invoice for services rendered.” In a follow-up to a question on what fees are
   22 charged to concierge clients, Soto-Wright even more vaguely responded that
   23
        305
             Jacob Hale, FaZe Banks explains why he’s aiming to spend $1m on BAYC
   24 Otherside       metaverse      land,     DEXERTO       (Apr.    28,      2022),
      https://www.dexerto.com/tech/faze-banks-explains-why-hes-aiming-to-spend-1m-
   25 on-bayc-otherside-metaverse-land-1813552/.
      306
   26        Ryan Weeks, ‘A really happy accident’: MoonPay boss sheds light on how
      the startup is shepherding big-ticket NFT purchases, THE BLOCK (Dec. 24, 2021),
   27 https://www.theblock.co/post/128517/moonpay-boss-on-how-the-startup-is-
      guiding-celebs-into-nfts.
   28
                                             152
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 156 of 318 Page ID
                                  #:1509



    1 “[w]e’re focused on delivering value to our clients. And I think our growing list of
    2 MoonPay concierge clients agrees.”307
    3 Non-Party Khaled
    4         359. On November 26, 2021, during celebrity musician DJ Khaled’s 46th
    5 birthday party he appeared in a live video with Defendant Soto-Wright,308 where
    6 they both promoted the sale of BAYC NFTs in a staged transaction that was
    7 disseminated through social media. In particular, during the 15-second clip first
    8 posted by party attendee and BAYC member Austin Rosen, Soto-Wright
    9 supposedly helps Khaled to purchase a BAYC NFT using MoonPay’s app. Khaled
   10 can be seen video chatting with celebrity producer SwizzBeats while Soto-Wright
   11 pretends to conduct the transaction for Khaled. Notably, Khaled tells SwizzBeats:
   12 “I just bought a bored ape. Some shit like . . . do you know about it?” Khaled can
   13 also be seen shrugging his shoulders, tilting his head, and gesturing to those
   14 viewing the video in a manner that suggested “I don’t know what this is about but
   15 I’m going along with it.” Khaled turns his phone and Soto-Wright confirms to
   16 SwizzBeats that they were discussing the BAYC NFTs. Soto-Wright then presses
   17 “confirm” and tells Khaled “you just bought an ape.” MoonPay posted a shorter
   18 version of this exchange to its TikTok account, which was viewed more than
   19 310,000 times.309 Khaled appeared confused by the interaction in general and did
   20 not display any familiarity with the BAYC collection of NFTs at all when he was
   21 purportedly buying one of those NFTs for hundreds of thousands of dollars.
   22
   23
   24   307
             Id.
   25   308
             Lugo.eth (@WWMLD), TWITTER (Nov. 27, 2021, 9:01 AM), https://twitter
      .com/WWMLD/status/1464640427315892229?s=20&t=p-6BxhtTTTr_HwM5U1Z
   26 ywQ.
      309
   27         Moonpayhq      (@moonpayhq),    TIKTOK     (Nov.    28,     2021),
      https://www.tiktok.com/@moonpayhq/video/7035640608408620293.
   28
                                         153
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 157 of 318 Page ID
                                  #:1510



    1         360. According to the outgoing transactions of Yuga securities in the
    2 MoonPay Wallet, on November 30, 2021 the MoonPay Wallet transferred BAYC
    3 NFT #7380 – valued at 55.5 ether or approximately $220,000 at the time – to wallet
    4 address 0xa0ac662f58d3507a6f4a37f8532df201d9010fe7 (the “Khaled Wallet”).310
    5 Later that same day, Khaled promoted the BAYC NFTs on his Instagram,
    6 announcing that he had joined the BAYC.311
    7         361. Plaintiffs saw or were aware of Defendant Soto-Wright’s joint
    8 promotion of the Company’s collection of BAYC NFTs with DJ Khaled and were
    9 induced to purchase and/or continue to hold Yuga securities as a result.
   10         362. Upon information and belief, DJ Khaled received Yuga Financial
   11 Products and/or other forms of consideration as part or all of his compensation for
   12 his use in Soto-Wright’s promotions of sales of the Yuga securities specifically or
   13 the Yuga brand generally.
   14 Non-Party Wilburn Cash
   15         363. On November 28, 2021, the MoonPay Wallet transferred BAYC NFT
   16 #4672 to wallet address 0x1616b4c7cdb4093befbcca62f3198993327a8e9e (the
   17 “Wilburn Cash Wallet”).312      That same day, celebrity musician Wilburn Cash
   18 (Future) posted BAYC NFT #4672 on his Twitter account.313 The next day, on
   19
        310
             Transaction Hash: 0xdecec07f810b5f2c02489f96121bac5186cdcf51f93
   20 0d847024e0780cbafffe4, ERC-721: 7380, ETHERSCAN (Nov. 30, 2021, 4:20 AM),
      https://etherscan.io/tx/0xdecec07f810b5f2c02489f96121bac5186cdcf51f930d84702
   21 4e0780cbafffe4.
      311
   22        DJ Khaled Just Updated His Instagram Profile Photo To His Bored Ape, THE
      BORED APE GAZETTE (Nov. 30, 2021), https://www.theboredapegazette.com/post/
   23 dj-khaled-just-updated-his-instagram-profile-photo-to-his-bored-ape-the-full-story-
      here.
   24 312    Transaction Hash: 0xd8d155d1191c9c9381f1515c8d30483e5c8f01567d
      c56e358987eb5d2b00d9e5, ERC-721: 4672, ETHERSCAN (Nov. 28, 2021, 5:01
   25 AM),       https://etherscan.io/tx/0xd8d155d1191c9c9381f1515c8d30483e5c8f01567
      dc56e358987eb5d2b00d9e5.
   26 313
             Future/Freebandz (@1future), TWITTER (Nov. 28, 2021 12:47 A.M.),
   27 https://twitter.com/1future/status/1464833267710889990?s=20&t=b7UnEi0ycK49k
      gQy3FiFPg.
   28
                                                154
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 158 of 318 Page ID
                                  #:1511



    1 November 29, 2021, MoonPay’s TikTok account “moonpayhq” posted a video314
    2 with MoonPay promotor Wilburn Cash wherein Wilburn Cash can be seen
    3 changing his profile picture on Instagram to BAYC NFT #4672. Wilburn Cash can
    4 also be heard saying “yessir” in approval as he endorses the BAYC NFT collection.
    5         364. Plaintiffs saw or were aware of MoonPay’s joint promotion with
    6 Wilburn Cash of the Company’s collection of BAYC NFTs and were induced to
    7 purchase and/or continue to hold Yuga securities as a result.
    8         365.   Upon information and belief, Wilburn Cash received Yuga Financial
    9 Products and/or other forms of consideration as part or all of his compensation for
   10 his use in Soto-Wright’s promotion of sales of the Yuga securities specifically or
   11 the Yuga brand generally.
   12 Non-Party Hart
   13         366.   On January 23, 2022, the MoonPay Wallet transferred BAYC NFT
   14 #9258 to Kevin Hart at wallet address 0xBBDaC7bA85AF15420AFd1F4aA3313
   15 C3535b15Cde (the “Hart Wallet”).315
   16         367.   Later that day, Watcher.guru posted about Kevin Hart’s BAYC NFT
   17 #9258 acquisition on Twitter/X, improperly claiming Hart had purchased the NFT
   18 for over $200,000:
   19
   20
   21
   22
   23
   24   314
             Moonpayhq      (@moonpayhq),       TIKTOK     (Nov.    28,    2021),
      https://www.tiktok.com/@moonpayhq/video/7035876504391257349?is_from_web
   25 app=v1&item_id=7035876504391257349.
      315
   26        Transaction Hash: 0xddbcd7fc92fb8d60b2dd22cf6e02c82dd0bb8fc2f79ff
      53e38c9d30d104f6a506, ERC-721: 9258, ETHERSCAN (January 23, 2022, 8:13 PM
   27 UTC), https://etherscan.io/tx/0xddbcd7fc92fb8d60b2dd22cf6e02c82dd0bb8fc2f79
      ff53e38c9d30d104f6a50.
   28
                                           155
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 159 of 318 Page ID
                                  #:1512



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
              368.   Hart also promoted his joining the BAYC with BAYC NFT #9258:
   12
   13         The actor subtly showed off his new Bored Ape #9258 by retweeting a
              Watcher.Guru post noting the sale. While many of his celebrity
   14         friends have decided to change their profile pictures on social media
              platforms to their BAYC NFTs, Hart chose to approach his purchase
   15         more subtly.
   16                Interestingly, [Hart] is among the growing list of celebrities who
              decided to make their first NFT purchases with the help of MoonPay.
   17         The crypto firm paid 79.5 ETH or about $200.000 for the NFT and
              then transferred it to Hart’s wallet.
   18
                     Impressively, despite the fact that BAYC #9258 has several of
   19         the rarest properties, MoonPay snagged the NFT below the floor price.
              Of course, considering the integrity of the crypto firm 316
                                                                      and the intended
   20         final owner, this shouldn’t come as much of a surprise.
   21
   22
   23
   24
   25
   26
        316
   27          Hristina Yordanova, Kevin Hart Joins the Bored Ape Family, DAPPRADAR
        (Jan. 24, 2022), https://dappradar.com/blog/kevin-hart-joins-the-bored-ape-family.
   28
                                                156
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 160 of 318 Page ID
                                  #:1513



    1 MoonPay also posted the following picture of comedian Kevin Hart on its Twitter
    2 account with the caption “Someone funny aped in today!”:317
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14         369.   Upon information and belief, Kevin Hart’s retweet of the
   15 Watcher.Guru’s Twitter post appears to have been deleted.
   16         370.   Plaintiffs saw the MoonPay promotions from Kevin Hart and Soto-
   17 Wright regarding the Company’s collection of BAYC NFTs and were induced to
   18 purchase and/or continue to hold Yuga securities as a result of these misleading
   19 promotions.
   20         371.   Upon information and belief, Kevin Hart received Yuga Financial
   21 Products and/or other forms of consideration as part or all of his compensation for
   22 his use in Soto-Wright’s promotions of the Yuga securities specifically or the Yuga
   23 brand generally.
   24
   25
        317
   26        Swensonk7, Comedian Kevin Hart Joined The Bored Ape Yacht Club,
      According to Moonpay, THE BORED APE GAZETTE (Jan. 24, 2022),
   27 https://www.theboredapegazette.com/post/comedian-kevin-hart-joined-the-bored-
      ape-yacht-club-according-to-moonpay.
   28
                                           157
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 161 of 318 Page ID
                                  #:1514



    1                               d. ApeCoin DAO Defendants
    2         372.   As part of the announcement about the formation of the ApeDAO and
    3 Ape Foundation, Defendant Ohanian stated: “Today we’re making the ‘Club’
    4 bigger with ApeCoin . . . . Web3 is being integrated into our art, music, and culture
    5 more and more everyday and it all starts with community. I believe this community
    6 will build, expand, partner, and disrupt in a massive way.”318
    7         373.   Plaintiffs saw the promotions from Defendant Ohanian regarding the
    8 Company’s collection of BAYC NFTs and were induced to purchase and/or
    9 continue to hold Yuga securities as a result of these misleading promotions.
   10         374.   Defendant Wu posted a picture of an BAYC NFT with the following
   11 thread on her official Twitter account: “So honored to join the @apecoin DAO
   12 board, launched today along with the $APE token.”319 “Love or hate NFTs, they
   13 have captured the consumer imagination and continue to be on the onboarding ramp
   14 for the mainstream into web3. @BoredApeYC is leading the way as the #1 NFT
   15 brand, becoming a household name and building the next gen “Disney” of our
   16 generation.”320 “@BoredApeYC has led innovation on IP frameworks, like giving
   17 NFT holders full commercial rights to their IP without a royalty.          This has
   18 accelerated awareness rather than leaked value.”321 “More NFT brands are being
   19 minted, creating hybrid entertainment and retail empires, licensing their IP and
   20
   21   318
               Kate Irwin, ApeCoin Launches for Bored Ape Ethereum NFT Holders with
        Reddit, FTX, Animoca Execs on Board, DECRYPT (Mar. 16, 2022),
   22   https://decrypt.co/95282/apecoin-ape-launches-for-bored-apes-nft-holders-with-
        reddit-ftx-animoca-on-board.
   23   319
               Amy Wu (@amytongwu), TWITTER (Mar. 16, 2022, 4:29 PM), https://twitter
   24   .com/amytongwu/status/1504238389737967622?s=20&t=bdw9Sbdaq71NFK8g
        F6oQqg.
   25   320
               Amy Wu (@amytongwu), TWITTER (Mar. 16, 2022, 4:29 PM), https://twitter.
        com/amytongwu/status/1504238391323418628?s=20&t=bdw9Sbdaq71NFK8gF6o
   26   Qqg.
        321
   27          Amy Wu (@amytongwu), TWITTER (Mar. 16, 2022, 4:29 PM), https://twitter.
        com/amytongwu/status/1504238392149745664.
   28
                                               158
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 162 of 318 Page ID
                                  #:1515



    1 creating 1st and 3rd party merchandise, games, shows, etc. and using hybrid
    2 web2/web3 marketing playbooks, leveraging and creating celebrity, and creating
    3 culture.”322 “I’m absolutely honored to play a supporting role with @FTX_Official
    4 in the future of @ApeCoin DAO at the nexus of culture, gaming, entertainment.
    5 LFG! 🚀🚀🦍”323
    6         375.   Wu also touted Yuga Financial Products as “long term” investments.
    7 For example, on May 12, 2022, Wu, replying to the May 11, 2022 promotion of
    8 Yuga’s metaverse on the official @OthersideMeta Twitter account, touted the long-
    9 term viability and growth prospects for the BAYC metaverse: “Step 1 open world
   10 lobby, step 2 game studios building player experiences in game, step 3 #BAYC
   11 metaverse. Roblox was founded 18 yrs ago. Bullish for the long-term here with
   12 this @yugalabs team! 🦍🦍🚀.”324
   13         376.   On January 2, 2022, ApeDAO Board Defendant Bajwa promoted the
   14 growth of Yuga Financial Products to investors, stating that celebrity rapper (and
   15 close associate with Defendant Broadus) “@Eminem purchased a @BoredApeYC
   16 NFT for 123.45 ETH” and touting that the MAYC NFTs “saw $71M in trading
   17 volumes the last week.”325
   18                3.   The ApeCoin Token Sale
   19         377. As investor interest in the BAYC NFTs and broader ecosystem was
   20 reaching a fevered pitch, Yuga and Executive Defendants Aronow, Solano, Atalay,
   21 Ali, Muniz, Shoemaker, and Ehrlund launched the ApeCoin token (“APE”) in an
   22
   23   322
               Amy Wu (@amytongwu), TWITTER (Mar. 16, 2022, 4:29 PM), https://twitter.
   24   com/amytongwu/status/1504238394007764992.
        323
               Amy Wu (@amytongwu), TWITTER (Mar. 16, 2022, 4:29 PM),
   25   https://twitter.com/amytongwu/status/1504238394892771333.
        324
   26          Amy Wu (@amytongwu), TWITTER May 12, 2022, 2:07 PM),
        https://x.com/amytongwu/status/1524813489520447489?s=20
        325
   27          Maaria.eth (@maariabajwa), TWITTER (Jan. 2, 2022 6:31 PM),
        https://twitter.com/maariabajwa/status/1477829825830084614.
   28
                                              159
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 163 of 318 Page ID
                                  #:1516



    1 effort to cash in further on the misleading promotional schemes. This was a pure
    2 cash grab by those Defendants cloaked in the air of altruistically giving back to the
    3 BAYC community of investors.
    4         378. Yuga and the Executive Defendants announced it would be publishing
    5 the ApeCoin token on October 8, 2021 via a Twitter post.326 At the time, it was not
    6 yet named. Yuga’s announcement starts, “Good evening, apes. Been hearing a
    7 question around the club a lot: WEN TOKEN? Wen token indeed . . . . Some
    8 thoughts below.”        Yuga’s announcement further discusses that Yuga must
    9 “construct a legally compliant token and set it up in a responsible, sustainable way.”
   10 Yuga also mentions the token is meant to “benefit our club members, and bring the
   11 BAYC ecosystem to a much wider audience.” Yuga represents it would launch the
   12 token “in a sound way.” Yuga further announced that it planned to launch its token
   13 in Q1, 2022, and hired legal team Fenwick West and cryptography company
   14 Horizen Labs to aid in the creation of their token. Yuga finally links the coming
   15 ApeCoin directly to Bored Ape Yacht Club and Yuga itself, saying that, “if info
   16 [about the ApeCoin] doesn’t come from our official @BoredApeYC or @yugalabs
   17 Twitter, it’s not us.”327
   18         379. Defendants enriched themselves and other insiders with billions of
   19 dollars of APE Coins. Eighty million APE (8%) went to the BAYC founders,
   20 Defendants Solano, Aronow, Atalay and Ali. One hundred fifty million APE (15%)
   21 went to the Company. One hundred forty million APE (14%) went to “launch
   22 contributors” made up of Company partners and investors, including investors
   23 Andreessen Horowitz and Animoca Brands. One hundred fifty million APE (15%)
   24 went to holders of the BAYC, MAYC, and BAKC NFTs. One million APE (1%)
   25
   26   326
          Bored Ape Yacht Club (@BoredApeYC), TWITTER (Oct. 8, 2021, 1:12 PM).
   27 https://twitter.com/BoredApeYC/status/1446569318540615681.
      327
             Id.
   28
                                            160
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 164 of 318 Page ID
                                  #:1517



    1 went to the Jane Goodall Legacy Foundation. The remaining 470 million APE
    2 (47%) went to the ApeCoin DAO treasury, of which Executive Defendants Solano,
    3 Aronow, Atalay, Ali, the Company, and their investors and partners maintain
    4 considerable influence through the voting rights granted by their hundreds of
    5 millions of ApeCoins.328
    6         380. Much like a stock issuance, Defendants thus issued themselves
    7 exorbitant amounts of ApeCoin that would grant themselves voting rights to
    8 influence and control any decision surrounding ApeCoin. In addition, Defendants,
    9 through the Company, the ApeDAO, and the Ape Foundation (the ApeCoin DAO’s
   10 Board), would promote and market the token.
   11         381. ApeCoin reached an all-time high of over $26 before plummeting to
   12 approximately $1.77 per coin in August 2023.329 The Company, its founders, and
   13 its investors’ allotment of 230 million total ApeCoins it issued to themselves were
   14 thus worth about $6 billion at ApeCoin’s all-time high, and are currently still worth
   15 more than $410 million, even with prices reaching an all-time low in August 2023.
   16         382. In an attempt to shield the Company and Executive Defendants (and
   17 himself) from liability related to the solicitation and sale of the unregistered
   18 securities, Oseary and Yuga’s outside legal counsel belatedly formed the ApeCoin
   19 DAO, in conjunction with the Ape Foundation. The ApeCoin DAO’s board or
   20 “Special Council,” which consisted of ApeDAO Board Defendants Alexis Ohanian,
   21 Amy Wu, Maaria Bajwa, and non-Defendants Yat Siu and Dean Steinbeck, who
   22
   23
   24   328
             What is ApeCoin (APE), BITSTAMP LEARN, (Nov. 16, 2022),
      https://www.bitstamp.net/learn/cryptocurrency-guide/what-is-apecoin-ape/;
   25 ApeCoin is rewarding Bored Ape insiders with billions of dollars, QUARTZ (Mar.
      23, 2022), https://qz.com/2145867/apecoin-has-padded-the-pockets-of-bored-ape-
   26 insiders.
      329
   27        ApeCoin,     COINGECKO        (last    visited     Oct.     16,    2023),
      https://www.coingecko.com/en/coins/apecoin.
   28
                                             161
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 165 of 318 Page ID
                                  #:1518



    1 governed and controlled both the DAO and the Foundation.330                  Executive
    2 Defendants and ApeDAO Defendants used their influence and ApeCoin voting
    3 rights to pay themselves exorbitant salaries of over $20,000 per month using the
    4 470 million ApeCoin in the ApeDAO treasury to further cash in on their scheme at
    5 the expense of retail investors.331
    6         383. Put another way, Oseary – with the assistance of the Executive
    7 Defendants and ApeDAO Board Defendants – created the Ape Foundation and
    8 ApeDAO Board in order to maintain the “veneer of plausible deniability ‒ an
    9 independent entity allocating tokens to a company and its founders, rather than that
   10 company and its founders pumping their own investments.”332
   11         384. But according to a July 25, 2022 article, “What is ApeCoin and Who is
   12 Behind This Cryptocurrency?,” it is the Company (not the Foundation, DAO, or its
   13 board) that is “responsible for all major projects and acquisitions related to the
   14 Bored Ape Yacht Club family. If you want to do something with the intellectual
   15 property of the collection, you have to go through the company.” Within that
   16 article, Muniz is quoted as having plans to “adopt ApeCoin as the primary currency
   17 for all new products and services,” which, as the article notes, “ties the asset’s value
   18 to the success of the Bored Ape collection as one all.”333
   19         385. Yuga and Executive Defendants’ attempts to distance themselves from
   20 the issuance of the ApeCoin was nothing more than a façade. Indeed, the so-called
   21 Ape Foundation and ApeCoin DAO were, in truth, just alter egos for the Company
   22 and used as a front for the Company to obscure its and the Executive Defendants’
   23
        330
             Will Gottsegen, What is ApeCoin and Who Is Behind It?, COINDESK (Mar.
   24 18, 2022), https://www.coindesk.com/layer2/2022/03/18/what-is-apecoin-and-who-
      is-behind-it/.
   25 331
             Michael (@MiKeMeUpP), TWITTER (Jun. 11, 2023, 9:18 AM).
   26 https://twitter.com/MiKeMeUpP/status/1667929299033407488.
      332
             Id.
   27 333
             Id.
   28
                                            162
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 166 of 318 Page ID
                                  #:1519



    1 role as statutory sellers and solicitors of unregistered securities, namely, ApeCoin.
    2 Despite Yuga and Executive Defendants’ efforts to use shallow legal schemes to
    3 shield themselves from liability for issuing the ApeCoin securities, Yuga admitted
    4 publicly, as early as October 2021, that it would be responsible for the development
    5 and issuance of the ApeCoin token.334
    6         386. On March 16, 2022, ApeDAO Board Defendants announced the
    7 impending launch of ApeCoin, releasing the following statements on the verified
    8 ApeCoin Twitter account, which, upon information and belief, is owned/controlled
    9 by ApeDAO Board Defendants:
   10            “Introducing ApeCoin ($APE), a token for culture, gaming, and
   11               commerce used to empower a decentralized community building at the
   12               forefront of web3.”335
   13            “ApeCoin is owned and operated by the ApeCoin DAO, a
   14               decentralized organization where each token holder gets to vote on
   15               governance and use of the Ecosystem Fund. Holding ApeCoin is the
   16               only requirement for membership in the ApeCoin DAO.”336
   17            “The DAO is supported by Ape Foundation, which was created to act
   18               as the legal steward of ApeCoin and administer the decisions made by
   19               the ApeCoin DAO community. (Basically someone needs to sign the
   20               checks.)”337
   21
   22   334
               Bored Ape Yacht Club (@BoredApeYC), TWITTER (Oct. 8, 2021, 1:12 PM).
   23   https://twitter.com/BoredApeYC/status/1446569318540615681.
        335
   24          ApeCoin (@apecoin), TWITTER (Mar. 16, 2022, 2:02 PM),
        https://twitter.com/apecoin/status/1504201556165644298?s=20&t=iudEUt2QH4G
   25   UHTXCQ0maNg.
        336
               ApeCoin (@apecoin), TWITTER (Mar. 16, 2022, 2:02 PM),
   26   https://twitter.com/apecoin/status/1504201557147070465.
        337
   27          ApeCoin (@apecoin), TWITTER (Mar. 16, 2022, 2:02 PM),
        https://twitter.com/apecoin/status/1504201557914664962.
   28
                                               163
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 167 of 318 Page ID
                                  #:1520



    1             “62% of the total supply of ApeCoin is allocated to the ApeCoin
    2               community, a portion of which (15% of total supply) will be available
    3               to claim starting tomorrow at 8:30 am ET.”338
    4             “The airdrop claim consisting of 15% of the total supply of ApeCoin
    5               will be made available to @BoredApeYC NFT holders (Bored Apes
    6               and Mutant Apes, as well as #BAKC dogs paired with either #BAYC
    7               or #MAYC).”339
    8             “For everyone else who wants to ape in: ApeCoin will be available to
    9               all and is expected to begin trading on major crypto exchanges
   10               ASAP. We’ll tweet as that happens!”340 [Emphasis added.]
   11         387. On that same day, Yuga’s official Twitter proclaimed: “We’re excited
   12 to announce we’re adopting ApeCoin as the primary token for the Bored Ape Yacht
   13 Club ecosystem as well as future products and services.”341 Yuga coordinated
   14 ApeCoin’s adoption by various influencers and brands and highlighted that
   15 adoption on its Twitter page.
   16         388. Yuga advertised that ApeCoin would be the ecosystem’s governance
   17 token, allowing ApeCoin holders to participate in the ApeCoin DAO by voting “on
   18 how the Ecosystem Fund will be distributed by the APE Foundation to promote a
   19 diverse and self-sustaining ecosystem.”342
   20
   21
        338
   22          ApeCoin (@apecoin), TWITTER (Mar. 16, 2022, 2:02 PM), https://twitter.com
        /apecoin/status/1504201558917095427.
   23   339
               ApeCoin (@apecoin), TWITTER (Mar. 16, 2022, 2:02 PM), https://twitter.com
        /apecoin/status/1504201559781089280.
   24   340
               ApeCoin (@apecoin), TWITTER (Mar. 16, 2022, 2:02 PM), https://twitter.com
   25   /apecoin/status/1504201560624185346.
        341
               Yuga Labs (@yugalabs), TWITTER (Mar. 16, 2022 2:08 PM),
   26   https://twitter.com/yugalabs/status/1504202913694031884?s=20.
        342
   27          ApeCoin DAO Governance, APECOIN.COM (last visited Oct. 16, 2023),
        https://apecoin.com/governance.
   28
                                              164
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 168 of 318 Page ID
                                  #:1521



    1         389. Yuga also advertised that ApeCoin would also provide “access to
    2 certain parts of the ecosystem that are otherwise unavailable, such as exclusive
    3 games, merch, events, and services.”343
    4         390. The day after the ApeCoin launch, March 17, 2022, ApeDAO
    5 Defendant Bajwa provided instructions to investors like Plaintiffs and the Class on
    6 how to review their ApeCoin token airdrop allocation.344
    7         391. That same day, March 17, 2022, the ApeCoin Twitter account (which
    8 was controlled by ApeDAO Defendants Ohanian, Wu, and Bajwa) promoted a
    9 Twitter Space hosted by Yuga-affiliate Farokh and featuring each of the ApeDAO
   10 Defendants who solicited purchases of ApeCoin during this event.
   11         392. According to the Yuga Labs Pitch Deck that, upon information and
   12 belief, was used to secure the funding for Yuga, the Company and the Executive
   13 Defendants had made staggering profits off of the sales of the Yuga Financial
   14 Products in 2021, and the focus for 2022 would be on the Company’s entrance to
   15 the metaverse and online gaming.
   16         393. The Yuga Labs Pitch Deck signaled the importance of the celebrity
   17 endorsements, bragging that “[c]elebrities are buying Apes to signal that they know
   18 what’s up.”345    The Yuga Labs Pitch Deck also introduced ApeCoin, stating
   19 “APECoin will be the currency of our metaverse. One unifying coin with which to
   20 power our app store like marketplace.”346
   21         394. Yuga planned for the Otherside MetaRPG to launch with a land sale.
   22 These virtual plots of land would purportedly “corresponded to real land” in the
   23
   24   343
             About ApeCoin: ApeCoin Protocol, APECOIN.COM (last visited Oct. 16,
      2023), https://apecoin.com/about.
   25 344
             Maaria.eth (@maariabajwa), TWITTER (Mar. 17, 2022 9:57 AM),
   26 https://twitter.com/maariabajwa/status/1504502258716725278?s=20.
      345
             Yuga Labs Pitch Deck, at *16.
   27 346
             Id. at *62-*64.
   28
                                              165
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 169 of 318 Page ID
                                  #:1522



    1 Yuga game.347 In order to increase demand for its ApeCoin token, Yuga announced
    2 that these virtual plots of land could be purchased only with ApeCoin tokens.
    3         395. The Yuga Labs Pitch Deck stated:
    4                The MetaRPG will be made up of 200k land plots total; all
    5                   launched through Animoca.
    6                Genesis drop will be 100k plots.
    7                         o 30% of that will go to BAYC/MAYC, leaving
    8                            ~70k for public sale (and then another 100k in
    9                            follow up drop).
   10                         o The conservative estimate for the land price is 1
   11                            ETH each plot = $200M in primary sales for the
   12                            genesis drop alone.348
   13         396. The Yuga Pitch Deck also provided the following income statement: 349
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
        347
   26         Id. at *73.
        348
              Id. at *74.
   27   349
              Id. at *85.
   28
                                               166
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 170 of 318 Page ID
                                  #:1523



    1         397. Notably, Yuga’s expenses for “Advertising and Community Building”
    2 in 2021 were $2,030,000, whereas the budget for 2022 was $15,250,000. This
    3 massive 650% increase in expenditures for promotions occurred right around the
    4 same time that Defendant Oseary joined the Company as a minority partner.
    5         398. ApeCoin is promoted as the main cryptocurrency of the BAYC
    6 ecosystem and its sales exploded as a result of Defendants’ promotional efforts.
    7         399. For example, on March 16, 2022, the official ApeCoin Twitter account
    8 posted the following statement: “Introducing ApeCoin ($APE), a token for culture,
    9 gaming, and commerce used to empower a decentralized community building at the
   10 forefront of web3.” The BAYC Twitter account replied to this statement. So did
   11 the Company’s official account along with a caption that stated: “We’re excited to
   12 announce we’re adopting ApeCoin as the primary token for the Bored Ape Yacht
   13 Club ecosystem as well as future Yuga products and services.”350 Similarly, on
   14 March 16, 2022 and March 17, 2022, the ApeCoin Twitter promoted the ApeCoin
   15 token claim allocated for BAYC NFT holders.              Yuga’s COO, Defendant
   16 Shoemaker, amplified these promotions by disseminating them all through her own
   17 Twitter account “@SodaOps.”          In fact, Shoemaker consistently reposts the
   18 solicitations and misleading statements from the main BAYC, Otherside, ApeCoin,
   19 and Yuga Twitter accounts. For example, Shoemaker amplified the Company’s
   20 March 11, 2022 promotion of Yuga’ acquisition of the CryptoPunks and Meetbits
   21 NFT collections. Shoemaker also shared the April 23, 2022 promotions from the
   22 Company’s Otherside Twitter account related to the Otherdeed mint. During late
   23 May/early June of 2022, Shoemaker repeatedly promoted marketing messages from
   24 the BAYC Twitter account for ApeFest 2022.
   25   350
             ApeCoin (@apecoin), TWITTER (Mar. 16, 2022, 2;02 PM),
   26 https://twitter.com/apecoin/status/1504201556165644298?s=20&t=oYZDBOcdZ4
      V1im5Ls9qmRg; Yuga Labs (@yugalabs), TWITTER (Mar. 16, 2022, 2:08 PM),
   27 https://twitter.com/yugalabs/status/1504202913694031884?s=20&t=oYZDBOcdZ4
      V1im5Ls9qmRg.
   28
                                              167
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 171 of 318 Page ID
                                  #:1524



    1         400. After just one day of trading, the Ethereum-based ApeCoin had a
    2 market capitalization of almost $2 billion.
    3         401. Yuga’s NFT and ApeCoin schemes positioned it to raise capital and
    4 launch another financial product: so-called virtual land NFTs or Otherdeeds.
    5 Specifically, on March 22, 2022, the Company announced that it closed its Series
    6 Seed funding round, led by a host of venture capital firms that had direct ties to
    7 Yuga, including, but not limited to, Andreessen Horowitz’s a16z crypto fund
    8 (Defendant Lyons), Sound Ventures (Defendant Oseary), SevenSevenSix
    9 (Defendant Ohanian), Artist Capital Management (funded by ApeDAO board
   10 member Steinbeck’s firm Horizen Labs, which also operated the ApeCoin staking
   11 program for Yuga), Hashed (funded by Animoca Brands, which itself was
   12 purchased by Yuga), Lightspeed Ventures (Defendant Wu formerly served as a
   13 Lightspeed Ventures partner before leaving to join FTX Ventures), and FTX
   14 Ventures (Defendant Wu served as the web3 investment leader before stepping
   15 down from both FTX Ventures and the ApeDAO Board within days of the FTX
   16 collapse).    Yuga brought in another $450 million during this round.            The
   17 announcement also revealed its metaverse virtual land project, Otherside.351
   18         402. The    announcement     contained   the   following   statements    from
   19 Defendants Muniz, Lyons, and Oseary, respectively:
   20                “Already, a new economy is possible with the IP of Apes,
              Punks, and Meebits, owned by the community,” said Nicole Muniz,
   21
              CEO of Yuga Labs. “The possibilities for blockchain’s impact on
   22         culture are endless, and so we are building a beautiful, interoperable
              world for people to explore and play in. There’s a lot to come.”
   23
   24
   25   351
            Press Release, Yuga Labs Closes $450 Million Seed Round of Funding,
   26 Valuing  the Company at $4 Billion; Confirms Plans for Metaverse Project,
      BUSINESS WIRE (Mar. 22, 2022), https://www.businesswire.com/news/home
   27 /20220322006088/en/Yuga-Labs-Closes-450-Million-Seed-Round-of-Funding-Val
      uing-the-Company-at-4-Billion-Confirms-Plans-for-Metaverse-Project.
   28
                                           168
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 172 of 318 Page ID
                                  #:1525



    1         “Yuga Labs has quickly become a web3 culture, gaming, and
              entertainment empire,” said Chris Lyons, general partner at a16z
    2
              crypto. “Mainstream adoption in web3 is accelerating at lightning
    3         speed, and Yuga is at the forefront of merging culture and innovation
              for everyone to enter the metaverse. We’re thrilled to invest in this
    4
              brilliant team and their vision, and help forge the next frontier of
    5         community-owned entertainment.”
    6
              “This capital will give Yuga speed to market on many things
    7         underway, and bring in new partners with strategic thinking that share
    8         the vision,” said Yuga Labs partner Guy Oseary.352

    9         403. On March 27, 2022, Defendant Ohanian promoted ApeCoin tokens
   10 and the Bored Ape Yacht Club brand in conjunction with the 2022 Academy
   11 Awards show, posting a picture of an ApeCoin cufflink and the following text:
   12 “#OSCARS2022            MUST-HAVE           RED        CARPET         ACCESSORY
   13 @BOREDAPEYACHTCLUB.353 Ohanian posted pictures of himself and Serena
   14 Williams on the red carpet at the Oscars and close up pictures of his ApeCoin
   15 cufflinks.354
   16         404. On April 26, 2022, Defendant Oseary submitted a proposal to the
   17 ApeDAO titled: “AIP Idea: Guy Oseary as ApeCoin Representative,” which
   18 essentially requested that Oseary be given up to 1% of the Ecosystem Fund as a
   19 slush fund for him to “utilize on behalf of the APE Foundation.”355 The proposal is
   20 listed below:
   21
        352
               Id.
   22   353
               Alexis Ohanian (@alexisohanian), TWITTER (Mar. 27, 2022, 2:53 PM),
   23   https://twitter.com/alexisohanian/status/1508200457214201858?s=20&t=We5Uww
        M3WMDYkGHgb3jgZg.
   24   354
               Id.; see also Chris Katje, Here’s How Alexis Ohanian Sported The Bored Ape
        Yacht Club at The Oscars, BENZINGA (Mar. 28, 2022), https://www.benzinga.com/
   25   markets/cryptocurrency/22/03/26328054/heres-how-alexis-ohanian-sported-the-
        bored-ape-yacht-club-at-the-oscars2.
   26   355
               Guy Oseary (@guyoseary), AIP Idea: Guy Oseary as ApeCoin
   27   Representative, APECOIN.COM (Apr. 26, 2022), https://forum.apecoin.com/t/aip-
        idea-guy-oseary-as-apecoin-representative/5153.
   28
                                               169
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 173 of 318 Page ID
                                  #:1526



    1        ABSTRACT
                   This document proposes to make me, Guy Oseary, a
    2
             representative of ApeCoin. This role will make it my job to support
    3        ApeCoin through impactful partnerships and initiatives. I will not
             receive any payment for my services.
    4
    5                                    *     *     *
    6
                   Web3 is more than just digital. The coin that will power your
    7        metaverse experience will also be powering your real-life experience.
    8        You could earn ApeCoin in the metaverse and use it as payment to
             attend a show by your favorite artist. Pay for a hotel with it one day
    9        and meet your friends there virtually. We are at the very early days
   10        here. Keeping ApeCoin solely in the metaverse would limit it.

   11              The request is for an allocation of 1% of the Ecosystem Fund
   12        for me to spend strategically on opportunities and partnerships that
             benefit the brand and community. These initiatives could include –
   13        but are not limited to – events, partnerships, and projects across
   14        gaming, TV, film, and music. To execute on this successfully, it is
             important for me to be able to engage in individual negotiations
   15        discreetly, driving more favorable terms and costs that result in
   16        higher ROI.

   17        RATIONALE
   18              To promote a diverse and self-sustaining ecosystem, ApeCoin
             should be so ubiquitous that it’s part of mainstream culture. It’s my
   19        core belief that ApeCoin can lead the way in bringing more people,
   20        companies, and brands to web3, and that we can do so in an inclusive
             way that reflects the ApeCoin DAO values.
   21
   22        A LITTLE ABOUT ME
                   My experience in working with brands across entertainment
   23        and tech allows me to be uniquely positioned to make strategic
   24        decisions and leverage my network to close exceptional deals for
             ApeCoin.
   25
   26             I am an entrepreneur, tech investor, and talent manager. As a
           teen, I started my career as an A&R executive and later as a partner in
   27      Maverick Records. We sold over 100 million albums before selling
   28      the company to Warner Music.
                                             170
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 174 of 318 Page ID
                                  #:1527



    1
                   I’ve been working with and supporting artists ever since — for
    2
             over 30 years now. My passion and personal interests over the last
    3        few decades have placed me at the intersection of entertainment and
             tech. I’ve been investing with my partner and friend Ashton Kutcher,
    4
             who is also my co-founder in A-Grade Investments, Sound Ventures,
    5        and Sound Ventures Blockchain. Our early-stage investments include
             Airbnb, Uber, Spotify, Calm, Robinhood, Gitlab, Duolingo,
    6
             Superrare, Opensea, and many others.
    7
    8              I am also currently working with or a partner with some of
             the best NFT talent, including Bored Ape Yacht Club, Mutant Ape
    9        Yacht Club, CryptoPunks, Meebits, World of Women, Sandbox,
   10        Pixel Vault, Beeple, and 10KTF.

   11               Empowering artists and protecting them from day 1 has been a
   12        priority for me. Today, one of the most powerful tools to enable that
             is web3. I was fortunate to be one of the contributors to ApeCoin.
   13        Like you, I was inspired by this amazing community and I’ve been
   14        supporting it from the moment I understood how far it can go. I want
             it to succeed and I’m incentivized to do all that I can to ensure that it
   15        does.
   16
             SPECIFICATIONS
   17        Up to 1% of the Ecosystem Fund as a budget for me to utilize on
   18        behalf of the APE Foundation.

   19               This will only be spent on purchases and deals that directly
   20                benefit the APE Foundation.
                    Any ROI gained from deals I make will go back into the
   21                Ecosystem Fund.
   22               Any ApeCoin from this budget that is not used during the
                     specified period will be returned to the Ecosystem Fund.
   23
                    I will not receive any payment for my services.
   24               I will consult with the Board about potential deals.
   25               Details on all purchases and deals that I make will be made
                     fully available to the ApeCoin DAO community after the
   26                fact via quarterly transparency reports that detail how much
   27                was spent, on what, and why.
                    This is separate from the budgets allocated in AIP-3.
   28
                                               171
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 175 of 318 Page ID
                                  #:1528



    1
              STEPS TO IMPLEMENT
    2
                1. Cartan to set up a separate Coinbase account and transfer 1% of
    3              the Ecosystem Fund.
                2. Set up the account so that one of the ApeCoin DAO Board
    4
                   members must approve transactions.
    5           3. Execute commercial services agreement with Ape Foundation.
    6
              TIMELINE
    7              This would go into effect immediately if this AIP passes and
    8         would last until the next fiscal calendar closes at the end of 2023.

    9         OVERALL COST
   10               Up to 1% of the Ecosystem Fund, from when the proposal
              passes through Dec 31, 2023.356
   11
        [Emphasis added.]
   12
              405. On April 30, 2022, a few days after the Adidas Phase 2 promotion and
   13
        Oseary’s ApeDAO proposal, the Company minted the virtual land for its Otherside
   14
        metaverse. Within 24 hours, Yuga, Oseary, the Executive Defendants, and the
   15
        ApeDAO Board Defendants generated more than $561 million from Otherside’s
   16
        “Otherdeed” NFT sales. Each Otherdeed NFT is meant to be the “key to claiming
   17
        land” in Otherside and its metaverse game.
   18
              406. Some 55,000 NFTs were minted at 305 APE each, which means each
   19
        Otherdeed cost about $5,800 given ApeCoin’s price (approximately $19) at time of
   20
        mint. Yuga raked in over $318.7 million from this mint alone. To add insult to
   21
        injury, the minting process itself was poorly planned and executed, resulting in
   22
        investors having to pay over approximately $8,000 in Ethereum gas fees, making
   23
        the true cost being around $13,000 per Otherdeed.
   24
   25
   26
   27   356
              Id.
   28
                                               172
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 176 of 318 Page ID
                                  #:1529



    1         407. According to data from CryptoSlam, Otherdeed has already seen over
    2 $242 million in total secondary volume traded. Of that figure, over $190 million
    3 was on OpenSea.357
    4         408. Due to the high number of NFTs and higher demand, the Otherdeed
    5 mint, which began at 9:00 pm EST Saturday night, immediately caused an
    6 Ethereum gas358 war. According to reports on the Otherdeed sale, “[t]raffic on
    7 block explorer Etherscan also led to reports that the site wasn’t working for many
    8 users. Worse, gas fees suddenly spiked to thousands of dollars per transaction.”359
    9 Indeed, while some were able to get their transactions processed within a few hours
   10 for a couple hundred dollars in gas fees, “others reported paying upwards of $4,000
   11 for a single transaction. (The average gwei, or price of Ethereum gas, over the
   12 course of the night was over 6,000, roughly 100 to 200 times normal.).”360
   13         409. Otherside-related transactions have consumed over 64,000 ETH in gas
   14 fees at the time of this writing, which is almost $180 million. Critics of Yuga’s
   15 land sale pointed out that fees would not have been that bad had Yuga implemented
   16 a few backend optimizations.
   17         410. Influencer and MoonPay investor Alexander Pall claimed to have
   18 bought two BAYC NFTs along with his bandmate Andrew Taggart. Pall touted the
   19 “power moves” that Yuga was making giving investors IP rights “to the people that
   20
   21
   22   357
              Kate Irwin, Yuga Labs See $561 Million in Otherside Ethereum NFT sales
        Within 24 hours, DECRYPT (May 1, 2022), https://decrypt.co/99156/yuga-labs-sees-
   23   561-million-in-otherside-ethereum-nft-sales-within-24-hours
        358
   24         The term “gas” in the crypto context refers to a unit describing the amount of
        computational power needed to execute specific operations on the network.
   25   Because every Ethereum transaction (which included ApeCoin and Yuga NFT
        transactions) consumes computational resources, transactions come with a cost.
   26   Gas is the fee needed to conduct an Ethereum transaction.
        359
              Irwin, supra n.343.
   27   360
              Id.
   28
                                                173
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 177 of 318 Page ID
                                  #:1530



    1 bought those things.” “While . . . they are incredibly expensive, it was a . . . fun
    2 social experiment and I think that’s a lot of what you are seeing in crypto.”361
    3         411. After the Otherside minting, the Company and BAYC held “ApeFest
    4 2022” in New York, which like ApeFest 2021, was billed and promoted as an
    5 exclusive event for only BAYC and MAYC NFT owners.362 Defendant Broadus
    6 and Eminem performed as the closing act of ApeFest 2022, where they dropped a
    7 new track and music video featuring their Bored Apes.363 BAYC and MAYC NFT
    8 holders could use ApeCoin to purchase exclusive ApeFest 2022 merchandise
    9 featuring Broadus and Eminem.364
   10         412. On July 16, 2022, Yuga published a “Litepaper” describing the
   11 Otherside metaverse project.        The Litepaper acknowledged that nearly all
   12 significant functionalities had not yet been developed and that purchases of
   13 Otherside land would thus need to rely on Yuga’s efforts to develop the
   14 metaverse.365
   15         413. On September 7, 2022, the Ape Foundation announced that it was
   16 seeking a three-month extension for the ApeDAO Board Defendants’ six-month
   17 inaugural term.366 In the letter to the “ApeCoin Community,” the Ape Foundation
   18
   19   361
               Banklesshq        (@banklesshq),   TIKTOK       (June    21,      2022),
        https://www.tiktok.com/@banklesshq/video/7111625644068326699?is_from_weba
   20   pp=v1&item_id=7111625644068326699.
        362
   21          Bored Ape Yacht Club (@BoredApeYC), TWITTER (June 7, 2022, 6:27 PM),
        https://twitter.com/BoredApeYC/status/1534346420341424128.
   22   363
               Bored Ape Yacht Club (@BoredApeYC), TWITTER (June 27, 2022, 2:00
        PM), https://twitter.com/BoredApeYC/status/1541526909951033347.
   23   364
               Bored Ape Yacht Club (@BoredApeYC), TWITTER (June 23, 2022, 7:02
   24   PM), https://twitter.com/BoredApeYC/status/1540153474851246080.
        365
               The       Otherside     Litepaper, OTHERSIDE       (July  16,     2022),
   25   https://otherside.xyz/litepaper.
        366
   26          Swensonk7, The Ape Foundation Announced That Its Term Is Almost Up and
        That They Want a 3 Month Extension, THE BORED APE GAZETTE (Sep. 7, 2022),
   27   https://www.theboredapegazette.com/post/the-ape-foundation-announced-that-its-
        term-is-almost-up-and-that-they-want-a-3-month-extension.
   28
                                                174
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 178 of 318 Page ID
                                  #:1531



    1 stated that “the community hasn’t submitted any viable AIPs specifying what this
    2 handover looks like, who might take over, or how we might conduct an election.
    3 This suggests the original election specifications were ambiguous.”367 Accordingly,
    4 the Ape Foundation proposed to extend the term, claiming that keeping the
    5 ApeDAO Board Defendants in their positions would “provide continuity and
    6 stability: the Foundation doesn’t just execute what the community wants – it makes
    7 sure we are compliant with legal and regulatory requirements and guidance so we
    8 can operate effectively.”368 The letter proposal concluded by directing investors
    9 with questions to speak with ApeDAO Board Defendant Bajwa.
   10         414. That same day, Defendant Wu posted the following message on her
   11 Twitter account: “Grateful for a dynamic 6 month serving on the first @apecoin
   12 DAO Special Council! We are asking the community for an extension of 3 months
   13 to focus on ironing out a first election process that balances continuity, fairness, and
   14 transparency.”369 Wu’s post linked to “AIP-113: Extending AIP-1 – the DAO
   15 Process,” which “propose[d] a three-month extension of the terms laid out in AIP-1
   16 to (1) provide time for the development of a proper and thorough Ape Foundation
   17 election framework and process; (2) allow the community to better understand and
   18 ultimately engage with whatever process emerges; and (3) enable the DAO to
   19 continue functioning coherently beyond September 30.”370
   20
   21
        367
               Id.
   22   368
               Id.
   23   369
               Amy Wu (@amytongwu), TWITTER (Sept. 7, 2022 1:20 P.M.),
        https://twitter.com/amytongwu/status/1567563499156676608?s=20&t=ptw4dASRf
   24   -r2XQWNZIM-EQ.
        370
   25          btang, AIP-113: Extending AIP-1 – the DAO Process, APECOIN.COM (Sep. 7,
        2022), https://forum.apecoin.com/t/aip-113-extending-aip-1-the-dao-process/8236.
   26   Notably, AIP-113 was submitted by user “btang” and authored by Animoca. Btang
        also proposed the staking protocol for ApeCoin. Btang is also the founder of the
   27   Cartan Group LLC, a small consulting company operating out of the Cayman
        Islands, which, pursuant to AIP-1, receives $150,000 per month in consulting fees.
   28
                                                175
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 179 of 318 Page ID
                                  #:1532



    1         415. On November 11, 2022, Defendant Wu resigned from her position as
    2 the leader of FTX’s investment arm following the revelations that FTX executives
    3 had been improperly commingling investor assets and receiving personal loans
    4 from the FTX hedge fund, Alameda Research. Replacement CEO John Ray III
    5 (known as the person brought in to clean up the Enron bankruptcy), in a filing with
    6 the Delaware bankruptcy court, stated the following regarding FTX’s Lehman
    7 Brothers-style collapse that occurred during Wu’s tenure:
    8               Never in my career have I seen such a complete failure of
              corporate controls and such a complete absence of trustworthy
    9
              financial information as occurred here . . . From compromised
   10         systems integrity and faulty regulatory oversight abroad, to the
              concentration of control in the hands of a very small group of
   11
              inexperienced, unsophisticated and potentially compromised
   12         individuals, this situation is unprecedented.371
   13         416. Wu was a senior executive at FTX during the time it suffered from an
   14 “unprecedented and complete failure of corporate controls.” Eight days after
   15 resigning from FTX, on November 19, 2022, Wu announced that she would not
   16 continue to serve as an ApeDAO Board member after the expiration of her one-
   17 year term in December 2022.372 The announcement further disclosed that
   18 Defendant Bajwa and board member Dean Steinbeck also resigned from the
   19 ApeDAO Board under the same terms.
   20         417. Another way that Yuga Labs promoted sales of its BAYC NFT
   21 collection and ApeCoin tokens was through films. On April 11, 2022, Yuga
   22 announced that the Company and Coinbase would be collaborating to produce a
   23
   24   371
              Michelle Chapman, FTX’s new CEO worked on Enron’s bankruptcy but he’s
      still never seen such a ‘complete failure’ and ‘absence of trustworthy financial
   25 information,’ FORTUNE (Nov. 17, 2022), https://fortune.com/2022/11/17/ftx-
      bankruptcy-filing-john-ray-never-seen-complete-failure-sam-bankman-fried/.
   26 372
              Three ApeCoin Council Members Won't Run Again, LUCKYTRADER (Nov.
   27 19,    2022),  https://luckytrader.com/news/three-ape-coin-council-members-won-t-
      run-again.
   28
                                               176
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 180 of 318 Page ID
                                  #:1533



    1 three-part movie series, the “Degen Trilogy,” to promote BAYC and ApeCoin.
    2 The first installment was released in June 2022 at the 4th annual “NFT.NYC”
    3 event.373 The Company later published this first part of the trilogy on YouTube on
    4 July 26, 2022. As part of the movie trilogy promotion, the Company announced
    5 there was a “casting call” to holders of BAYC (and teased a second casting call for
    6 holder of the Mutant Apes NFTs), to submit their NFTs to be considered for use in
    7 the film. The owners of the selected NFTs would earn a licensing fee of $10,000
    8 worth of Bitcoin or ApeCoin.374
    9         418. According to the description of Degen Trilogy: Part 1, it is a “three-
   10 part film from the biggest names in crypto and you, the community. Enter a ragtag
   11 bunch of Degens.      Each with their own special skills and their own hidden
   12 objectives.   All chasing the same goal ‒ ApeCoin.”        The description further
   13 declared that “if they don’t make it, we’re not gonna make it. Here begins the era
   14 of the Degens.375 This failed attempt of a movie trilogy was a thinly veiled attempt
   15 to market both projects to the public and boost their value. In all likelihood that
   16 was the plan from its inception.
   17         419. After the release of this first part of the promotional trilogy, the
   18 project was canceled at the end of 2022 after a poor reception by the broader NFT
   19 community, which was still reeling from the collapse of FTX.
   20         420. ApeCoin was misleadingly promoted as being able to be used for sale
   21 of luxury goods, unique pieces of media, and other well-known brands. On March
   22
   23
        373
             Coinbase to Produce Bored Ape Yacht Club NFT Movie Trilogy, WAYA
   24 (Apr. 24,   2022), https://waya.media/coinbase-to-produce-bored-ape-yacht-club-nft-
   25 movie-trilogy/.
      374
             Id.; Bored Ape Yacht Club (@BoredApeYC), Twitter (Apr. 11, 2022 12:00
   26 PM), https://twitter.com/BoredApeYC/status/1513592766307225600?s=20.
      375
   27        Coinbase, The Degen Trilogy: Part 1, YOUTUBE (July 26, 2022),
      https://www.youtube.com/watch?v=I26DE3c48rY&ab_channel=Coinbase.
   28
                                               177
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 181 of 318 Page ID
                                  #:1534



    1 19, 2022, Snoop Dogg tweeted (retweeted by ApeCoin) that he would be releasing
    2 an “all Ape mixtape” that was “only 4 $Ape holders !!!.”376
    3         421. On March 20, 2022, Time magazine announced that it would be
    4 accepting ApeCoin for digital subscriptions.377 On March 23, 2022 online casino
    5 BetOnline tweeted (retweeted by ApeCoin) that it would begin accepting ApeCoin
    6 for its online sportsbook and casino.378
    7         422. On April 30, 2022, the ApeCoin twitter announced that OpenSea was
    8 now accepting ApeCoin to make NFT purchases on the platform.379 According to
    9 the current version of the Help Center on OpenSea, however, it does not list
   10 ApeCoin as a core currency you can use on the platform.380            Searching for
   11 ApeCoin on the OpenSea Help Center yields zero results.381
   12         423. On August 2, 2022, ApeCoin tweeted that Gucci would begin to allow
   13 customers to pay for purchases in store with ApeCoin.382 Likewise on August 4,
   14 2022, ApeCoin retweeted a tweet from luxury watch brand Tag Heuer that it would
   15 also be accepting ApeCoin.383
   16
   17   376
               Snoop Dogg (@SnoopDogg), TWITTER (Mar. 19, 2022 9:31 PM),
        https://twitter.com/SnoopDogg/status/1505401536511324160.
   18   377
               Aaron Limbu, Time Magazine to Start Accepting ApeCoin,
   19   BLOCKCHAIN.NEWS (Mar. 21, 2022), https://blockchain.news/news/time-magazine-
        to-start-accepting-apecoin.
   20   378
               BetOnline.ag (@betonline_ag), TWITTER (Mar. 23, 2022 12:32 PM),
        https://twitter.com/betonline_ag/status/1506715522125078529.
   21   379
               ApeCoin (@apecoin), TWITTER (Apr. 30, 2022 6:41 AM),
   22   https://twitter.com/apecoin/status/1520397829323182080?s=20.
        380
               What Currencies can I use on OpenSea?, OPENSEA (last visited Oct. 16,
   23   2023),             https://support.opensea.io/hc/en-us/articles/1500003082521-What-
        currencies-can-I-use-on-OpenSea.
   24   381
               Search Results, https://support.opensea.io/hc/en-us/search?utf8=%E2%9C%9
   25   3&query=apecoin.
        382
               ApeCoin (@apecoin), TWITTER (Aug. 2, 2022 7:19 AM),
   26   https://twitter.com/apecoin/status/1554472012139085825.
        383
   27          ApeCoin (@apecoin), TWITTER (Aug. 4, 2022 8:16 PM),
        https://twitter.com/apecoin/status/1555392202968268806.
   28
                                                 178
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 182 of 318 Page ID
                                  #:1535



    1         424. On August 18, 2022, the ApeCoin twitter confirmed that Defendant
    2 Oseary had onboarded Gucci and Tag Heuer as part of his AIP-36 promotion. It is
    3 unclear whether Gucci or Tag Heuer ever actually allowed customers to make in-
    4 store payments using ApeCoin as the promotions were never followed up with by
    5 either brand. A search for ApeCoin on both the Gucci and Tag Heuer websites
    6 yields zero results.    In any event, the tweet from Tag Heuer has since been
    7 deleted.384
    8                                      *     *      *
    9         425. Ultimately, as one marketing report noted, the BAYC NFT collection
   10 (and Yuga itself) “would have never become so popular if it wasn’t for its
   11 aggressive and engaging social media marketing strategies, particularly on
   12 Twitter.”385
   13                4.    Other Manipulations of the Price and Market for
                           Yuga Financial Products
   14
   15         426. Like the cryptocurrency industry, the NFT industry is plagued by illicit
   16 trading activity. Wash trading, or transactions in which a seller is on both sides of
   17 the trade in order to paint a misleading picture of an asset’s value and liquidity, is a
   18 particular area of concern for NFTs. Throughout the Class Period, this practice was
   19 especially easy with NFTs, including the Yuga NFTs, as many NFT trading
   20 platforms allowed users to trade by simply connecting their various wallets to the
   21 platform, with no need to demonstrate arm’s length transactions.
   22         427. “Circular Trades” are well-known techniques used by wash traders, in
   23 which the same wallets repeatedly buy and sell the same or different NFT. The
   24 process involves the transfer of funds between two wallets to create fake trading
   25
        384
            Search Results, https://twitter.com/TAGHeuer/status/1554532900590292996.
   26 385
            3 Lessons To Learn From The Incredible Success Of Bored Ape Yacht Club
   27 NFTs,  DIGITALNOD (Mar. 29, 2022), https://digitalnod.co/blog/3-lessons-to-learn-
      from-bored-ape-yacht-club-nfts/.
   28
                                               179
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 183 of 318 Page ID
                                  #:1536



    1 volume, making it appear as if the NFT is being actively traded. Circular trading
    2 undermines the integrity of the market by creating false demand, misleading
    3 investors and affecting the prices.
    4         428. In the “Seller Funded” washing trading pattern, the seller provides
    5 funds to facilitate the sale of the NFT in the marketplace. The fake transactions in
    6 Seller Funded wash trading inflates the volume and the price of the NFT artificially.
    7 The illusion of high demand drives up the price, especially when the purported
    8 purchaser is a celebrity or influential taste maker.
    9         429. “Outlier transactions” are another form of wash trades.          Outlier
   10 transactions occur when parties trade at highly inflated prices outside of the overall
   11 pattern of trades. Outlier transactions can significantly deviate the average value of
   12 prices paid for an NFT, especially if it was a supposed celebrity purchase.
   13         430. Through these methods, pervasive wash trading has artificially inflated
   14 the price and volume of the Yuga NFTs. BAYC #8099, for example, exhibits signs
   15 of wash trading.386 Researchers found that related wallets significantly increased
   16 the price from $95,000 to $166,000 in transactions between them, before selling the
   17 artificially inflated priced NFT into the market. These inflated transactions affect
   18 volume figures and sales averages and create a misleading picture for investors
   19 about the popularity of the NFT collections.
   20         431. The wash trading problem in the NFT industry has been extensively
   21 studied by researchers and blockchain companies.         Researchers with MIT and
   22 Columbia University, for example, put out a research paper entitled NFT Wash
   23 Trading Detection.387 In addition to BAYC NFT #8099, the researchers specifically
   24
        386
             On the Mark Data, Using Network Graphs to Visualize Potential Fraud on
   25 Ethereum          Blockchain,          MEDIUM         (Dec.   20,        2022),
      https://onthemarkdata.medium.com/using-network-graphs-to-visualize-potential-
   26 fraud-on-ethereum-blockchain-1d8cc0ad361d.
      387
   27        Derek Liu, et al., NFT Wash Trading Detection, MIT AND COLUMBIA UNIV.
      (Feb. 7, 2023), https://arxiv.org/pdf/2305.01543.pdf.
   28
                                               180
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 184 of 318 Page ID
                                  #:1537



    1 identified BAYC NFTs #6946, 1332, 8498, 5862, and 8259 as having their price
    2 increased due to wash sales cycles.      Even when using conservative detection
    3 techniques, researchers flagged 72 wash sales cycles for BAYC NFTs, 52 wash sale
    4 cycles for Mutant Apes, and 29 wash sales cycles for Otherdeeds.
    5         432. Likewise, Zash, a company that launched a “Wash Trading Detection
    6 Service” also identified BAYC NFT #3221 has exhibiting signs of wash trading.388
    7 Furthermore, the Zash article highlights BAYC NFTs #947, 1763, 8739, and 3738
    8 as exhibiting wash trading identifiers. Zash found that for BAYC NFTs #3221 and
    9 8738, over 60% of transactions were identified as suspected wash trades. Likewise,
   10 the trading volume from suspected wash traded BAYC NFTs accounted for 96-99%
   11 of all trading volume associated with those NFTs.
   12         433. Zash also found that, for 30 days on the OpenSea platform, over 5% of
   13 the Mutant Ape NFT trading volume was from suspected wash trades.
   14         434. Moreover, according to a report issued by CoinTelegraph Research
   15 entitled “bitsCrunch NFT Wash Trade Report for 2022,” Yuga’s Otherdeeds NFT
   16 collection was ranked as a Top 10 collection of 2022 by number of wash traded
   17 NFTs.389
   18         435. NFT wash trades are particularly prevalent in new NFT marketplaces
   19 that offer reward tokens based on the volume traded.          These marketplaces
   20 incentivize wash trading behavior, making it easier for traders to engage in this
   21 fraudulent activity to skew prices and the market data. Manipulative trading on one
   22 platform can impact prices on other platforms.         Indeed, the CoinTelegraph
   23
   24
        388
            Zash Launches ‘Wash Trading Detection Service,’ COINMARKETCAP (Dec.
   25 22,      2022),       https://coinmarketcap.com/community/articles/63a509afd16ae
      879abc15cb8/.
   26 389
            bitsCrunch NFT Wash Trade Report for 2022, COINTELEGRAPH RESEARCH
   27 (2022),   https://research-backend.cointelegraph.com/uploads/attachments/clgcb40t
      96zp5zyqn1qto49k8-bitscrunch-nft-wash-trade-report-for-2022-ct-team-0-2-3.pdf.
   28
                                              181
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 185 of 318 Page ID
                                  #:1538



    1 Research report identified wash trading patterns effectuated on incentivized
    2 platforms later harming victims on NFT exchanges like OpenSea.
    3         436. LooksRare is one of the largest incentivized NFT platforms, launching
    4 in January 2022. LooksRare was created by two anonymous co-founders: “Zodd”
    5 and “Guts.”      High levels of buying and selling of NFTs results in $LOOKS
    6 rewards. The CoinTelegraph Research report revealed that a staggering 96% of the
    7 total volume traded on LooksRare was wash trade volume. John Egan, CEO of
    8 L’Atelier, an independent subsidiary of BNP Paribas that researches new
    9 technologies, characterized the transactions on LooksRare reviewed by Reuters as
   10 “wash trades” that would be banned in traditional markets like equities or debt
   11 because they give a false impression of demand for an asset.390
   12                                a. Suspected Wash Trading by Binance and
                                        Dinghau Xiao
   13
              437. Importantly, a Yuga Financial Product whale connected to Binance and
   14
        FTX, Dinghau Xiao (Dingaling), also serves as a key advisor to LooksRare. Xiao is
   15
        considered one of LooksRare’s biggest advocates. LooksRare did a private sale
   16
        where investors could send a maximum 37.5 ETH for an ownership interest in
   17
        LooksRare.391 Xiao’s Dingaling address was LooksRare’s first investor listed on
   18
        the blockchain for these transactions. There were also newly created anonymous
   19
        wallets that put in the max value of 37.5 ETH, all sourced from Binance and for the
   20
        sole purpose of participating in the LooksRare private sale. In fact, Xiao is believed
   21
        to be the true identity of one of LooksRare’s anonymous founder, Zodd.392
   22
   23
   24
        390
   25        Elizabeth Howcroft, Unreal demand? Irregular sales worth billions fire up
      wild NFT market, REUTERS (Feb. 6, 2022), https://www.reuters.com/article/fintech-
   26 nft-looksrare-idCAKBN2KC0FZ.
      391
             Kitonyi, supra n.18.
   27 392
             Id.
   28
                                           182
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 186 of 318 Page ID
                                  #:1539



    1         438. Shortly after the launch of LooksRare, in February 2022, Xiao became
    2 the largest holder of Yuga assets.393 By the time of the ApeCoin air drop in March
    3 2022, Xiao acquired 113 Bored Ape NFTs, 98 Mutant Ape NFTs, and 110 Kennel
    4 Club NFTs. His airdrop was over 1.43 million ApeCoin.
    5         439. After minting so many Bored Ape NFTs in the initial mint, Xiao’s
    6 Dingaling wallet began to purchase Bored Ape NFTs far above the floor price in the
    7 lead up to the Mutant Ape NFT launch. On August 21, 2021, when the floor price
    8 was just 14.9, Xiao purchased 11 Bored Apes NFTs from 10:35am to 10:37am.
    9 Each of these purchases was significantly above the floor price, from 21.89 ETH to
   10 22.5 ETH. By August 24, 2021, the Bored Ape NFT floor price had risen to
   11 23.25.394
   12         440. Importantly, Xiao is a vocal supporter of wash trading, at one time
   13 calling it “genius.”395 Indeed, immediately after the launch of LooksRare, Xiao
   14 tweeted:396
   15                I see a lot of people talking about the wash trading on
                     @LooksRareNFT. So is it actually happening? Yes. Is it by
   16
                     design? Probably. Is it a bad thing? I don’t think so. In fact, I
   17                think its genius.
   18         441. In an interview with Reuters, Xiao, under his dingaling alias, admitted
   19 to being an investor and advisor to LooksRare, stated that the wash trading looked
   20 bad but may be part of the “necessary steps” to gain market share. He further was
   21
   22
   23
   24   393
             THE BORED APE GAZETTE, supra n.16.
      394
   25        The “floor” refers to the market price of an NFT, i.e., the lowest asking price
      of a seller.
   26 395    Kitonyi, supra n.18.
      396
   27        Dingaling (@dingalingts), TWITTER (Jan. 11, 2022 9:26 PM),
      https://twitter.com/dingalingts/status/1481135479940874241.
   28
                                               183
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 187 of 318 Page ID
                                  #:1540



    1 quoted as saying: “People have been real mad about wash trading, but I’m
    2 struggling to understand why. It’s a free market.”397
    3         442. By February 3, 2022, just weeks after LooksRare launched, Bored Ape
    4 NFTs had already amassed $42.1 million on LooksRare’s platform.398 Price floors
    5 rose significantly during this time.        On January 9, 2022, before LooksRare
    6 launched, the floor prices of the Yuga NFTs were 67 ETH for Bored Apes, 13.4
    7 ETH for Mutant Apes, and 4.987 ETH for Kennel Clubs. By February 3, 2022, the
    8 significant amount of NFT wash trading from Xiao’s LooksRare platform caused
    9 the floor prices to rise to 98 ETH for Bored Apes, 19.8 ETH for Mutant Apes, and
   10 8.35 ETH for Kennel Clubs.
   11                                b. Suspected Wash Trading            by       Defendants
                                        MoonPay and Soto-Wright
   12
              443. Recently,     LooksRare     and     MoonPay    announced    a    multi-year
   13
        partnership.399
   14
              444. In sum, Yuga’s failure to register the Yuga Financial Products led to
   15
        the pervasive practices whereby bad actors, including those closely connected to
   16
        Defendants, were able to manipulate prices and effectuate the scheme identified
   17
        herein to inflate the price of the Yuga Financial Products.
   18
              445. These manipulative techniques, and more, were also used by MoonPay
   19
        and Ivan Soto-Wright as part of their orchestrated pump of the price of the Yuga
   20
        Financial Products.
   21
   22
   23   397
               Howcroft, supra n.293.
   24   398
               Alyssa Exposito, OpenSea monthly volumes top $5B as NFTs continue to
        mainstream, COINTELEGRAPH (Feb. 3, 2022), https://cointelegraph.com/news/
   25   opensea-monthly-volumes-top-5b-as-nfts-continue-to-mainstream.
        399
   26          Jamie Redman, Moonpay and Looksrare Partner to Bring Convenient NFT
        Purchasing       to    the    Masses,   BITCOIN.COM        (Feb.    9,    2023),
   27   https://news.bitcoin.com/moonpay-and-looksrare-partner-to-bring-convenient-nft-
        purchasing-to-the-masses/.
   28
                                                 184
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 188 of 318 Page ID
                                  #:1541



    1         446. MoonPay itself, and Soto-Wright personally, traded in Yuga NFTs
    2 while having material non-public information about the celebrity endorsement deals
    3 and the sources of the funds used for these purchases.
    4         447. Soto-Wright made these purchases through his “IvanHodl.eth” Wallet,
    5 at Ethereum wallet address 0x695626A661831A618ae846482FE8abF6c8d4529C
    6 (also referred to as the “Soto-Wright Wallet”). The IvanHodl wallet was funded by
    7 the Moonpay.eth wallet as well as by the Ethereum wallet address
    8 0x7AFC12C8DD2e6591581D95586eB2c2A4905a12a9 (the “Funding Wallet”).
    9         448. The Moonpay.eth wallet was funded by the Funding Wallet, as well as
   10 wallets associated with Binance and FTX. Wallets associated with FTX provided
   11 millions of dollars’ worth of ETH during the Class Period, much of which was used
   12 in the various transactions identified below that were effectuated to artificially
   13 inflate the price and trading volume of Yuga NFTs.
   14         449. To begin, on August 30, 2021, Ivan Soto-Wright used the Soto-Wright
   15 Wallet to purchase Mutant Ape NFT #3016 for 9.899 ETH ($31,958.53), a price far
   16 exceeding the floor price, which was around 5 ETH at the time ($13,300). Mutant
   17 Apes NFTs were first released two days prior, on August 28, 2021.400
   18         450. On September 18, 2021, Soto-Wright used the Soto-Wright Wallet to
   19 purchase BAYC NFT #8410 for 45 ETH ($154,609.20), a price far above the floor
   20 price. The then-present floor price was approximately 35 ETH ($119,000).401
   21         451. On September 24, 2021, Soto-Wright used the Soto-Wright Wallet to
   22 purchase two Kennel Club NFTs, Kennel Club NFT #8386 at 13 ETH
   23
        400
             TransactionHash: 0x29c75f71f0424dff30d8701e39c6dd252079fd8905b209
   24 9847df1d53688a9c7e ETHERSCAN (Aug. 30, 2021, 01:24:55AM+UTC),
      https://etherscan.io/tx/0x29c75f71f0424dff30d8701e39c6dd252079fd8905b209984
   25 7df1d53688a9c7e.
      401
   26        TransactionHash: 0x2ea9d20ee64ea16e83f1f0f7876bea3700ed52cda12e8d
      0767bee31a774d83fa ETHERSCAN (Sept. 18, 2021, 12:11:10AM+UTC),
   27 https://etherscan.io/tx/0x2ea9d20ee64ea16e83f1f0f7876bea3700ed52cda12e8d0767
      bee31a774d83fa.
   28
                                             185
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 189 of 318 Page ID
                                  #:1542



    1 ($38,101.18)402 and Kennel Club NFT #119 at 3.18 ETH ($9,320.13),403 each above
    2 the floor price, with the 13 ETH purchase being approximately 4.5 times the then-
    3 present floor price of 2.85 ETH.
    4         452. On October 5, 2021, Soto-Wright used the Soto-Wright Wallet to
    5 purchase a BAYC NFT #2589 for 65 ETH ($228,545.85), when the floor price was
    6 38.5 ETH ($130,395.65).404
    7         453. On October 25, 2021, Soto-Wright used the Soto-Wright Wallet to
    8 purchase a Bored Ape #1554 for 35.97 ETH ($147,582), which was above the floor
    9 price.405
   10         454. On October 27, 2021, MoonPay, through its MoonPay Wallet,
   11 purchased a BAYC NFT #129 above the floor price. The next day, MoonPay
   12 transferred BAYC NFT #129 to Lil Baby, a hip hop star that was part of
   13 MoonPay’s Series A funding round.
   14         455. On November 8, 2021, MoonPay purchased a Bored Ape NFT #599
   15 for 46.6 ETH, far exceeding the floor price of 30 ETH. Less than ten minutes later,
   16 MoonPay transferred Bored Ape NFT #599 to Jimmy Fallon.
   17
   18
        402
             TransactionHash:         0xc50d58cd605798dc4fec4f8b5c191c5e241096152f
   19 55d1c9f2c921d4838cbd08 ETHERSCAN (Sept. 24, 2021, 3:22:07AM+UTC),
      https://etherscan.io/tx/0xc50d58cd605798dc4fec4f8b5c191c5e241096152f55d1c9f2
   20 c921d4838cbd08.
      403
   21        TransactionHash: 0x086145338ba6f4d01ef8f37aea89fe9c761fd041b1c4194c
      2974fd1c1f3a7f38 ETHERSCAN (Sept. 24, 2021, 3:29:46 AM+UTC),
   22 https://etherscan.io/tx/0x086145338ba6f4d01ef8f37aea89fe9c761fd041b1c4194c29
      74fd1c1f3a7f38.
   23 404    TransactionHash:      0x47418b87e2021c241a92b3a6957df97ebefba7e400bc
      051e249b86a8225ddc7d ETHERSCAN Oct. 05, 2021, 11:06:23 PM+UTC),
   24 https://etherscan.io/tx/0x47418b87e2021c241a92b3a6957df97ebefba7e400bc051e2
      49b86a8225ddc7d.
   25 405
             TransactionHash:
   26 0xb67884438fe49f5dd847e7a93a4678959e7a6179999430004443f7b00df103fd
      ETHERSCAN            (Oct.      25,      2021,       07:09:16      AM+UTC),
   27 https://etherscan.io/tx/0xb67884438fe49f5dd847e7a93a4678959e7a6179999430004
      443f7b00df103fd.
   28
                                             186
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 190 of 318 Page ID
                                  #:1543



    1        456. On November 11, 2021, MoonPay purchased a Bored Ape NFT #5384
    2 for 54 ETH, far exceeding the floor price of 30 ETH.
    3        457. On November 15, 2021, MoonPay purchased a Mutant Ape NFT
    4 #1315 above the floor price.
    5        458. Also on November 15, 2021, at approximately 7:34 PM, MoonPay
    6 purchased a Bored Ape NFT for 250 ETH, a price that was many multiplies of the
    7 floor price. Thereafter at 8:27pm, MoonPay purchased a Bored Ape NFT at 50
    8 ETH, which was also significantly higher than the floor price. Two minutes later at
    9 8:29 PM, MoonPay purchased a Bored Ape NFT for 55 ETH. Three minutes later
   10 at 8:32 PM, MoonPay purchased a Bored Ape NFT for 45 ETH. One minute later
   11 at 8:33 PM, MoonPay purchased a Bored Ape NFT for 50 ETH. At 8:51 PM,
   12 MoonPay purchased a Bored Ape NFT for 44.9 ETH.               Finally, at 8:53 PM,
   13 MoonPay purchased a Bored Ape NFT for 48.88 ETH. Each of these transactions
   14 were significantly above the then-current floor price. The floor price of Bored Apes
   15 rose dramatically in the wake of these manipulative trades, rising from 30 ETH on
   16 November 13, 2021 to around 39 ETH on November 16, 2021.
   17        459. On November 18, 2021, MoonPay purchased a Bored Ape NFT #9883
   18 for 60 ETH. The price floor went from 39 ETH on November 16, 2021 to 49 ETH
   19 on November 19, 2021.
   20        460. On November 26, 2021, MoonPay purchased a Bored Ape NFT #2263
   21 for 69 ETH, far exceeding the floor price of 43.7 ETH.
   22        461. On November 27, 2021, MoonPay purchased a Bored Ape NFT #7380
   23 for 55.5 ETH, again significantly higher than the 43.7 ETH floor price.
   24        462. On December 3, 2021, MoonPay purchased a Bored Ape NFT #2759
   25 for 70 ETH, far above the floor price of 49 ETH.
   26        463. On December 7, 2021, MoonPay purchased one BAYC NFT #6723,
   27 Mutant Ape NFT ##23446 and 23447, and Kennel Club NFT #894 for 85 ETH.
   28
                                              187
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 191 of 318 Page ID
                                  #:1544



    1 This purchase was far above what would have been a combined floor price of
    2 approximately 63.53 ETH for the four Yuga NFTs.
    3          464. On December 23, 2021, MoonPay purchased a Bored Ape NFT #6958
    4 for 54.44 ETH, far above the price floor of 49 ETH.
    5          465. On January 1, 2022, MoonPay purchased a Bored Ape NFT for 65.2
    6 ETH, significantly above the price floor of 58 ETH.
    7          466. On January 6, 2022, MoonPay purchased a Mutant Ape NFT for 18.95
    8 ETH, far exceeding the floor price of 14 ETH.
    9          467. On January 7, 2022, MoonPay purchased a Mutant Ape NFT for 19.4
   10 ETH, significantly above the floor price of approximately 14 ETH.
   11          468. On January 9, 2022, MoonPay purchased a Bored Ape NFT for 79.5
   12 ETH, far exceeding the floor price of 67 ETH.
   13          469. On January 11, 2022, MoonPay purchased a BAYC NFT for 80 ETH,
   14 far exceeding the floor price of 67 ETH. Less than 15 seconds later, MoonPay
   15 purchased a BAYC NFT for 90 ETH, again far exceeding the 67 ETH floor price.
   16          470. On January 14, 2022, MoonPay purchased a BAYC NFT for 79 ETH,
   17 far exceeding the 74 ETH floor price. Later that day, MoonPay made a purchase of
   18 a BAYC NFT for 111 ETH, once again significantly exceeding the 74 ETH floor
   19 price.
   20          471. To make all of these purchases, as noted above, the Moonpay.eth
   21 wallet was being funded by the Funding Wallet, as well as wallets associated with
   22 FTX and Binance. On January 21, 2022, in two transactions, an FTX wallet sent
   23 647 ETH and 249 ETH to the Moonpay.eth wallet address.
   24          472. On January 22, 2022, MoonPay made a purchase of a BAYC NFT for
   25 119 ETH, far exceeding the floor price of 83 ETH.
   26          473. On January 24, 2022, MoonPay made a purchase of a BAYC NFT for
   27 93.69 ETH, far exceeding the floor price of 83 ETH.
   28
                                             188
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 192 of 318 Page ID
                                  #:1545



    1        474. On January 26, 2022, MoonPay made a purchase of a BAYC NFT for
    2 105 ETH, far exceeding the floor price of 83 ETH.
    3        475. On February 9, 2022, MoonPay purchased a BAYC NFT for 100 ETH,
    4 which exceeded the floor price. Also on February 9, 2022, MoonPay received 124
    5 ETH from the Binance wallet.
    6        476. On February 11, 2022, MoonPay received 250 ETH from the FTX
    7 wallet. Thereafter on February 13, 2022, MoonPay received approximately 300
    8 ETH from the FTX wallet in three transactions.
    9        477. On February 16, 2022, MoonPay purchased a BAYC NFT for 105
   10 ETH, far exceeding the floor price of 97 ETH. On February 17, 2022, MoonPay
   11 received 250 ETH from the FTX wallet.
   12        478. On February 18, 2022, MoonPay won an auction to buy a BAYC NFT
   13 for 200 WETH (“wrapped” eth), which far exceeded the price floor of
   14 approximately 97 ETH.
   15        479. On February 22, 2022, MoonPay made a purchase of a BAYC NFT for
   16 120 ETH, significantly above the floor price of 89 ETH. Also on February 22,
   17 2022, MoonPay received 100 ETH from the FTX wallet.
   18        480. On February 23, 2022, MoonPay made a purchase of a BAYC NFT for
   19 95 ETH, far exceeding the floor price of 89 ETH. Also on February 23, 2022,
   20 MoonPay received 99 ETH from the FTX wallet.
   21        481. On February 25, 2022, MoonPay purchased a BAYC NFT for 569
   22 ETH, approximately $1.5 million, which was many multiples of the then-current
   23 floor price of 89 ETH. Also on February 25, 2022, MoonPay received 550 ETH
   24 from the FTX wallet.
   25        482. On March 2, 2022, MoonPay purchased a BAYC NFT for 112.5 ETH,
   26 significantly above the floor price of 82 ETH. Also on March 2, 2022, MoonPay
   27 received 192 ETH from the Binance wallet.
   28
                                              189
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 193 of 318 Page ID
                                  #:1546



    1        483. On March 8, 2022, MoonPay received 75 ETH from the FTX wallet.
    2        484. On March 9, 2022, MoonPay purchased a BAYC NFT for 86.9 ETH,
    3 far exceeding the floor price of 65 ETH. Less than 20 minutes later, MoonPay
    4 purchased another BAYC significantly above the floor price for 77 ETH. Also on
    5 March 9, 2022, MoonPay received 160 ETH from the FTX wallet.
    6        485. On March 10, 2022, MoonPay received 284 ETH in two transactions
    7 from the FTX wallet. On March 11, 2022, MoonPay received 150 ETH from the
    8 FTX wallet.
    9        486. On March 13, 2022, MoonPay purchased a BAYC NFT for 100 ETH,
   10 significantly above the floor price of 70 ETH.
   11        487. On March 14, 2022, MoonPay purchased a BAYC NFT for 180 ETH,
   12 a price far exceeding the floor price of 88.16 ETH. The floor price rose from 70
   13 ETH on March 13, 2022 to 88 ETH on March 16, 2022. Also on March 14, 2022,
   14 MoonPay received 125 ETH from the FTX wallet.
   15        488. On March 15, 2022, MoonPay received 88 ETH from the FTX wallet.
   16 On March 16, 2022, MoonPay received 12 ETH from the FTX wallet.
   17        489. On March 17, 2022, MoonPay purchased three BAYC NFTs in the
   18 span of a minute. These purchases, at 106.9 ETH, 108 ETH, and 108.4 ETH, were
   19 all significantly above the floor price of approximately 88 ETH. Also on March 17,
   20 2022, MoonPay received 322 ETH from the FTX wallet.
   21        490. On March 21, 2022, MoonPay made a purchase of a BAYC NFT for
   22 110 ETH, far exceeding the floor price of 77 ETH. Also on March 21, 2022,
   23 MoonPay received 110 ETH from the FTX wallet.
   24        491. On March 23, 2022, MoonPay received 115 ETH from the FTX wallet.
   25 On March 29, 2022, MoonPay received 217 ETH from the FTX wallet. On April 2,
   26 2022, MoonPay received 42 ETH from the FTX wallet in two transactions. On
   27
   28
                                              190
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 194 of 318 Page ID
                                  #:1547



    1 April 3, 2022, MoonPay received 6.9 ETH from the FTX wallet. On April 5, 2022,
    2 MoonPay received 200 ETH from the FTX wallet.
    3        492. On April 6, 2022, MoonPay purchased a BAYC NFT for 195 ETH, a
    4 price significantly higher than the floor price of 107 ETH. Also on April 6, 2022,
    5 MoonPay received 194 ETH from the FTX wallet.
    6        493. On April 9, 2022, MoonPay made a purchase of a BAYC NFT for 130
    7 ETH, far exceeding the floor price of 105 ETH.
    8        494. On April 17, 2022, MoonPay made a purchase of a BAYC NFT for
    9 130 ETH, far exceeding the floor price of 101 ETH. Also on April 17, 2022,
   10 MoonPay received 130 ETH from the FTX wallet.
   11        495. On April 20, 2022, MoonPay made a purchase of a BAYC NFT for
   12 155 ETH, significantly higher than the floor price of approximately 101 ETH. Also
   13 on April 20, 2022, MoonPay received 155 ETH from the FTX wallet.
   14        496. On April 22, 2022, MoonPay made a purchase of a BAYC NFT for
   15 129.99 ETH, significantly exceeding the floor price of approximately 108 ETH.
   16        497. On April 23, 2022, MoonPay received 45 ETH from the FTX wallet.
   17        498. On April 25, 2022, Soto-Wright received one Otherside Land NFT as
   18 part of a mint of 360 Otherside NFTs. This insider mint was five days before the
   19 public mint on April 30, 2022.
   20        499. On April 30, 2022, MoonPay made a purchase of a BAYC NFT for
   21 265 ETH, a price far exceeding the floor price of 128 ETH. Also on April 30, 2022,
   22 MoonPay received transfers of 155 ETH and 265 ETH from the FTX wallet.
   23        500. On May 13, 2022, MoonPay received 100 ETH from the FTX wallet.
   24 On May 16, 2022, MoonPay received 150 ETH from FTX.
   25        501. On May 19, 2022, MoonPay made a purchase of a BAYC NFT for
   26 169.69 ETH, a significantly higher price than the floor price of approximately 92
   27 ETH. Also on May 19, 2022, MoonPay received 97 ETH from the Binance wallet.
   28
                                             191
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 195 of 318 Page ID
                                  #:1548



    1        502. On May 19, 2022, MoonPay made a purchase of a BAYC NFT for 97
    2 ETH, which was again above the floor price.
    3        503. On June 7, 2022, MoonPay made a purchase of a BAYC NFT for 103
    4 ETH, significantly above the floor price of around 86 ETH. Also on June 7, 2022,
    5 MoonPay received 100 ETH from the FTX wallet.
    6        504. On July 5, 2022, MoonPay made a purchase of a BAYC NFT for 125
    7 ETH, significantly above the floor price of 88.16 ETH. Also on July 5, 2022,
    8 MoonPay received 125 ETH from the Binance wallet.
    9        505. MoonPay continued to receive transfers from FTX in the summer of
   10 2022, before FTX began experiencing the liquidity issues that ultimately led to its
   11 downfall. After receiving just 1 ETH on October 17, 2022, and just 3 ETH on
   12 October 27, 2022, the ETH transfers from FTX stopped. Without the steady flow
   13 of liquidity from FTX, MoonPay was unable to continue to manipulate the price of
   14 the Yuga NFTs, leading to significant drop in value and price floor among the
   15 collections.
   16        C.      Additional Evidence of Manipulative Acts
   17        506. Given the close relationships between Yuga and FTX, the ongoing
   18 trial of Sam Bankman-Fried has provided a unique insight into the connections
   19 between the companies and the various related entities.       Exhibits placed into
   20 evidence by the prosecution have specific references to Yuga Labs, BAYC, the
   21 Sotheby’s Auction, ApeCoin, and the Otherdeed land sale.
   22        507. An internal FTX/Alameda spreadsheet of projects that FTX entities
   23 invested in has a “Yuga Labs (BAYC)” entry.           The entry reflects that the
   24 investment was in Yuga equity, the status was closed, and the investment amount
   25 was $50 million. The lead was Amy Wu. Another entry notes that the valuation of
   26 Yuga was $4 billion. The closing date for the investment was March 7, 2022,
   27 around the height of the celebrity promotions.
   28
                                              192
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 196 of 318 Page ID
                                  #:1549



    1        508. The spreadsheet also has a “BAYC (Sotheby Auction)” entry. The
    2 entry reflects an “OTC, Token” investment for $24,400,000. The token quantity is
    3 listed at 101. This entry is noted as “exited” with a “Latest/Exit Token Price”
    4 listed at $334,503. The “Token P&L” entry shows a profit of over $9.3 million.
    5        509. The $50 million equity investment into Yuga was made by FTX
    6 Ventures Ltd. Internal Alameda documents put into evidence by prosecutors
    7 showed that Alameda CEO Caroline Ellison conducted a “deep dive” for
    8 “Ventures stuff we could sell.” Exhibits also demonstrate that Ellison had “regular
    9 chats” with the FTX Ventures team.
   10        510. Having an individual associated with FTX was important so that
   11 inside information regarding ApeCoin could be shared with FTX’s sister
   12 organization, the hedge fund Alameda Research. Thus, Amy Wu was installed on
   13 the ApeDAO special council.
   14        511. Alameda was one of the main market makers for ApeCoin, having
   15 received a distribution of 750,000 ApeCoin tokens from the ApeCoin token
   16 distributor contract before the public launch. Moreover, one of the entities that
   17 was tasked with administering the Ape Foundation, Crestbridge Cayman Limited,
   18 is led by individuals associated with Cayman-based FTX/Alameda entities, namely
   19 LedgerPrime Digital Asset Opportunities Offshore Fund.
   20        512. Finally, a file containing Caroline Ellison’s personal notes was
   21 introduced by prosecutors. This exhibit evidences that, despite its role as a market
   22 maker for ApeCoin, and despite FTX executive Amy Wu being on the ApeDAO
   23 Council, and despite a large equity investment through FTX Ventures, Alameda
   24 put in a large short position on ApeCoin tokens before the “land drop” or the
   25 Otherdeed NFT launch. This position resulted in significant profit for Alameda as
   26 the price of ApeCoin tokens crashed in the immediate aftermath of the Otherdeed
   27 launch.
   28
                                               193
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 197 of 318 Page ID
                                  #:1550



    1         D.    The Dump – The Price of Yuga Securities Plummets
    2         513. The meteoric rise of the BAYC NFTs did not last long, and the floor
    3 price of the BAYC NFT collection began to deflate from its artificially inflated high
    4 after the failed launch of the BAYC metaverse with the botched sale of virtual land
    5 in the Otherside on April 30, 2022. With celebrity promoters distancing themselves
    6 from the Yuga Financial Products; the disclosure of the U.S. Securities & Exchange
    7 Commission (“SEC”) investigation of Yuga; the implosion of FTX and Alameda;
    8 and further regulatory scrutiny of unregistered securities sold as crypto assets on
    9 exchanges like Coinbase and Binance, the value of the Yuga Financial Products
   10 dropped significantly.
   11         514. In June 2022, exchanges that provided investors yield on their crypto
   12 investments began to experience liquidity issues and lock users out. Voyager was
   13 one of the largest such platforms, and was one of the few platforms where investors
   14 could earn yield on their ApeCoin. On June 22, 2022, Voyager announced that it
   15 had significant exposure to bankrupt hedge fund Three Arrows Capital, raising
   16 significant survivability concerns at the exchange.406 In response, the price of
   17 ApeCoin dropped from $4.37 to $3.97, or approximately 9%.
   18         515. By August 2022, the MoonPay outlier transactions propping up the
   19 floor prices had ceased. Fewer and fewer celebrities were promoting Bored Apes
   20 and the Yuga ecosystem. Without the celebrities endorsing the Yuga assets and
   21 without floor prices and volumes being pumped by MoonPay, the Yuga Financial
   22 Products each suffered diminution in value with decreased sales volume and fewer
   23
   24
   25
        406
   26        Sheldon Reback & Michael Bellusci, Voyager Digital Plunges on Three
      Arrows Exposure, Analyst Downgrade, COINDESK (June 22, 2022),
   27 https://www.coindesk.com/business/2022/06/22/voyager-digital-requests-loan-
      repayment-from-3ac-considers-issuing-default-notice/.
   28
                                            194
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 198 of 318 Page ID
                                  #:1551



    1 unique buyers.407 All of the Yuga Financial Products hit visible low points between
    2 August 19th and 23rd. The Bored Ape NFT floor price dropped from 82.48 ETH
    3 on August 10, 2022 to 66.9 ETH on August 23, 2022. The Mutant Ape NFT floor
    4 price also fell from 15.25 ETH on August 10, 2022, to a floor price of 11 ETH on
    5 August 19, 2022. The Kennel Club NFT floor price also dropped from 7.99 ETH
    6 on August 10, 2022, to 5.990 ETH on August 19, 2022. The Otherdeed NFTs fell
    7 from a floor price of 2.02 ETH on August 7, 2022 to a floor price of 1.47 ETH on
    8 August 22, 2022. Likewise, ApeCoin dropped from $7.56 on August 5, 2022 to
    9 $4.64 on August 28, 2022.
   10         516. In September 2022, the price of ApeCoin and the Yuga NFTs dropped
   11 significantly in anticipation of a significant token unlock for “launch contributors”
   12 of ApeCoin. In the 30 days prior to the unlock, ApeCoin dropped 26%.408 On
   13 September 16, 2022 alone, ApeCoin dropped approximately 9% in advance of the
   14 unlock on September 17, 2022.409
   15         517. On October 11, 2022, Bloomberg reported that the SEC was
   16 conducting an investigation of Yuga Labs over whether the sales of its digital assets
   17 violate federal securities laws.410 Bloomberg reported that the SEC was examining
   18 whether certain NFTs are more akin to stocks and should follow the same
   19 disclosure rules.   Bloomberg also reported that the SEC was investigating the
   20 distribution of ApeCoin. Yuga told Bloomberg in a statement that it was “fully
   21
        407
             Herman Hayes, Purchases at Bored Ape Yacht Club Fall by 90% to 16-
   22 Month Low, BITKAN (Oct. 8, 2022), https://bitkan.com/news/purchases-at-bored-
      ape-yacht-club-fall-by-90-to-16-month-low-5479.
   23 408
             Andrew Hayward, ApeCoin Treasury Set to Unlock 25 Million APE Tokens
   24 for       Launch      Contributors,      DECRYPT       (Sept.    16,    2022),
      https://decrypt.co/109939/apecoin-treasury-unlock-25m-ape-tokens?amp=1.
   25 409    Id.
      410
   26        Matt Robinson, Bored-Ape Creator Yuga Labs Faces SEC Probe Over
      Unregistered        Offerings,      BLOOMBERG         (Oct.     11,     2022),
   27 https://www.bloomberg.com/news/articles/2022-10-11/bored-ape-creator-yuga-labs
      -faces-sec-probe-over-unregistered-offerings#xj4y7vzkg.
   28
                                              195
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 199 of 318 Page ID
                                  #:1552



    1 cooperating” with the inquiry.      In response to the news regarding the SEC
    2 investigation, the ApeCoin token dropped approximately 14%.411
    3         518. Yuga’s NFTs likewise dropped in value in the wake of the disclosure
    4 of the SEC investigation. The Bored Ape NFT floor price dropped from 75.5 ETH
    5 on October 10, 2022 to 72.421 ETH on October 15, 2022. The Mutant Ape NFT
    6 price floor dropped from 14.96 ETH on October 10, 2022 to 13.440 on October 13,
    7 2022. The Kennel Club NFTs dropped from a floor price of 6.39 ETH on October
    8 10, 2022 to 5.750 by October 17, 2022. The Otherside NFTs likewise dropped
    9 from a price floor of approximately 1.6 ETH on October 10, 2022 down to 1.11
   10 ETH on October 21, 2022.
   11         519. The downfall of FTX had a significant impact on the price of the Yuga
   12 Financial Products. When both FTX and Alameda Research filed for Chapter 11
   13 Bankruptcy on November 11, 2022, each of the Yuga Financial Products had a
   14 material drop in value in the days leading up to and following the announcement.
   15 At the time of the bankruptcy, FTX and Alameda held a number of Yuga Financial
   16 Products, which were now at risk of being subject to forced liquidation in the
   17 bankruptcy.
   18         520. At the time of the FTX meltdown, users identified dozens of Yuga
   19 NFTs that were held by FTX/Alameda that could be subject to liquidation or
   20 auction in connection with the bankruptcy.412 Nevertheless, on November 14, 2022,
   21 the ApeDAO Defendants via the official ApeCoin Twitter account misleadingly
   22 stated that the “Ape Foundation did not, and does not currently, hold any assets on
   23
   24
        411
             Andrew Hayward, ApeCoin Sinks 10% After Report of SEC Probe Into Bored
   25 Apes       Creator     Yuga      Labs,      DECRYPT      (Oct.    11,    2022),
      https://decrypt.co/111682/apecoin-crashes-sec-probe-bored-ape-yuga-labs.
   26 412
             Dr.Jones (@DrJones0305), TWITTER (Nov. 18, 2022 2:19 AM),
   27 https://twitter.com/DrJones0305/status/1593730628972863494?s=20&t=IHy6PXZg
      DHgX-Sc5h6rmRg.
   28
                                              196
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 200 of 318 Page ID
                                  #:1553



    1 FTX.”413     But on April 26, 2023, a director of Coinbase tweeted that NFTs
    2 belonging to Alameda/FTX were transferred to a multi-signature wallet belonging
    3 to the liquidator.414 Thirty-two BAYC NFTs were identified as being affected,
    4 including especially rare tokens in the form of four “trippy” Apes, three “gold”
    5 apes, and one “suited” ape. Twenty-nine Otherside NFTs were also affected, as
    6 were two Mutant Apes NFTs, three M1 mutant serum NFTs, and three M2 mutant
    7 serum NFTs.
    8         521. On November 5, 2022, prior to the disclosure of the liquidity issues
    9 with FTX, the BAYC NFT floor price was 64.8 ETH. In the wake of the FTX
   10 bankruptcy, the floor price of the BAYC NFT fell to approximately 50 ether (i.e.,
   11 approximately $62,000) on November 14, 2022. The floor price continued to drop,
   12 reaching 48 ETH on November 17, 2022.
   13         522. The same is true for Yuga’s Mutant Apes, which had a floor price of
   14 11 ETH prior to the FTX disclosures. Following the FTX and Alameda bankruptcy,
   15 the floor price of Mutant Apes dropped to 8.99 ETH on November 17, 2022.
   16         523. Likewise, the floor price of the Otherdeed NFT dropped from 1.192
   17 ETH on November 5, 2022 to 0.8 ETH on November 17, 2022.
   18         524. Prices for the Bored Ape Kennel Club likewise dropped from a floor
   19 price of 4.69 ETH on November 5, 2022 to 3.65 ETH on November 17, 2022.
   20         525. Similarly, the FTX disclosures caused a significant drop in the price of
   21 ApeCoin. On November 5, 2022, ApeCoin traded at $5.10 per token, and dropped
   22 to $2.70 by November 13, 2022:
   23
   24
   25   413
             ApeCoin        (@apecoin),      TWITTER,       Nov.        14,       2022,
      https://x.com/apecoin/status/1592141303747575808?s=20.
   26 414
             Oluwapelumi Adejumo, FTX takes control of NFTs worth over $4M,
   27 C RYPTO  SLATE (Apr. 27, 2023), https://cryptoslate.com/ftx-takes-control-of-nfts-
      worth-over-4m/.
   28
                                            197
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 201 of 318 Page ID
                                  #:1554



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13         526. On October 6, 2023, the Company announced on its website that it was
   14 laying off employees as part of a broader restructuring and pivoting towards online
   15 gaming. The Company’s new CEO, Daniel Alegre, admitted that Yuga “was not
   16 optimized to build and manage everything in house.” Alegre also conceded that
   17 there “have been a few rocky rollouts, particularly in our gaming execution. . . . We
   18 need to make greater progress with the development of Otherside.”415
   19         527. While investors suffered, Yuga insiders prospered.        For example,
   20 Oseary made off with, upon information and belief, tens of millions of dollars (if
   21 not more) for his part in the misconduct alleged herein. Notably, Oseary admitted
   22
   23
   24
   25   415
             Richard Whiddington, NFT Startup Yuga Labs Is Laying Off U.S. Employees
   26 Amid   Its Ongoing Pivot to a Gaming Metaverse, ARTNET NEWS (Oct. 11, 2023),
      https://news.artnet.com/market/yuga-labs-lays-off-us-staff-2376181#:~:text=
   27 Yuga%20Labs%2C%20the%20Web3%20startup,Labs’s%20website%20on%20Oct
      ober%206.
   28
                                             198
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 202 of 318 Page ID
                                  #:1555



    1 that his involvement with the alleged scheme to solicit and sell Yuga Financial
    2 Products “changed [his] life financially beyond [his] wildest dreams.”416
    3         528. Prices of the Yuga Financial Products have dropped precipitously since
    4 the heyday of the misleading and manipulative celebrity promotions. The BAYC
    5 NFTs’ floor price continued to drop, reaching a Class Period low of 21.99 ETH
    6 (approximately $36,536.45) on August 22, 2023. This is down from the all-time
    7 high of approximately 128 ETH (or $369,891.84) that occurred on April 30, 2022 in
    8 the midst of the celebrity promotions and as MoonPay was manipulating prices with
    9 its outlier transactions.
   10         529. Mutant Apes had a floor price high of 35.58 ETH ($99,962.01) on
   11 April 27, 2022, in the midst of the celebrity promotions and MoonPay outlier
   12 transactions. Since that time, the floor price of the Mutant Apes has dropped
   13 precipitously, reaching a low of 4.29 ETH ($7,147.07) on August 22, 2023.
   14         530. Kennel Club NFTs reached a Class Period high of 10.4 ETH ($29,
   15 218.80) on April 27, 2022, but have since dropped precipitously to Class Period
   16 lows of 1.42 ETH on August 22, 2023. In dollar terms, Kennel Club NFTs reached
   17 a Class Period low of $2,391.38 on August 19, 2023.
   18         531. The Otherdeed floor price went from a Class Period high of
   19 approximately 5.0 ETH (about $14,149.94) on May 1, 2022 all the way down to a
   20 Class Period low of 0.4 ETH (worth only $643.60) on September 25, 2023.
   21         532. ApeCoin tokens have likewise suffered a severe diminution in value.
   22 After reaching a Class Period high of $23.65 on April 28, 2022 in the lead up the
   23 Otherdeed launch, the price of ApeCoin has cratered. ApeCoin reached its all time
   24 low on October 10, 2023 at just $1.01.
   25
        416
   26        Reepx      (@reep_x),     TWITTER    (Feb.  4,    2023, 2:01   AM),
      https://twitter.com/reep_x/status/1621765882627112961?t=u80YueKWgsut3kjiud_
   27 V-Q&s=19 (posting an excerpt from a Twitter Spaces recording where Oseary
      made these statements).
   28
                                              199
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 203 of 318 Page ID
                                  #:1556



    1         533. In response to complaints of negligence and waste by the ApeDAO,
    2 Yuga investors tried to diminish the ApeDAO Board’s control over the Ape
    3 Foundation. But due to their self-appointed role as gatekeepers for any proposals to
    4 the Foundation, the ApeDAO Defendants thwarted investors’ efforts to reform. For
    5 example, on June 11, 2023, a Yuga investor submitted AIP-277: Re-evaluating
    6 ApeCoin DAO Special Council Salary Structure.417          This proposal sought an
    7 “immediate salary cut of 50%” for the Special Council members (which included
    8 Ohanian, Wu, and Bajwa).418 The ApeDAO Board Defendants, however, did not
    9 allow this proposal to be voted on by the ApeDAO members. In violation of the
   10 ApeDAO guidelines, the ApeDAO Board refused to send the proposal to the larger
   11 ApeCoin community and instead kicked it back as being “Returned for
   12 Reconstruction” because, according to the ApeDAO Board, modifying the salaries
   13 for the Special Council members would implicate certain pre-existing contractual
   14 obligations entered into by the Special Council. But under the ApeCoin DAO
   15 guidelines, a board member may be removed or replaced prior to the term pursuant
   16 to a majority vote of token holders. Thus, it stands to reason that if a Special
   17 Council member could be terminated for whatever reason regardless of the terms of
   18 their contract, the Ape Foundation should be able to vote on salary modifications.
   19 This inexplicable inability to vote on this AIP was directly raised on July 23, 2023
   20 during the discussions on the AIP (which were reviewed by the ApeDAO Board).419
   21 Nevertheless, this AIP remains stuck in the line for review by the Special Council
   22 despite them sending subsequently submitted and more complex AIPs to vote.
   23   417
             AIP-277: Re-evaluating ApeCoin DAO Special Council Salaries Structure,
   24 APECOIN.COM DAO FORUM (June 11, 2022), https://forum.apecoin.com/t/aip-277-
      re-evaluating-apecoin-dao-special-council-salaries-structure/13703.
   25 418    Id.
      419
   26        Response to AIP-277: Re-evaluating ApeCoin DAO Special Council Salaries
      Structure,      APECOIN.COM       DAO        FORUM         (July    23,    2022),
   27 https://forum.apecoin.com/t/aip-277-re-evaluating-apecoin-dao-special-council-
      salaries-structure/13703/317
   28
                                              200
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 204 of 318 Page ID
                                  #:1557



    1         534. Relatedly, on October 8, 2023, an investor submitted an AIP to the
    2 Ape Foundation seeking a vote of no confidence in the ApeCoin Special Council.
    3 The abstract of the proposal stated as follows: “In a time of much economic
    4 uncertainty as well as the rapidly declining value of the $APE token and its failure
    5 to reach its intended goals, this AIP also seeks to reduce the number of Special
    6 Council members, reduce their salaries in the process, and enforce strict
    7 professional guidelines for the nominations of the Special Council members.”420
    8         535. The Vote of No Confidence AIP further revealed the unnecessary
    9 expenditures by the ApeDAO (which were approved by the ApeDAO Board
   10 Defendants): over $1.2 million on Special Council salaries (i.e. $20,833 per month
   11 for each including Ohanian, Wu, and Bajwa); “$900,000 on Webslingers (admin,
   12 finance, etc) @ $75k per month”; and various “undisclosed sums to third-parties
   13 (e.g. Meta Law and others).”421 The AIP went on to list several failures of the DAO
   14 and issues where the DAO’s conduct benefitted the ApeDAO Board Defendants (as
   15 well as Oseary, the Company, and Executive Defendants Solano and Aronow) at
   16 the expense of investors:
   17               As a startup created around Mar 22, the Special Council has
              thus far failed not only to adhere to the guidelines setup by the
   18
              founders, but has also placed itself above those very same guidelines
   19         in terms of performance, transparency and accountability. Some
              examples:
   20
   21         1.    It has failed to provide explanation to the community as to the
              provenance surrounding a $2.5M loan that is a part of the DAO
   22
              financial reports. . . .
   23
   24         2.    It has failed to provide the DAO community with audited
              financial reports as specified and required by the very same RFC that
   25
   26   420
            Special Council – Vote of No Confidence, APECOIN.COM DAO FORUM (Oct.
      8, 2022), https://forum.apecoin.com/t/special-council-vote-of-no-confidence/19275.
   27 421
            Id.
   28
                                              201
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 205 of 318 Page ID
                                  #:1558



    1         hired the previous Cartan Group and their replacement, the current
              WebSlingers group. . . .
    2
    3         3.     It has failed to adhere to the very same AIP-2 that created the
              voting process in which the community that voted on it was assured -
    4
              by the language of the AIP - that “Without a voting system in place,
    5         arriving at consensus on proposals would be centralized, with only a
              few people holding decision-making abilities. This proposal aims to
    6
              avoid this result.” The resulting and much-maligned voting system, in
    7         the form of a few whale wallets (people)422 controlling the outcomes
    8         of the voting, has failed to uphold this simple concept of fairness and
              equality.
    9
   10         4.     It has failed to meet the goals and direction of the DAO by
              refusing to take steps towards the prosperity of the DAO in terms of
   11         the automation and speedy resolutions to approved AIPs. . . .
   12
              5.     It has failed to meet the accountability and transparency
   13         pledged to the DAO community in many instances. To the extent that
   14         it recently required an AIP-282 (what does the SC actually do) and
              AIP-305 (accountability practices).
   15
   16         6.     It has seemingly placed itself above the rules of the DAO by
              refusing to honor an AIP request by a long-standing community
   17         member. In the fiasco over AIP-277 which sought to reduce the SC
   18         salaries, the author was advised that his AIP could not be sent to vote
              due to the fact that if it passed - as by all accounts it would have - it
   19         would require the Ape Foundation to breach current employment
   20         contracts that it had signed. And so, the author had to put up another
              AIP-337 which only took into account future SC salaries. . . .
   21
   22         7.     It has failed, as per “See Phase 9: Implementation, item at #3”
              to disclose to the DAO community the failure in the disposition of
   23         approved AIPs. To wit, AIP-209 which was voted for in May 2023,
   24         still wasn’t funded as of Aug 9, 2023. For such an expensive and
              impactful AIP, despite several inquiries, the SC has thus far failed to
   25
        422
   26      Upon information and belief, a significant percentage of these so-called
      ApeCoin whale wallets are collectively created/owned/controlled by the Company,
   27 Executive Defendants Aranow, Solano, Ali, and Atalay, the ApeDAO Board
      Defendants Ohanian, Wu, and Bajwa, and/or Individual Defendant Oseary.
   28
                                            202
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 206 of 318 Page ID
                                  #:1559



    1         provide any insight as to why this AIP was not funded during that
              time span, nor to the current disposition of said AIP. . . .
    2
    3         8.      Despite the fact that the DAO was setup as a not-for-profit
              grants governing body, the historical record of the grants offered has
    4
              created a situation whereby a litany of whale wallets - who probably
    5         would rather not see the treasury be spent because it affects their
              holdings - determine the outcome and disposition of even the most
    6
              impactful AIPs which clearly benefit the DAO. The Special Council
    7         has failed to take steps to uphold and maintain the fairness and
    8         equality that the founding members envisioned and intended for the
              DAO; and one in which One APE equals One APE was the rallying
    9         cry.423
   10 V.      THE YUGA FINANCIAL PRODUCTS ARE SECURITIES
              UNDER HOWEY
   11
   12         536. The SEC Framework provides guidance for analyzing whether a digital
   13 asset has the characteristics of one particular type of security ‒ an “investment
   14 contract.” As explained in the SEC Framework:
   15                The U.S. Supreme Court’s Howey case and subsequent case law
   16         have found that an “investment contract” exists when there is the
              investment of money in a common enterprise with a reasonable
   17         expectation of profits to be derived from the efforts of others. The so-
   18         called “Howey test” applies to any contract, scheme, or transaction,
              regardless of whether it has any of the characteristics of typical
   19         securities. The focus of the Howey analysis is not only on the form
   20         and terms of the instrument itself (in this case, the digital asset) but
              also on the circumstances surrounding the digital asset and the manner
   21         in which it is offered, sold, or resold (which includes secondary market
   22         sales). Therefore, issuers and other persons and entities engaged in the
              marketing, offer, sale, resale, or distribution of any digital asset will
   23         need to analyze the relevant transactions to determine if the federal
   24         securities laws apply.424
   25
   26
        423
              Supra n.419.
   27   424
              SEC Framework §I (footnotes omitted).
   28
                                                203
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 207 of 318 Page ID
                                  #:1560



    1         537. The SEC Framework makes clear that “[w]hether a particular digital
    2 asset at the time of its offer or sale satisfies the Howey test depends on the specific
    3 facts and circumstances.”425 The specific facts and circumstances relating to Yuga
    4 support the conclusion that the Yuga Financial Products are securities under the
    5 Howey test.
    6         A.     Yuga Financial Products Investors Invested Money
                     Securities
    7
    8         538. The SEC Framework states that: “The first prong of the Howey test is
    9 typically satisfied in an offer and sale of a digital asset because the digital asset is
   10 purchased or otherwise acquired in exchange for value, whether in the form of real
   11 (or fiat) currency, another digital asset, or other type of consideration.”426
   12         539. Plaintiffs and the Class invested fiat, including U.S. dollars, and digital
   13 currencies, such as Bitcoin and Ethereum, to purchase Yuga Financial Products. As
   14 explained below in the SEC Framework, investment of both fiat and digital
   15 currency meets the first prong of Howey.
   16         540. Defendants sold Yuga Financial Products to retail investors through
   17 global, online cryptocurrency exchanges during various on-going, continuous
   18 offerings.
   19         541. Every purchase of Yuga Financial Products by a member of the public
   20 was an investment contract.
   21         B.     Yuga Financial Products Investors Were Intertwined in a
                     Common Enterprise with Defendants
   22
   23         542. The profits of each investor in Yuga Financial Products are
   24 inextricably intertwined with the Company by virtue of the 2.5% royalty fee that the
   25 Company retains on every resale of a Yuga NFT. Moreover, the success of the
   26
        425
              Id., §II.
   27   426
              Id., §II(A) (footnote omitted).
   28
                                                 204
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 208 of 318 Page ID
                                  #:1561



    1 Bored Ape ecosystem and its native token ApeCoin depended entirely on the efforts
    2 of the Company, Executive Defendants, and ApeDAO Board Defendants. These
    3 same Defendants also held a significant number of Yuga Financial Products, which
    4 gave them the same so-called “skin in the game” as Plaintiffs and the Class.
    5         543. The SEC Framework states that “[i]n evaluating digital assets, we have
    6 found that a ‘common enterprise’ typically exists.”427 The SEC Framework also
    7 elaborates: ”Based on our experiences to date, investments in digital assets have
    8 constituted investments in a common enterprise because the fortunes of digital asset
    9 purchasers have been linked to each other or to the success of the promoter’s
   10 efforts.”428
   11         544. Yuga Financial Products are no exception to the SEC Framework’s
   12 observation regarding the “common enterprise” element of the Howey test. The
   13 prospective profits of Plaintiffs and the Class, if any, are intertwined with the
   14 fortunes of Yuga, its founders, and the Executive Defendants.              Executive
   15 Defendants have conceded that Yuga used the funds from its ApeCoin to partially
   16 fund its operations. The Company, its founders, the Executive Defendants, and the
   17 Company’s investors additionally issued themselves millions of ApeCoin tokens
   18 with value inextricably linked to Yuga’s efforts.
   19         545. Additionally, investors were passive participants in the Yuga Financial
   20 Products’ continuous offering, and the profits of each Plaintiff and the Class were
   21 intertwined with those of Defendants and of other investors.
   22         546. The Executive Defendants were also responsible for supporting the
   23 Yuga Financial Products, pooled investors’ assets, and controlled those assets.
   24
   25
   26   427
             Id., §II(B) (footnote omitted).
      428
   27        Id. at n.11 (citing SEC v. Int’l Loan Network, Inc., 968 F.2d 1304, 1307 (D.C.
      Cir. 1992)).
   28
                                                 205
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 209 of 318 Page ID
                                  #:1562



    1         547. Further, Defendants held a significant stake in the Yuga Financial
    2 Products, and thus shared in the profits and risk of the project.
    3         C.    Investors Purchased the Yuga Financial Products with a
                    Reasonable Expectation of Profit from Owning Them
    4
    5         548. With respect to the element of “reasonable expectation of profits,” the
    6 SEC Framework states that “[a] purchaser may expect to realize a return through
    7 participating in distributions or through other methods of realizing appreciation on
    8 the asset, such as selling at a gain in a secondary market.”429
    9         549. Investors in the Yuga Financial Products, including Plaintiffs and the
   10 Class, made their investment with a reasonable expectation of profits. The primary
   11 purpose for purchasing Yuga Financial Products was to make a profit or accumulate
   12 interest.
   13         550. The SEC Framework lays out a number of characteristics informative
   14 of whether the “reasonable expectation of profits” element is met.           The SEC
   15 Framework states that “[t]he more the following characteristics are present, the
   16 more likely it is that there is a reasonable expectation of profit . . . .”430 Based on
   17 the facts above, each and every characteristic identified by the SEC Framework is
   18 present in the case of the Yuga Financial Products:
   19              The digital asset gives the holder rights to share in the
   20               enterprise’s income or profits or to realize gain from capital
                    appreciation of the digital asset.
   21
   22              The opportunity may result from appreciation in the value of the
   23               digital asset that comes, at least in part, from the operation,
                    promotion, improvement, or other positive developments in the
   24               network, particularly if there is a secondary trading market that
   25               enables digital asset holders to resell their digital assets and
                    realize gains.
   26
        429
              Id., §II(C).
   27   430
              SEC Framework, §II(C)(2).
   28
                                                206
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 210 of 318 Page ID
                                  #:1563



    1                                    *     *      *
    2            The digital asset is transferable or traded on or through a
    3             secondary market or platform, or is expected to be in the future.
    4            Purchasers reasonably would expect that [the Defendants’]
    5             efforts will result in capital appreciation of the digital asset and
                  therefore be able to earn a return on their purchase.
    6
                 The digital asset is offered broadly to potential purchasers as
    7
                  compared to being targeted to expected users of the goods or
    8             services or those who have a need for the functionality of the
                  network.
    9
   10            The digital asset is offered and purchased in quantities indicative
                  of investment intent instead of quantities indicative of a user of
   11             the network. For example, it is offered and purchased in
   12             quantities significantly greater than any likely user would
                  reasonably need, or so small as to make actual use of the asset in
   13             the network impractical.
   14
                 There is little apparent correlation between the purchase/offering
   15             price of the digital asset and the market price of the particular
   16             goods or services that can be acquired in exchange for the digital
                  asset.
   17
                 There is little apparent correlation between quantities the digital
   18
                  asset typically trades in (or the amounts that purchasers typically
   19             purchase) and the amount of the underlying goods or services a
                  typical consumer would purchase for use or consumption.
   20
   21            The [Defendants have] raised an amount of funds in excess of
                  what may be needed to establish a functional network or digital
   22             asset.
   23
                 The [Defendants are] able to benefit from [their] efforts as a
   24             result of holding the same class of digital assets as those being
   25             distributed to the public.

   26            The [Defendants] continue[] to expend funds from proceeds or
                  operations to enhance the functionality or value of the network
   27
                  or digital asset.
   28
                                              207
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 211 of 318 Page ID
                                  #:1564



    1              The digital asset is marketed, directly or indirectly, using any of
    2               the following:

    3               o     The expertise of [Defendants] or [their] ability to build or
                          grow the value of the network or digital asset.
    4
    5               o     The digital asset is marketed in terms that indicate it is an
                          investment or that the solicited holders are investors.
    6
                    o     The intended use of the proceeds from the sale of the
    7                     digital asset is to develop the network or digital asset.
    8
                    o     The future (and not present) functionality of the network
    9                     or digital asset, and the prospect that [the Defendants] will
   10                     deliver that functionality.

   11               o     The promise (implied or explicit) to build a business or
                          operation as opposed to delivering currently available
   12                     goods or services for use on an existing network.
   13
                    o     The ready transferability of the digital asset is a key
   14                     selling feature.
   15               o     The potential profitability of the operations of the
   16                     network, or the potential appreciation in the value of the
                          digital asset, is emphasized in marketing or other
   17                     promotional materials.
   18
                    o     The availability of a market for the trading of the digital
   19                     asset, particularly where the [Defendants] implicitly or
   20                     explicitly promise[] to create or otherwise support a
                          trading market for the digital asset.431
   21
              D.    Investors Expected Profits from the Yuga Financial
   22               Products to Be Derived from the Managerial Efforts of the
                    Executive Defendants
   23
              551. The SEC Framework explains:
   24
                    When a promoter, sponsor, or other third party (or affiliated
   25
                    group of third parties) (each, an “Active Participant” or “AP”)
   26               provides essential managerial efforts that affect the success of
   27   431
              Id.
   28
                                                208
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 212 of 318 Page ID
                                  #:1565



    1               the enterprise, and investors reasonably expect to derive profit
                    from those efforts, then this prong of the test is met. Relevant
    2
                    to this inquiry is the “economic reality” of the transaction and
    3               “what character the instrument is given in commerce by the
                    terms of the offer, the plan of distribution, and the economic
    4
                    inducements held out to the prospect.” The inquiry, therefore,
    5               is an objective one, focused on the transaction itself and the
                    manner in which the digital asset is offered and sold.432
    6
    7
              552. Specifically, with respect to the element of “[r]eliance on the [e]fforts
    8
        of [o]thers,” the SEC Framework states:
    9
                    The inquiry into whether a purchaser is relying on the efforts of
   10               others focuses on two key issues:
   11                    Does the purchaser reasonably expect to rely on the
   12                     efforts of a[] [promoter]?
   13                    Are those efforts “the undeniably significant ones, those
   14                      essential managerial efforts which affect the failure or
   15                      success of the enterprise,” as opposed to efforts that are
   16                      more ministerial in nature?433
   17
              553. Plaintiffs and the Class have entirely passive roles vis-à-vis the success
   18
        of the Yuga Financial Products or the Bored Ape ecosystem. Rather, the success of
   19
        the Bored Ape ecosystem, and the profits the Class reasonably expected to derive
   20
        from investing in the Yuga Financial Products, are dependent on the essential
   21
        technical, entrepreneurial, and managerial efforts of the Company, Executive
   22
        Defendants, and the ApeDAO Board Defendants.
   23
              554. For example, when NFT exchange OpenSea temporarily delisted
   24
        numerous Bored Apes from its platform in June 2022, the Company, Executive
   25
   26
        432
              Id., §II(C) (footnotes omitted).
   27   433
              Id., §II(C)(1) (footnotes omitted).
   28
                                                    209
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 213 of 318 Page ID
                                  #:1566



    1 Defendants, and ApeDAO Board Defendants used their managerial efforts to work
    2 with OpenSea to resolve the issue and ensure that it did not happen again.434
    3         555. And when issues arose with NFT purchases in March 2023, the
    4 Company, Executive Defendants, and ApeDAO Board Defendants used their
    5 managerial efforts to send ETH to the affected wallets “covering the difference
    6 between the amount paid and floor.”435
    7         556. Plaintiffs and the Class reasonably expected Executive Defendants and
    8 ApeDAO Board Defendants to provide significant managerial efforts, to develop
    9 and improve the Bored Ape ecosystem, and to provide and/or secure exchanges
   10 through which Yuga Financial Products can be traded or liquidated. Defendants
   11 repeatedly represented that they would provide significant managerial efforts to
   12 achieve these objectives and make Yuga Financial Products a profitable investment
   13 by developing and attracting users to the Bored Ape ecosystem.
   14         557. For example, on January 3, 2022, Yuga publicly stated that “we see
   15 ourselves as temporary stewards of [the BAYC] IP that is in the process of
   16 becoming more and more decentralized.            Our ambition is for this to be a
   17 community-owned brand, with tentacles in world-class gaming, events, and
   18 streetwear. We think there’s still work to be done to ensure that what we hand over
   19 to the community is in as strong a position as it can be.”436
   20
   21
   22
   23
   24   434
             Bored Ape Yacht Club (@BoredApeYC), TWITTER (June 29, 2022, 2:22
   25 PM),  https://twitter.com/BoredApeYC/status/1542257147794300930.
      435
             Bored Ape Yacht Club (@BoredApeYC), TWITTER (Mar. 15, 2023, 8:20
   26 PM), https://twitter.com/BoredApeYC/status/1636205752753836033.
      436
   27        Yuga Labs (@YugaLabs), Twitter (Jan. 3, 2022 12:27 PM),
      https://twitter.com/yugalabs/status/1478100705542131713?s=20.
   28
                                              210
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 214 of 318 Page ID
                                  #:1567



    1
    2
    3
    4
    5
    6
    7         558. Yuga, through Defendant Aronow, represented that the Yuga Financial
    8 Products would have “inherent, long-term, value” through Yuga’s own efforts,
    9 “Namely, the Roadmap Activations.”437
   10         559. Yuga, through Defendant Solano, similarly represented that Yuga’s
   11 efforts, such as “The Bathroom and other Roadmap Activations . . . give intrinsic
   12 value to holding an ape token.”438
   13
   14
   15
   16
   17
   18
   19
   20
              560. Yuga and the Executive Defendants also made comments on the price
   21
        of the Yuga Financial Products, for example, noting that the “floor has crept up
   22
        today,” and discussing the floor price on “OS” or marketplace OpenSea.
   23
   24
   25
   26
        437
              Comment made through Bored Ape Yacht Club Discord.
   27   438
              Comment made through Bored Ape Yacht Club Discord.
   28
                                              211
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 215 of 318 Page ID
                                  #:1568



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10         561. Yuga and the Executive Defendants also discussed the seemingly high
   11 value of the BAYC NFTs, noting that two “Goldens” were worth “all the eth.”
   12 These statements create a reasonable expectation of profits based on Yuga’s efforts,
   13 because Yuga and the Executive Defendants acknowledge both their efforts in
   14 creating intrinsic value of the NFTs, and the rising intrinsic value of the NFTs as
   15 the reasonable expectation of profits from their efforts begins to manifest.
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25         562. Yuga represented that the value of its Yuga Financial Products was “a

   26 top priority of ours.” For example, Yuga acknowledged that it would develop
   27 “breeding” which would generate additional valuable Yuga Financial Products for
   28
                                                212
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 216 of 318 Page ID
                                  #:1569



    1 BAYC holders, such as MAYC, and BAKC (which in turn generated additional
    2 ApeCoins). Yuga represented that “nothing we do with breeding will hurt the
    3 collections value, it’s a top priority of ours.”
    4         563. Yuga acknowledged that “the more apes sell, the more the project
    5 grows in scope, due to the Roadmap Activations.” These Roadmap Activations
    6 were a simple way for Yuga and the Executive Defendants to describe their efforts
    7 to improve the value of the Yuga Financial Products through Yuga’s and Executive
    8 Defendants’ efforts.
    9
   10
   11
   12
   13
   14         564. Yuga and Defendant Aronow would talk about the rising volume of the
   15 Yuga Financial Products.
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                 213
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 217 of 318 Page ID
                                  #:1570



    1
    2
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16         565. Yuga used the proceeds of its sales and royalties of the Yuga Financial
   17 Products to purchase other valuable intellectual property, including CryptoPunks,
   18 one of the first and most valuable NFTs on the Ethereum blockchain.
   19         566. Yuga Financial Products therefore derives its value entirely from the
   20 usefulness and popularity of the Bored Ape ecosystem, which is in turn highly, if
   21 not entirely, dependent on the significant technical, entrepreneurial, and managerial
   22 efforts of the Company and Executive Defendants. The purchase of Yuga Financial
   23 Products is thus an investment in a common enterprise, with an expectation of
   24 profits, based upon the efforts of its promoter, the Defendants.
   25         567. The SEC Framework lays out a number of characteristics informative
   26 of whether the “[r]eliance on the [e]fforts of [o]thers” element is met. The SEC
   27 Framework notes that “[a]lthough no one of the following characteristics is
   28
                                               214
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 218 of 318 Page ID
                                  #:1571



    1 necessarily determinative, the stronger their presence, the more likely it is that a
    2 purchaser of a digital asset is relying on the ‘efforts of others . . . .’”439 Based on
    3 the facts above, each and every characteristic identified by the SEC Framework is
    4 present in the case of the Yuga Financial Products:
    5               [Defendants are] responsible for the development, improvement
    6                (or enhancement), operation, or promotion of the network [and]
                     purchasers of the digital asset expect [Defendants] to be
    7                performing or overseeing tasks that are necessary for the
    8                network or digital asset to achieve or retain its intended purpose
                     or functionality.
    9
                    Where the network or the digital asset is still in development and
   10                the network or digital asset is not fully functional at the time of
   11                the offer or sale [both true of ApeCoin, the Otherside metaverse,
                     and the Bored Ape ecosystem] purchasers would reasonably
   12                expect [Defendants] to further develop the functionality of the
   13                network or digital asset (directly or indirectly). This particularly
                     would be the case where an AP promises further developmental
   14
                     efforts in order for the digital asset to attain or grow in value.
   15
                    There are essential tasks or responsibilities performed and
   16                expected to be performed by [Defendants], rather than an
   17                unaffiliated, dispersed community of network users (commonly
                     known as “decentralized” network).
   18
   19               [Defendants] create[] or support[] a market for, or the price of,
                     the digital asset. This can include, for example, an AP that: (1)
   20                controls the creation and issuance of the digital asset; or (2)
   21                takes other actions to support a market price of the digital asset,
                     such as by limiting supply or ensuring scarcity, through, for
   22                example, buybacks, “burning,” or other activities.
   23
                    [Defendants] ha[ve] a lead or central role in the direction of the
   24                ongoing development of the network or the digital asset. In
                     particular, [Defendants] play[] a lead or central role in deciding
   25
                     governance issues, code updates, or how third parties participate
   26
   27   439
              Id., §II(C)(1).
   28
                                                 215
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 219 of 318 Page ID
                                  #:1572



    1             in the validation of transactions that occur with respect to the
                  digital asset.
    2
    3            [Defendants] ha[ve] a continuing managerial role in making
                  decisions about or exercising judgment concerning the network
    4             or the characteristics or rights the digital asset represents
    5             including, for example:
    6             o     Determining whether and how to compensate persons
    7                   providing services to the network or to the entity or
                        entities charged with oversight of the network.
    8
                  o     Determining whether and where the digital asset will
    9                   trade. For example, purchasers may reasonably rely on
   10                   [Defendants] for liquidity, such as where the [Defendants
                        have] arranged, or promised to arrange for, the trading of
   11                   the digital asset on a secondary market or platform.
   12
                  o     Determining who will receive additional digital assets and
   13                   under what conditions.
   14             o     Making or contributing to managerial level business
   15                   decisions, such as how to deploy funds raised from sales
                        of the digital asset.
   16
   17             o     Playing a leading role in the validation or confirmation of
                        transactions on the network, or in some other way having
   18                   responsibility for the ongoing security of the network.
   19
                  o     Making other managerial judgements or decisions that
   20                   will directly or indirectly impact the success of the
                        network or the value of the digital asset generally.
   21
   22            Purchasers would reasonably expect [Defendants] to undertake
                  efforts to promote [their] own interests and enhance the value of
   23             the network or digital asset, such as where:
   24
                  o     [Defendants] ha[ve] the ability to realize capital
   25                   appreciation from the value of the digital asset. This can
                        be demonstrated, for example, if the [Defendants] retain[]
   26
                        a stake or interest in the digital asset. In these instances,
   27                   purchasers would reasonably expect [Defendants] to
   28
                                             216
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 220 of 318 Page ID
                                  #:1573



    1                      undertake efforts to promote [their] own interests and
                           enhance the value of the network or digital asset.
    2
                    o      [Defendants] distribute[] the digital asset as compensation
    3                      to management or [Defendants’] compensation is tied to
    4                      the price of the digital asset in the secondary market. To
                           the extent these facts are present, the compensated
    5                      individuals can be expected to take steps to build the
    6                      value of the digital asset.
    7               o      [Defendants] own[] or control[] ownership of intellectual
                           property rights of the network or digital asset, directly or
    8                      indirectly.
    9         568. [Defendants] monetize[] the value of the digital asset, especially where
   10 the digital asset has limited functionality
   11        569. Here, the Yuga Financial Products exhibit all of these characteristics.
   12         E.    Investors Would Not Reasonably Have Understood that
                    the Financial Products Sold by Yuga Were Securities
   13
              570. In connection with the launch of the Yuga Financial Products,
   14
        Defendants made statements that reasonably led Plaintiffs and Class members to
   15
        conclude that the Yuga Financial Products were not securities.
   16
              571. As a threshold matter, the Defendants refused to register any of the
   17
        Yuga Financial Products with the SEC, which indicated to investors that these were
   18
        not securities. No valid exemption from registration requirements existed for any
   19
        of the Yuga Financial Products.
   20
              572. At the time of the launch of the Yuga Financial Products, the
   21
        Company, Executive Defendants, and ApeDAO Board Defendants took advantage
   22
        of the market’s lack of understanding and awareness concerning how
   23
        cryptocurrency projects work. Considering the new technology at issue and the
   24
        Company’s other statements, many investors were understandably unaware that
   25
        Yuga Financial Products had fundamentally different features than Bitcoin, which
   26
        the SEC has determined is not a security.
   27
   28
                                                217
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 221 of 318 Page ID
                                  #:1574



    1        573. The Company also indicated that it would benefit financially and use
    2 the funds raised through the sale of the Yuga Financial Products to continue to fund
    3 the Bored Ape ecosystem and support the growth of the project.
    4        574. At the time the Yuga Financial Products were publicly released,
    5 Defendants took advantage of the market’s lack of understanding and awareness
    6 concerning how this investment contract worked. With promises that Yuga NFTs
    7 would outperform other NFT collections (and ApeCoin would outperform other
    8 digital assets), many individuals were unaware that the Yuga Financial Products
    9 had fundamentally different features than other cryptocurrencies, including being
   10 more centralized than something like Bitcoin. One of these primary differences is
   11 that all Yuga Financial Products were issued by the Company and Executive
   12 Defendants at creation at very little economic cost ‒ and enormous potential upside
   13 ‒ to them.
   14        575. The creation of the Yuga Financial Products occurred through a
   15 centralized process, in contrast to something like Bitcoin. This, however, would not
   16 have been apparent at issuance to a reasonable investor. Rather, it was only after
   17 the passage of time and disclosure of additional information about the issuer’s
   18 intent and process of management that a reasonable purchaser could have known
   19 that he or she had acquired a security.
   20        576. Purchasers were thereby misled into believing that the Yuga Financial
   21 Products were something other than securities, when they were securities.
   22        577. Accordingly, it was not apparent to a reasonable investor, at issuance,
   23 that the Yuga Financial Products were securities under the law, and a reasonable
   24 investor would not have believed they were securities.
   25
   26
   27
   28
                                                218
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 222 of 318 Page ID
                                  #:1575



    1         F.     Application of the SEC’s 2019 Framework Indicates that
                     the Yuga Financial Products Are Securities
    2
    3         578. The Framework described how to analyze the various facts
    4 surrounding an ICO in making the determination of whether a given digital asset is
    5 a security.
    6         579. In particular, the Framework provides that the “inquiry into whether a
    7 purchaser is relying on the efforts of others focuses on two key issues: Does the
    8 purchaser reasonably expect to rely on the efforts of an [Active Participant or
    9 “AP”]?        Are those efforts ‘the undeniably significant ones, those essential
   10 managerial efforts which affect the failure or success of the enterprise,’ as opposed
   11 to efforts that are more ministerial in nature?”440
   12         580. The Framework further notes that the “stronger the[] presence” of the
   13 following factors, “the more likely it is that a purchaser of a digital asset is relying
   14 on the ‘efforts of others.’”441
   15         581. The first factor the SEC looked at was whether an AP is responsible
   16 for the development, improvement (or enhancement), operation, or promotion of the
   17 network, particularly if purchasers of the digital asset expect an AP to be
   18 performing or overseeing tasks that are necessary for the network or digital asset to
   19 achieve or retain its intended purpose or functionality.
   20         582. At the time of the launch of each of the Yuga Financial Products, the
   21 Executive Defendants, ApeDAO Board Defendants, MoonPay Defendants, and
   22 Defendants Sotheby’s and Adidas actively marketed the launch and the tokens’
   23 growth and utilization prospects, thereby necessitating the continued managerial
   24 efforts of the Company, Executive Defendants, and ApeDAO Board Defendants.
   25 Where the network or the digital asset is still in development and the network or
   26
        440
              Id.
   27   441
              Id.
   28
                                                219
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 223 of 318 Page ID
                                  #:1576



    1 digital asset is not fully functional at the time of the offer or sale, purchasers would
    2 reasonably expect an AP to further develop the functionality of the network or
    3 digital asset (directly or indirectly).
    4         583. Another factor the Framework considers is whether the AP creates or
    5 supports a market for, or the price of, the digital asset. This includes, inter alia,
    6 whether the AP “(1) controls the creation and issuance of the digital asset; or
    7 (2) takes other actions to support a market price of the digital asset, such as by
    8 limiting supply or ensuring scarcity, through, for example, buybacks, “burning,” or
    9 other activities.”442
   10         584. As noted above, all of the Yuga Financial Products in circulation were
   11 created at the direction of the Executive Defendants, the ApeDAO Board
   12 Defendants, and/or Defendant Oseary.
   13         585. The framework further states that “[a]n AP has a continuing
   14 managerial role in making decisions about or exercising judgment concerning the
   15 network or the characteristics or rights the digital asset represents.”443
   16         586. Here, the Company and Executive Defendants have discussed the long-
   17 term prospects on extended frames, continually noting how the utilization of the
   18 intellectual property rights granted to Yuga NFT owners will grow in the future as
   19 the Company builds the Bored Ape ecosystem.              Likewise, the Company and
   20 Executive Defendants have touted how the use for ApeCoin tokens as a method of
   21 payment within the ecosystem will grow (and, in turn, increase the price of the
   22 ApeCoin tokens).
   23         587. The ability to determine whether and where the digital asset will trade
   24 is another factor discussed in the Framework.          For example, “purchasers may
   25 reasonably rely on an AP for liquidity, such as where the AP has arranged, or
   26
        442
              Id.
   27   443
              Id.
   28
                                                 220
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 224 of 318 Page ID
                                  #:1577



    1 promised to arrange for, the trading of the digital asset on a secondary market or
    2 platform.”444
    3         588. Here, the Executive Defendants and Sotheby’s had access to and did
    4 manipulate the sales of Yuga Financial Products in the first days, which had a
    5 dramatic impact on the Yuga Financial Products’ price and market.
    6         589. Another factor the Framework notes is whether the AP has the ability
    7 to determine who will receive additional digital assets and under what conditions.
    8 This could be, for example, “[m]aking or contributing to managerial level business
    9 decisions, such as how to deploy funds raised from sales of the digital asset.”445
   10         590. Here, the Company, Executive Defendants, and ApeDAO Board
   11 Defendants are the arbiters of funding for Yuga and the Bored Ape ecosystem.
   12         591. Making other managerial judgements or decisions that will directly or
   13 indirectly impact the success of the network or the value of the digital asset
   14 generally.
   15         592. The Framework also remarks that purchasers would reasonably expect
   16 the AP to undertake efforts to promote its own interests and enhance the value of
   17 the network or digital asset, including, but not limited to, the instances where the
   18 AP “has the ability to realize capital appreciation from the value of the digital asset.
   19 This can be demonstrated, for example, if the AP retains a stake or interest in the
   20 digital asset.”    According to the SEC, in these instances, “purchasers would
   21 reasonably expect the AP to undertake efforts to promote its own interests and
   22 enhance the value of the network or digital asset.”446
   23
   24
   25   444
              Id.
   26   445
              Id.
   27   446
              Id.
   28
                                                221
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 225 of 318 Page ID
                                  #:1578



    1         593. Here, the Executive Defendants and ApeDAO Board Defendants retain
    2 a significant interest in the Company even after selling off many Yuga Financial
    3 Products at the height of the initial launch.
    4         594. On May 7, 2021, on CNBC’s “Squawk Box” television program,
    5 chairman of the SEC Gary Gensler stated that “a lot of crypto tokens – I won’t call
    6 them cryptocurrencies for this moment – are indeed securities.”447 In addition to
    7 being the Chairman of the SEC, Mr. Gensler is also a world renowned expert on
    8 cryptocurrencies and blockchain technology, having taught the “Blockchain and
    9 Money” course at the Sloan School of Management at the Massachusetts Institute
   10 of Technology (“MIT”).448
   11         595. In a June 14, 2018 speech entitled “Digital Asset Transactions: When
   12 Howey Met Gary (Plastic)” that is available on the SEC’s website,449 the following
   13 observations were made on “when a digital transaction may no longer represent a
   14 security offering”:
   15         If the network on which the token or coin is to function is sufficiently
              decentralized – where purchasers would no longer reasonably expect a
   16
              person or group to carry out essential managerial or entrepreneurial
   17         efforts – the assets may not represent an investment contract.
              Moreover, when the efforts of the third party are no longer a key factor
   18
              for determining the enterprise’s success, material information
   19         asymmetries recede. As a network becomes truly decentralized, the
              ability to identify an issuer or promoter to make the requisite dis-
   20
              closures becomes difficult, and less meaningful.
   21
        447
   22         Jesse Point, SEC Chairman Gary Gensler says more investor protections are
        needed for bitcoin and crypto markets, CNBC (May 7, 2021), https://www.cnbc.
   23   com/2021/05/07/sec-chairman-gary-gensler-says-more-investor-protections-are-
        needed-for-bitcoin-and-crypto-markets.html.
   24   448
              Lectures and Materials from Chairman Gensler’s MIT course are available to
        the public for free at: https://ocw.mit.edu/courses/sloan-school-of-management/15-
   25   s12-blockchain-and-money-fall-2018/video-lectures/session-1-introduction/.
        449
   26         William Hinman, Director, Division of Corporation Finance, Remarks at the
        Yahoo Finance All Markets Summit, Digital Asset Transactions: When Howey Met
   27   Gary (Plastic) (June 14, 2018), https://www.sec.gov/news/speech/speech-hinman-
        061418.
   28
                                                222
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 226 of 318 Page ID
                                  #:1579



    1               And so, when I look at Bitcoin today, I do not see a central third
              party whose efforts are a key determining factor in the enterprise. The
    2         network on which Bitcoin functions is operational and appears to have
              been decentralized for some time, perhaps from inception.
    3
    4         596. A key factor in determining whether a digital asset is a security or not
    5 is whether there is a centralized entity behind the digital asset.450 The Company is a
    6 registered Delaware corporation since February 8, 2021 and has maintained itself as
    7 the centralized entity behind the Yuga Financial Products throughout their entire
    8 existence, notwithstanding the creation of the shell entity of the so-called Ape
    9 Foundation or ApeDAO.
   10         G.    Government Enforcement Actions Demonstrate that the
                    Yuga Financial Assets Are Securities
   11
   12         597. Government and regulator enforcement actions further demonstrate
   13 that the Yuga Financial Products are securities. First, federal prosecutors in the
   14 Southern District of New York brought wire fraud charges against a manager at
   15 OpenSea based on insider trading in connection with the purchase and sale of NFTs
   16 on the OpenSea platform. See USA v. Chastain, 1:22-cr-00305 (S.D.N.Y).
   17         598. Second, on August 28, 2023, the SEC charged Impact Theory, LLC
   18 with conducting an unregistered offering of crypto asset securities in the form of
   19 purported non-fungible tokens.      Like Yuga, Impact Theory emphasized it was
   20 “trying to build the next Disney[.]” The SEC found that the NFTs offered and sold
   21 to investors were investment contract and therefore securities.451
   22         599. Third, on September 13, 2023, the SEC charged Stoner Cats 2 LLC
   23 (“Stoner Cats”) with conducting an unregistered offering of crypto asset securities
   24
   25   450
             Id. (noting that the “decentralized structure” of Bitcoin and Ethereum placed
      these digital assets outside the “disclosure regime of the federal securities laws”).
   26 451
             Press Release, SEC Charges LA-Based Media and Entertainment Co. Impact
   27 Theory   for Unregistered Offering of NFTs, No. 2023-163, U.S. SEC (Aug. 28,
      2023), https://www.sec.gov/news/press-release/2023-163.
   28
                                                223
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 227 of 318 Page ID
                                  #:1580



    1 in the form of purported non-fungible tokens. Like Yuga, Stoner Cats used well-
    2 known actors and celebrities as part of its promotion, including Defendant Oseary’s
    3 business partner Ashton Kutcher and his wife Mila Kunis. Like Yuga, Stoner Cats
    4 obtained a 2.5% royalty for each secondary market transaction in the NFTs. The
    5 SEC found that the NFTs offered and sold to investors was an unregistered offering
    6 that was not exempt from registration. The SEC’s press release stated that “Stoner
    7 Cats wanted all the benefits and offering and selling a security to the public but
    8 ignored the legal responsibilities that come with doing so.”452
    9 VI.     MECHANICS OF PLAINTIFFS’ PURCHASES
   10         600. Plaintiffs purchased their NFTs on exchanges based in the United
   11 States, including OpenSea. Yuga NFTs are ERC-721 tokens on the Ethereum
   12 blockchain, the nodes of which reside in the United States, including in California
   13 and this District.
   14         601. OpenSea’s website describes the mechanics of how purchases are
   15 made and how fees are collected and distributed to OpenSea as well as the original
   16 creators of the NFT. According to OpenSea’s Help Center, and consistent with the
   17 experience of Plaintiffs, the buyer is responsible for paying the full item price, a
   18 portion of which (2.5%) is received by OpenSea as its fees.453 In addition to
   19 OpenSea’s fees, buyers pay what are known as “creator earnings” which refer to the
   20 portion of the NFT sale price paid to the original creator of the NFT when the item
   21 moves from wallet to wallet after a purchase. On OpenSea, creator earnings are
   22 either optional or enforced. Pursuant to the OpenSea Help Center, if a purchase
   23 included creator earnings “a portion of the item price you paid will go to the creator
   24
   25   452
             Press Release, SEC Charges Creator of Stoner Cats Web Series for
      Unregistered Offering of NFTs, No. 2023-178, U.S. SEC (Sept. 13, 2023),
   26 https://www.sec.gov/news/press-release/2023-178.
      453
   27        OpenSea     Help    Center,     https://support.opensea.io/hc/en-us/articles/
      14068991090067-What-fees-do-I-pay-on-OpenSea- (last visited Oct. 16, 2023).
   28
                                            224
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 228 of 318 Page ID
                                  #:1581



    1 of the NFT.”454 For the Yuga NFTs, the creator earning fees were enforced and
    2 buyers were charged a 2.5% fee that was paid to Yuga.
    3         602. In connection with their Yuga NFT purchases on OpenSea, Plaintiffs
    4 paid this fee to Yuga. The fee structure described by the OpenSea Help Center is
    5 consistent with the data captured on the Ethereum blockchain for Plaintiffs’
    6 purchases.
    7         603. By way of example, for his Mutant Ape NFT purchase on April 17,
    8 2022, Plaintiff Johnson paid 30 ETH in total. 1.5 ETH of this purchase, or 5%, was
    9 paid in fees. This 5% in fees aligns exactly with OpenSea’s 2.5% fee combined
   10 with Yuga’s 2.5% creator earning royalty.         Thus, 0.75 ETH (approximately
   11 $2,295.21 given eth’s price at the time) was paid to Yuga in connection with this
   12 Yuga NFT purchase. The payment of this fee to Yuga thus places Plaintiff Johnson
   13 in direct privity with Yuga Labs in connection with this transaction.
   14         604. Similarly, in connection with his purchase of the Kennel Club Yuga
   15 NFT, Plaintiff Johnson paid 10.95 ETH in total. 0.27375 ETH of this purchase, or
   16 5%, was paid in fees. This 5% in fees likewise aligns exactly with OpenSea’s 2.5%
   17 fee combined with Yuga’s 2.5% creator royalty.                  Thus, 0.136875 ETH
   18 (approximately $401.54 at the time) was paid to Yuga in connection with this Yuga
   19 NFT purchase. The payment of this fee to Yuga thus places Plaintiff Johnson is in
   20 direct privity with Yuga in connection with this transaction.
   21         605. For his Mutant Ape NFT purchase on August 29, 2021, Plaintiff
   22 Titcher paid a total of 5.3 ETH. 0.265 ETH of this purchase, or 5%, was paid in
   23 fees. This 5% in fees aligns exactly with OpenSea’s 2.5% fee combined with
   24 Yuga’s 2.5% creator royalty. Thus, 0.1325 ETH (approximately $427.35 at the
   25 time) was paid to Yuga in connection with this Yuga NFT purchase. The payment
   26
   27   454
              Id.
   28
                                               225
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 229 of 318 Page ID
                                  #:1582



    1 of this fee to Yuga thus places Plaintiff Titcher in direct privity with Yuga in
    2 connection with this transaction.
    3         606. The creator royalty for the Otherdeed Yuga NFTs was set to 5%. For
    4 his purchase of his Otherdeed Yuga NFT on May 1, 2022, Plaintiff Titcher paid a
    5 total of 6.7 ETH. 0.5025 ETH of this purchase, or 7.5%, was paid in fees. This
    6 7.5% in fees aligns exactly with OpenSea’s 2.5% fee combined with Yuga’s 5%
    7 creator royalty for the Otherdeed NFTs. Thus, 0.335 ETH (approximately $946.72
    8 at the time) was paid to Yuga in connection with this Yuga NFT purchase. The
    9 payment of this fee to Yuga thus places Plaintiff Titcher in direct privity with Yuga
   10 in connection with this transaction.
   11         607. Plaintiffs’ Yuga NFT purchases on OpenSea followed the same pattern
   12 with portions of their respective NFT purchase prices going directly to Yuga in the
   13 form of the enforced creator royalties. Thus, these Plaintiffs are in direct privity
   14 with Yuga for their NFT purchases.
   15         608. Records of absent class members’ transactions on OpenSea and the
   16 concomitant fees paid to Yuga are likewise reflected on the Ethereum blockchain
   17 and can be tracked using a common methodology.
   18         609. Plaintiffs purchased ApeCoin on exchanges located in the United
   19 States, including on Coinbase, which is based in California.               The ApeCoin
   20 purchased by Plaintiffs are ERC-20 tokens on the Ethereum blockchain, nodes of
   21 which reside in the United States, including in California and this District.
   22         610. Yuga released ApeCoin through a series of offshore legal fictions in an
   23 attempt to avoid liability for a blatant ICO of unregistered securities.
   24         611. ApeCoin was created by Yuga and the ApeDAO Special Council and
   25 was provided to US based cryptocurrency exchanges. ApeCoin tokens were lent to
   26 market makers like Alameda Research and Wintermute Trading LTD who provided
   27 liquidity for exchanges where retail investors like Plaintiffs made purchases.
   28
                                                226
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 230 of 318 Page ID
                                  #:1583



    1 Because the tokens were loaned to the market makers, the legal title to the tokens
    2 remained with the token issuers.
    3        612. Plaintiffs purchased their ApeCoin tokens on U.S. based exchanges
    4 like Coinbase. Coinbase’s terms of service disavow that Coinbase pass title to retail
    5 investors on its platform. Coinbase’s terms of service explicitly foreclose the
    6 possibility that, as an exchange facilitating the trading of ApeCoin tokens, Coinbase
    7 took possession of the title to the ApeCoin tokens that were passed to investors who
    8 purchased ApeCoin tokens on Coinbase. Instead, Coinbase positioned itself as a
    9 mechanism for sellers like Yuga, the ApeDAO Special Council, and their market
   10 marking partners to pass title of ApeCoin tokens directly to buyers like Plaintiffs
   11 and other class members.
   12 VII. ADDITIONAL RELIANCE ALLEGATIONS
   13        613. Plaintiffs Smith, Titcher, Grand, Patel, and Palombini saw the
   14 promotions by Sotheby’s and the Company on the lead up to, during, and
   15 immediately following the auction of a lot of BAYC NFTs held on September 9,
   16 2021. These promotions of the auction and the winning bidder being a traditional
   17 art collector, the legitimacy of Yuga and its NFT collections, and the
   18 growth/adoption potential for Yuga Financial Products were a primary factor in
   19 inducing Titcher to make his first purchase of a MAYC NFT on August 29, 2021
   20 and then continue to hold on to that NFT subsequently. Similarly, the Sotheby’s
   21 promotion induced Plaintiff Palombini to make his purchase on April 30, 2021.
   22 Likewise, Smith saw and relied on the representations from Sotheby’s concerning
   23 traditional art collectors when making his purchase of Yuga Financial Products on
   24 March 22, 2022, March 23, 2022, March 24, 2022, May 9, 2022, May 11, 2022, and
   25 July 22, 2022. Smith, Titcher, Grand, Patel, and Palombini are well aware of
   26 Sotheby’s longstanding reputation as one of the premier auction houses in the world
   27 and relied on the representations by the Company and Sotheby’s regarding the
   28
                                               227
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 231 of 318 Page ID
                                  #:1584



    1 auctions’ legitimacy.    Smith, Titcher, Grand, Patel, and Palombini reasonably
    2 believed that the fact that Sotheby’s was conducting an auction of the BAYC NFTs
    3 was a positive indication of the Company’s future growth prospects for the Yuga
    4 Financial Products being offered. In addition to Sotheby’s, Smith, Titcher, Grand,
    5 Patel, Johnson, and Palombini are aware of Rolling Stone magazine and its
    6 reputation as a high-profile publication that acts as a cultural tastemaker, and they
    7 specifically saw the Company’s November 1, 2021 promotion of BAYC NFTs on
    8 the cover of Rolling Stone. Smith, Titcher, Grand, Patel, Johnson, and Palombini
    9 also saw Defendant Oseary’s promotion of the same as being the “First
   10 @RollingStone NFT cover.” These promotions furthered the marketing message
   11 from the Company and its insiders regarding the legitimacy of Yuga and the growth
   12 potential for Yuga Financial Products, and it was a primary factor in inducing
   13 Titcher to continue to hold onto his first purchase of a MAYC NFT as well as to
   14 inducing Smith, Titcher, Grand, Johnson, and Palombini purchase additional Yuga
   15 Financial Products subsequently.      Smith, Titcher, Grand, Patel, Johnson, and
   16 Palombini reasonably believed these promotions to be a validation of the relevancy
   17 and legitimacy of the BAYC NFTs and Yuga as a NFT company with real staying
   18 power.
   19        614. Smith, Titcher, Grand, Johnson, Patel, H. Patel, and Palombini are
   20 aware of Defendant Fallon from his many years as a famous comedian and
   21 television talk show host. Similarly, Smith, Titcher, Grand, Patel and Palombini
   22 know of Defendant Hilton from her years as a reality television star, as well as
   23 being the heiress to the Hilton hotel empires. Titcher followed the social media
   24 accounts of Fallon and Hilton during the Class Period, and he, Smith, Grand, Patel,
   25 H. Patel, and Palombini regularly saw posts from and about Fallon and Hilton on
   26 Twitter via the trending or discovery features of the platform. Smith, Titcher,
   27 Grand, Patel, H. Patel, Johnson, and Palombini were likewise aware of Defendant
   28
                                               228
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 232 of 318 Page ID
                                  #:1585



    1 Winkelmann as being a famous contemporary digital artist. Smith, Titcher, Grand,
    2 Patel, H. Patel, Johnson, and Palombini saw and/or were aware of the first
    3 promotion of the BAYC NFT collection and the statements by Defendants Fallon
    4 and Winkelmann regarding MoonPay during the November 11, 2021 episode of the
    5 Tonight Show, as well as the related promotions by Fallon (November 12, 2021;
    6 November 17, 2021), Winkelmann (November 11, 2021), and MoonPay (November
    7 11, 2021) on their respective Twitter and/or Instagram accounts. Smith, Titcher,
    8 Grand, Patel, Johnson, and Palombini also saw the second promotion of the BAYC
    9 NFT collection and MoonPay occurring during the Tonight Show episode that aired
   10 on January 24, 2022, and the related promotions by Fallon (January 25, 2022),
   11 Hilton (January 24, 2022; January 25, 2022, January 31, 2022), MoonPay (January
   12 24, 2022), and Universal (January 24, 2022). Smith, Titcher, Grand, Patel, and
   13 Palombini reasonably believed that both Fallon and Hilton had purchased BAYC
   14 NFTs (as opposed to being given them in exchange for promoting the Company,
   15 MoonPay, and the Yuga Financial Products). Further, Smith, Titcher, Grand, Patel,
   16 and Palombini reasonably believed that Fallon’s and Hilton’s promotions on the
   17 Tonight Show were vetted and approved by Defendants Universal and EHD, since
   18 these promotions were being aired nationally to millions of viewers during the show
   19 and the Tonight Show’s official social media accounts continued to promote the
   20 segment after the show. These promotions induced Titcher to continue to hold onto
   21 his first purchase of a MAYC NFT as well as inducing Smith, Titcher, Grand, Patel,
   22 H. Patel, and Palombini to purchase additional Yuga Financial Products
   23 subsequently.
   24        615. Smith, Titcher, Grand, Patel, H. Patel, and Palombini are also avid
   25 music listeners, particularly of pop music. Thus, Smith, Titcher, Grand, Patel, H.
   26 Patel, and Palombini have been aware of Defendant Ciccone from her decades of
   27 being a world famous pop star.       Smith, Titcher, Grand, Patel, H. Patel, and
   28
                                              229
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 233 of 318 Page ID
                                  #:1586



    1 Palombini regularly see posts from and about Ciccone on various social media
    2 platforms via the trending or discovery features of the platform. Smith, Titcher,
    3 Grand, Patel, H. Patel, and Palombini specifically saw Ciccone’s March 24, 2022
    4 promotion of Yuga Financial Products and MoonPay, which was also promoted on
    5 MoonPay’s Twitter account on March 24, 2022.           Smith, Titcher, Grand, and
    6 Palombini also saw and relied on Ciccone’s promotional statements in Variety
    7 magazine. These promotions induced Smith and Titcher to continue to hold onto
    8 their first purchases of Yuga Financial Products as well as inducing Smith, Titcher,
    9 Grand, Patel, H. Patel, and Palombini to purchase additional Yuga Financial
   10 Products subsequently, as they reasonably believed that Ciccone’s professed
   11 enthusiasm for the Bored Ape ecosystem and purported use of the MoonPay
   12 concierge service was genuine.
   13        616. Smith, Titcher, Grand, Patel, Palombini, and Johnson similarly know
   14 of Defendants Post and Bieber from their successful careers as pop singers and
   15 often saw posts from and about these two Defendants on social media. Smith and
   16 Palombini specifically saw Post’s November 15, 2021 music video promoting the
   17 sale of BAYC NFTs via MoonPay and MoonPay’s promotion of Post’s video the
   18 same day, and reasonably believed that this video depicted an actual purchase (or
   19 reenacted an actual purchase) of Yuga Financial Products by Post using the
   20 MoonPay service.      This promotion in particular induced Smith to make his
   21 purchases of Yuga Financial Products on March 22, 2022, March 23, 2022, March
   22 24, 2022, May 9, 2022, May 11, 2022, and July 22, 2022; and on April 30, 2022,
   23 May 2, 2022, May 5, 2022, and May 9, 2022, respectively.            And this same
   24 misleading promotion lead Patel to make his first purchase of Yuga Financial
   25 Products on January 20, 2022 and additional purchases throughout the class period.
   26 Defendant Bieber’s promotion induced H. Patel to make his purchases of Yuga
   27 Financial Products on February 8, 2022, March 18, 2022, March 20, 2022, April 23,
   28
                                              230
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 234 of 318 Page ID
                                  #:1587



    1 2022, May 1, 2022, May 9, 2022, August 22, 2022, August 30, 2022, October 13,
    2 2022, and December 20, 2022. Similarly, Smith, Titcher, Johnson, Grand, Patel, H.
    3 Patel, and Palombini specifically saw and relied on the January 31, 2022 promotion
    4 by Defendant Bieber that he had not only purchased a BAYC NFT, but had done so
    5 at price that was significantly above the then-current floor price for BAYC NFTs.
    6 Smith, Titcher, Grand, Johnson, H. Patel, and Palombini also saw Bieber’s February
    7 7, 2022 promotion of the BAYC NFT collection on his personal Twitter account.
    8 Smith, Titcher, Grand, Patel, H. Patel, and Johnson reasonably believed that Bieber
    9 genuinely purchased the BAYC NFTs at such a high price because Bieber
   10 determined that was the true value of the BAYC NFT and was making the purchase
   11 of the BAYC NFT was part of his multimillion-dollar investment strategy. This
   12 promotion in particular induced Titcher to continue to hold onto his first purchase
   13 of a MAYC NFT as well as inducing Smith, Titcher, Palombini, Grand, Patel, H.
   14 Patel, and Johnson to purchase additional Yuga Financial Products when they
   15 otherwise would not have done so.
   16        617. Smith, Titcher, Grand, Patel, H. Patel, and Palombini are keenly aware
   17 of Defendant Broadus from the latter’s multi-decade career as a world-famous
   18 rapper and television personality. Smith, Titcher, Grand, Patel, and Palombini
   19 followed Broadus’ social media accounts during the Class Period. Smith, Titcher,
   20 Grand, Patel, H. Patel, and Palombini specifically saw Broadus’ promotions of the
   21 BAYC NFTs and his Dr. Bombay BAYC NFT in February, May, June, and July of
   22 2022. These promotions, in particular, caused Smith, Titcher, Grand, Patel, H.
   23 Patel, and Palombini to believe in the future growth prospects for the Bored Ape
   24 ecosystem and to induce Titcher to continue to hold onto his first purchase of a
   25 MAYC NFT as well as to induce Smith, Titcher, Grand, Patel, H. Patel, and
   26 Palombini to purchase additional Yuga Financial Products when they otherwise
   27 would not have done so.
   28
                                              231
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 235 of 318 Page ID
                                  #:1588



    1        618. In addition, Smith, Titcher, Grand, Patel, H. Patel, Johnson, and
    2 Palombini are life-long fans of professional sports, particularly basketball. Smith,
    3 Titcher, Grand, Patel, Johnson, and Palombini are aware of Defendant Curry as a
    4 world champion basketball player with significant wealth and influence, Smith,
    5 Titcher, Grand, Patel, H. Patel, Johnson, and Palombini saw Curry’s promotion of
    6 the BAYC NFT collection within the FTX commercial posted on February 18,
    7 2022. Smith, Grand, Patel, and Titcher also saw Curry’s September 2, 2021 post in
    8 the BAYC Discord and believed that Curry’s participation with the BAYC Discord
    9 indicated a genuine interest as opposed to being part of a manipulative promotional
   10 scheme. Smith, Titcher, Grand, Patel, H. Patel, Johnson, and Palombini reasonably
   11 believed that Curry was a legitimate purchaser of BAYC NFTs with a genuine
   12 interest in the Bored Ape ecosystem, and that Curry had made his purchase of the
   13 BAYC NFT as part of his multi-million dollar investment strategy.             These
   14 promotions in particular induced Titcher to continue to hold onto his first purchase
   15 of a MAYC NFT as well as inducing Smith, Titcher, Grand, Patel, H. Patel,
   16 Johnson, and Palombini to purchase additional Yuga Financial Products when they
   17 otherwise would not have done so.
   18        619. The statements and promotions by Defendants Fallon, Winkelmann,
   19 Hilton, Ciccone, Post, Bieber, Broadus, and Curry gave Plaintiffs the false
   20 impression that these celebrities had purchased BAYC NFTs as investors, and that
   21 they were making the Yuga Financial Products a part of their respective
   22 multimillion-dollar investment strategies. Each of these promotions, individually
   23 and collectively, induced Smith to make his purchases of Yuga Financial Products
   24 on March 2, 2022, March 23, 2022, and March 24, 2022; Titcher to make his
   25 purchases of Yuga Financial Products on March 17, 2022, April 29, 2022, and May
   26 1, 2022; Palombini to make his purchases of Yuga Financial Products on April 30,
   27 2022, May 2, 2022, May 5, 2022, and May 9, 2022; Grand to make his purchases
   28
                                              232
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 236 of 318 Page ID
                                  #:1589



    1 on March 20, 2022: Patel to make his purchases from January 20, 2022 through
    2 June 21, 2023; H. Patel to make his purchases of Yuga Financial Products on
    3 February 8, 2022, March 18, 2022, March 20, 2022, April 23, 2022, May 1, 2022,
    4 May 9, 2022, August 22, 2022, August 30, 2022, October 13, 2022, and December
    5 20, 2022; and Johnson to make his purchases of Yuga Financial Products on
    6 February 1, 2022, April 15, 2022, April 17, 2022, April 19, 2022, April 21, 2022,
    7 April 24, 2022, April 26-27, 2022, and April 29, 2022. These promotions also
    8 induced Titcher to continue to hold on to his MAYC NFT investment when he
    9 otherwise would not have done so.
   10        620. Smith, Titcher, Patel, H. Patel, and Palombini saw the promotions by
   11 Defendant Adidas regarding the latter’s collaboration with Yuga on the “adidas
   12 Originals: into the Metaverse (Phase 2)” NFT project. For example, Smith, Titcher,
   13 Patel, and Palombini saw the “ADIDAS X BORED APE YACHT CLUB – INTO
   14 THE METAVERSE” promotional video that was published on the official BAYC
   15 YouTube channel on December 11, 2021, which featured an animated Bored Ape
   16 avatar wearing the trademark Adidas jumpsuit and skydiving into an Adidas logo.
   17 Likewise, Grand and Patel saw and relied on the December 20, 2021 promotion
   18 from Adidas when making his purchases of Yuga Financial Products.          Smith,
   19 Titcher, Patel, and Palombini also specifically saw Adidas’ April 27, 2022
   20 promotion of the same Bored Ape avatar wearing the Adidas jumpsuit with a
   21 BAYC logo on the back. Smith, Titcher, Patel, and Palombini reasonably believed
   22 the joint promotions by the Company and Adidas that suggested the BAYC NFT
   23 collection had become mainstream and that future collaborations with an
   24 established brand like Adidas were imminent. These particular promotions induced
   25 Titcher to make further purchases of Yuga Financial Products on April 30, 2022,
   26 May 2, 2022, May 5, 2022, and May 9, 2022; induced Patel to make his purchases
   27 of Yuga Financial Productions from January 20, 2022 through June 21, 2023;
   28
                                             233
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 237 of 318 Page ID
                                  #:1590



    1 induced Smith to make his purchases of Yuga Financial Products on March 22,
    2 2022, March 23, 2022, March 24, 2022, May 9, 2022, May 11, 2022, and July 22,
    3 2022; H. Patel to make his purchase of Yuga Financial Products on February 8,
    4 2022, March 18, 2022, March 20, 2022, April 23, 2022, May 1, 2022, May 9, 2022,
    5 August 22, 2022, August 30, 2022, October 13, 2022, and December 20, 2022; and
    6 Palombini to make his purchases of Yuga Financial Products on April 30, 2022,
    7 May 2, 2022, May 5, 2022, and May 9, 2022.
    8        621. Smith, Titcher, Grand, Patel, H. Patel, Johnson, and Palombini also
    9 followed the Yuga Twitter account (and related social media accounts controlled by
   10 Yuga and its insiders like the official BAYC (@BoredApeYC), Otherside
   11 (@othersidemeta) accounts), as well as being in the Company’s Discord during the
   12 Class Period and saw the promotions that the Company, Executive Defendants
   13 Aronow     and   Solano,   and/or   ApeDAO      Board   Defendants    posted   (or
   14 approved/caused to be posted) on those platforms. For example, Smith, Titcher,
   15 Johnson, and Palombini saw and relied on the statements by the Company and
   16 Executive Defendants Muniz and Lyons contained in the March 16, 2022 press
   17 release for ApeCoin and the Otherside NFT launch by the Company. Similarly,
   18 Smith, Titcher, Grand, Patel, Johnson, and Palombini saw and relied on the
   19 Company’s March 19, 2022 promotional video for the Otherside NFT collection
   20 when making their subsequent purchases of Yuga Financial Products.             The
   21 misleading statements and omissions within these promotions from the Company
   22 and Executive Defendants Aronow, Solano, Muniz, and Lyons, in conjunction with
   23 the above-mentioned promotions from Defendants Fallon, Winkelmann, Hilton,
   24 Post, Bieber, Ciccone, Broadus, and Curry induced Titcher to purchase Yuga
   25 Financial Products on March 17, 2022, April 29, 2022, and May 1, 2022; induced
   26 Palombini to purchase Yuga Financial Products on April 30, 2022, May 2, 2022,
   27 May 5, 2022, and May 9, 2022; induced Smith to make his purchases of Yuga
   28
                                             234
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 238 of 318 Page ID
                                  #:1591



    1 Financial Products on March 22, 2022, March 23, 2022, March 24, 2022, May 9,
    2 2022, May 11, 2022, and July 22, 2022; induced Grand to purchase Yuga Financial
    3 Products on March 20, 2022; induced Patel to purchase Yuga Financial Products
    4 from January 20, 2022 through June 21, 2023; induced H. Patel to make his
    5 purchases of Yuga Financial Products on February 8, 2022, March 18, 2022, March
    6 20, 2022, April 23, 2022, May 1, 2022, May 9, 2022, August 22, 2022, August 30,
    7 2022, October 13, 2022, and December 20, 2022; and induced Johnson to make his
    8 purchases of Yuga Financial Products on February 1, 2022, April 15, 2022, April
    9 17, 2022, April 19, 2022, April 21, 2022, April 24, 2022, April 26-27, 2022, and
   10 April 29, 2022.
   11        622. Similarly, Smith, Titcher, Grand, Patel, H. Patel, and Johnson followed
   12 the ApeCoin official twitter page (which, upon information and belief, is owned
   13 and/or controlled by the ApeDAO Board Defendants and/or the Company) and saw
   14 the March 16, 2022 promotion introducing ApeCoin tokens to investors and touting
   15 this digital asset as being able to be used for gaming and “commerce.” These
   16 promotions, in addition to the March 16 and March 19 promotions by the Company,
   17 Executive Defendant Muniz and Lyons caused Smith, Titcher, Grand, Patel, and
   18 Johnson to purchase Yuga Financial Products and to continue to hold their
   19 investments in Yuga securities when they otherwise would not have done so.
   20        623. Smith, Titcher, Johnson, Grand, Patel, and Palombini also saw the
   21 statements and promotions from Defendant Aronow that were posted and/or
   22 reposted on various social media platforms. For example, Smith, Titcher, Grand,
   23 Patel, and Johnson saw Defendant Aronow’s August 21, 2021 Twitter post touting
   24 the approximate increase of the BAYC NFTs’ market cap to $1 billion. Smith,
   25 Titcher, Grand, Patel, and Johnson reasonably believed Aronow’s statement
   26 indicated that the price of Yuga Financial Products would continue to rise and that
   27 this increase was the result of genuine investor interest.       These misleading
   28
                                              235
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 239 of 318 Page ID
                                  #:1592



    1 statements and omissions by Aronow induced Smith, Titcher, Grand, Patel,
    2 Johnson, and Palombini to purchase Yuga Financial Products and to continue to
    3 hold their investments in Yuga securities when they otherwise would not have done
    4 so.
    5 VIII. CLASS ACTION ALLEGATIONS
    6         624. Plaintiffs bring this action, individually and on behalf of a nationwide
    7 Class, pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and/or 23(b)(3),
    8 defined as follows:
    9               All persons who, during the Class Period, purchased the Yuga
                    Financial Products and were subsequently damaged thereby.
   10
   11         625. The Class Period is defined as the period between April 24, 2021, and
                      455
   12 October 6, 2023.
   13      626. Excluded from the Class are: (a) Defendants; (b) Defendants’ affiliates,
   14 agents, employees, officers and directors; (c) Plaintiffs’ counsel and Defendants’
   15 counsel; and (d) the judge assigned to this matter, the judge’s staff, and any member
   16 of the judge’s immediate family. Plaintiffs reserve the right to modify, change, or
   17 expand the Class definition set forth above based on discovery and further
   18 investigation.
   19        627. Numerosity: The Class is so numerous that joinder of all members is
   20 impracticable. On December 1, 2022, there were more than 103,000 unique
   21 account holders of Yuga securities.
   22         628. Commonality: Common questions of law and fact exist as to all
   23 members of each Class. These questions predominate over questions affecting
   24 individual Class members. These common legal and factual questions include, but
   25 are not limited to:
   26
        455
   27         Plaintiffs reserve the right to expand or amend the Class Period based on
        discovery produced in this matter.
   28
                                               236
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 240 of 318 Page ID
                                  #:1593



    1               a.     whether the Executive Defendants with the Promoter Defendants
    2 fraudulently marketed the Yuga securities;
    3               b.     whether Executive Defendants conspired to artificially inflate
    4 the price of the Yuga Financial Products and then sell the Yuga securities to
    5 unsuspecting investors;
    6               c.     whether Defendants have been unjustly and wrongfully enriched
    7 as a result of their conduct;
    8               d.     whether the proceeds that the Defendants obtained as a result of
    9 the sale of the Yuga Financial Products rightfully belong to Plaintiffs and Class
   10 members;
   11               e.     whether Defendants should be required to return money they
   12 received as a result of the sale of Yuga Financial Products to Plaintiffs and Class
   13 members; and
   14               f.     whether Plaintiffs and Class members have suffered damages,
   15 and, if so, the nature and extent of those damages.
   16         629. Typicality: Plaintiffs have the same interest in this matter as all Class
   17 members, and Plaintiffs’ claims arise out of the same set of facts and conduct as the
   18 claims of all Class members. Plaintiffs’ and Class members’ claims all arise out of
   19 uniform misrepresentations, omissions, and unlawful, unfair, and deceptive acts and
   20 practices related to the sale of Yuga Financial Products.
   21         630. Adequacy: Plaintiffs have no interests that conflict with the interests
   22 of the Class and are committed to pursuing this action vigorously. Plaintiffs have
   23 retained counsel competent and experienced in complex consumer class action
   24 litigation.   Accordingly, Plaintiffs and their counsel will fairly and adequately
   25 protect the interests of the Class.
   26         631. Superiority: A class action is superior to all other available means of
   27 fair and efficient adjudication of the claims of Plaintiffs and members of the Class.
   28
                                               237
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 241 of 318 Page ID
                                  #:1594



    1 The injury suffered by each individual Class member is relatively small compared
    2 to the burden and expense of individual prosecution of the complex and extensive
    3 litigation necessitated by Defendants’ conduct. It would be virtually impossible for
    4 individual Class members to effectively redress the wrongs done to them. Even if
    5 Class members could afford individualized litigation, the court system could not.
    6 Individualized litigation would increase delay and expense to all parties, and to the
    7 court system, because of the complex legal and factual issues of this case.
    8 Individualized rulings and judgments could result in inconsistent relief for similarly
    9 situated individuals.    By contrast, the class action device presents far fewer
   10 management difficulties, and provides the benefits of single adjudication, economy
   11 of scale, and comprehensive supervision by a single court.
   12         632. Defendants have acted or refused to act on grounds generally
   13 applicable to the Class, thereby making appropriate final injunctive relief and
   14 corresponding declaratory relief with respect to the Class as a whole.
   15 IX.     PRESUMPTION OF RELIANCE
   16         633. Plaintiffs will rely, in part, upon the presumption of reliance
   17 established by the fraud-on-the-market doctrine in that:
   18               (a)   Defendants made public misrepresentations or failed to disclose
   19 material facts during the Class Period;
   20               (b)   the omissions and misrepresentations were material;
   21               (c)   Yuga Financial Products are traded in an efficient market;
   22               (d)   the Yuga Financial Products were liquid and traded with
   23 moderate to heavy volume during the Class Period;
   24               (e)   the Yuga Financial Products traded on various national
   25 cryptocurrency exchanges in the United States;
   26               (f)   the Company was covered by securities analysts;
   27
   28
                                                238
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 242 of 318 Page ID
                                  #:1595



    1                (g)   the misrepresentations and omissions alleged would tend to
    2 induce a reasonable investor to misjudge the value of the Yuga Financial Products;
    3 and
    4                (h)   Plaintiffs and members of the Class purchased, acquired, and/or
    5 sold Yuga Financial Products between the time the Defendants failed to disclose or
    6 misrepresented material facts and the time the true facts were disclosed without
    7 knowledge of the omitted or misrepresented facts.
    8         634. Five factors are typically applied to determine whether a particular
    9 security meets the “efficient market” requirement: (1) whether the security trades at
   10 a high volume; (2) whether analysts follow and report on the security; (3) whether
   11 the security has market makers and arbitrageurs; (4) whether the Company is
   12 eligible to file SEC registration forms S-3; and (5) whether there are empirical facts
   13 showing a cause-and-effect relationship between unexpected corporate events or
   14 financial releases and an immediate response in the stock market.                 See
   15 ScripsAmerica, Inc. v. Ironridge Glob. LLC, No. CV14-03962 MMM(AGRx), 2015
   16 WL 12747908, at *19 (C.D. Cal. Mar. 26, 2015). As discussed more thoroughly
   17 above, these factors weigh in favor of finding that the Yuga securities were traded
   18 in an efficient market. For example, ApeCoin trades a daily average volume of
   19 $183.7M.456 Next, as detailed herein, analysts reported on the Yuga Financial
   20 Products at issue repeatedly throughout the Class Period. Each of these analyst
   21 reports was publicly available to investors.      And the price of Yuga Financial
   22 Products changed in relation to public statements or reports about the activities of
   23 the Company. Indeed, the market price of Yuga securities reacted promptly to the
   24 dissemination of public information regarding the Bored Ape Yacht Club, the
   25 ApeDAO, Yuga Labs, and MoonPay. The Yuga securities also used the Executive
   26
        456
   27          ApeCoin,      BEINCRYPTO        (last    visited    Oct.      16,     2023),
        https://beincrypto.com/price/apecoin/.
   28
                                                239
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 243 of 318 Page ID
                                  #:1596



    1 Defendants and ApeDAO Board Defendants to serve as market makers for Yuga
    2 securities liquidity.    The Defendants also engaged firms like Alameda and
    3 Wintermute to serve as market makers for the Yuga Financial Products’ liquidity.
    4         A.    Common Impact of Artificial Inflation of Prices of Yuga
                    Securities
    5
    6         635. As set forth above, Defendants had a common scheme to artificially
    7 inflate the price of Yuga securities. The prices of all of the Yuga securities were
    8 manipulated by the same misconduct and therefore were subject to the same impact.
    9 The misleading promotions and artificial increase in value of one Yuga security,
   10 such as the BAYC NFTs, had an impact on and carried over to Plaintiffs’ and Class
   11 members’ belief that the other Yuga products (MAYC, ApeCoin and Otherdeed)
   12 marketed by those same defendants would also be successful and increase in price.
   13         636. Defendants jointly marketed the Yuga securities to further enforce
   14 their across-the-board marketing success. Defendants were motivated to maintain
   15 artificially inflated prices for all Yuga securities. The profits of Defendants were
   16 dependent on the 2.5% royalty fee that the Company retained on every resale of a
   17 Yuga NFT.       All of the Yuga securities derive their value entirely from the
   18 usefulness and popularity of the Bored Ape ecosystem, which is in turn highly, if
   19 not entirely, dependent on the perceived technical, entrepreneurial, and managerial
   20 efforts of the Company and Executive Defendants. Plaintiffs and Class members
   21 believed that their purchase of Yuga securities was an investment in a common
   22 enterprise, with an expectation of profits, based upon the efforts of their promoters,
   23 the Defendants.
   24         637. Common impact as to all of the Yuga securities is evident by the fact
   25 that prices of these securities dropped during the same time period as a result of the
   26 same adverse disclosures about the Company.
   27
   28
                                               240
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 244 of 318 Page ID
                                  #:1597



    1 X.      CAUSES OF ACTION
    2                            FIRST CAUSE OF ACTION
    3                 Violation of the California Unfair Competition Law
                                 Cal. Bus. & Prof. Code §17200
    4                       (Based on Unlawful Acts and Practices)
    5                               (Against all Defendants)
    6         638. Plaintiffs restate and reallege all preceding allegations in the
    7 paragraphs above as if fully set forth herein, and further allege the following:
    8         639. Plaintiffs Titcher and Smith are residents of the State of California.
    9         640. Plaintiffs Titcher and Smith paid for or purchased Yuga Financial
   10 Products in California and thus the deceptive transactions alleged herein occurred in
   11 California.
   12         641. At all relevant times there was in full force and effect the California
   13 Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §17200, et seq., which
   14 prohibits, inter alia, “any unlawful, unfair, or fraudulent business act or practice”
   15 and “unfair, deceptive, untrue, or misleading advertising.”
   16         642. “‘[A]n act can be alleged to violate any or all three of the three prongs
   17 of the UCL ‒ unlawful, unfair, or fraudulent.’” Stearns v. Select Comfort Retail
   18 Corp., 763 F. Supp. 2d 1128, 1149 (N.D. Cal. 2010) (quoting Berryman v. Merit
   19 Prop. Mgmt., Inc., 152 Cal. App. 4th 1544, 1554 (2007)).
   20         643. The “unlawful” prong of the UCL prohibits “anything that can
   21 properly be called a business practice and that at the same time is forbidden by
   22 law.” Cel–Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163, 180
   23 (1999). By proscribing “any unlawful” business practice, the UCL permits injured
   24 consumers to “borrow” violations of other laws and treat them as unlawful
   25 competition that is independently actionable.        In other words, an “unlawful”
   26 business practice under the UCL is a practice that violates any other law.
   27
   28
                                                241
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 245 of 318 Page ID
                                  #:1598



    1         644. Any violation of the California false advertising laws (e.g., Cal. Bus. &
    2 Prof. Code §17500) necessarily violates the “unlawful” prong of the UCL.
    3 Likewise, any violations of other state consumer protection laws, such as New York
    4 G.B.L. §349(a); NJSA §§56:81-156 also constitutes a violation of the unlawful
    5 prong of the UCL.
    6         645. To meet the heightened pleading standard of Federal Rule of Civil
    7 Procedure (“Rule”) 9(b) for claims that sound in fraud, plaintiffs must plead “‘the
    8 who, what, when, where, and how’” of the alleged fraud. Vess v. Ciba-Geigy Corp.
    9 USA, 317 F.3d 1097, 1106 (9th Cir. 2003).
   10         646. In order to have standing for a UCL claim, a plaintiff must meet the
   11 injury-in-fact requirement. This requirement is met where a plaintiff can “show
   12 that, by relying on a misrepresentation on a product label, they ‘paid more for a
   13 product than they otherwise would have paid, or bought it when they otherwise
   14 would not have done so.’” Reid v. Johnson & Johnson, 780 F.3d 952, 958 (9th Cir.
   15 2015).     A plaintiff’s claims under this California statute are governed by the
   16 “reasonable consumer” test. Freeman v. Time, Inc., 68 F.3d 285, 289 (9th Cir.
   17 1995) (“‘[T]he false or misleading advertising and unfair business practices claim
   18 must be evaluated from the vantage of a reasonable consumer.’”). Under the
   19 reasonable consumer standard, a plaintiff must “show that ‘members of the public
   20 are likely to be deceived.’” Id. (quoting Bank of the West v. Super. Ct., 2 Cal. 4th
   21 1254, 1267 (1992)).
   22         647. Defendants engaged in deceptive acts and practices under California
   23 law by taking advantage of the lack of knowledge, ability, experience, or capacity
   24 of Plaintiffs to a grossly unfair degree, including but not limited to, in the following
   25 ways:
   26               (a)    knowingly and intentionally misrepresenting that it was not a
   27 traditional art collector but rather the Yuga-affiliated FTX that was the purportedly
   28
                                                242
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 246 of 318 Page ID
                                  #:1599



    1 winning bidder of the Sotheby’s auction and that the entire auction was a scheme to
    2 promote the BAYC NFT collection in order to artificially inflate their price;
    3               (b)   knowingly and intentionally concealing the specific roles and
    4 overlapping ownership and/or financial interests in Yuga and MoonPay by the
    5 Executive Defendants, ApeDAO Board Defendants, and Promoter Defendants
    6 Oseary, Fallon, Winkelmann, Hilton, Post, Ciccone, and Broadus;
    7               (c)   failing to disclose that the promotions by Promoter Defendants
    8 Fallon (with the approval and/or assistance of Defendants Universal and EHD),
    9 Winkelmann, Hilton, Ciccone, Post, Bieber, Broadus, and Curry were the result of
   10 them being paid to promote (or having a vested financial interest in the promotion
   11 of) the Yuga Financial Products instead of an organic interest/support of the Bored
   12 Ape ecosystem;
   13               (d)   knowingly and intentionally using and/or failing to disclose the
   14 use of the Promoter Defendants to instill trust in uninformed investors to promote
   15 the financial benefits of a highly speculative and risky investment in Yuga Financial
   16 Products, in an effort to manipulate and artificially inflate the price and trading
   17 volume of the Yuga Financial Products and allow the Company, Executive
   18 Defendants, and ApeDAO Board Defendants to profit from the sale of Yuga
   19 Financial Products at those inflated prices;
   20               (e)   knowingly and intentionally misrepresenting and/or failing to
   21 disclose that the MoonPay Concierge service promoted by Defendants Soto-Wright,
   22 MoonPay, Oseary, Fallon, Winkelmann, Hilton, Post, Ciccone, and Broadus was
   23 being used as a front for the undisclosed payments from the Executive Defendants
   24 and Defendant Oseary to Promoter Defendants Fallon, Winkelmann, Hilton, Post,
   25 Ciccone, and Broadus in exchange for misleadingly promoting the Yuga Financial
   26 Products to investors; and
   27
   28
                                               243
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 247 of 318 Page ID
                                  #:1600



    1               (f)      failing to disclose that Defendant Adidas was working with
    2 MoonPay and the Company to actively conceal that the promotions from Promoter
    3 Defendants and other non-named celebrity influencers were paid for (as opposed to
    4 a genuine interest).
    5        648. The Company, Sotheby’s, and the Executive Defendants Aronow and
    6   Solano did not disclose that the winning bidder of the Sotheby’s auction was FTX
    7   and not a traditional art collector. Nor did the Company, Executive Defendants, or
    8   ApeDAO Board Defendants disclose that the Promoter Defendants were paid
    9   promoters and/or had overlapping underlying financial interests in Yuga and
   10   MoonPay. Plaintiffs would have found it material to their decisions to purchase
   11   Yuga Financial Products to know whether or not insiders, who were given the
   12   Yuga Financial Products, had the ability to sell those Yuga Financial Products and
   13   create massive downward pressure. Likewise, had Plaintiffs been made aware of
   14   that information at the times of their respective purchases, it would have altered
   15   their decision to both purchase the Yuga Financial Products for the price they paid
   16   as well and hold on to those Yuga Financial Products when they otherwise would
   17   not have done so.
   18        649. The facts that the Defendants misrepresented and concealed were
   19   material to the decisions of Plaintiff Titcher and the members of the Class about
   20   whether to pay for or purchase Yuga Financial Products (at all or for the price they
   21   paid), in that they would not have proceeded with their transactions but for the
   22   deceptive, fraudulent, and false acts and practices.
   23        650. Upon making a statement of fact regarding the winning bidder of the
   24   Sotheby’s auction, this gave rise to a duty to disclose that information, and by
   25   failing to disclose that information, Defendants are liable for a UCL fraud by
   26   omission claim. See In re Carrier IQ, Inc., 78 F. Supp. 3d 1051, 1113-14 (N.D.
   27   Cal. 2015) (“Finally, Plaintiffs have alleged that the information regarding the
   28
                                                244
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 248 of 318 Page ID
                                  #:1601



    1   Carrier IQ Software was in the exclusive knowledge of Defendants.             These
    2   allegations are sufficient to plausibly allege that Defendants had exclusive
    3   knowledge of a material fact that they had a duty to disclose but chose to omit.”);
    4   see also In re Solara Med. Supplies, LLC Customer Data Sec. Breach Litig., 613 F.
    5   Supp. 3d 1284, 1303 (S.D. Cal. 2020) (finding that the plaintiffs adequately alleged
    6   a fraudulent omission UCL claim where they pled “a duty to disclose based upon
    7   [d]efendant’s exclusive knowledge of the alleged inadequacy of its security
    8   measures”).
    9        651. For example, the Company’s misleading statements and omissions
   10   concerning the ability to use Yuga Financial Products and their related intellectual
   11   property rights relate to “‘the central functionality of the product,’” which is
   12   required to plead a fraud by omission claim under the UCL. See Hall v. SeaWorld
   13   Ent., Inc., 747 F. App’x 449, 451 (9th Cir. 2018) (citing Hodsdon v. Mars, Inc.,
   14   891 F.3d 857, 863 (9th Cir. 2018)). The omissions about the intellectual property
   15   rights given to investors in the BAYC, MAYC, and BAKC NFT collections, as
   16   well as the omissions concerning the ability to use ApeCoin and virtual land in the
   17   Otherside, were only known to Executive Defendants and were contrary to
   18   representations and omissions previously made concerning the ability to use Yuga
   19   Financial Products to purchase goods and services.
   20        652. Further Defendants, collectively and individually, had superior
   21   knowledge of information regarding the ownership interests and ability to use the
   22   Yuga Financial Products as advertised. The fact that the Promoter Defendants had
   23   undisclosed financial interests in Yuga and MoonPay was not known to Plaintiffs
   24   Titcher and Smith or the members of the Class when each was respectively
   25   deciding whether or not to purchase Yuga Financial Products, as this information
   26   was in the exclusive possession of the Company, Executive Defendants, and
   27   ApeDAO Board Defendants.
   28
                                               245
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 249 of 318 Page ID
                                  #:1602



    1        653. To state a claim for active concealment, a plaintiff must allege specific
    2   “‘affirmative acts on the part of the [D]efendants in hiding, concealing or covering
    3   up the matters complained of.’” Herron v. Best Buy Co. Inc., 924 F. Supp. 2d
    4   1161, 1176 (E.D. Cal. 2013) (citing Lingsch v. Savage, 213 Cal. App. 2d 729, 734
    5   (1963)).   Here, the Company and Executive Defendants used their business
    6   associate Defendant Oseary to act as a middleman between the public and the
    7   Company’s founders in order to actively conceal the true nature of the Promoter
    8   Defendants’ business relationships with the Company, MoonPay, and the insiders
    9   of both.
   10        654. Defendants intended for Plaintiffs Titcher and Smith and the members
   11   of the Class to pay for Yuga Financial Products in reliance upon the deceptive and
   12   fraudulent acts and practices described herein.
   13        655. Had any of the Defendants disclosed the omitted information, Plaintiffs
   14   Titcher and Smith would have been aware of it because (a) he saw the actual
   15   promotions by Promoter Defendants Sotheby’s, Fallon, Winkelman, Hilton, Post,
   16   Bieber, Ciccone, Broadus, Curry, and Adidas, and would have concurrently seen
   17   any disclosure on the promotions themselves had it been included, and (b) they
   18   follow, directly or indirectly, the social media accounts of, and news reports on,
   19   Defendants Sotheby’s, Fallon, Hilton, Post, Bieber, Broadus, Curry, and Adidas.
   20        656. As a direct and proximate result of Defendants’ unlawful, unfair, and
   21   deceptive practices, Plaintiffs and Class members suffered damages.             The
   22   Executive Defendants’ activities with the Promoter Defendants caused Plaintiffs
   23   and the Class members to purchase and/or hold the Yuga Financial Products when
   24   they otherwise would not have done so.
   25        657. The statements from Executive Defendants and Promoter Defendants
   26   Sotheby’s, Fallon, Hilton, Post, Bieber, and Broadus are actionable and not
   27   puffery.   “‘The distinguishing characteristics of puffery are vague, highly
   28
                                                246
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 250 of 318 Page ID
                                  #:1603



    1   subjective claims as opposed to specific, detailed factual assertions.’” Orlick v.
    2   Rawlings Sporting Goods Co., No. CV 12-6787-GHK (RZX), 2013 WL 12139142,
    3   at *5 (C.D. Cal. Feb. 20, 2013). Under California law, there is no requirement that
    4   for a statement to be actionable it must also be false ‒ the UCL also prohibits
    5   “‘advertising which, although true, is either actually misleading or which has a
    6   capacity, likelihood or tendency to deceive or confuse the public.’” Williams v.
    7   Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008). Significantly, even if
    8   certain statements would be non-actionable on their own, where there are multiple
    9   statements at issue, courts must consider “as a whole.” Id. at 939 n.3; Lima v.
   10   Gateway, Inc., 710 F. Supp. 2d 1000, 1007-08 (C.D. Cal. 2010) (denying motion to
   11   dismiss where some specific representations could be considered puffery, but all of
   12   defendants’ statements “taken as a whole” might be actionable); In re NJOY, Inc.
   13   Consumer Class Action Litig., No. CV 14-00428 MMM (JEMx), 2015 WL
   14   12732461, at *10 (C.D. Cal. May 27, 2015) (“‘Even assuming . . . that some of the
   15   statements would themselves be non-actionable, they “cannot be considered in
   16   isolation because they contribute to the [potentially] deceptive context” of the
   17   packaging and marketing “as a whole.”‘”) (alteration in original).
   18        658. For example, Executive Defendant Aronow’s August 21, 2021 post
   19   stated that the BAYC NFT collection had over a billion dollars in market
   20   capitalization. This statement from Aronow is a specific, detailed factual assertion
   21   the Executive Defendants were using to encourage purchases and increase the price
   22   of the Yuga Financial Products. At the same time, Aronow failed to disclose that
   23   these metrics were the result of conduct by the Executive Defendants that allowed
   24   insiders to disproportionately increase investments in the Yuga Financial Products.
   25        659. Taken together, the misleading statements and omissions of the
   26   Defendants contributed to the deceptive marketing tactics as a whole, which were
   27   used to solicit sales of Yuga Financial Products.
   28
                                                247
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 251 of 318 Page ID
                                  #:1604



    1        660. In the event that Plaintiffs’ securities and consumer law claims are
    2   found to be inapplicable to the wrongdoing alleged herein against Defendants,
    3   Plaintiffs will be unable to obtain monetary damages in an amount that would
    4   make Plaintiffs and the members of the Class whole.
    5        661. In addition, Plaintiffs Titcher and Smith and the Class lack an adequate
    6   remedy at law because the elements of the other state securities and consumer law
    7   claims require proof of conduct beyond that which must be shown to establish
    8   liability under the UCL and FAL. See M.O. Dion & Sons, Inc. v. VP Racing Fuels,
    9   Inc., No. CV 19-5154-MWF (SSX), 2022 WL 18281526, at *8 (C.D. Cal. Nov. 2,
   10   2022).
   11        662. The lack of an adequate remedy at law entitles Plaintiffs and the Class
   12   to pursue equitable restitution under the UCL.
   13        663. Concurrently, “restitution under the . . . UCL would be more certain,
   14   prompt, or efficient than the legal remedies” available with state securities and
   15   consumer law claims. See Anderson v. Apple Inc., 500 F. Supp. 3d 993, 1009
   16   (N.D. Cal. 2020) (citing Am. Life Ins. Co. v. Stewart, 300 U.S. 203, 214 (1937)).
   17   For example, the price premium damages model will likely require expert analysis
   18   to calculate, whereas equitable restitution will only require a showing of what each
   19   member of the Class paid for their Yuga Financial Products. Restitution would,
   20   therefore, be much more prompt and efficient than this remedy at law.
   21        664. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
   22   or practices by Defendants, to obtain restitution and disgorgement of all monies
   23   generated as a result of such practices, and for all other relief allowed under Cal.
   24   Bus. & Prof. Code §17200.
   25
   26
   27
   28
                                               248
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 252 of 318 Page ID
                                  #:1605



    1                           SECOND CAUSE OF ACTION
                      Violation of the California Unfair Competition Law
    2
                                 Cal. Bus. & Prof. Code §17200
    3                         (Based on Unfair Acts and Practices)
                                    (Against All Defendants)
    4
    5        665. Plaintiffs restate and reallege all preceding allegations in the
    6 paragraphs above as if fully set forth herein, and further allege the following:
    7       666. Plaintiffs Titcher and Smith are residents of the State of California.
    8        667. Plaintiffs Titcher and Smith paid for or purchased Yuga Financial
    9 Products in California and thus the deceptive transactions alleged herein occurred in
   10 California.
   11        668. At all relevant times there was in full force and effect the California
   12 Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §17200, et seq., which
   13 prohibits, inter alia, “any unlawful, unfair, or fraudulent business act or practice”
   14 and “unfair, deceptive, untrue, or misleading advertising.”
   15       669. “‘[A]n act can be alleged to violate any or all three of the three prongs
   16 of the UCL ‒ unlawful, unfair, or fraudulent.’” Stearns, 763 F. Supp. 2d at 1149
   17 (quoting Berryman, 152 Cal. App. 4th at 1554).
   18        670. Defendants engaged in business acts and practices deemed “unfair”
   19 under the UCL, because of the conduct, statements, and omissions described above.
   20 Unfair acts under the UCL have been interpreted using different tests, including:
   21 (1) whether the public policy which is a predicate to a consumer unfair competition
   22 action under the unfair prong of the UCL is tethered to specific constitutional,
   23 statutory, or regulatory provisions; (2) whether the gravity of the harm to the
   24 consumer caused by the challenged business practice outweighs the utility of the
   25 defendant’s conduct; and (3) whether the consumer injury is substantial, not
   26 outweighed by any countervailing benefits to consumers or competition, and is an
   27 injury that consumers themselves could not reasonably have avoided.
   28
                                               249
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 253 of 318 Page ID
                                  #:1606



    1         671. Defendants have engaged in, and continue to engage in, conduct that
    2 violates the legislatively declared policies of: (1) California Civil Code
    3 §§1572,1573, 1709, 1710, 1711 against committing fraud and deceit; (2) California
    4 Civil Code §1770 against committing acts and practices intended to deceive
    5 consumers regarding the representation of goods in certain particulars; and (3) the
    6 Federal Tort Claims Act (“FTCA”), 15 U.S.C. §45(a)(1), against unfair or deceptive
    7 practices.   Defendants gain an unfair advantage over their competitors, whose
    8 practices relating to other similar products must comply with these laws.
    9         672. Defendants’ affirmative acts in soliciting sales of Yuga Financial
   10 Products are unfair within the meaning of the UCL, because they constituted
   11 immoral, unethical, oppressive, and unscrupulous activity, caused substantial injury
   12 to consumers, and provided no benefit to consumers or competition.
   13         673. The gravity of the harm to consumers caused by actions of Defendants
   14 far outweighs the utility of their conduct. According to a “Data Spotlight” from the
   15 Federal Trade Commission from June 3, 2022 (the “FTC Data Spotlight”), entitled:
   16 “Reports show scammers cashing in on crypto craze,” “[s]ince the start of 2021,
   17 more than 46,000 people have reported losing over $1 billion in crypto to scams –
   18 that’s about one out of every four dollars reported lost, more than any other
   19 payment method. The median individual reported loss? A whopping $2,600.”457
   20         674. The FTC Data Spotlight further stated that “[r]eports point to social
   21 media and crypto as a combustible combination for fraud. Nearly half the people
   22 who reported losing crypto to a scam since 2021 said it started with an ad, post, or
   23 message on a social media platform.”458 Furthermore, “[d]uring this period, nearly
   24
        457
            Emma Fletcher, Data Spotlight: Reports show scammers cashing in on
   25 crypto craze, FED. TRADE COMM’N (June 3, 2022), https://www.ftc.gov/news-
      events/data-visualizations/data-spotlight/2022/06/reports-show-scammers-cashing-
   26 crypto-craze.
   27   458
              Id. (“From January 1, 2021 through March 31, 2022, 49% of fraud reports to
        the FTC indicating cryptocurrency as the payment method specified that the scam
   28
                                               250
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 254 of 318 Page ID
                                  #:1607



    1 four out of every ten dollars reported lost to a fraud originating on social media was
    2 lost in crypto, far more than any other payment method.”459 Of the reported crypto
    3 fraud losses that began on social media, most are investment scams.460 Indeed,
    4 since 2021, $575 million of all crypto fraud losses reported to the FTC were about
    5 bogus investment opportunities, far more than any other fraud type. Defendants
    6 engaged in the exact kind of bogus crypto “investment opportunity” scam that the
    7 FTC Data Spotlight reported on as causing hundreds of millions (and rising) of
    8 dollars of damage to investors.
    9         675. The conduct of Defendants – including, but not limited to, failing to
   10 disclose that (1) it was not a traditional art collector but rather the Yuga-affiliated
   11 FTX that was the purportedly winning bidder of the Sotheby’s auction and that the
   12 entire auction was a scheme to promote the BAYC NFT collection in order to
   13 artificially inflate their price; (2) the promotions by Promoter Defendants Fallon
   14 (with the approval and/or assistance of Defendants Universal and EHD),
   15 Winkelmann, Hilton, Ciccone, Post, Bieber, Broadus, and Curry were the result of
   16 them being paid to promote (or had a vested financial interest in the promotion of)
   17 the Yuga Financial Products instead of an organic interest/support of the Bored Ape
   18 ecosystem; (3) the MoonPay Concierge service promoted by Defendants Soto-
   19 Wright, MoonPay, Oseary, Fallon, Winkelmann, Hilton, Post, Ciccone, and
   20 Broadus was not the legitimate service described by them, but rather a vehicle by
   21 which the Executive Defendants and Defendant Oseary made undisclosed payments
   22
      started on social media, compared to 37% in 2020, 18% in 2019, and 11% in
   23 2018.”).
   24   459
              Id. (“From January 1, 2021 through March 31, 2022, $1.1 billion was
        reported to the FTC as lost to fraud originating on social media.”).
   25
        460
            Id. (“From January 1, 2021 through March 31, 2022, people reported to the
   26 FTC that $417 million in cryptocurrency was lost to fraud originating on social
      media. $273 million of these losses were to fraud categorized as investment related,
   27 followed by romance scams ($69 million), and business imposters ($35 million).”).
   28
                                                251
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 255 of 318 Page ID
                                  #:1608



    1 to Promoter Defendants Fallon, Winkelmann, Hilton, Post, Ciccone, and Broadus in
    2 exchange for misleadingly promoting the Yuga Financial Products to investors; (4)
    3 Defendant Adidas had conspired with the Company and MoonPay to facilitate the
    4 Yuga promoter payments and then conceal such conduct afterwards; and (5)
    5 Executive Defendants and ApeDAO Board Defendants held a significant portion of
    6 the Float at the time of the ApeCoin token launch and thus, could (and did) create
    7 massive downward pressure on the price of ApeCoin tokens by freely selling their
    8 allocations to investors – was and is substantially injurious to consumers. Such
    9 conduct has caused, and continues to cause, substantial injury to consumers because
   10 consumers would not have continued with the transaction but for the deceptive,
   11 fraudulent, false, and unfair acts and practices alleged herein. For example, the
   12 Company and Executive Defendant Shoemaker continue to rely on the deceptive
   13 celebrity promotions described herein to further solicit sales of the Yuga Financial
   14 Products. On March 23, 2023, the Company posted a second-year anniversary
   15 video that contained a montage of the deceptive promotions at issue here and of the
   16 Promoter Defendants engaging in the same misconduct as occurred during the Class
   17 Period. Shoemaker, once again, amplified the misleading Yuga promotions on her
   18 personal Twitter account, reposting the anniversary video and stating that she was
   19 “Super proud of everything this company and super epic community have achieved
   20 in such a short time. Can’t wait to see what’s still to come 🚀 keep slaying BAYC
   21 fam 🔥.” 461
   22         676. Consumers have overpaid for Yuga Financial Products and the injury
   23 alleged herein is not outweighed by any countervailing benefits to consumers or
   24 competition.    Indeed, no benefit to consumers or competition results from the
   25 alleged conduct of Defendants.         Since consumers reasonably rely on the
   26
        461
   27          Jasmine Shoemaker (@SodaOps), TWITTER (Apr. 23, 2022 2:15 PM),
        https://twitter.com/SodaOps/status/1650201780939259904?s=20.
   28
                                              252
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 256 of 318 Page ID
                                  #:1609



    1 representations, and could not have known about the omitted disclosures, and the
    2 injury results from ordinary use of their product, consumers could not have
    3 reasonably avoided such injury.
    4         677. Defendants willfully and knowingly engaged in the deceptive and
    5 unfair acts and practices described above and knew or should have known that those
    6 acts and practices were unlawful and thus in violation of Cal. Bus. & Prof. Code
    7 §17200, et seq.
    8         678. These particular facts that each Defendant omitted and concealed were
    9 material to the decisions of Plaintiff Titcher and the members of the Class about
   10 whether to pay for Yuga Financial Products, in that they would not have proceeded
   11 with the transaction but for the deceptive and unfair acts and practices.
   12         679. Defendants’ conduct harmed competition.           While the Company,
   13 Executive Defendants, and ApeDAO Board Defendants cut corners and minimized
   14 costs, their competitors spent the time and money necessary to promote financial
   15 products and/or digital assets that complied with the applicable state and federal
   16 laws.    Further, the injuries suffered by Plaintiffs are not outweighed by any
   17 countervailing benefits to consumers or competition. And because Defendants are
   18 solely responsible for their respective promotional activities and related disclosures
   19 (or lack thereof), there is no way Plaintiff Titcher, or the members of the Class
   20 could have known about the payments that Promoter Defendants received for
   21 pretending that they were interested in the BAYC NFT collection of the Bored Ape
   22 ecosystem. There were reasonably available alternatives to further Yuga’s and
   23 MoonPay’s legitimate business interests, such as including disclaimers, other than
   24 the conduct alleged herein.
   25         680. In order to have standing for a UCL claim, a plaintiff must meet the
   26 injury-in-fact requirement. This requirement is met where a plaintiff can “show
   27 that, by relying on a misrepresentation on a product label, they ‘paid more for a
   28
                                                253
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 257 of 318 Page ID
                                  #:1610



    1 product than they otherwise would have paid, or bought it when they otherwise
    2 would not have done so.’” Reid, 780 F.3d at 958. A plaintiff’s claims under this
    3 California statute are governed by the “reasonable consumer” test. Freeman, 68
    4 F.3d at 289 (“‘[T]he false or misleading advertising and unfair business practices
    5 claim must be evaluated from the vantage of a reasonable consumer.’”). Under the
    6 reasonable consumer standard, a plaintiff must “show that ‘members of the public
    7 are likely to be deceived.’” Id. (quoting Bank of the West, 2 Cal. 4th at 1267).
    8         681. To meet the heightened pleading standard of Rule 9(b) for claims that
    9 sound in fraud, plaintiffs must plead “‘the who, what, when, where, and how’” of
   10 the alleged fraud. Vess, 317 F.3d at 1106.
   11         682. Defendants engaged in deceptive acts and practices under California
   12 law by taking advantage of the lack of knowledge, ability, experience, or capacity
   13 of Plaintiffs to a grossly unfair degree, including but not limited to, in the following
   14 ways:
   15         (a)   knowingly and intentionally misrepresenting that it was not a
   16 traditional art collector but rather the Yuga-affiliated FTX that was the purportedly
   17 winning bidder of the Sotheby’s auction and that the entire auction was a scheme to
   18 promote the BAYC NFT collection in order to artificially inflate their price;
   19         (b)   knowingly and intentionally concealing the specific roles and
   20 overlapping ownership and/or financial interests in Yuga and MoonPay by the
   21 Executive Defendants, ApeDAO Board Defendants, and Promoter Defendants
   22 Oseary, Fallon (with the approval and/or assistance of Defendants Universal and
   23 EHD), Winkelmann, Hilton, Post, Ciccone, and Broadus;
   24         (c)   failing to disclose that the promotions by Promoter Defendants Fallon
   25 (with the approval and/or assistance of Defendants Universal and EHD),
   26 Winkelmann, Hilton, Ciccone, Post, Bieber, Broadus, and Curry were the result of
   27 them being paid to promote (or having a vested financial interest in the promotion
   28
                                                254
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 258 of 318 Page ID
                                  #:1611



    1 of) the Yuga Financial Products instead of an organic interest/support of the Bored
    2 Ape ecosystem;
    3         (d)   knowingly and intentionally using and/or failing to disclose the use of
    4 the Promoter Defendants to instill trust in uninformed investors to promote the
    5 financial benefits of a highly speculative and risky investment in Yuga Financial
    6 Products, in an effort to manipulate and artificially inflate the price and trading
    7 volume of the Yuga Financial Products and allow the Company, Executive
    8 Defendants, and ApeDAO Board Defendants to profit from the sale of Yuga
    9 Financial Products at those inflated prices;
   10         (e)   knowingly and intentionally misrepresenting and/or failing to disclose
   11 that the MoonPay Concierge service promoted by Defendants Soto-Wright,
   12 MoonPay, Oseary, Fallon, Winkelmann, Hilton, Post, Ciccone, and Broadus was
   13 being used as a front for the undisclosed payments from the Executive Defendants
   14 and Defendant Oseary to Promoter Defendants Fallon, Winkelmann, Hilton, Post,
   15 Ciccone, and Broadus in exchange for misleadingly promoting the Yuga Financial
   16 Products to investors; and
   17         (f)   failing to disclose that Defendant Adidas had conspired with the
   18 Company and MoonPay to facilitate the Yuga promoter payments and then conceal
   19 such conduct afterwards.
   20         683. The facts that Defendants misrepresented and concealed were material
   21 to the decisions of Plaintiffs Titcher and Smith and the members of the Class about
   22 whether to pay for or purchase Yuga Financial Products (at all or for the price they
   23 paid), in that they would not have proceeded with their transactions but for the
   24 deceptive, fraudulent, and false acts and practices.
   25         684. Defendants intended for Plaintiffs Titcher and Smith and the members
   26 of the Class to pay for Yuga Financial Products in reliance upon their deceptive and
   27 fraudulent acts and practices.
   28
                                                255
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 259 of 318 Page ID
                                  #:1612



    1        685. Had any of the Defendants disclosed the omitted information, Plaintiffs
    2 would have been aware of it because (a) they saw the actual promotions by
    3 Promoter Defendants Sotheby’s, Fallon (with the approval and/or assistance of
    4 Defendants Universal and EHD), Hilton, Post, Bieber, Broadus, Curry, and Adidas,
    5 and would have concurrently seen any disclosure on the promotions themselves had
    6 it been included; and (b) they follow, directly or indirectly, the social media
    7 accounts of, and news reports on, the Company and its affiliated social media
    8 accounts and Defendants Sotheby’s, Fallon, Hilton, Post, Bieber, Broadus, Curry,
    9 and Adidas.
   10        686. As a direct and proximate result of Defendants’ unlawful, unfair, and
   11 deceptive practices, Plaintiffs and Class members suffered damages. The activities
   12 of Executive Defendants, ApeDAO Board Defendants, with Defendants MoonPay,
   13 Soto-Wright, and the Promoter Defendants caused Plaintiffs and the Class members
   14 to purchase and/or hold the Yuga Financial Products when they otherwise would
   15 not have done so.
   16        687. The statements from Executive Defendants and Promoter Defendants
   17 Sotheby’s, Fallon (with the approval and/or assistance of Defendants Universal and
   18 EHD), Winkelmann, Hilton, Post, Bieber, Broadus, and Curry are actionable and
   19 not puffery.    “‘The distinguishing characteristics of puffery are vague, highly
   20 subjective claims as opposed to specific, detailed factual assertions.’” Orlick v.
   21 Rawlings Sporting Goods Co., No. CV 12-6787-GHK (RZX), 2013 WL 12139142,
   22 at *5 (C.D. Cal. Feb. 20, 2013). Under California law, there is no requirement that
   23 for a statement to be actionable it must also be false ‒ the UCL also prohibits
   24 “‘advertising which, although true, is either actually misleading or which has a
   25 capacity, likelihood or tendency to deceive or confuse the public.’” Williams v.
   26 Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008). Significantly, even if certain
   27 statements would be non-actionable on their own, where there are multiple
   28
                                              256
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 260 of 318 Page ID
                                  #:1613



    1 statements at issue, courts must consider “as a whole.” Id. at 939 n.3; Lima v.
    2 Gateway, Inc., 710 F. Supp. 2d 1000, 1007-08 (C.D. Cal. 2010) (denying motion to
    3 dismiss where some specific representations could be considered puffery, but all of
    4 defendants’ statements “taken as a whole” might be actionable); In re NJOY, Inc.
    5 Consumer Class Action Litig., No. CV 14-00428 MMM (JEMx), 2015 WL
    6 12732461, at *10 (C.D. Cal. May 27, 2015) (“‘Even assuming . . . that some of the
    7 statements would themselves be non-actionable, they “cannot be considered in
    8 isolation because they contribute to the [potentially] deceptive context” of the
    9 packaging and marketing “as a whole.”‘”) (alteration in original).
   10        688. For example, Executive Defendant Aronow’s August 21, 2021 post
   11 stated that the BAYC NFT collection had over a billion dollars in market
   12 capitalization. This statement from Aronow is a specific, detailed factual assertion
   13 the Executive Defendants were using to encourage purchases and increase the price
   14 of the Yuga Financial Products. At the same time, Aronow failed to disclose that
   15 these metrics were the result of conduct by the Executive Defendants that allowed
   16 insiders to disproportionately increase investments in the Yuga Financial Products.
   17        689. Taken together, the misleading statements and omissions of the
   18 Defendants contributed to the deceptive marketing tactics as a whole, which were
   19 used to solicit sales of Yuga Financial Products.
   20        690. In the event that Plaintiffs’ securities and consumer law claims are
   21 found to be inapplicable to the wrongdoing alleged herein against Defendants,
   22 Plaintiffs will be unable to obtain monetary damages in an amount that would make
   23 Plaintiffs and the members of the Class whole.
   24        691. In addition, Plaintiffs and the Class lack an adequate remedy at law
   25 because the elements of the other state securities and consumer law claims require
   26 proof of conduct beyond that which must be shown to establish liability under the
   27
   28
                                               257
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 261 of 318 Page ID
                                  #:1614



    1 UCL and FAL. See M.O. Dion & Sons, Inc. v. VP Racing Fuels, Inc., No. CV 19-
    2 5154-MWF (SSX), 2022 WL 18281526, at *8 (C.D. Cal. Nov. 2, 2022).
    3         692. The lack of an adequate remedy at law entitles Plaintiffs and the Class
    4 to pursue equitable restitution under the UCL.
    5         693. Concurrently, “restitution under the . . . UCL would be more certain,
    6 prompt or efficient than the legal remedies” available with state securities and
    7 consumer law claims. See Anderson, 500 F. Supp. 3d at 1009 (citing Stewart, 300
    8 U.S. at 214). For example, the price premium damages model will likely require
    9 expert analysis to calculate, whereas equitable restitution will only require a
   10 showing of what each member of the Class paid for their Yuga Financial Products.
   11 Restitution would, therefore, be much more prompt and efficient than this remedy
   12 at law.
   13         694. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
   14 or practices by Defendants, to obtain restitution and disgorgement of all monies
   15 generated as a result of such practices, and for all other relief allowed under
   16 California Business & Professions Code §17200.
   17                            THIRD CAUSE OF ACTION
                      Violation of the California Unfair Competition Law
   18
                                 Cal. Bus. & Prof. Code §17200
   19                      (Based on Fraudulent Acts and Practices)
                                    (Against All Defendants)
   20
   21         695. Plaintiffs restate and reallege all preceding allegations in the
   22 paragraphs above as if fully set forth herein, and further allege the following:
   23       696. Plaintiffs Titcher and Smith are residents of the State of California.
   24         697. Plaintiffs Titcher and Smith paid for or purchased Yuga Financial
   25 Products in California and thus the deceptive transactions alleged herein occurred in
   26 California.
   27
   28
                                                258
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 262 of 318 Page ID
                                  #:1615



    1         698. At all relevant times there was in full force and effect the California
    2 Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §17200, et seq., which
    3 prohibits, inter alia, “any unlawful, unfair, or fraudulent business act or practice”
    4 and “unfair, deceptive, untrue, or misleading advertising.”
    5         699. “‘[A]n act can be alleged to violate any or all three of the three prongs
    6 of the UCL ‒ unlawful, unfair, or fraudulent.’” Stearns, 763 F. Supp. 2d at 1149
    7 (quoting Berryman, 152 Cal. App. 4th at 1554).
    8         700. Any violation of the California false advertising laws (e.g., §17500)
    9 necessarily violates the “fraudulent” prong of the UCL.
   10         701. To meet the heightened pleading standard of Rule 9(b) for claims that
   11 sound in fraud, plaintiffs must plead “‘the who, what, when, where, and how’” of
   12 the alleged fraud. Vess, 317 F.3d at 1106.
   13         702. In order to have standing under California law for a UCL claim, a
   14 plaintiff must meet the injury-in-fact requirement. This requirement is met where a
   15 plaintiff can “show that, by relying on a misrepresentation on a product label, they
   16 ‘paid more for a product than they otherwise would have paid, or bought it when
   17 they otherwise would not have done so.’” Reid, 780 F.3d at 958.
   18         703. A plaintiff’s claims under this California statute are governed by the
   19 “reasonable consumer” test. Freeman, 68 F.3d at 289 (“‘[T]he false or misleading
   20 advertising and unfair business practices claim must be evaluated from the vantage
   21 of a reasonable consumer.’”). Under the reasonable consumer standard, a plaintiff
   22 must “show that ‘members of the public are likely to be deceived.’” Id. at 289
   23 (quoting Bank of the West, 2 Cal. 4th at 1267).
   24         704. Nondisclosure or concealment may also constitute actionable fraud
   25 when, inter alia, the defendant “actively conceals a material fact from the plaintiff”
   26 or “makes partial representations but also suppresses some material facts.”
   27 LiMandri v. Judkins, 52 Cal. App. 4th 326, 336 (1997). In fact, allegations of
   28
                                               259
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 263 of 318 Page ID
                                  #:1616



    1 “intentional and systematic concealment by the defendants of highly material facts,
    2 which were peculiarly within their knowledge and which [plaintiffs] did not suspect
    3 and could not have discovered” satisfactorily pleads a claim of fraud by omission.
    4 See Sime v. Malouf, 95 Cal. App. 2d 82, 99-100 (1949) (finding “significant” that
    5 defendants “concealed their identity by proceeding entirely through agents acting
    6 ostensibly in their own behalf”).
    7         705. Further, a fraud by omission claim exists when “defendants not only
    8 had exclusive knowledge of the material facts, but knew that [plaintiff] was acting
    9 under a misapprehension, which they had cultivated.” Id. at 100 (citing Stewart v.
   10 Wyoming Cattle-Ranch Co., 128 U.S. 383, 388 (1888)); Myers v. BMW of N. Am.,
   11 LLC, No. 16-CV-00412-WHO, 2016 WL 5897740, at *5 (N.D. Cal. Oct. 11, 2016)
   12 (finding a duty to disclose where defendant had exclusive knowledge of a product
   13 defect and made a partial representation about it and denying dismissal of UCL
   14 claim under fraud by omission theory).
   15         706. “‘Generally, courts have not defined “exclusive” literally, but have
   16 found such claims cognizable if the defendant had “superior” knowledge of a defect
   17 that was not readily apparent and there is no or only . . . limited publicly available
   18 information about the defect.’” Mosqueda v. Am. Honda Motor Co., Inc., 443 F.
   19 Supp. 3d 1115, 1133 (C.D. Cal. 2020) (quoting Salas v. Toyota Motor Sales, U.S.A.,
   20 Inc., No. CV 15-08629 FMO, 2016 WL 7486600, at *10 (C.D. Cal. Sept. 27,
   21 2016)). Indeed, under California law a duty to disclose “may arise without any
   22 confidential relationship where defendant alone has knowledge of material facts
   23 that are not accessible to the plaintiff.” 5 Witkin, SUMMARY OF CAL. LAW (10th ed.
   24 2005) Torts, §799, p. 1156. These factors do not require a fiduciary relationship so
   25 long as there exists “some relationship” between the defendant and plaintiff, such as
   26 “between buyer and seller.”         LiMandri, 52 Cal. App. 4th at 336.      Promoter
   27 Defendants’ omissions were fraudulent under these factors in LiMandri.
   28
                                                260
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 264 of 318 Page ID
                                  #:1617



    1        707. These particular facts that each Defendant omitted and concealed were
    2 material to the decisions of Plaintiffs Titcher and Smith and the members of the
    3 Class about whether to pay for or purchase Yuga Financial Products (at all or for
    4 the price they paid), in that they would not have proceeded with the transaction but
    5 for the deceptive, fraudulent, and false acts and practices. For example, misleading
    6 statements and omissions concerning the ability to use Yuga Financial Products and
    7 their related intellectual property rights relate to “‘the central functionality of the
    8 product,’” which is required to plead a fraud by omission claim under the UCL. See
    9 Hall, 747 F. App’x at 451 (citing Hodsdon, 891 F.3d at 863). The omissions about
   10 the intellectual property rights given to investors in the BAYC, MAYC, and BAKC
   11 NFT collections, as well as the omissions concerning the ability to use ApeCoin and
   12 virtual land in the Otherside, were only known to Executive Defendants and were
   13 contrary to representations and omissions previously made concerning the ability to
   14 use Yuga Financial Products to purchase goods and services.
   15        708. Defendants, collectively and individually, had superior knowledge of
   16 information regarding the ownership interests and ability to use the Yuga Financial
   17 Products as advertised. The fact that the Promoter Defendants had undisclosed
   18 financial interests in Yuga and MoonPay was not known to Plaintiffs or the
   19 members of the Class when each was respectively deciding whether or not to
   20 purchase Yuga Financial Products, as this information was in the exclusive
   21 possession of the Company, Executive Defendants, and ApeDAO Board
   22 Defendants.
   23        709. To state a claim for active concealment, a plaintiff must allege specific
   24 “‘affirmative acts on the part of the [D]efendants in hiding, concealing or covering
   25 up the matters complained of.’” Herron v. Best Buy Co. Inc., 924 F. Supp. 2d 1161,
   26 1176 (E.D. Cal. 2013) (citing Lingsch v. Savage, 213 Cal. App. 2d 729, 734
   27 (1963)).    Here, the Company and Executive Defendants used their business
   28
                                                261
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 265 of 318 Page ID
                                  #:1618



    1 associate Defendant Oseary to act as a middleman between the public and the
    2 Company’s founders in order to actively conceal the true nature of the Promoter
    3 Defendants’ business relationships with the Company, MoonPay, and the insiders
    4 of both.
    5         710. Defendants intended for Plaintiffs and the members of the Class to pay
    6 for Yuga Financial Products in reliance upon the deceptive and fraudulent acts and
    7 practices described herein.
    8         711. Defendants engaged in deceptive acts and practices under California
    9 law by taking advantage of the lack of knowledge, ability, experience, or capacity
   10 of Plaintiffs to a grossly unfair degree, including but not limited to, in the following
   11 ways:
   12               (a)    knowingly and intentionally misrepresenting that it was not a
   13 traditional art collector but rather the Yuga-affiliated FTX that was the purportedly
   14 winning bidder of the Sotheby’s auction and that the entire auction was a scheme to
   15 promote the BAYC NFT collection in order to artificially inflate their price;
   16               (b)    knowingly and intentionally concealing the specific roles and
   17 overlapping ownership and/or financial interests in Yuga and MoonPay by the
   18 Executive Defendants, ApeDAO Board Defendants, and Promoter Defendants
   19 Oseary, Fallon, Winkelmann, Hilton, Post, Ciccone, and Broadus;
   20               (c)    failing to disclose that the promotions by Promoter Defendants
   21 Fallon (with the approval and/or assistance of Defendants Universal and EHD),
   22 Winkelmann, Hilton, Ciccone, Post, Bieber, Broadus, and Curry were the result of
   23 them being paid to promote (or having a vested financial interest in the promotion
   24 of) the Yuga Financial Products instead of an organic interest/support of the Bored
   25 Ape ecosystem;
   26               (d)    knowingly and intentionally using and/or failing to disclose the
   27 use of the Promoter Defendants to instill trust in uninformed investors to promote
   28
                                                262
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 266 of 318 Page ID
                                  #:1619



    1 the financial benefits of a highly speculative and risky investment in Yuga Financial
    2 Products, in an effort to manipulate and artificially inflate the price and trading
    3 volume of the Yuga Financial Products and allow the Company, Executive
    4 Defendants, and ApeDAO Board Defendants to profit from the sale of Yuga
    5 Financial Products at those inflated prices;
    6               (e)   knowingly and intentionally misrepresenting and/or failing to
    7 disclose that the MoonPay Concierge service promoted by Defendants Soto-Wright,
    8 MoonPay, Oseary, Fallon, Winkelmann, Hilton, Post, Ciccone, and Broadus was
    9 being used as a front for the undisclosed payments from the Executive Defendants
   10 and Defendant Oseary to Promoter Defendants Fallon, Winkelmann, Hilton, Post,
   11 Ciccone, and Broadus in exchange for misleadingly promoting the Yuga Financial
   12 Products to investors; and
   13               (f)   failing to disclose that Defendant Adidas had conspired with the
   14 Company and MoonPay to facilitate the Yuga promoter payments and then conceal
   15 such conduct afterwards.
   16        712. Had any of the Defendants disclosed the omitted information, Plaintiffs
   17 would have been aware of it because (a) they saw the actual promotions by
   18 Promoter Defendants Sotheby’s, Fallon, Hilton, Post, Bieber, Broadus, Curry, and
   19 Adidas, and would have concurrently seen any disclosure on the promotions
   20 themselves had it been included, and (b) they follow, directly or indirectly, the
   21 social media accounts of, and news reports on, Defendants Sotheby’s, Fallon,
   22 Hilton, Post, Bieber, Broadus, Curry, and Adidas.
   23        713. As a direct and proximate result of Defendants’ unlawful, unfair, and
   24 deceptive practices, Plaintiffs and Class members suffered damages. The Executive
   25 Defendants’ activities with the Promoter Defendants caused Plaintiffs and the Class
   26 members to purchase and/or hold the Yuga Financial Products when they otherwise
   27 would not have done so.
   28
                                               263
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 267 of 318 Page ID
                                  #:1620



    1        714. The statements from Executive Defendants and Promoter Defendants
    2 are actionable and not puffery. “‘The distinguishing characteristics of puffery are
    3 vague, highly subjective claims as opposed to specific, detailed factual assertions.’”
    4 Orlick, 2013 WL 12139142, at *5. Under California law, there is no requirement
    5 that for a statement to be actionable it must also be false ‒ the UCL also prohibits
    6 “‘advertising which, although true, is either actually misleading or which has a
    7 capacity, likelihood or tendency to deceive or confuse the public.’” Williams, 552
    8 F.3d at 938. Significantly, even if certain statements would be non-actionable on
    9 their own, where there are multiple statements at issue, courts must consider “as a
   10 whole.” Id. at 939 n.3; Lima, 710 F. Supp. 2d at 1007-08 (denying motion to
   11 dismiss where some specific representations could be considered puffery, but all of
   12 defendants’ statements “taken as a whole” might be actionable); NJOY, 2015 WL
   13 12732461, at *10 (“‘Even assuming . . .         that some of the statements would
   14 themselves be non-actionable, they “cannot be considered in isolation because they
   15 contribute to the [potentially] deceptive context” of the packaging and marketing
   16 “as a whole.’””) (alteration in original). The alleged misstatements from Executive
   17 Defendants and Promoter Defendants are specific, detailed factual assertions these
   18 Defendants were using to encourage purchases and increase the price of the Yuga
   19 Financial Products. At the same time, the Executive Defendants and Promoter
   20 Defendants each failed to disclose that the MoonPay service was a sham created to
   21 effectuate undisclosed Yuga promoter payments and that the rise in the price and
   22 trading activity for Yuga Financial Products was due to deceptive conduct by
   23 Defendants as opposed to genuine interest from investors.
   24        715. Taken together, the misleading statements and omissions of the various
   25 Defendants contributed to the deceptive marketing tactics as a whole, which were
   26 used to solicit sales of Yuga Financial Products.
   27
   28
                                               264
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 268 of 318 Page ID
                                  #:1621



    1        716. In the event that Plaintiffs’ securities and consumer law claims are
    2 found to be inapplicable to the wrongdoing alleged herein against Defendants,
    3 Plaintiffs will be unable to obtain monetary damages in an amount that would make
    4 Plaintiffs and the members of the Class whole.
    5        717. In addition, Plaintiffs and the Class lack an adequate remedy at law
    6 because the elements of the other state securities and consumer law claims require
    7 proof of conduct beyond that which must be shown to establish liability under the
    8 UCL and FAL. See M.O. Dion & Sons, Inc. v. VP Racing Fuels, Inc., No. CV 19-
    9 5154-MWF (SSX), 2022 WL 18281526, at *8 (C.D. Cal. Nov. 2, 2022).
   10        718. The lack of an adequate remedy at law entitles Plaintiffs and the Class
   11 to pursue equitable restitution under the UCL.
   12        719. Concurrently, “restitution under the . . . UCL would be more certain,
   13 prompt, or efficient than the legal remedies” available with state securities and
   14 consumer law claims. See Anderson v. Apple Inc., 500 F. Supp. 3d 993, 1009 (N.D.
   15 Cal. 2020) (citing Am. Life Ins. Co. v. Stewart, 300 U.S. 203, 214 (1937)). For
   16 example, the price premium damages model will likely require expert analysis to
   17 calculate, whereas equitable restitution will only require a showing of what each
   18 member of the Class paid for their Yuga Financial Products. Restitution would,
   19 therefore, be much more prompt and efficient than this remedy at law.
   20        720. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
   21 or practices by Defendants, to obtain restitution and disgorgement of all monies
   22 generated as a result of such practices, and for all other relief allowed under Cal.
   23 Bus. & Prof. Code §17200.
   24
   25
   26
   27
   28
                                               265
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 269 of 318 Page ID
                                  #:1622



    1                          FOURTH CAUSE OF ACTION
                       Unregistered Offering and Sale of Securities in
    2
               Violation of Sections 5 and 12(a)(1) of the Securities Act of 1933
    3                              (Against All Defendants)
    4         721. Plaintiffs restate and reallege all preceding allegations in the
    5 paragraphs above as if fully set forth herein, and further allege the following:
    6       722. The Company, Executive Defendants, ApeDAO Board Defendants,
    7 MoonPay Defendants, and Promoter Defendants Sotheby’s and Adidas, are
    8 collectively referred to in this cause of action as the “Statutory Seller Defendants.”
    9         723. The Company, Executive Defendants, ApeDAO Defendants, MoonPay
   10 Defendants, and Promoter Defendants Winklemann, Ciccone, Hilton, Fallon,
   11 Universal, EHD, Bieber, Post, Broadus, Curry, Sotheby’s and Adidas are
   12 collectively referred to in this cause of action as the “Solicitation Defendants.”
   13        724. Statutory Seller Defendants and Solicitation Defendants, and each of
   14 them, by engaging in the conduct described above, directly or indirectly, made use
   15 of means or instruments of transportation or communication in interstate commerce
   16 or of the mails, to offer to sell or to sell securities, or to carry or cause such
   17 securities to be carried through the mails or in interest commerce for the purpose of
   18 sale or for delivery after sale.
   19        725. Yuga Financial Products are securities within the meaning of Section
   20 2(a)(1) of the Securities Act, 15 U.S.C. §77b(a)(1).
   21       726. Plaintiffs and members of the Class purchased Yuga Financial Product
   22 securities.
   23        727. No registration statements have been filed with the SEC or have been
   24 in effect with respect to any of the offerings alleged herein. No exemption to the
   25 registration requirement applies.
   26        728. SEC Rule 159A provides that, for purposes of Section 12(a)(2), an
   27 “issuer” in “a primary offering of securities” shall be considered a statutory seller.
   28
                                              266
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 270 of 318 Page ID
                                  #:1623



    1 17 C.F.R. §230.159A(a). The Securities Act in turn defines “issuer” to include
    2 every person who issues or proposes to issue any security. 15 U.S.C. §77b(a)(4).
    3 The Statutory Seller Defendants are issuers of Yuga Financial Products and, as
    4 noted above, are in privity with every purchaser of Yuga’s various NFT collections
    5 (i.e. the BAYC, MAYC, BAKC, and Otherdeed NFTs) via the “creator’s fee”
    6 collected by the Company on every sale of Yuga NFts and with every purchaser of
    7 ApeCoin via their provisioning of ApeCoin tokens to the liquidity pools that
    8 Plaintiffs and class members purchased from.
    9         729. The Solicitation Defendants are also liable under the solicitation prong
   10 of Section 12(a)(1). The U.S. Supreme Court has held that statutory sellers under
   11 Section 12(a)(1) also include “the buyer’s immediate seller” and any person who
   12 actively solicited the sale of the securities to plaintiff and did so for financial gain.
   13 See Pinter v. Dahl, 486 U.S. 622, 644 n.21, 647 (1988); accord, e.g., Steed Fin.
   14 LDC v. Nomura Sec. Int’l, Inc., No. 00 Civ. 8058, 2001 WL 1111508, at *7
   15 (S.D.N.Y. Sept. 20, 2001).       That is, §12(a)(1) liability extends to sellers who
   16 actively solicit the sale of securities with a motivation to serve their own financial
   17 interest or those of the securities owner. Pinter, 486 U.S. at 647; Capri v. Murphy,
   18 856 F.2d 473, 478 (2d Cir. 1988). As specifically alleged herein, the Solicitation
   19 Defendants all actively solicited sales of the Yuga Financial Products on social
   20 media, proprietary web sites, press releases, television, and/or traditional print
   21 media. Thus they are each liable under the solicitation prong, in addition to any
   22 liability flowing from their direct issuance of Yuga Financial Products. See Wildes
   23 v. BitConnect Int’l PLC, 25 F.4th 1341, 1346 (11th Cir.) (“Broadly disseminated
   24 communications . . . can convey a solicitation.”); Pino v. Cardone Cap., LLC, No.
   25 21-55564, 2022 WL 17826876 (9th Cir. Dec. 21, 2022) (stating that “[t]o conclude
   26 that their social media communications fall outside the Act’s protections would be
   27 at odds with Congress’s remedial goals. As observed by the Eleventh Circuit in
   28
                                                 267
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 271 of 318 Page ID
                                  #:1624



    1 Wildes, under Defendants’ interpretation of the Act, a seller liable “for
    2 recommending a security in a personal letter could not be held accountable for
    3 making the exact same pitch in an internet video.”).
    4        730. By reason of the foregoing, the Company, Executive Defendants
    5 Aronow, Solano, Atalay, Ali, Muniz, Shoemaker, Ehrlund, Lyons, ApeDAO
    6 Defendants Ohanian, Wu, Bajwa, MoonPay and its CEO Defendant Soto-Wright,
    7 and Promoter Defendants Oseary, Winklemann, Ciccone, Hilton, Fallon, Universal,
    8 EHD, Bieber, Post, Broadus, Curry, Sotheby’s and Adidas, each violated Sections
    9 5(a), 5(c), and 12(a) of the Securities Act, 15 U.S.C. §§77e(a), 77e(c), and 771(a).
   10        731. As a direct and proximate result of the Statutory Seller Defendants’
   11 unregistered sale of securities and/or the Solicitation Defendants’ solicitation of
   12 sales of unregistered securities, Plaintiffs and the Class have suffered damages in
   13 connection with their Yuga Financial Product purchases.
   14                           FIFTH CAUSE OF ACTION
                     Violation of Sections 15 of the Securities Act of 1933
   15
             (Against the Executive Defendants, ApeDAO Board Defendants, and
   16                  Individual Defendants Oseary and Soto-Wright)

   17        732. Plaintiffs restate and reallege all preceding allegations in the
   18 paragraphs above as fully set forth herein, and further allege the following:
   19       733. This Count is asserted against Executive Defendants Aronow, Solano,
   20 Ataly, Ali, Muniz, Shoemaker, Ehrlund, Oseary, ApeDAO Board Defendants
   21 Lyons, Ohanian, Wu, and Bajwa, and Defendants Oseary and Soto-Wright
   22 (collectively referred to in this cause of action as the “Control Person Defendants”)
   23 under Section 15 of the Securities Act of 1933, 15 U.S.C. §77o.
   24        734. The Control Person Defendants, by virtue of their offices, ownership,
   25 agency, agreements or understandings, and specific acts were, at the time of the
   26 wrongs alleged herein, and as set forth herein, controlling persons within the
   27 meaning of Section 15 of the Securities Act of 1933.            The Control Person
   28
                                               268
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 272 of 318 Page ID
                                  #:1625



    1 Defendants, and each of them, had the power and influence and exercised the same
    2 to cause the unlawful offer and sale of Yuga Financial Products securities as
    3 described herein.
    4         735. The Control Person Defendants, separately or together, possess,
    5 directly or indirectly, the power to direct or cause the direction of the management
    6 and policies of Yuga and/or MoonPay, through ownership of voting securities, by
    7 contract, subscription agreement, or otherwise.
    8         736. The Control Person Defendants also have the power to direct or cause
    9 the direction of the management and policies of the Company and/or MoonPay.
   10         737. The Control Person Defendants, separately or together, have sufficient
   11 influence to have caused the Company and/or MoonPay to submit a registration
   12 statement for the Yuga Financial Products.
   13         738. The Control Person Defendants, separately or together, jointly
   14 participated in the Company’s and MoonPay’s failure to register Yuga Financial
   15 Products.
   16         739. By virtue of the conduct alleged herein, the Control Person Defendants
   17 are liable for the wrongful conduct complained of herein and are liable to Plaintiffs
   18 and the Class for rescission and/or damages suffered.
   19                           SIXTH CAUSE OF ACTION
                  Violations of California Corporate Securities Law of 1968
   20
                              Cal. Corp. Code §§25110 & 25503
   21                                   (Qualification)
          (Against the Company, Executive Defendants, ApeDAO Board Defendants,
   22
                 MoonPay, and Promoter Defendants Sotheby’s and Adidas)
   23
              740. Plaintiffs restate and reallege all preceding allegations in the
   24
        paragraphs above as if fully set forth herein, and further allege the following:
   25
              741. Plaintiffs Titcher and Smith bring this claim individually and on behalf
   26
        of the members of the Class against the Company, Executive Defendants Aronow,
   27
        Solano, Atalay, Ali, and Muniz, ApeDAO Board Defendants Shoemaker, Ehrlund,
   28
                                                 269
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 273 of 318 Page ID
                                  #:1626



    1 Lyons, Ohanian, Wu, and Bajwa, MoonPay, and Promoter Defendants Sotheby’s
    2 and Adidas, collectively referred to in this cause of action as the “Statutory Seller
    3 Defendants.”
    4         742. Each of the Statutory Seller Defendants are the primary violators under
    5 this cause of action.
    6         743. The Yuga Financial Products are securities within the meaning of the
    7 California Corporations Code.
    8         744. The Yuga Financial Products were and are required to be registered
    9 with the Commissioner of Corporations under California law.
   10         745. Section 25110 (similar to a Section 12(a)(1) claim under the federal
   11 securities law) makes it illegal, in connection with the purchase or sale of any
   12 security, for any person, directly or indirectly, to offer or sell a security in
   13 California “unless such security or transaction is exempted or not subject to
   14 qualification under Chapter 1 (commencing with Section 25100) of this part.”
   15 Further, the offer or sale of such a security “in a manner that varies or differs from,
   16 exceeds the scope of, or fails to conform with either a material term or material
   17 condition of qualification of the offering . . . shall be an unqualified offer or sale.”
   18 Cal. Corp. Code §25110.
   19         746. Section 25503 establishes a private remedy for damages under Section
   20 25110 of the California Corporations Code. In particular, violators of Section
   21 25110 “shall be liable to any person acquiring from them the security sold in
   22 violation of that section, who may sue to recover the consideration they paid for that
   23 security with interest thereon at the legal rate, and reasonable attorney’s fees, less
   24 the amount of any income received therefrom, upon the tender of that security, or
   25 for damages, if they no longer own the security, or if the consideration given for the
   26 security is not capable of being returned.” In the event that the plaintiff no longer
   27 owns the security, damages “shall be equal to the difference between (a) the
   28
                                                270
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 274 of 318 Page ID
                                  #:1627



    1 purchase price plus interest at the legal rate from the date of purchase, plus
    2 reasonable attorney’s fees, and (b) the value of the security at the time it was
    3 disposed of by the plaintiff plus the amount of any income received therefrom by
    4 the plaintiff.” Cal. Corp. Code §25503.
    5         747. Conversely, Section 25503 provides that, if the consideration given for
    6 the security is not capable of being returned then damages shall be equal to the
    7 value of that consideration plus interest at the legal rate from the date of purchase,
    8 provided the security is tendered, plus reasonable attorney’s fees; and if the plaintiff
    9 no longer owns the security, damages in that case shall be equal to the difference
   10 between (a) the value of the consideration given for the security plus interest at the
   11 legal rate from the date of purchase, plus reasonable attorney’s fees; and (b) the
   12 value of the security at the time it was disposed of by the plaintiff plus the amount
   13 of any income received therefrom by the plaintiff. Id.
   14         748. Under Section 25503, “[a]ny person on whose behalf an offering is
   15 made and any underwriter of the offering, whether on a best efforts or a firm
   16 commitment basis, shall be jointly and severally liable under this section.”
   17         749. The Yuga Financial Products have not been registered with the
   18 Commissioner, are not exempt from registration, and are not federally covered. No
   19 registration statements have been filed with any state or federal government entity
   20 or have been in effect with respect to any of the offerings alleged herein.
   21         750. The Statutory Seller Defendants, by engaging in the conduct described
   22 above, directly or indirectly, sold and/or offered to sell securities, making each
   23 liable for both issuer and solicitation violations under Section 25503.
   24         751. Plaintiffs purchased Yuga Financial Products securities from the
   25 Statutory Seller Defendants. For example, the ApeCoin tokens were provided
   26 and/or sold into the ApeCoin liquidity pool by Executive Defendants and ApeDAO
   27 Board Defendants. Upon information and belief, given the limited and measurable
   28
                                                271
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 275 of 318 Page ID
                                  #:1628



    1 amount of individuals selling or providing the cryptocurrency to the ApeCoin token
    2 liquidity pool, a large portion (if not all) of the ApeCoin token liquidity pool were
    3 provided by Executive Defendants and ApeDAO Board Defendants (or market
    4 makers for Yuga like Wintermute and FTX who were given undisclosed loans of
    5 Yuga Financial Products to sell to the market on behalf of the Company). These
    6 actions coincided with Plaintiffs and Class members transacting with the liquidity
    7 pools as buyers. Thus, by providing ApeCoin tokens to the liquidity pool at the
    8 time in which Plaintiffs and the members of the Class made their ApeCoin token
    9 purchases from the liquidity pool, privity between Executive Defendants
   10 (personally and through the Company), ApeDAO Board Defendants (personally
   11 and through the Ape Foundation and/or the Company), and Plaintiffs is established
   12 even in the absence of a direct contract linking the two parties.
   13         752. Privity also exists between the issuers of every Yuga NFT collection
   14 (i.e., the Company and Executive Defendants) and all those making purchases (e.g.,
   15 Plaintiffs and the members of the Class) regardless of which cryptocurrency
   16 exchange was used to facilitate the transaction because these Defendants are
   17 receiving the benefit of a 2.5% fee per resale of a Yuga NFT.
   18         753. As discussed above, the Company, Executive Defendants, ApeDAO
   19 Board Defendants, MoonPay, and Promoter Defendants Sotheby’s and Adidas also
   20 actively solicited the purchase of Yuga Financial Products through social media,
   21 promotional video, press releases, traditional press, and online.
   22         754. By reason of the foregoing, each of the Statutory Seller Defendants
   23 have violated Sections 25110 and 25503 of the California Corporations Code.
   24
   25
   26
   27
   28
                                                272
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 276 of 318 Page ID
                                  #:1629



    1                          SEVENTH CAUSE OF ACTION
                Violation of Sections 10b of the Securities Exchange Act of 1934
    2
                                  and Rule 10b-5(b) thereunder
    3                           (Fraudulent Statement Liability)
                 (Against the Executive Defendants, the MoonPay Defendants,
    4
                        the ApeDAO Board Defendants, and Sotheby’s)
    5
              755. Plaintiffs restate and reallege all preceding allegations in the
    6
        paragraphs above as if fully set forth herein, and further allege the following:
    7
              756. Plaintiffs bring this claim for violations of Section 10(b) of the
    8
        Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §78j(b), and Rule
    9
        10b-5(b) promulgated thereunder, 17 C.F.R. §240.10b-5(b).
   10
              757. The Yuga Financial Products are securities within the meaning of
   11
        Section 2(a)(1) of the Securities Act, 15 U.S.C. §77b(a)(1).
   12
              758. Section 10(b) and Rule 10b-5(b) make it illegal, in connection with the
   13
        purchase or sale of any security, “for any person, directly or indirectly, by the use of
   14
        any means or instrumentality of interstate commerce, or of the mails or of any
   15
        facility of any national securities exchange . . . to make any untrue statement of a
   16
        material fact or to omit to state a material fact necessary in order to make the
   17
        statements made, in the light of the circumstances under which they were made, not
   18
        misleading.” Id.
   19
              759. The Executive Defendants, the MoonPay Defendants, Wu, and
   20
        Sotheby’s (with the aid of the other Defendants) carried out a plan, scheme, and
   21
        course of conduct that was intended to and did deceive the retail investors ‒
   22
        Plaintiffs and the other Class members ‒ who acquired Yuga Financial Products
   23
        pursuant to the continuous offering and thereby caused them to purchase Yuga
   24
        Financial Products at artificially inflated prices.
   25
              760. In connection with the continuous offer and sale of the Yuga Financial
   26
        Products, the Executive Defendants, the MoonPay Defendants, Wu, and Sotheby’s
   27
        disseminated, approved, and/or endorsed the false statements described herein,
   28
                                                   273
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 277 of 318 Page ID
                                  #:1630



    1 which they knew or recklessly should have known were materially misleading in
    2 that they contained material misrepresentations and failed to disclose material facts
    3 necessary in order to make the statements made, in light of the circumstances under
    4 which they were made, not materially misleading.
    5        761. The Executive Defendants, the MoonPay Defendants, Wu, and
    6 Sotheby’s employed devices, schemes, and artifices to defraud; made untrue
    7 statements of material fact and omitted to state material facts necessary to make the
    8 statements made not misleading; and engaged in acts, practices, and a course of
    9 business that operated as a fraud and deceit upon the Class members that resulted in
   10 artificially high market prices for the Yuga Financial Products, in violation of
   11 Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.
   12        762. Yuga fundamentally misrepresented the nature of the Yuga Financial
   13 Products, hawking them as memberships into a “fan club on steroids that
   14 encourages owners of the NFTs to move through an ever-growing and exclusive list
   15 of events and opportunities” instead of unregistered securities with highly inflated
   16 prices due to wash trading and other manipulative practices. Yuga also represented
   17 that the Bored Ape NFT collection had achieved over $1 billion in trading volume,
   18 but failed to disclose that the NFT collections were significantly plagued by wash
   19 trading.
   20        763. Further, in offering the Yuga Financial Products, the Executive
   21 Defendants failed to disclose material aspects of Yuga’s business, and made
   22 materially misleading statements, or omitted to state material facts necessary to
   23 make statements made, in the light of the circumstances under which the statements
   24 were made, not misleading.
   25        764. Likewise, in promoting the Yuga Financial Products, the MoonPay
   26 Defendants made materially misleading and incomplete statements.           MoonPay
   27 falsely stated the celebrities had bought their Bored Apes, when in fact they had
   28
                                               274
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 278 of 318 Page ID
                                  #:1631



    1 been gifted them from MoonPay. MoonPay omitted the material information that it
    2 was engaging in manipulative trading.
    3        765. Similarly, in promoting the Yuga Financial Products, Sotheby’s falsely
    4 stated that the winning bidder in the Sotheby’s BAYC auction that the winning
    5 bidder was a “traditional” collector and that “legacy art collectors were also heavily
    6 involved in the bidding.”
    7        A.      Misrepresentations and Omissions
    8        766. Defendants’ untrue statements and omissions of material facts in
    9 connection with the sale of Yuga Financial Products include, but are not limited to
   10 the following examples:
   11        a. Sotheby’s falsely stating that the winning “bid” of the Sotheby’s auction
   12             was a traditional art collector, and omitting that it was cryptocurrency
   13             industry insiders at FTX that won the auction.
   14        b. Defendant Solano stated that “The Bored Ape Yacht Club is more than
   15             just an #NFT collection – the NFT grants access to a collaborative art
   16             experiment in the form of a canvas only token-holders can draw on.” This
   17             statement was misleading in that it suggested to investors that there would
   18             be a broader ecosystem for BAYC NFT holders to interact in and that the
   19             BAYC brand was poised for significant growth, when, in truth, the BAYC
   20             NFTs were just a vehicle to make insiders rich at the expense of investors.
   21        c. Defendant Solano stated that the Bored Ape NFTs “double as membership
   22             cards to an exclusive club with benefits.” This statement was misleading
   23             in that it suggested to investors that there would be a broader ecosystem
   24             for BAYC NFT holders to interact in and that the BAYC brand was
   25             poised for significant growth, when, in truth, the BAYC NFTs were just a
   26             vehicle to make insiders rich at the expense of investors.
   27
   28
                                                 275
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 279 of 318 Page ID
                                  #:1632



    1        d. Defendant Aronow bragged “Not bad for a high school dropout” in
    2           response to a post that said “Don’t look now but #BAYC Market Cap just
    3           crossed a BILLION.” This exchange gave investors the false impression
    4           that BAYC NFTs were a sound investment experiencing organic growth
    5           that were poised to continue growing, when in fact the price and volume
    6           was inflated due to manipulative trading practices.
    7        e. The MoonPay Twitter account posted a clip from the segment with
    8           Defendant Fallon promoting MoonPay and the BAYC NFTs with a
    9           caption stating: “So this just happened. @jimmyfallon reveals to @beeple
   10           on the #TheTonightShow that he just bought his first Bored Ape by
   11           @BoredApeYC with MoonPay! 🚀👀.” MoonPay’s statement that “[s]o
   12           this just happened” misleadingly suggested to investors that the promotion
   13           of MoonPay and the BAYC NFT collection on the Tonight Show was
   14           something that occurred spontaneously. Likewise, MoonPay’s statement
   15           that Fallon had “just bought his first Bored Ape by @BoredApeYC with
   16           MoonPay!” failed to disclose that in truth, Fallon’s segment with
   17           Winkelmann was just a promotion of the BAYC NFTs and MoonPay that
   18           was orchestrated behind the scenes by Oseary, Soto-Wright, and the
   19           Executive Defendants.
   20        f. MoonPay’s statement that “this just happened” in connection with the
   21           Defendant Post’s video with The Weeknd video misleadingly suggested to
   22           investors that the promotion of MoonPay and the BAYC NFT collection
   23           within the so-called music video from Defendant Post was something that
   24           occurred because of their genuine interest in the BAYC NFTs. This, and
   25           MoonPay’s statement that Post had “aped into @BoredApeYC by
   26           purchasing his first NFT with MoonPay,” failed to disclose that this music
   27           video was just a promotion of the BAYC NFTs and MoonPay that was
   28
                                              276
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 280 of 318 Page ID
                                  #:1633



    1           orchestrated behind the scenes by Oseary, Soto-Wright, and the Executive
    2           Defendants.
    3        g. MoonPay’s statement that “Someone funny aped in today!” in reference to
    4           the Kevin Hart promotion misleadingly suggested Kevin Hart actually
    5           paid for his Ape, and failed to disclose that it was a promotion
    6           orchestrated by MoonPay, Oseary, Soto-Wright, and the Executive
    7           Defendants.
    8        h. The Company and Solano’s statements that BAYC NFT holders own the
    9           “full commercial rights to their apes,” and “literally own the rights to their
   10           apes,” were false and misleading because NFT holders did not have full
   11           commercial rights to the apes.
   12        i. Wu’s statement that Yuga has “led innovation on IP frameworks, like
   13           giving NFT holders full commercial rights to their IP without a royalty”
   14           was false and misleading because NFT holders did not have full
   15           commercial rights to the IP.
   16        j. Bajwa falsely stated that celebrity rapper (and close associate with
   17           Defendant Broadus) “@Eminem purchased a @BoredApeYC NFT for
   18           123.45 ETH” and touting that the MAYC NFTs “saw $71M in trading
   19           volumes the last week.”
   20        k. Soto-Wright falsely described the creation of the Concierge service as first
   21           spreading via word of mouth among artists, stating, “So I helped one artist
   22           figure it out. They told another who then asked for help. Word started to
   23           spread.” Soto-Wright later falsely described it as an accident, stating “A
   24           really happy accident I’d say. 100% organic.”
   25        l. When asked to confirm whether celebrities were not paid to promote
   26           MoonPay, Soto-Wright falsely stated that “Everyone that uses MoonPay
   27           Concierge has a commercial relationship with the company in the sense
   28
                                                 277
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 281 of 318 Page ID
                                  #:1634



    1            that this is a commercial service we offer our clients. We provide the
    2            support and then we invoice for services rendered.”
    3         m. The Yuga pitch deck falsely proclaims that “[c]elebrities are buying Apes
    4            to signal that they know what’s up” when in reality the celebrity
    5            promotions were not organic and were orchestrated by Defendant Oseary
    6            and MoonPay.
    7         n. ApeCoin was repeatedly falsely promoted that it could be used for
    8            magazine subscriptions, luxury items like Gucci and Tag Heuer, and that
    9            it could be used on OpenSea for NFTs. These statements were marketing
   10            ploys and were never followed up on.
   11         767. In order to make those statements not misleading, Defendants were
   12 obligated to disclose that:
   13         a. The buyer at the Sotheby’s auction was not a traditional art buyer, but was
   14            instead cryptocurrency industry insiders with FTX;
   15         b. The price and volume of the Yuga NFTs was heavily impacted by wash
   16            trading and other manipulative practices;
   17         c. A large number of the original mints of the Bored Ape NFTs were minted
   18            by Binance and/or FTX insiders;
   19         d. MoonPay, Soto-Wright, and Oseary were orchestrating a widespread
   20            celebrity shilling scheme;
   21         e. MoonPay and Soto-Wright were making manipulative trades themselves
   22            to increase trading volume and price;
   23         f. The Promotor Defendants had ownership interests in MoonPay and stood
   24            to financially gain from their promotions;
   25         g. MoonPay was gifting Bored Ape NFTs to influencers and not expecting
   26            payment for them;
   27
   28
                                               278
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 282 of 318 Page ID
                                  #:1635



    1         h. ApeCoin would not actually be used on NFT exchanges and would not be
    2              accepted to buy luxury goods; and
    3         i. Market making firms like Alameda Research and Wintermute were given
    4              secret loans of ApeCoin.
    5         B.      Materiality
    6         768. The forgoing misrepresentations and omissions were each material.
    7 These representations related to critical issues concerning the viability of the Yuga
    8 Financial Product holders’ investments.
    9         769. These misrepresentations and omissions related to, among other things:
   10 (i) the extent to which the Yuga Financial Products were subject to manipulative
   11 trading practices; and (ii) whether the hype around the Yuga Financial Products was
   12 genuine and organic or orchestrated pursuant to a fraudulent scheme.              If a
   13 reasonable investor knew that the Yuga Financial Products were subject to
   14 manipulative trading practices and were the subject of a celebrity shilling scheme,
   15 then that investor would reasonably expect the price of Yuga Financial Products to
   16 be substantially lower, given that the investment would be much riskier.
   17         770. Accordingly, there is a substantial likelihood that the disclosure of the
   18 omitted facts would have been viewed by the reasonable investor as having
   19 significantly altered the “total mix” of information made available.
   20         C.      Scienter
   21         771. The Executive Defendants, MoonPay Defendants, Wu, and Sotheby’s
   22 acted with scienter in engaging in the forgoing misconduct, in that they either had
   23 actual knowledge of the misrepresentations and omissions of material facts set forth
   24 herein, or acted with reckless disregard for the truth in that they failed to ascertain
   25 and to disclose such facts, even though such facts were available to them.
   26         772. The Executive Defendants knew that the trading done by Binance
   27 and/or FTX insiders close to the mint had outsized impacts. Yuga knew that the
   28
                                                279
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 283 of 318 Page ID
                                  #:1636



    1 celebrity promotions had been done at the behest of Oseary and MoonPay. Based
    2 on their control of the smart contracts to mint the Bored Apes and their oversight of
    3 trading activity, the Executive Defendants knew that the Yuga Financial Products
    4 were being subjected to manipulative trading that increased volume and prices.
    5         773. The MoonPay Defendants knew that the Promotor Defendants had not
    6 paid for their Bored Apes and that MoonPay had gifted them to promote the Yuga
    7 Financial Products.      The MoonPay Defendants knew that they were making
    8 manipulative outlier transactions to boost floor prices and increase trading volumes.
    9         774. The ApeDAO Board Defendants knew that the Promoter Defendants
   10 had not actually paid for their Bored Apes and that it was a marketing ploy. The
   11 ApeDAO Board Defendants also knew ApeCoin was subject to price manipulation
   12 as entities like Alameda Research and Wintermute were given secret loans. The
   13 ApeDAO Board Defendants knew that there was significant marketing to promote
   14 that ApeCoin could be used for luxury items, but knew that there would be no
   15 follow through. The ApeDAO Defendants knew that that ApeDAO structure was a
   16 pure legal fiction, and an attempt by Yuga to effectuate a pure unregistered
   17 securities offering.
   18         775. Sotheby’s knew that a traditional art collector was not the winning
   19 bidder for the Bored Ape Auction. Sotheby’s knew that FTX was the winning
   20 bidder but hid this fact in order for the Yuga Financial Products to have a veneer of
   21 credibility in the mainstream art world.
   22         D.    Reliance, Economic Loss, and Loss Causation
   23         776. As a result of the publication and dissemination of the materially false
   24 and misleading information and failure to disclose material facts, as set forth above,
   25 the prices of the Yuga Financial Products were artificially inflated.
   26         777. In ignorance of the fact that the prices of the Yuga Financial Products
   27 were artificially inflated, and relying directly or indirectly on the false, misleading,
   28
                                                 280
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 284 of 318 Page ID
                                  #:1637



    1 and materially incomplete statements that the Executive Defendants, MoonPay
    2 Defendants, and Sotheby’s made and approved, or upon the integrity of the market
    3 in which the Yuga Financial Products were sold, or on the absence of material
    4 adverse information that these Defendants knew or recklessly should have known of
    5 but failed to disclose in public statements, Plaintiffs and the other Class members
    6 acquired Yuga Financial Products at artificially high prices and were damaged
    7 thereby.
    8         778. As a direct and proximate result of the Executive Defendants,
    9 MoonPay Defendants, and Sotheby’s wrongful conduct, Plaintiffs and the other
   10 Class members suffered damages in connection with the respective purchases of
   11 Yuga Financial Products and are entitled to an award compensating them for such
   12 damages.
   13         779. Indeed, the price of the Yuga Financial Products dropped significantly
   14 as Defendants disclosed, and the market discovered, the truth concerning the
   15 celebrity promotions, the true demand for Yuga NFTs, and the Yuga ecosystem’s
   16 prospects for the future.
   17         780. For example, in June 2022, exchanges that provided investors yield on
   18 their crypto investments began to experience liquidity issues and lock users out.
   19 Voyager was one of the largest such platforms, and was one of the few platforms
   20 where investors could earn yield on their ApeCoin. On June 22, 2022, Voyager
   21 announced that it had significant exposure to bankrupt hedge fund Three Arrows
   22 Capital, raising significant survivability concerns at the exchange.462 In response,
   23 the price of ApeCoin dropped from $4.37 to $3.97, or approximately 9%.
   24         781. By August 2022, the celebrity endorsements had dried up. Without
   25 celebrities endorsing the Yuga assets and without floor prices being pumped by
   26
   27   462
              Reback, supra n.302
   28
                                              281
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 285 of 318 Page ID
                                  #:1638



    1 MoonPay, the Yuga Financial Products each suffered diminution in value with
    2 decreased sales volume and fewer unique buyers.463 All of the Yuga Financial
    3 Products hit visible low points between August 19th and 23rd. The Bored Ape NFT
    4 floor price dropped from 82.48 ETH on August 10, 2022, to 66.9 ETH on August
    5 23, 2022. The Mutant Ape NFT floor price also fell from 15.25 ETH on August 10,
    6 2022, to a floor price of 11 ETH on August 19, 2022. The Kennel Club NFT floor
    7 price also dropped from 7.99 ETH on August 10, 2022, to 5.990 ETH on August
    8 19, 2022. The Otherdeed NFTs fell from a floor price of 2.02 ETH on August 7,
    9 2022 to a floor price of 1.47 ETH on August 22, 2022. Likewise, ApeCoin dropped
   10 from $7.56 on August 5, 2022 to $4.64 on August 28, 2022.
   11         782. In September 2022, the price of ApeCoin and the Yuga NFTs dropped
   12 significantly in anticipation of a significant token unlock for “launch contributors”
   13 of ApeCoin. In the 30 days prior to the unlock, ApeCoin dropped 26%.464 On
   14 September 16, 2022 alone, ApeCoin dropped approximately 9% in advance of the
   15 unlock on September 17, 2022.465
   16         783. On October 11, 2022, Bloomberg reported that the SEC was
   17 conducting an investigation of Yuga Labs over whether the sales of its digital assets
   18 violate federal securities laws.466 Bloomberg reported that the SEC is examining
   19 whether certain NFTs are more akin to stocks and should follow the same
   20 disclosure rules.    Bloomberg also reported that the SEC is investigating the
   21 distribution of ApeCoin. Yuga told Bloomberg in a statement that it was “fully
   22 cooperating” with the inquiry.      In response to the news regarding the SEC
   23 investigation, the ApeCoin token dropped approximately 11%.467
   24   463
              Hayes, supra n.303.
   25   464
              Hayward, supra n.304.
        465
   26         Id.
        466
              Robinson, supra n.306.
   27   467
              Hayward, supra n.307.
   28
                                               282
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 286 of 318 Page ID
                                  #:1639



    1         784. Yuga’s NFTs likewise dropped in value in the wake of the disclosure
    2 of the SEC investigation. The Bored Ape NFT floor price dropped from 75.5 ETH
    3 on October 10, 2022 to 72.421 ETH on October 15, 2022. The Mutant Ape NFT
    4 price floor dropped from 14.96 ETH on October 10, 2022 to 13.440 on October 13,
    5 2022. The Kennel Club NFTs dropped from a floor price of 6.39 ETH on October
    6 10, 2022 to 5.750 by October 17, 2022. The Otherside NFTs likewise dropped
    7 from a price floor of approximately 1.6 ETH on October 10, 2022 down to 1.11
    8 ETH on October 21, 2022.
    9         785. The downfall of FTX had a significant impact on the Yuga Financial
   10 Products. When both FTX and Alameda Research filed for Chapter 11 Bankruptcy
   11 on November 11, 2022, each of the Yuga Financial Products had a material drop in
   12 value in the days leading up to and following the announcement. At the time of the
   13 bankruptcy, FTX and Alameda held a number of Yuga Financial Products, which
   14 were now at risk of being subject to forced liquidation in the bankruptcy.
   15         786. On November 5, 2022, prior to the disclosure of the liquidity issues
   16 with FTX, the BAYC NFT floor price was 64.8 ETH. In the wake of the FTX
   17 bankruptcy, the floor price of the BAYC NFT fell to 50 ETH (i.e., approximately
   18 $62,000) on November 14, 2022. The floor price continued to drop, reaching 48
   19 ETH on November 17, 2022.
   20         787. The same is true for Yuga’s Mutant Apes, which had a floor price of
   21 11 ETH prior to the FTX disclosures. Following the FTX and Alameda bankruptcy,
   22 the floor price of Mutant Apes dropped to 8.99 ETH on November 17, 2022.
   23         788. Likewise, the floor price of the Otherdeed NFT dropped from 1.192
   24 ETH on November 5, 2022 to 0.8 ETH on November 17, 2022.
   25         789. Prices for the Bored Ape Kennel Club likewise dropped from a floor
   26 price of 4.69 ETH on November 5, 2022 to 3.65 ETH on November 17, 2022.
   27
   28
                                               283
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 287 of 318 Page ID
                                  #:1640



    1         790. Similarly, the FTX disclosures caused a significant drop in the price of
    2 ApeCoin. On November 5, 2022, ApeCoin traded at $5.10 per token, and dropped
    3 to $2.70 by November 13, 2022.
    4         791. On October 6, 2023, Yuga announced a series of layoffs. In connection
    5 with the layoffs, Yuga CEO Daniel Alegre admitted that upon joining the company
    6 in Spring 2023, that he “quickly realized that there were a number of projects that,
    7 while well-intentioned, either spread the team too thin or required execution
    8 expertise beyond our core competencies.” Alegre also admitted that there had
    9 “been a few rocky rollouts, particularly in our gaming execution, because we
   10 learned along the way that we weren’t optimized to build and manage everything
   11 in-house, nor should we be. We also know we need to make greater progress with
   12 the development of Otherside.”
   13         792. Prices of the Yuga Financial Products have dropped precipitously since
   14 the heyday of the misleading and manipulative celebrity promotions. The BAYC
   15 NFTs’ floor price continued to drop, reaching a Class Period low of 21.99 ETH
   16 (approximately $36,536.45) on August 22, 2023. This is down from the all-time
   17 high of approximately 128 ETH (or $369,891.84) that occurred on April 30, 2022 in
   18 the midst of the celebrity promotions and as MoonPay was manipulating prices with
   19 its outlier transactions.
   20         793. Mutant Apes had a floor price high of 35.58 ETH ($99,962.01) on
   21 April 27, 2022, in the midst of the celebrity promotions and MoonPay outlier
   22 transactions. Since that time, the floor price of the Mutant Apes has dropped
   23 precipitously, reaching a low of 4.29 ETH ($7,147.07) on August 22, 2023.
   24         794. Kennel Club NFTs reached a Class Period high of 10.4 ETH ($29,
   25 218.80) on April 27, 2022, but have since dropped precipitously to Class Period
   26 lows of 1.42 ETH on August 22, 2023. In dollar terms, Kennel Club NFTs reached
   27 a class period low of $2,391.38 on August 19, 2023.
   28
                                               284
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 288 of 318 Page ID
                                  #:1641



    1         795. The Otherdeed floor price went from a Class Period high of
    2 approximately 5.0 ETH (about $14,149.94) on May 1, 2022 all the way down to a
    3 class period low of 0.4 ETH (worth only $643.60) on September 25, 2023.
    4         796. ApeCoin tokens have likewise suffered a severe diminution in value.
    5 After reaching a class period high of $23.65 on April 28, 2022 in the lead up the
    6 Otherdeed launch, the price of ApeCoin has cratered. ApeCoin reached its all time
    7 low on October 10, 2023 at just $1.01.
    8         797. In addition, as a direct and proximate result of the Executive
    9 Defendants, the MoonPay Defendants, and Sotheby’s wrongful conduct, these
   10 Defendants have generated and retained ill-gotten gains in connection with the
   11 promotion and sale of the Yuga Financial Products, such that Plaintiffs and the
   12 other Class members are entitled to the disgorgement of Defendants’ ill-gotten
   13 gains acquired from such misconduct.
   14         798. As a direct and proximate result of the false and misleading statements
   15 and omissions made by the Executive Defendants, the MoonPay Defendants, and
   16 Sotheby’s to investors in order to solicit the sale of unregistered securities, Plaintiffs
   17 and the Class have suffered damages in connection with their Yuga Financial
   18 Product purchases.
   19         799. Plaintiffs bring this claim for violations of Section 10(b) of the
   20 Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §78j(b), and Rule
   21 10b-5(b) promulgated thereunder, 17 C.F.R. §240.10b-5(b).
   22         800. The Yuga Financial Products are securities within the meaning of
   23 Section 2(a)(1) of the Securities Act, 15 U.S.C. §77b(a)(1).
   24         801. Section 10(b) and Rule 10b-5(b) make it illegal, in connection with the
   25 purchase or sale of any security, “for any person, directly or indirectly, by the use of
   26 any means or instrumentality of interstate commerce, or of the mails or of any
   27 facility of any national securities exchange . . . to make any untrue statement of a
   28
                                                 285
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 289 of 318 Page ID
                                  #:1642



    1 material fact or to omit to state a material fact necessary in order to make the
    2 statements made, in the light of the circumstances under which they were made, not
    3 misleading.” Id.
    4                           EIGHTH CAUSE OF ACTION
             Violation of Sections 10b of the Securities Exchange Act of 1934 and
    5
                               Rule 10b-5(a) and (c) thereunder
    6                                 (Scheme Liability)
                                    (Against all Defendants)
    7
    8        802. Plaintiffs restate and reallege all preceding allegations in the
    9 paragraphs above as if fully set forth herein, and further allege the following:
   10       803. The Class Period for this cause of action is defined as the period
   11 between April 23, 2021 and the date of this filing.
   12      804. Plaintiffs bring this claim for violations of Section 10(b) of the
   13 Securities Exchange Act of 1934, 15 U.S.C. §78j(b), and Rule 10b-5(a) and (c)
   14 promulgated thereunder, 17 C.F.R. §240.10b-5(a) and (c).
   15        805. The Yuga Financial Products are securities within the meaning of
   16 Section 2(a)(1) of the Securities Act, 15 U.S.C. §77b(a)(1).
   17       806. Subsections (a) and (c) of Rule 10b-5 allow a allow a suit against
   18 defendants who, with scienter, “employ any device, scheme, or artifice to defraud,”
   19 or “engage in any act, practice, or course of business which operates or would
   20 operate as a fraud or deceit upon any person.” 17 C.F.R. §240.10b-5.
   21       807. “Unlike a claim under subsection (b) of Rule 10b-5, a claim of liability
   22 for violations of subsections (a) and (c) does not require an allegation that the
   23 defendant made a false or misleading statement; rather, liability is premised on a
   24 course of deceptive or manipulative conduct.” See Affiliated Ute Citizens of Utah v.
   25 United States, 406 U.S. 128, 152-53 (1972) (observing that “the second
   26 subparagraph of [Rule 10b-5] specifies the making of an untrue statement of a
   27 material fact and the omission to state a material fact, [but] [t]he first and third
   28
                                              286
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 290 of 318 Page ID
                                  #:1643



    1 subparagraphs are not so restricted”); In re DVI, Inc. Sec. Litig., 639 F.3d 623, 643
    2 (3d Cir. 2011) (“We refer to claims under Rule 10b-5(a) and (c) as ‘scheme liability
    3 claims’ because they make deceptive conduct actionable, as opposed to Rule 10b-
    4 5(b), which relates to deceptive statements.”).
    5         808. Defendants, individually and in concert, directly and indirectly, by the
    6 use, means, or instrumentalities of interstate commerce and/or the mails, carried out
    7 a plan, scheme, and course of conduct which was intended to, and throughout the
    8 Class Period, did manipulate the price and trading activity of Yuga Financial
    9 Products to the detriment of the investing public, including Plaintiffs and other
   10 Class members, in connection with the purchase and/or sale of Yuga Financial
   11 Products.
   12         809. Defendants conspired and employed devices, schemes, and artifices
   13 and engaged in acts, practices, and a course of business as alleged herein to
   14 unlawfully manipulate and profit from the manipulation for the price of and market
   15 for Yuga Financial Products.
   16         810. Defendants’ actions alleged herein constitute manipulative acts.
   17 Through fraudulent market making and price signaling conduct, the Company,
   18 Executive Defendants, ApeDAO Board Defendants, Sotheby’s, and MoonPay
   19 Defendants falsely increased both the price of the Yuga Financial Products and
   20 appearance of market activity for the same. Concurrently, the Company, Executive
   21 Defendants, ApeDAO Board Defendants, MoonPay Defendants, and Promoter
   22 Defendants engaged in a scheme to use a misleading marketing campaign meant to
   23 leverage the celebrity Promoter Defendants’ influence in order to artificially inflate
   24 the price of and market for Yuga Financial Products.
   25         811. These manipulative acts were intended to and did deceive the retail
   26 investors ‒ Plaintiffs and the other Class members ‒ who acquired Yuga Financial
   27 Products during the Class Period and thereby caused them to purchase Yuga
   28
                                               287
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 291 of 318 Page ID
                                  #:1644



    1 Financial Products at artificially inflated prices. Thus, Plaintiffs and other Class
    2 members suffered losses as a result of the Scheme Liability Defendants’ two
    3 primary deceptive schemes and related acts, which manipulated the Yuga Financial
    4 Product marketplace.
    5        812. Plaintiffs and other members of the Class were damaged by relying on
    6 an assumption of an honest and fair market, free of manipulation, when buying and
    7 selling Yuga Financial Products in the marketplace.
    8        813. Defendants acted with scienter in connection with the manipulative
    9 acts alleged herein in that they acted knowingly and/or recklessly when they
   10 artificially inflated the price of the Yuga Financial Products and thereby interfered
   11 with the market for Yuga securities.
   12        814. As a direct and proximate result of Defendants’ wrongful conduct,
   13 Plaintiffs and other members of the Class were damaged as a result of their
   14 purchase or sale of Yuga Financial Products.
   15        815. By virtue of the foregoing, each Defendant has violated Section 10(b)
   16 of the Exchange Act, and Rule 10b-5(a) and (c) promulgated thereunder.
   17                            NINTH CAUSE OF ACTION
               Violation of Sections 20(a) of the Securities Exchange Act of 1934
   18
             (Against the Executive Defendants, ApeDAO Board Defendants, and
   19                  Individual Defendants Oseary and Soto-Wright)
   20        816. Plaintiffs restate and reallege all preceding allegations in the
   21 paragraphs above as if fully set forth herein, and further allege the following:
   22       817. This Count is asserted against Executive Defendants Aronow, Solano,
   23 Atalay, Ali, Muniz, Shoemaker, Ehrlund, ApeDAO Board Defendants Lyons,
   24 Ohanian, Wu, and Bajwa, and Defendants Oseary and Soto-Wright, (collectively,
   25 the “Control Person Defendants”) under Section 20(a) of the Securities Exchange
   26 Act of 1934, 15 U.S.C. §78t(a).
   27
   28
                                               288
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 292 of 318 Page ID
                                  #:1645



    1         818. The Control Person Defendants, by virtue of their offices, ownership,
    2 agency, agreements or understandings, and specific acts were, at the time of the
    3 wrongs alleged herein, and as set forth herein, controlling persons within the
    4 meaning of Section 20(a) of the Securities Exchange Act. The Control Person
    5 Defendants, and each of them, had the power and influence and exercised the same
    6 to cause the unlawful scheme to artificially increase the interest in and price of the
    7 Yuga Financial Products.
    8         819. The Control Person Defendants, separately or together, possess,
    9 directly or indirectly, the power to direct or cause the direction of the management
   10 and policies of the Company and/or MoonPay, through ownership of voting
   11 securities, by contract, subscription agreement, or otherwise.
   12         820. Executive     Defendants   Aronow,     Solano,      Atalay,   Ali,   Muniz,
   13 Shoemaker, Ehrlund, and Lyons were all directors and officers of the Company for
   14 the relevant time period. While not explicitly named as directors of the Company,
   15 ApeDAO Board Defendants Ohanian, Wu, and Bajwa nevertheless were
   16 responsible for making high-level decisions for the Company that would normally
   17 be carried out by directors. Thus, the Executive Defendants and ApeDAO Board
   18 Defendants have the power to direct or cause the direction of the management and
   19 policies of Yuga.      Similarly, Defendants Soto-Wright serves as the CEO of
   20 MoonPay, and thus has the power to direct or cause the direction of the
   21 management and policies of MoonPay.
   22         821. The Control Person Defendants, separately or together, have sufficient
   23 influence to have caused the Company and MoonPay to engage in the fraudulent
   24 conduct described above.
   25         822. The Control Person Defendants, separately or together, jointly
   26 participated in the Company’s and MoonPay’s fraudulent conduct described above.
   27
   28
                                               289
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 293 of 318 Page ID
                                  #:1646



    1         823. By virtue of the conduct alleged herein, the Control Person Defendants
    2 are liable for the wrongful conduct complained of herein and are liable to Plaintiffs
    3 and the Class for rescission and/or damages suffered.
    4                            TENTH CAUSE OF ACTION
          Violation of Sections 25401 and 25501 of the California Corporations Code
    5
                                  (Misrepresentation Sections)
    6                               (Against All Defendants)
    7         824. Plaintiffs restate and reallege all preceding allegations in the
    8 paragraphs above as if fully set forth herein, and further allege the following:
    9       825. Plaintiffs bring this claim individually and on behalf of the members of
   10 the California Subclass against the Executive Defendants.
   11       826. This Count is asserted against Executive Defendants for violation of
   12 Sections 25401 and 25501 of the California Corporations Code.
   13       827. Section 25401 (similar to Rule 10b-5(b) under the federal securities
   14 law) makes it illegal, in connection with the purchase or sale of any security, for
   15 any person, directly or indirectly, to offer or sell a security in California “by means
   16 of any written or oral communications which includes an untrue statement of a
   17 material fact or omits to state a material fact necessary in order to make the
   18 statements made . . . not misleading.” Cal. Corp. Code, §25401.
   19       828. Executive Defendants carried out a plan, scheme, and course of
   20 conduct that intended to and did deceive the retail investors ‒ Plaintiffs and the
   21 other Class members ‒ who acquired Yuga Financial Products pursuant to the
   22 continuous offering and thereby caused them to purchase Yuga Financial Products
   23 at artificially inflated prices.
   24         829. In connection with the continuous offering of Yuga Financial Products,
   25 Executive Defendants, ApeDAO Defendants, MoonPay Defendants, and the
   26 Promoter Defendants each disseminated, approved, and/or endorsed the false
   27 statements and omissions described herein, which these Defendants knew or
   28
                                         290
      SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
      PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 294 of 318 Page ID
                                  #:1647



    1 recklessly should have known were materially misleading in that the statements
    2 contained material misrepresentations and failed to disclose material facts necessary
    3 in order to make the statements made, in light of the circumstances under which
    4 they were made, not materially misleading.
    5         830. Defendants each employed devices, schemes, and artifices to defraud;
    6 made untrue statements of material fact and omitted to state material facts necessary
    7 to make the statements made not misleading; and engaged in acts, practices, and a
    8 course of business that operated as a fraud and deceit upon the Class members that
    9 resulted in artificially high market prices for Yuga Financial Products in connection
   10 with the continuous offering, in violation of Section 25401 and 25501.
   11         831. Defendants, separately or together, directly or indirectly, caused a false
   12 statement or omission to be made in connection with the offers or sales of a
   13 security.
   14         832. In ignorance of the fact that the price of Yuga Financial Products was
   15 artificially inflated, and relying directly or indirectly on the false, misleading, and
   16 materially incomplete statements that Executive Defendants made and approved, or
   17 upon the integrity of the market in which the Yuga Financial Products were sold, or
   18 in the absence of material adverse information that these Executive Defendants
   19 knew or recklessly should have known of but failed to disclose in public statements,
   20 Plaintiffs and the other Class members acquired Yuga Financial Products at
   21 artificially high prices and were damaged thereby.
   22         833. Plaintiffs purchased Yuga Financial Products securities from the
   23 Company, Executive Defendants, ApeDAO Defendants, Sotheby’s, MoonPay,
   24 and/or Adidas. For example, the ApeCoin tokens were provided and/or sold into
   25 the ApeCoin liquidity pool by Executive Defendants and ApeDAO Board
   26 Defendants. Upon information and belief, given the limited and measurable amount
   27 of individuals selling or providing the cryptocurrency to the ApeCoin token
   28
                                                291
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 295 of 318 Page ID
                                  #:1648



    1 liquidity pool, a large portion (if not all) of the ApeCoin token liquidity pool was
    2 provided by Executive Defendants and ApeDAO Board Defendants (or market
    3 makers like Wintermute and FTX who were given undisclosed loans of Yuga
    4 Financial Products to sell to the market on behalf of the Company). These actions
    5 coincided with Plaintiffs and Class members transacting with the liquidity pools as
    6 buyers. Thus, by providing ApeCoin tokens to the liquidity pool at the time in
    7 which Plaintiffs and the members of the Class made their ApeCoin token purchases
    8 from the liquidity pool, privity between Executive Defendants (personally and
    9 through the Company), ApeDAO Board Defendants (personally and through the
   10 Ape Foundation and/or the Company), and Plaintiffs is established even in the
   11 absence of a direct contract linking the parties.
   12         834. Privity also exists between the issuers of every Yuga NFT collection
   13 (i.e., the Company and Executive Defendants) and all those making purchases (e.g.,
   14 Plaintiffs and the members of the Class) regardless of which cryptocurrency
   15 exchange was used to facilitate the transaction because these Defendants are
   16 receiving the benefit of a 2.5% fee per resale of a Yuga NFT.
   17         835. As discussed above, the Company, Executive Defendants, ApeDAO
   18 Board Defendants, MoonPay, and Promoter Defendants Sotheby’s and Adidas
   19 actively solicited the purchase of Yuga Financial Products through a misleading
   20 marketing campaign social media, promotional video, press releases, traditional
   21 press, and online.
   22         836. As a direct and proximate result of Executive Defendants’ wrongful
   23 conduct, Plaintiffs and the other Class members suffered damages in connection
   24 with the respective purchases of Yuga Financial Products and are entitled to an
   25 award compensating them for such damages.
   26         837. Indeed, the price of Yuga Financial Products dropped significantly as,
   27 inter alia, the celebrity promoters distanced themselves from the project; the SEC
   28
                                                292
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 296 of 318 Page ID
                                  #:1649



    1 investigation was disclosed; FTX and Alameda imploded; MoonPay’s manipulative
    2 trading ceased; and further regulatory scrutiny of unregistered securities increased.
    3         838. By virtue of the conduct alleged herein, Executive Defendants are
    4 liable, jointly or severally, for the wrongful conduct complained of herein and are
    5 liable to Plaintiffs and the Class for rescission and/or damages suffered.
    6                        ELEVENTH CAUSE OF ACTION
                  Violations of California Corporate Securities Law of 1968
    7
                             Cal. Corp. Code §§25400 and 25500
    8                              (Manipulation Sections)
          (Against the Company, Executive Defendants, ApeDAO Board Defendants,
    9
                MoonPay, Soto-Wright, Promoter Defendants, and Sotheby’s)
   10
   11         839. Plaintiffs restate and reallege all preceding allegations in the
   12 paragraphs above as if fully set forth herein, and further allege the following:
   13         840. Plaintiffs Titcher and Smith bring this claim individually and on behalf
   14 of the members of the Class against the Company, Executive Defendants Aronow,
   15 Solano, Atalay, Ali, Muniz, Shoemaker, Ehrlund, and Lyons, ApeDAO Board
   16 Defendants Ohanian, Wu, and Bajwa, MoonPay, Defendant Soto-Wright, and
   17 Sotheby’s are collectively referred to in this cause of action as the “Market
   18 Manipulation Defendants.”
   19         841. Section 25400 makes it illegal, in connection with the purchase or sale
   20 of any security, for any person in California, directly or indirectly, to effect, alone
   21 or with one or more other persons, a series of transactions in any security creating
   22 actual or apparent active trading in such security or raising the price of such
   23 security, for the purpose of inducing the purchase or sale of such security by others.
   24 Cal. Corp. Code §25400(b).
   25         842. Other common examples of manipulation include, but are not limited
   26 to: (i) transferring record ownership of securities in order to hide the true identity of
   27
   28
                                                 293
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 297 of 318 Page ID
                                  #:1650



    1 the beneficial owner, which is known as “parking”; (ii) sending a false pricing
    2 signal to the public market; and (iii) price leadership by the manipulator.
    3         843. The Company and MoonPay, and their respective executives (i.e.,
    4 Executive Defendants, ApeDAO Board Defendants, and Defendant Soto-Wright),
    5 directly or indirectly, singly or in concert, by the use of the means or
    6 instrumentalities of interstate commerce, of the mails, for the purpose of creating a
    7 false or misleading appearance of active trading in ApeCoin tokens, or a false or
    8 misleading appearance with respect to the market for the Yuga Financial Products:
    9 (a) have engaged in improper parking; (b) have sent a false price signal to the
   10 market for Yuga NFTs; (c) have engaged in unlawful “price leadership.”
   11 Concurrently, MoonPay and Soto-Wright (on behalf of the Company and Executive
   12 Defendants) engaged in various manipulative wash trading activities, including
   13 using circular trades, seller funded wash trading, and making outlier transactions.
   14         844. As noted above, the Company and MoonPay, with the assistance
   15 and/or approval of Executive Defendants, ApeDAO Board Defendants, and
   16 Defendant Soto-Wright, manipulated the price of Yuga Financial Products by: (a)
   17 transferring record ownership of ApeCoin tokens between the Company, MoonPay,
   18 and non-party FTX in order to hide the true identity of the beneficial owner (i.e.,
   19 Executive Defendants, ApeDAO Board Defendants, and Soto-Wright) in these
   20 seller funded wash trades, (b) having sent a false price increase signal to the market
   21 for Yuga NFTs by having MoonPay repeatedly purchase Yuga NFTs at a price
   22 significantly higher than the then-current floor price for those Yuga NFTs (i.e.,
   23 outlier transactions), (c) having engaged in unlawful “price leadership” by having
   24 MoonPay repeatedly bidding for and purchasing Yuga NFTs at a price significantly
   25 higher than the then-current floor price for those Yuga NFTs, and/or (d) having
   26 engaged in circular trades to create the appearance of trading activity and a market
   27 for the Yuga Financial Products.         Scheme Liability Defendants each made
   28
                                                294
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 298 of 318 Page ID
                                  #:1651



    1 misleading statements regarding the exponential increase in the price of Yuga
    2 Financial Products since launch. The Company purposefully did not disclose to
    3 investors that the percentage increases that they were collectively touting were the
    4 result of price manipulation as opposed to real trading activity of Yuga Financial
    5 Products.
    6         845. Concurrently, Defendant Sotheby’s engaged in a series of transactions
    7 with FTX during the Sotheby’s auction that created apparent active trading in the
    8 Yuga NFTs and/or raising the price of Yuga NFTs, for the purpose of inducing the
    9 purchase or sale of Yuga NFTs by others.
   10         846. Promoter Defendants engaged in a series of BAYC transactions,
   11 creating actual or apparent active trading, for the purpose of inducing the purchase
   12 or sale of BAYC NFTs and Yuga Financial Products by others, including Plaintiffs.
   13 Upon information and belief, each of the Promoter Defendants received a BAYC
   14 NFT and/or other fiat or cryptocurrency from MoonPay and/or Yuga as
   15 compensation for promoting the sale of the Yuga securities, including BAYC NFTs.
   16 The statements and promotions by Defendants Fallon, Winkelmann, Hilton,
   17 Ciccone, Post, Bieber, Broadus, and Curry gave Plaintiffs the false impression that
   18 these celebrities had purchased BAYC NFTs as investors, and that they were
   19 making the Yuga Financial Products a part of their respective multimillion-dollar
   20 investment strategies, and as a result, induced Plaintiffs Titcher, Palombini, and
   21 Smith to make purchases of Yuga Financial Products. In addition to the allegations
   22 set forth above, these transactions that created actual or apparent active trading, for
   23 the purpose of inducing the purchase or sale of BAYC NFTs and Yuga securities by
   24 others, including Plaintiffs, included:
   25                   Ciccone obtained BAYC NFT #4988 from MoonPay and
   26                      subsequently promoted the BAYC collection of NFTs.
   27
   28
                                                295
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 299 of 318 Page ID
                                  #:1652



    1                 Hilton announcing on the Tonight Show that she “copied”
    2                   Fallon’s use of MoonPay to “buy an ape” and acknowledged
    3                   purchasing BAYC NFT #1294 on Twitter.
    4                 Fallon announcing on the Tonight Show that he “bought an ape,”
    5                   i.e., BAYC NFT #599, after being paid to promote MoonPay
    6                   and the BAYC collection of NFTs.            In addition, Fallon
    7                   promoting the purchases of other Promoter Defendants,
    8                   including Hilton and Winklemann.
    9                 Winkelmann being paid to promote MoonPay and the BAYC
   10                   collection of NFTs, and Winkelmann’s additional promotion and
   11                   marketing of the purchases made by Fallon and Hilton.
   12                 Bieber announcing his purchase of a $1.29M BAYC NFT,
   13                   which he did not actually pay for, but rather received it through
   14                   a series of transactions for the purpose of compensating him.
   15                   Instead, Bieber received BAYC NFT #3001 as a form of
   16                   compensation for promoting the BAYC NFTs and Yuga
   17                   Financial Products to his hundreds of millions of social media
   18                   followers. In addition, On February 7, 2022, Bieber announced
   19                   that he had “purchased” a second NFT from the Bored Ape
   20                   collection (i.e., BAYC NFT #3850) for around $470,000. This
   21                   BAYC NFT is considered to be particularly rare, ranking below
   22                   1% in rarity. Upon information and belief, BAYC NFT #3850
   23                   was given to Bieber as compensation for continuing to promote
   24                   and solicit sales of the Yuga securities.
   25                 Post’s music video promoted the sale of BAYC NFTs via
   26                   MoonPay led Plaintiff Palombini to reasonably believed that this
   27                   video depicted an actual purchase (or reenacted an actual
   28
                                              296
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 300 of 318 Page ID
                                  #:1653



    1                      purchase) of Yuga Financial Products by Post using the
    2                      MoonPay service.
    3                    Broadus’ promotion and solicitation of the BAYC collection of
    4                      NFTs and Yuga Financial Products in exchange for payment.
    5                    Curry’s promotion and solicitation of the BAYC Collection of
    6                      NFTs and Yuga Financial Products in exchange for payment.
    7         847. The subsequent collapse of the market for, and price of, the Yuga
    8 Financial Products after the manipulative activity has ceased following the collapse
    9 of FTX further demonstrates the manipulative nature of the alleged conduct by the
   10 Market Manipulation Defendants.
   11         848. These manipulations of the Yuga Financial Products were part of the
   12 Defendants’ goal of selling their unregistered securities to Plaintiffs and the Class at
   13 artificially inflated prices. The collapse of the price of Yuga Financial Products
   14 after the manipulative conduct alleged herein ceased further demonstrates that the
   15 Company, Executive Defendants, ApeDAO Board Defendants, MoonPay, Soto-
   16 Wright, Promoter Defendants, and Sotheby’s violated Cal. Corp. Code, §25500(a)-
   17 (b).
   18         849. Plaintiffs and other members of the Class were damaged by relying on
   19 an assumption of an honest and fair market, free of manipulation, when buying and
   20 selling Yuga Financial Products in the marketplace.
   21         850. The Company, Executive Defendants, ApeDAO Board Defendants,
   22 MoonPay, Soto-Wright, Celebrity Defendants, and Sotheby’s acted with scienter in
   23 connection with the manipulative acts alleged herein in that they acted knowingly
   24 and/or recklessly when they artificially inflated the trading volume and price of
   25 Yuga Financial Products and thereby interfered with the market for Yuga Financial
   26 Products. Further, statements by Defendants coupled with the transactions history
   27 on the Ethereum blockchain and the testimony of a Confidential Witness plausibly
   28
                                                297
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 301 of 318 Page ID
                                  #:1654



    1 indicate that each of them knew that they were engaging in wash trading, outlier
    2 transactions, circular trading, matching orders, and other manipulative efforts to
    3 raise the price of the Yuga Financial Products.
    4         851. As a direct and proximate result of the wrongful conduct of the
    5 Company, Executive Defendants, ApeDAO Board Defendants, MoonPay, Soto-
    6 Wright, and Sotheby’s, Plaintiffs and other members of the Class were damaged as
    7 a result of their purchase or sale of Yuga Financial Products.
    8         852. By reason of the foregoing, the Company, Executive Defendants,
    9 ApeDAO Board Defendants, MoonPay, Soto-Wright, and Sotheby’s have violated,
   10 and unless restrained and enjoined will again violate, Cal. Corp. Code, §25500(a)-
   11 (b).
   12         853. By virtue of the conduct alleged herein, the Company, Executive
   13 Defendants, ApeDAO Board Defendants, MoonPay, Soto-Wright, and Sotheby’s
   14 are liable for the wrongful conduct complained of herein and are liable to Plaintiffs
   15 and the Subclass for rescission and/or damages suffered.
   16                          TWELFTH CAUSE OF ACTION
                    Violation of Sections 25403(b), 25504 and 25504.1 of the
   17
                                 California Corporations Code
   18                            (Secondary Liability Sections)
                  (Against Executive Defendants, ApeDAO Board Defendants,
   19
                                  and Defendant Soto-Wright)
   20
              854. Plaintiffs restate and reallege all preceding allegations in the
   21
        paragraphs above as if fully set forth herein, and further allege the following:
   22
              855. This Count is asserted against Executive Defendants Aronow, Solano,
   23
        Atalay, Ali, Muniz, Shoemaker, Ehrlund, Lyons, ApeDAO Board Defendants
   24
        Ohanian, Wu, and Bajwa, and Defendant Soto-Wright (collectively referred to for
   25
        this cause of action as the “Secondary Liability Defendants”) for violations of
   26
        Sections 25403(b), 25504 and 25504.1 of the California Corporations Code.
   27
   28
                                                 298
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 302 of 318 Page ID
                                  #:1655



    1           856. To the extent that the Company and/or MoonPay instead of the
    2 Secondary Liability Defendants are determined to be the primary violator of
    3 Sections 25110 (qualification failure) or 25401 (misrepresentations), this Count is
    4 asserted against Executive Defendants because, as officers and executives of the
    5 Company, they are each secondarily liable under Section 25504.            Secondary
    6 Liability Defendants are likewise alternatively secondarily liable under Sections
    7 25504.1 and 25403(b) for materially aiding and abetting and/or providing
    8 substantial assistance to the Company’s and MoonPay’s primary violations of
    9 California securities laws.
   10           857. This Count is also asserted against the Secondary Liability Defendants
   11 because they are secondarily liable under Section 25403(b) for providing substantial
   12 assistance to the Company’s, MoonPay’s, and/or Sotheby’s primary violations of
   13 Section 25400 (manipulation of price).
   14           858. Section 25504 makes the following people liable for Qualification
   15 Section (i.e., Cal. Corp. Code §§25110 and 25503) violations: a “principal
   16 executive officer or director of a corporation so liable, every person occupying a
   17 similar status or performing similar functions, every employee of a person so liable
   18 who materially aids in the act or transaction constituting the violation, and every
   19 broker-dealer or agent who materially aids in the act or transaction constituting the
   20 violation.” Cal. Corp. Code, §25004.
   21           859. Section 25403(b) makes it unlawful for any person to knowingly
   22 provide “substantial assistance” to another person violating Cal. Corp. Code §25000
   23 et seq.
   24           860. Section 25504.1 makes anyone who, with “intent to deceive or
   25 defraud,” “materially assists” the primary perpetrator of a Misrepresentation
   26 Section (i.e., Cal. Corp. Code §25401 and 25501) violation.
   27
   28
                                                299
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 303 of 318 Page ID
                                  #:1656



    1         861. The conduct of Secondary Liability Defendants described above,
    2 directly or indirectly, provided substantial assistance to the Company, MoonPay,
    3 and Sotheby’s, who issued the false statements and omissions made in connection
    4 with the offers or sales of Yuga Financial Products alleged herein. This aid and
    5 assistance provides for secondary liability for the other Defendants’ primary
    6 violations.
    7         862. Secondary Liability Defendants had knowledge of the falsity or
    8 misleading nature of the statements or omissions made in connection with the offers
    9 or sales of the Yuga Financial Products.
   10         863. By virtue of the conduct alleged herein, Secondary Liability
   11 Defendants are liable, jointly or severally, for the wrongful conduct of primary
   12 violators the Company, MoonPay, and Sotheby’s complained of herein, and are
   13 liable to Plaintiffs and the Class for rescission and/or damages suffered.
   14                       THIRTEENTH CAUSE OF ACTION
                                Unjust Enrichment/Restitution
   15
                         (California Common Law, in the Alternative)
   16                              (Against All Defendants)
   17         864. Plaintiffs restate and reallege all preceding allegations in the
   18 paragraphs above as if fully set forth herein, and further allege the following:
   19         865. This cause of action for equitable relief is pled in the alternative
   20 because, if Plaintiffs’ state consumer or securities law claims are found to be
   21 inapplicable to the wrongdoing alleged herein, Plaintiffs will lack an adequate
   22 remedy at law since they will be unable to obtain monetary damages in an amount
   23 that would make Plaintiffs and the members of the Class whole.
   24         866. The lack of an adequate remedy at law entitles Plaintiffs and the Class
   25 to pursue equitable restitution and/or disgorgement.
   26         867. Plaintiffs and members of the Class conferred a monetary benefit on
   27 Defendants by raising the price and trading volume of the Yuga Financial Products,
   28
                                                 300
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 304 of 318 Page ID
                                  #:1657



    1 which allowed Defendants to sell their Yuga Financial Products to Plaintiffs and
    2 Class members at inappropriately and artificially inflated prices.
    3         868. Defendants received a financial benefit from the sale of their Yuga
    4 Financial Products at inflated prices and are in possession of this monetary value
    5 that was intended to be used for the benefit of, and rightfully belongs to, Plaintiffs
    6 and members of the Class.
    7         869. Plaintiffs seek restitution in the form of the monetary value of the
    8 difference between the purchase price of the Yuga Financial Products and the price
    9 those Yuga Financial Products sold for.
   10                        FOURTEENTH CAUSE OF ACTION
                 Violation of the Florida Securities and Investor Protection Act
   11
                                      Fl. Stat. Section 517.07
   12                            (Sale of Unregistered Securities)
                                     (Against All Defendants)
   13
   14         870. Plaintiffs restate and reallege all preceding allegations in the
   15 paragraphs above as if fully set forth herein, and further allege the following:
   16         871. Plaintiffs Grand and Patel are residents of the State of Florida.
   17         872. Plaintiffs Grand and Patel paid for or purchased Yuga Financial
   18 Products in Florida and thus the deceptive transactions alleged herein occurred in
   19 Florida.
   20         873. The Yuga Financial Products, individually and collectively, are each a
   21 “security” within the meaning of the term as defined by Section 517.021(22), Fla.
   22 Stat.
   23         874. Section 517.07(1) of the Florida Statute provides that it is unlawful and
   24 a violation for any person to sell or offer to sell a security within the State of Florida
   25 unless the security is exempt under Florida Statute §517.051, is sold in a transaction
   26 exempt under Florida Statute §517.061, is a federally covered security, or is
   27 registered pursuant to Chapter 517 of the Florida Statute.
   28
                                                 301
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 305 of 318 Page ID
                                  #:1658



    1         875. Section 517.211 extends liability to any “director, officer, partner, or
    2 agent of or for the seller, if the director, officer, partner, or agent has personally
    3 participated or aided in making the sale, is jointly and severally liable to the
    4 purchaser in an action for rescission, if the purchaser still owns the security, or for
    5 damages, if the purchaser has sold the security.” Fla. Stat. §517.211(1).
    6         876. Under §2(a)(1) of the Securities Act of 1933, a “security” is defined to
    7 include an “investment contract.” 15 U.S.C. §77b(a)(1). The Supreme Court in
    8 Howey established the prevailing test for determining whether something is an
    9 investment contract, which is defined as “an investment of money in a common
   10 enterprise with profits to come solely from the efforts of others.” Howey, 328 U.S.
   11 at 301. Specifically, a transaction qualifies as an investment contract and, thus, a
   12 security if it is: (1) an investment; (2) in a common enterprise; (3) with a reasonable
   13 expectation of profits; and (4) to be derived from the entrepreneurial or managerial
   14 efforts of others. See Forman, 421 U.S. at 852-53. This definition embodies a
   15 “flexible rather than a static principle, one that is capable of adaptation to meet the
   16 countless and variable schemes devised by those who seek the use of the money of
   17 others on the promise of profits,” and thereby “permits the fulfillment of the
   18 statutory purpose of compelling full and fair disclosure relative to the issuance of
   19 ‘the many types of instruments that in our commercial world fall within the
   20 ordinary concept of a security.’”        Howey, 328 U.S. at 299.        Accordingly, in
   21 analyzing whether something is a security, “‘form should be disregarded for
   22 substance,’” and the emphasis should be “on the economic realities underlying a
   23 transaction, and not on the name appended thereto.” Forman, 421 U.S. at 848-49.
   24         877. The Yuga Financial Products are each a security pursuant to Fla. Stat.
   25 §517.021(22)(a).
   26         878. Defendants, and each of them, by engaging in the conduct described
   27 above within Florida, directly or indirectly, sold and offered to sell securities.
   28
                                                 302
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 306 of 318 Page ID
                                  #:1659



    1        879. Defendants and others called for an investment of money or assets by
    2 Plaintiffs in exchange for non-functional Yuga Financial Products.
    3        880. Plaintiffs Grand and Patel and the members of the Class purchased
    4 Yuga Financial Products from the Executive Defendants and ApeDAO Defendants
    5 through the liquidity pools that they provided for trading on exchanges.
    6        881. The funds paid by Plaintiffs were pooled by the Executive Defendants
    7 and ApeDAO Defendants in the process of securing a profit for themselves and
    8 Plaintiffs. As a result, Plaintiffs were investors who shared in the risks and benefits
    9 of the Yuga Financial Product investment scheme.
   10        882. The proposed transactions at issue constitute investment contracts and
   11 are therefore securities subject to Florida blue-sky laws and the FSIPA.
   12        883. The Yuga Financial Products sold and offered for sale to Plaintiffs and
   13 Class members were not:
   14        a.     exempt from registration under Fla. Stat. §517.051;
   15        b.     a federal covered security;
   16        c.     registered with the Office of Financial Regulations (OFR); or
   17        d.     sold in a transaction exempt under Fla. Stat. §517.061.
   18        884. Section 517.07 is a binding provision that obligates the Executive
   19 Defendants and ApeDAO Defendants to register the Yuga Financial Products as a
   20 security with the Florida Office of Financial Regulation.
   21        885. Because the Yuga Financial Products were never registered as required
   22 under the FSIPA, Defendants violated section 517.07 and are subject to liability
   23 because they solicited and participated in or aided the making of an offer of Yuga
   24 Financial Products for sale.
   25        886. Defendants Aronow, Solano, Ali, Atalay, Muniz, Shoemaker, Ehrlund,
   26 Lyons, Ohanian, Wu, and Bajwa are directors, officers, and/or partners of the
   27 Company pursuant to Fla. Stat. §517.211.          Concurrently, Defendants Oseary,
   28
                                                  303
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 307 of 318 Page ID
                                  #:1660



    1 Winklemann, Ciccone, Hilton, Fallon, Bieber, Post, Broadus, Curry, Adidas,
    2 Sotheby’s, Universal, EHD, MoonPay, and Soto-Wright are agents of the Company
    3 pursuant to Fla. Stat. §517.211.
    4        887. Investors who bought Yuga Financial Products invested money or
    5 other valuable consideration in a common enterprise. Investors had a reasonable
    6 expectation of profit based upon the efforts of the Defendants, including, among
    7 other things, Defendants’ promotional efforts and business operations.
    8        888. Based on Yuga’s marketing materials, as well as public statements by
    9 the Executive Defendants and ApeDAO Defendants, the Yuga website and Yuga-
   10 affiliate websites, and the Yuga and BAYC social media handles, purchasers of
   11 Yuga Financial Products would have had a reasonable expectation of profits from
   12 their investment in the Yuga Financial Products.
   13        889. Based on Defendants’ public statements, purchasers of the Yuga
   14 Financial Products would have had a reasonable expectation that Yuga and its
   15 agents would expend significant efforts to develop the so-called Bored Ape
   16 ecosystem, which would increase the value of their Yuga Financial Products,
   17 resulting in investor profit.      Yuga’s marketing materials highlighted that the
   18 Company (including Executive Defendants Aronow, Solano, Ali, Atalay, Muniz,
   19 Shoemaker, Ehrlund, and Lyon and ApeDAO Defendants Ohanian, Wu, and
   20 Bajwa) and its agents (namely Defendants Oseary, Winklemann, Ciccone, Hilton,
   21 Fallon, Bieber, Post, Broadus, Curry, Adidas, Sotheby’s, Universal, EHD,
   22 MoonPay, and Soto-Wright) would ensure a secondary trading market for Yuga
   23 Financial Products by creating a trading market for Yuga Financial Products.
   24        890. Yuga’s marketing materials, moreover, contained numerous statements
   25 indicating that the Yuga Financial Products would rise in value as a result of the
   26 efforts of the Company and its agents, including by touting future brand deals
   27 related to the Bored Ape intellectual property rights and by promising to develop
   28
                                                304
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 308 of 318 Page ID
                                  #:1661



    1 various utilities for the Yuga Financial Products, including the so-called Otherside
    2 metaverse, various video games, future rewards and staking programs, event
    3 partnerships, and a general expansion of the Yuga Financial Product ecosystem.
    4        891. Plaintiffs and Class members invested fiat, including U.S. dollars, and
    5 digital currencies, such as Bitcoin and Ethereum, to purchase Yuga Financial
    6 Products.
    7        892. Defendants sold Yuga Financial Products to the general public on
    8 various cryptocurrency exchanges.
    9        893. Every purchase of Yuga Financial Products by a member of the public
   10 is an investment contract.
   11        894. Additionally, investors were passive participants in the Yuga Financial
   12 Products launch and the profits of each Plaintiff and the Class were intertwined with
   13 those of Defendants.
   14        895. The Executive Defendants and ApeDAO Defendants also were
   15 responsible for supporting the Yuga Financial Products and its code, pooling
   16 investors’ assets, and controlling those assets.     Investors’ profits in the Yuga
   17 Financial Products were to be derived from the managerial efforts of others ‒
   18 specifically the Company, the Executive Defendants and/or the ApeDAO
   19 Defendants or any Yuga personnel responsible for developing the networks on
   20 which these Yuga Financial Products will operate and/or managing the proprietary
   21 trading codes. Yuga Financial Product investors relied on the managerial and
   22 entrepreneurial efforts of the Company and the Executive Defendants and ApeDAO
   23 Defendants to manage, oversee, and/or develop the Yuga business and sales of
   24 Yuga Financial Products.
   25        896. This dependency, however, on the managerial efforts of the Company,
   26 Executive Defendants, and ApeDAO Defendants was not apparent at issuance to a
   27 reasonable investor. Considering the limited available information about how these
   28
                                               305
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 309 of 318 Page ID
                                  #:1662



    1 Yuga Financial Products were designed and intended to operate, if such an investor
    2 were even able to interpret the relevant law at the time, a reasonable investor lacked
    3 sufficient bases to conclude whether the Yuga Financial Products were securities
    4 until the platform at issue, and its relevant “ecosystem,” had been given time to
    5 develop. In the interim, the investor lacked the facts necessary to conclude – let
    6 alone formally allege in court – that the Yuga Financial Products they had acquired
    7 were securities.
    8         897. Here, the Company, Executive Defendants, and ApeDAO Defendants
    9 have discussed the long-term prospects on extended frames, continually noting how
   10 the utilization of Yuga Financial Products as a method of payment will grow in the
   11 future.
   12         898. Here, the agents of the Company, in particular Sotheby’s and the
   13 MoonPay Defendants, had access to and did manipulate the sales of BAYC NFTs,
   14 which had a dramatic impact on the Yuga Financial Products’ price and effected the
   15 Yuga Financial Product liquidity pool.
   16         899. Another factor the Framework notes is whether the AP has the ability
   17 to determine who will receive additional digital assets and under what conditions.
   18 This could be, for example, “[m]aking or contributing to managerial level business
   19 decisions, such as how to deploy funds raised from sales of the digital asset.”
   20         900. Further, the Company, Executive Defendants, and ApeDAO
   21 Defendants are the arbiters of funding for Yuga and the Bored Ape ecosystem and
   22 also control what proposals even make it to the Ape Foundation for voting via the
   23 AIP process, making other managerial judgements or decisions that will directly or
   24 indirectly impact the success of the network or the value of the digital asset
   25 generally.
   26
   27
   28
                                                306
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 310 of 318 Page ID
                                  #:1663



    1                          FIFTEENTH CAUSE OF ACTION
                 Violation of the Florida Securities and Investor Protection Act
    2                                 Fl. Stat. Section 517.07
                                 (Sale of Unregistered Securities)
    3                                (Against All Defendants)
    4         901. Plaintiffs restate and reallege all preceding allegations in the
    5 paragraphs above as if fully set forth herein, and further allege the following:
    6         902. Plaintiffs Grand and Patel are residents of the State of Florida.
    7         903. Plaintiffs Grand and Patel paid for or purchased Yuga Financial
    8 Products in Florida and thus the deceptive transactions alleged herein occurred in
    9 Florida.
   10         904. Chapter 501, Fla. Stat., FDUTPA is to be liberally construed to protect
   11 the consuming public, such as Plaintiffs in this case, from those who engage in
   12 unfair methods of competition, or unconscionable, deceptive or unfair acts or
   13 practices in the conduct of any trade or commerce.
   14         905. Plaintiffs are “consumers” within the meaning of Fla. Stat.
   15 §501.203(7).
   16         906. By soliciting investor funds in the manner in which they did,
   17 Defendants engaged in “trade and commerce” within the meaning of Fla. Stat.
   18 §501.203(8).
   19         907. The elements comprising a consumer claim for damages under
   20 FDUTPA are: (1) a deceptive act or unfair practice; (2) causation; and (3) actual
   21 damages. Carriuolo v. Gen. Motors Co., 823 F.3d 977, 983 (11th Cir. 2016) (citing
   22 City First Mortg. Corp. v. Barton, 988 So. 2d 82, 86 (Fla. Dist. Ct. App. 2008)).
   23         908. Under FDUTPA, “‘deception occurs if there is a representation,
   24 omission, or practice that is likely to mislead the consumer acting reasonably in the
   25 circumstances, to the consumer’s detriment.’” Zlotnick v. Premier Sales Grp., Inc.,
   26 480 F.3d 1281, 1284 (11th Cir. 2007) (quoting PNR, Inc. v. Beacon Prop. Mgmt.,
   27 Inc., 842 So. 2d 773, 777 (Fla. 2003)). “Under Florida law, an objective test is
   28
                                                307
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 311 of 318 Page ID
                                  #:1664



    1 employed in determining whether the practice was likely to deceive a consumer
    2 acting reasonably. That is, ‘[a] party asserting a deceptive trade practice claim need
    3 not show actual reliance on the representation or omission at issue.’” Carriuolo,
    4 823 F.3d at 984 (quoting Davis v. Powertel, Inc., 776 So. 2d 971, 973 (Fla. Dist. Ct.
    5 App. 2000).
    6         909. Here, Plaintiffs Grand and Patel nevertheless did, in fact, reasonably
    7 rely on the alleged misleading statements and omissions when making their
    8 respective decisions to purchase the Yuga Financial Products.
    9         910. A plaintiff’s claims under FDUPTA are governed by the “reasonable
   10 consumer” test. Piescik v. CVS Pharmacy, Inc., 576 F. Supp. 3d 1125, 1132 n.2
   11 (S.D. Fla. 2021) (“This case was brought under California’s consumer protection
   12 laws, which apply the same ‘reasonable consumer’ test for deception as applied in
   13 interpreting FDUTPA.”).
   14         911. Plaintiffs Grand and Patel relied on the misleading statements and
   15 omissions alleged herein when deciding to purchase the Yuga Financial Products at
   16 artificially inflated prices.
   17         912. To establish an unfair practice, the plaintiff must show that it is “one
   18 that ‘offends established public policy’ and one that is ‘immoral, unethical,
   19 oppressive, unscrupulous or substantially injurious to consumers.’” Marrache v.
   20 Bacardi U.S.A., Inc., 17 F.4th 1084, 1098 (11th Cir. 2021) (quoting PNR, 842 So.
   21 2d at 777); see also CMR Constr. & Roofing, LLC v. UCMS, LLC, No. 21-11183,
   22 2022 WL 3012298, at *4 (11th Cir. July 29, 2022).
   23         913. Defendants engaged in business acts and practices deemed “deceptive”
   24 because of the conduct, statements, and omissions described above, including, but
   25 not limited to, the following:
   26         a.     knowingly and intentionally concealing the specific roles and
   27                economic interests related to Yuga and the Yuga Financial Products of
   28
                                               308
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 312 of 318 Page ID
                                  #:1665



    1               the   Executive     Defendants,    ApeDAO       Defendants,     Promoter
    2               Defendants, and MoonPay Defendants;
    3         b.    failing to disclose that the huge increase in price of the BAYC NFT
    4               collection in December 2021 was caused by manipulation by
    5               Defendants Aronow, Solano, Ali, Atalay, Muniz, Oseary, and
    6               Sotheby’s instead of being due to an organic increase in interest from
    7               traditional art investors;
    8         c.    leading investors to believe that the ApeCoin token would be available
    9               for use as a native currency within the larger Bored Ape ecosystem
   10               when there was no such capability; and
   11         d.    knowingly and intentionally using and/or failing to disclose the use of
   12               the Promotor Defendants to instill trust in uninformed investors to
   13               promote the financial benefits of a highly speculative and risky
   14               investment in Yuga Financial Products, in an effort to manipulate and
   15               artificially inflate the price and trading volume of the Yuga Financial
   16               and allow Defendants to sell their own allocations of Yuga Financial
   17               Products at those artificially inflated prices and/or to collect increased
   18               fees from the secondary sales of the BAYC, MAYC, BAKC, and
   19               Otherdeed NFT collections.
   20         914. These acts and omissions constitute both deceptive and unfair trade
   21 practices because the false representations and omissions made by Defendants have
   22 a tendency or capacity to deceive consumers, such as Plaintiffs, into investing in the
   23 Yuga Financial Products to their collective financial detriment. Such conduct is
   24 immoral, unethical, oppressive, unscrupulous, or substantially injurious to
   25 consumers.
   26         915. Had the Promoter Defendants, Executive Defendants, or ApeDAO
   27 Defendants disclosed the omitted information, Plaintiffs would have been aware of
   28
                                                 309
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 313 of 318 Page ID
                                  #:1666



    1 it because (a) they saw the actual promotions by these Defendants and would have
    2 concurrently seen any disclosure on the promotions themselves had it been
    3 included, and (b) because they each follow, directly or indirectly, the social media
    4 accounts of, and news reports on, the Company, Executive Defendants, ApeDAO
    5 Defendants, and Promoter Defendants.
    6         916. As a direct and proximate result of Defendants’ deceptive trade
    7 practices, Plaintiffs Grand and Patel, and the members of the Class, suffered
    8 damages. The activities of the Defendants caused Plaintiffs Grand and Patel and
    9 the members of the Class to purchase and/or hold the Yuga Financial Products
   10 when they otherwise would not have done so.
   11         917. The materially false statements and omissions as described above, and
   12 the fact that this was a misleading investment, were unfair, unconscionable, and
   13 deceptive practices perpetrated on Plaintiffs which would have likely deceived a
   14 reasonable person under the circumstances.
   15         918. Defendants were on notice at all relevant times that the false
   16 representations of material facts described above were being communicated to
   17 prospective investors (such as Plaintiffs) by their authorized agents.
   18         919. As a result of the false representations and violations of the laws
   19 described above, Plaintiffs have been damaged by, among other things, overpaying
   20 for the Yuga Financial Products that were artificially inflated by Defendants.
   21         920. Plaintiffs have also been damaged in other and further ways subject to
   22 proof at trial.    For example, an injury under FDUPTA is found when “the
   23 [defendant] made an allegedly misleading advertisement by making an offer or
   24 promise which the [defendant] did not intend to keep.” Stires v. Carnival Corp.,
   25 No. 6:02-CV-542-ORL31JGG, 2003 WL 21356781, at *2 (M.D. Fla. Jan. 2, 2003).
   26 As alleged herein, the Executive Defendants promoted the ability to use the BAYC
   27 NFTs and ApeCoin tokens within the forthcoming Otherside metaverse. As noted
   28
                                                310
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 314 of 318 Page ID
                                  #:1667



    1 above, Plaintiffs were induced to purchase ApeCoin and NFTs within the Bored
    2 Ape ecosystem because of these particular promotions.
    3        921. The statements from Defendants Aronow, Solano, Ali, Atalay, Muniz,
    4 Shoemaker, Ehrlund, and Lyons (individually or on behalf of the Company as Yuga
    5 executives with authority and control over Yuga’s social media account);
    6 statements from ApeDAO Defendants Ohanian, Wu, and Bajwa (individually or on
    7 behalf of the ApeDAO as members of the ApeDAO Special Council with authority
    8 and control over the ApeDAO website and social media accounts); and statements
    9 from Promoter Defendants Sotheby’s, Adidas, Oseary, Winklemann, Ciccone,
   10 Hilton, Fallon (with the consent of and/or aided and abetted by Defendants
   11 Universal and EHD), Bieber, Post, Broadus, and Curry are all actionable and not
   12 puffery. Under Florida law, “‘specific and measurable claims’ are not puffery ‘and
   13 may be the subject of deceptive advertising claims.’”           Wyndham Vacation
   14 Ownership v. Reed Hein & Assocs., LLC, No. 618CV02171GAPDCI, 2019 WL
   15 3934468, at *6 (M.D. Fla. Aug. 20, 2019) (citing Fed. Trade Comm’n v. World
   16 Patent Mktg., Inc., No. 17-CV-20848, 2017 WL 3508639, at *12 (S.D. Fla. Aug.
   17 16, 2017)); Luczak v. Nat’l Beverage Corp., 812 F. App’x 915, 925 (11th Cir. 2020)
   18 (finding that certain statements were actionable because, while National Beverage’s
   19 statements expressed optimism, they did so by citing to specific strategies and
   20 metrics the company said it was using). And while statements of opinion and
   21 puffery (i.e., exaggerated advertising, blustering, and boasting upon which no
   22 reasonable buyer would rely) are not actionable, a statement of opinion may be
   23 actionable if it “‘fairly implies a [factual] basis.’” Duty Free Americas, Inc. v.
   24 Estee Lauder Cos., Inc., 797 F.3d 1248, 1277 (11th Cir. 2015) (quoting Osmose,
   25 Inc. v. Viance, LLC, 612 F.3d 1298, 1311 (11th Cir. 2010) (alteration in original).
   26 As the Eleventh Circuit Court observed: “A conclusion that a statement constitutes
   27 puffery doesn’t absolve the reviewing court of the duty to consider the possibility ‒
   28
                                               311
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 315 of 318 Page ID
                                  #:1668



    1 however remote ‒ that in context and in light of the ‘total mix’ of available
    2 information, a reasonable investor might nonetheless attach importance to the
    3 statement.” Carvelli v. Ocwen Fin. Corp., 934 F.3d 1307, 1320–21 (11th Cir.
    4 2019).
    5         922. As alleged further above, Defendants’ statements claimed, among
    6 other things, that the price and trading volume was poised for continued upward
    7 growth, that various Promotor Defendants paid for the BAYC NFT they touted on
    8 social media, and that Yuga investors gained all of the intellectual property rights
    9 available for the BAYC NFT collection upon purchase of a Yuga Financial
   10 Products. These statements are specific and measurable, and they relate to specific
   11 strategies and metrics the Company said it was using to encourage purchases and
   12 increase the price of the Yuga Financial Products. At the same time, each of the
   13 Defendants failed to disclose that these metrics were the result of manipulations by
   14 the     MoonPay      Defendants,     Executive     Defendants,    and    Sotheby’s   to
   15 disproportionately increase the price of the Yuga Financial Products.
   16         923. Taken together the misleading statements and omissions of Defendants
   17 contributed to the deceptive marketing tactics as a whole, which were used to solicit
   18 sales of Yuga Financial Products.
   19         924. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
   20 or practices by Defendants, to obtain restitution and disgorgement of all monies
   21 generated as a result of such practices, and for all other relief allowed under Florida
   22 law.
   23         925. Pursuant to Fla. Stat. §§501.211(1) and 501.2105, Plaintiffs are
   24 entitled to recover from Defendants the reasonable amount of attorneys’ fees
   25 Plaintiffs have had to incur in representing their interests in this matter.
   26
   27
   28
                                                 312
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 316 of 318 Page ID
                                  #:1669



    1 XI.     PRAYER FOR RELIEF
    2         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly
    3 situated, respectfully request that this Court:
    4         A.     Determine that the claims alleged herein may be maintained as a class
    5 action under Rule 23 of the Federal Rules of Civil Procedure, and issue an order
    6 certifying the Class defined above;
    7         B.     Appoint Plaintiffs as representatives of the Class and their counsel as
    8 Class counsel;
    9         C.     Award all actual, general, special, incidental, statutory, punitive, and
   10 consequential damages and restitution to which Plaintiffs and Class members are
   11 entitled;
   12         D.     Award post-judgment interest on such monetary relief;
   13         E.     Grant appropriate injunctive and/or declaratory relief;
   14         F.     Award reasonable attorneys’ fees and costs; and
   15         G.     Grant such further relief that this Court deems appropriate.
   16 XII. JURY DEMAND
   17         Plaintiffs, individually and on behalf of the putative Class, demand a trial by
   18 jury on all issues so triable.
   19 DATED: October 17, 2023           /s/ John T. Jasnoch
                                        John T. Jasnoch (CA 281605)
   20
                                        SCOTT+SCOTT ATTORNEYS AT LAW LLP
   21                                   600 W. Broadway, Suite 3300
                                        San Diego, CA 92101
   22
                                        Tel.: 619-233-4565
   23                                   jjasnoch@scott-scott.com
   24
                                        Lead Counsel for Plaintiffs
   25
   26
   27
   28
                                                 313
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 317 of 318 Page ID
                                  #:1670



    1                               Aaron M. Zigler (CA 327318)
                                    Nidya Gutierrez (CA 330209)
    2
                                    ZIGLER LAW GROUP, LLC
    3                               308 S. Jefferson Street | Suite 333
                                    Chicago, IL 60661
    4
                                    Tel: 312-673-8427
    5                               aaron@ziglerlawgroup.com
                                    nidya.gutierrez@ziglerlawgroup.com
    6
    7                               James Q. Taylor-Copeland (CA 284743)
                                    TAYLOR-COPELAND LAW
    8                               501 W. Broadway, Suite 800
    9                               San Diego, CA 92101
                                    Telephone: (619) 400-4944
   10                               Facsimile: (619) 566-4341
   11                               james@taylorcopelandlaw.com
   12                               Additional Counsel for Plaintiffs
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                            314
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
Case 2:22-cv-08909-FMO-PLA Document 179 Filed 10/17/23 Page 318 of 318 Page ID
                                  #:1671



    1                           CERTIFICATE OF SERVICE
    2          I hereby certify that on October 17, 2023, I electronically filed the
    3 foregoing with the Clerk using CM / ECF, which will send notification via
    4 electronic means to all counsel of record.
    5 DATED: October 17, 2023
    6                                        /s/ John T. Jasnoch
                                             John T. Jasnoch
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                               315
        SECOND AMENDED CLASS ACTION COMPLAINT - CASE NO. 2:22-CV-08909-FMO-
        PLA
